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                     The 2019 National
                  School Climate Survey
The Experiences of Lesbian, Gay,
Bisexual, Transgender, and Queer
Youth in Our Nation’s Schools




                                                                 A Report from GLSEN
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                                      The 2019 National
                                   School Climate Survey

The Experiences of Lesbian, Gay,
Bisexual, Transgender, and Queer
Youth in Our Nation’s Schools




by Joseph G. Kosciw, Ph.D.
   Caitlin M. Clark, Ph.D.
   Nhan L. Truong, Ph.D.
   Adrian D. Zongrone, M.P.H.




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National Headquarters
110 William Street, 30th Floor
New York, NY 10038
Ph: 212-727-0135 Fax: 212-727-0254

DC Policy Office
Make Office K Street
6th Floor, Attn: GLSEN
1015 15th Street, NW
Washington, DC, 20005
Ph: 202-347-7780 Fax: 202-347-7781

glsen@glsen.org

www.glsen.org

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York: GLSEN.

GLSEN is the leading national education organization focused on ensuring safe schools for all students.
Established in 1990, GLSEN envisions a world in which every child learns to respect and accept all
people, regardless of sexual orientation or gender identity/expression. GLSEN seeks to develop school
climates where difference is valued for the positive contribution it makes to creating a more vibrant and
diverse community. For more information on our educator resources, research, public policy agenda,
student leadership programs, or development initiatives, visit www.glsen.org.

Graphic design: Adam Fredericks

Quotes throughout are from students’ responses to open-ended questions in the survey.

Electronic versions of this report and all other GLSEN research reports are available at
www.glsen.org/research.




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PREFACE
                                                Youth gather march in the 2005 Chicago
                                                Pride Parade and demand safer schools
                                                for LGBTQ students. Youth marched with
                                                GLSEN’s Chicago chapter, which evolved
                                                to become what is now known as the
                                                Illinois Safe Schools Alliance.




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In the Fall of 1999, researchers and advocates gathered in a hotel meeting room in Atlanta to discuss the
crippling lack of data available about the lives and experiences of LGBTQ+ youth. GLSEN’s first “Research
Roundtable” was designed to spark new directions of inquiry in academia, and the development of new
knowledge that would guide efforts of advocates and service providers to improve the lives of LGBTQ+
youth nationwide. At the same time, GLSEN conducted its first national survey of LGBTQ+ students to
begin bridging that gap in knowledge, a study that became the biennial GLSEN National School Climate
Survey (NSCS). Within a year, we began building our independent research capacity.

Over time, the NSCS has helped rally LGBTQ+ students and their allies, illustrating the deep impact of
the problem, making the case for the interventions that work, and enabling us to track our progress over
time. Beyond the NSCS, the GLSEN Research Institute produces analysis and reports on all facets of
LGBTQ+ issues in K-12 education, informing on-going work across the education world and the movement
to support LGBTQ+ youth. Today, LGBTQ+ youth-focused organizations in more than 30 other countries
are pursuing similar efforts, and GLSEN is proud to partner with them in a growing research revolution for
LGBTQ+ youth.

The report in your hands now builds on twenty years of work, our long term commitment to producing
the evidence for action on LGBTQ+ issues in K-12 education. In this report, we see that the slowing of
progress noted in 2017 has continued. Harassment and discrimination remain at unacceptable levels at
the national level.

However, given the vicious attacks we have witnessed over the past four years, particularly on transgender
youth, it is remarkable that dedicated educators and active student advocates have held the line as
powerfully as they have. Despite the tenor of our times, we also find that more and more LGBTQ+ youth
have access to the vital in-school supports that can change their lives for the better, particularly as GSA
student clubs continue to emerge in more schools nationwide. Increasing presence of the supports can be
a leading indicator for positive changes in school climate, making this another sign of hope for the future.

As one of the conveners of that first Research Roundtable, I am amazed by what this research revolution
has made possible, both across the U.S. and, bit by bit, around the world. May this edition of GLSEN’s
National School Climate Survey inspire all those who continue to hold the line, fighting to improve the lives
of LGBTQ+ youth today and secure a better future for us all.




Eliza Byard, Ph.D.
Executive Director
GLSEN




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      Acknowledgements

      The authors first wish to thank the students who participated in our 2019 survey for continuing to
      enlighten us about their experiences in school, as well as the over 80,000 students who have participated
      in the National School Climate Surveys since it began in 1999. We also wish to acknowledge the
      organizations that helped disseminate information about the survey, including the LGBTQ youth services
      and programs that invited their constituents to participate in the survey, as well as GLSEN’s Chapter
      network. We are indebted to former GLSEN Research Institute Fellow Leesh Menard-Livingston for their
      assistance in our data collection, GLSEN Research Institute Fellow Sarah Rosenbach for her assistance in
      data cleaning and coding, and former longtime GLSEN Research staffer Emily Greytak for her leadership
      in planning for NSCS 2019 and her dedication to GLSEN’s research over the years. We are also thankful
      for our GLSEN colleagues who provided thoughtful feedback and continual support throughout the survey
      development and data collection process. Finally, much gratitude goes to Eliza Byard, GLSEN’s Executive
      Director, for her deep commitment to the GLSEN Research Institute and to building a global knowledge
      base on LGBTQ issues in education.




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EXECUTIVE SUMMARY




                                            GLSEN Student Ambassadors learn the
                                            ins and outs of media production at
                                            the KABC-TV studios during the 2014
                                            Ambassador Summit, where they met with
                                            industry professionals and learned about
                                            using their voices to advocate for change.



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ABOUT THE SURVEY

In 1999, GLSEN identified that little was known about the school experiences of lesbian, gay, bisexual,
transgender, and queer (LGBTQ) youth and that LGBTQ youth were nearly absent from national studies of
adolescents. We responded to this national need for data by launching the first National School Climate
Survey, and we continue to meet this need for current data by conducting the study every two years. Since
then, the biennial National School Climate Survey has documented the unique challenges LGBTQ students
face and identified interventions that can improve school climate. The study documents the prevalence of
indicators of a hostile school climate for LGBTQ students, and explores the effects that a hostile school
climate may have on LGBTQ students’ educational outcomes and well-being. The study also examines the
availability and the utility of LGBTQ-related school resources and supports that may offset the negative
effects of a hostile school climate and promote a positive learning experience. In addition to collecting
this critical data every two years, we also add and adapt survey questions to respond to the changing
world for LGBTQ youth. For example, in the 2019 survey we included questions about the activities of
LGBTQ-supportive student clubs. The National School Climate Survey remains one of the few studies to
examine the school experiences of LGBTQ students nationally, and its results have been vital to GLSEN’s
understanding of the issues that LGBTQ students face, thereby informing our ongoing work to ensure safe
and affirming schools for all.

In our 2019 report, we examine the experiences of LGBTQ students with regard to indicators of negative
school climate:

  • Hearing biased remarks, including homophobic remarks, in school;

  • Feeling unsafe in school because of personal characteristics, such as sexual orientation, gender
    expression, or race/ethnicity;

  • Missing classes or days of school because of safety reasons;

  • Experiencing harassment and assault in school; and

  • Experiencing discriminatory policies and practices at school.

In addition, we examine whether students report these experiences to school officials or their families, and
how these adults addressed the problem. Further, we examine the impact of a hostile school climate on
LGBTQ students’ academic achievement, educational aspirations and psychological well-being. We also
examine how the school experiences of LGBTQ students vary by personal and community characteristics.

We also demonstrate the degree to which LGBTQ students have access to supportive resources in school,
and we explore the possible benefits of these resources:

  • GSAs (Gay-Straight Alliances or Gender and Sexuality Alliances) or similar clubs;

  • Supportive and inclusive school policies, such as anti-bullying/harassment policies and transgender
    and nonbinary student policies;

  • Supportive school staff; and

  • Curricular resources that are inclusive of LGBTQ-related topics.

Given that GLSEN has been conducting the survey for two decades, we also examine changes over time on
indicators of negative school climate and levels of access to LGBTQ-related resources in schools.




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        METHODS

        The 2019 National School Climate Survey was conducted online from April through August 2019.
        To obtain a representative national sample of lesbian, gay, bisexual, transgender, and queer (LGBTQ)
        youth, we conducted outreach through national, regional, and local organizations that provide services
        to or advocate on behalf of LGBTQ youth, and advertised and promoted on social media sites, such
        as Instagram, Facebook, and Snapchat. To ensure representation of transgender youth, youth of color,
        and youth in rural communities, we made special efforts to notify groups and organizations that work
        predominantly with these populations.

        The final sample consisted of a total of 16,713 students between the ages of 13 and 21. Students were
        from all 50 states, the District of Columbia, Puerto Rico, American Samoa, and Guam. Just over two-thirds
        of the sample (69.2%) was White, two-fifths (41.6%) was cisgender female, and 40.4% identified as gay
        or lesbian. The average age of students in the sample was 15.5 years and they were in grades 6 to 12, with
        the largest numbers in grades 9, 10 and 11.


        SUMMARY OF FINDINGS

        Hostile School Climate

        Schools nationwide are hostile environments for a distressing number of LGBTQ students, the
        overwhelming majority of whom routinely hear anti-LGBTQ language and experience victimization and
        discrimination at school. As a result, many LGBTQ students avoid school activities or miss school entirely.

        School Safety

          • 59.1% of LGBTQ students felt unsafe at school because of their sexual orientation, 42.5% because of
            their gender expression, and 37.4% because of their gender.

          • 32.7% of LGBTQ students missed at least one entire day of school in the past month because they felt
            unsafe or uncomfortable, 8.6% missed four or more days in the past month.

          • Many avoided gender-segregated spaces in school because they felt unsafe or uncomfortable: 45.2%
            avoided bathrooms and 43.7% avoided locker rooms.

          • Most reported avoiding school functions (77.6%) and extracurricular activities (71.8%) because they
            felt unsafe or uncomfortable.

          • Nearly a fifth of LGBTQ students (17.1%) reported having ever changed schools due to feeling unsafe
            or uncomfortable at school.

        Anti-LGBTQ Remarks at School

          • Almost all LGBTQ students (98.8%) heard “gay” used in a negative way (e.g., “that’s so gay”) at
            school; 75.6% heard these remarks frequently or often, and 91.8% reported that they felt distressed
            because of this language.

          • 96.9% of LGBTQ students heard the phrase “no homo” at school, and 60.9% heard this phrase
            frequently or often.

          • 95.2% of LGBTQ students heard other types of homophobic remarks (e.g., “dyke” or “faggot”); 54.4%
            heard this type of language frequently or often.




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  • 91.8% of LGBTQ students heard negative remarks about gender expression (not acting “masculine
    enough” or “feminine enough”); 53.2% heard these remarks frequently or often.

  • 87.4% of LGBTQ students heard negative remarks specifically about transgender people, like “tranny”
    or “he/she;” 43.7% heard them frequently or often.

  • 52.4% of students reported hearing homophobic remarks from their teachers or other school staff, and
    66.7% of students reported hearing negative remarks about gender expression from teachers or other
    school staff.

  • Less than one-fifth of LGBTQ students (13.7%) reported that school staff intervened most of the time
    or always when overhearing homophobic remarks at school, and less than one-tenth of LGBTQ students
    (9.0%) reported that school staff intervened most of the time or always when overhearing negative
    remarks about gender expression.

Harassment and Assault at School

The vast majority of LGBTQ students (86.3%) experienced harassment or assault based on personal
characteristics, including sexual orientation, gender expression, gender, actual or perceived religion, actual
or perceived race and ethnicity, and actual or perceived disability.

  • 68.7% of LGBTQ students experienced verbal harassment (e.g., called names or threatened) at school
    based on sexual orientation, 56.9% based on gender expression, and 53.7% based on gender.

  • 25.7% of LGBTQ students were physically harassed (e.g., pushed or shoved) in the past year based on
    sexual orientation, 21.8% based on gender expression, and 22.2% based on gender.

  • 11.0% of LGBTQ students were physically assaulted (e.g., punched, kicked, injured with a weapon)
    in the past year based on sexual orientation, 9.5% based on gender expression, and 9.3% based on
    gender.

  • A sizable number of LGBTQ students were also bullied or harassed at school based on other
    characteristics – 36.5% based on actual or perceived disability, 23.1% based on actual or perceived
    religion, and 21.4% based on actual or perceived race or ethnicity.

  • 44.9% of LGBTQ students experienced electronic harassment in the past year (via text messages or
    postings on Facebook), often known as cyberbullying.

  • 58.3% of LGBTQ students were sexually harassed (e.g., unwanted touching or sexual remarks) in the
    past year at school.

Student Reporting of Harassment and Assault Incidents

  • 56.6% of LGBTQ students who were harassed or assaulted in school did not report the incident to
    school staff, most commonly because they doubted that effective intervention would occur or the
    situation could become worse if reported.

  • 60.5% of the students who did report an incident said that school staff did nothing in response or told
    the student to ignore it.

Discriminatory School Policies and Practices

Most LGBTQ students (59.1%) reported personally experiencing any LGBTQ-related discriminatory policies
or practices at school. Specifically, LGBTQ students reported being:



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       • Prevented from using bathrooms aligned with their gender identity: 28.4%.

       • Disciplined for public displays of affection that were not similarly disciplined among non-LGBTQ
         students: 28.0%.

       • Prevented from using locker rooms aligned with their gender identity: 27.2%.

       • Prevented from using chosen names/pronouns: 22.8%.

       • Prevented from wearing clothes considered “inappropriate” based on gender: 18.3%.

       • Prohibited from discussing or writing about LGBTQ topics in school assignments: 16.6%.

       • Prohibited from including LGBTQ topics in school extracurricular activities: 16.3%.

       • Restricted from forming or promoting a GSA: 14.7%.

       • Prevented from wearing clothing or items supporting LGBTQ issues: 10.7%.

       • Prevented or discouraged from participating in school sports because they were LGBTQ: 10.2%.

       • Prevented from attending a dance or function with someone of the same gender: 7.6%.

       • Disciplined for simply identifying as LGBTQ: 3.0%.


     Effects of a Hostile School Climate

     A hostile school climate affects students’ academic success and mental health. LGBTQ students who
     experience victimization and discrimination at school have worse educational outcomes and poorer
     psychological well-being.

     Effects of Victimization

       • LGBTQ students who experienced higher levels of victimization based on their sexual orientation:

           - Were nearly three times as likely to have missed school in the past month than those who
             experienced lower levels (57.2% vs. 21.7%);

           - Had lower grade point averages (GPAs) than students who were less often harassed (3.03 vs. 3.34);

           - Were nearly twice as likely to report that they did not plan to pursue any post-secondary education
             (e.g., college or trade school) than those who experienced lower levels (9.9% vs. 5.8%);

           - Were nearly twice as likely to have been disciplined at school (47.0% vs. 26.7%); and

           - Had lower self-esteem and school belonging and higher levels of depression.

       • LGBTQ students who experienced higher levels of victimization based on their gender expression:

           - Were almost three times as likely to have missed school in the past month than those who
             experienced lower levels (59.0% vs. 21.8%);

           - Had lower GPAs than students who were less often harassed (2.98 vs. 3.36);




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          - Were twice as likely to report that they did not plan to pursue any post-secondary education (e.g.,
            college or trade school; 11.1% vs. 5.4%);

          - Were more likely to have been disciplined at school (46.8% vs. 27.2%), and

          - Had lower self-esteem and school belonging and higher levels of depression.

  • Of the LGBTQ students who indicated that they were considering dropping out of school, a sizable
    percentage (42.2%) indicated that it was related to the harassment they faced at school.

Effects of Discrimination

  • Compared to LGBTQ students who did not experience LGBTQ-related discrimination at school, those
    who experienced discrimination:

          - Were nearly three times as likely to have missed school in the past month (44.1% vs. 16.4%);

          - Had lower GPAs (3.14 vs. 3.39);

          - Were more likely to have been disciplined at school (40.2% vs. 22.6%); and

          - Had lower self-esteem and school belonging and higher levels of depression.

  • Of the LGBTQ students who indicated that they were considering dropping out of school, a sizable
    percentage (30.1%) indicated that it was related to the hostile climate created by gendered school
    policies and practices.


LGBTQ-Related School Resources and Supports

Students who feel safe and supported at school have better educational outcomes. LGBTQ students
who have LGBTQ-related school resources report better school experiences and academic success.
Unfortunately, all too many schools fail to provide these critical resources.

GSAs (Gay-Straight Alliances/Gender and Sexuality Alliances)

Availability and Participation

  • Most LGBTQ students (61.6%) said that their school had a GSA or similar student club.

  • Most LGBTQ students with a GSA at school reported participating in the club at some level, but more
    than a third (38.2%) had not.

Utility

  • Compared to LGBTQ students who did not have a GSA in their school, students who had a GSA in their
    school:

          - Were less likely to hear “gay” used in a negative way often or frequently (70.5% vs. 83.5%);

          - Were less likely to hear the phrase “no homo” often or frequently (57.4% vs. 66.4%);

          - Were less likely to hear homophobic remarks such as “fag” or “dyke” often or frequently (49.4%
            vs. 62.5%);



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                 - Were less likely to hear negative remarks about gender expression often or frequently (49.3% vs.
                   59.5%);

                 - Were less likely to hear negative remarks about transgender people often or frequently (39.9% vs.
                   50.0%);

                 - Were more likely to report that school personnel intervened when hearing homophobic remarks —
                   16.4% vs. 9.4% reporting that staff intervened most of the time or always;

                 - Were less likely to feel unsafe regarding their sexual orientation (53.6% vs. 67.4%) and gender
                   expression (40.2% vs. 46.0%);

                 - Were less likely to miss school because of safety concerns (28.4% vs. 39.6%);

                 - Experienced lower levels of victimization related to their sexual orientation and gender expression;

                 - Reported a greater number of supportive school staff and more accepting peers; and

                 - Felt greater belonging to their school community.

       Inclusive Curricular Resources

       Availability

         • Only 19.4% of LGBTQ students were taught positive representations of LGBTQ people, history, or
           events in their schools; 17.0% had been taught negative content about LGBTQ topics.

         • Only 8.2% of students reported receiving LGBTQ-inclusive sex education.

         • Just under half of students (48.9%) reported that they could find information about LGBTQ-related
           issues in their school library.

         • Just over half of students with internet access at school (55.9%) reported being able to access
           LGBTQ-related information online via school computers.

       Utility

         • Compared to students in school without an LGBTQ-inclusive curriculum, LGBTQ students in schools
           with an LGBTQ-inclusive curriculum:

                 - Were less likely to hear “gay” used in a negative way often or frequently (59.2% vs. 79.8%);

                 - Were less likely to hear homophobic remarks such as “fag” or “dyke” often or frequently (38.6%
                   vs. 58.3%);

                 - Were less likely to hear negative remarks about gender expression often or frequently (30.1% vs.
                   47.2%);

                 - Were less likely to hear negative remarks about transgender people often or frequently (41.8% vs.
                   56.0%);

                 - Were less likely to feel unsafe because of their sexual orientation (44.4% vs. 62.7%) and gender
                   expression (33.5% vs. 44.7%);




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          - Experienced lower levels of victimization related to their sexual orientation and gender expression;

          - Were less likely to miss school in the past month because they felt unsafe or uncomfortable
            (23.2% vs. 35.0%);

          - Performed better academically in school (3.32 vs. 3.23 average GPA) and were more likely to plan
            on pursuing post-secondary education;

          - Were more likely to report that their classmates were somewhat or very accepting of LGBTQ people
            (66.9% vs. 37.9%); and

          - Felt greater belonging to their school community.

Supportive Educators

Availability

  • Almost all LGBTQ students (97.7%) could identify at least one staff member supportive of LGBTQ
    students at their school.

  • Approximately two-thirds of students (66.3%) could identify at least six supportive school staff.

  • Only 42.3% of students could identify 11 or more supportive staff.

  • Just over two-fifths of students (42.4%) reported that their school administration was somewhat or very
    supportive of LGBTQ students.

  • Over half of students (62.8%) had seen at least one Safe Space sticker or poster at their school (these
    stickers or posters often serve to identify supportive educators).

Utility

  • Compared to LGBTQ students with no or few supportive school staff (0 to 5), students with many (11
    or more) supportive staff at their school:

          - Were less likely to feel unsafe because of their sexual orientation (44.8% vs. 74.2%) and less
            likely to feel unsafe because of their gender expression (33.6% vs. 51.3%);

          - Were less likely to miss school because they felt unsafe or uncomfortable (21.3% vs. 45.9%);

          - Had higher GPAs (3.34 vs. 3.14);

          - Were less likely to say they might not graduate high school and more likely to plan on pursuing
            post-secondary education; and

          - Felt greater belonging to their school community.

  • Students who had seen a Safe Space sticker or poster in their school were more likely to identify
    school staff who were supportive of LGBTQ students.




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       Inclusive and Supportive School Policies

       Availability

         • Although a majority of students (79.1%) had an anti-bullying policy at their school, only 13.5% of
           students reported that their school had a comprehensive policy (i.e., one that specifically enumerates
           both sexual orientation and gender identity/expression).

         • Only 10.9% of LGBTQ students reported that their school or district had official policies or guidelines
           to support transgender or nonbinary students.

       Utility

         • LGBTQ students in schools with a comprehensive anti-bullying/harassment policy:

                 - Were less likely to hear “gay” used in a negative way often or frequently (63.4% vs. 77.6% of
                   students with a generic policy and 79.0% of students with no policy);

                 - Were less likely to hear the phrase “no homo” often or frequently (55.3% vs. 61.8% of students
                   with a generic policy and 62.5% of students with no policy);

                 - Were less likely to hear other homophobic remarks such as “fag” or “dyke” often or frequently
                   (43.9% vs. 55.7% of students with a generic policy and 58.8% of students with no policy);

                 - Were less likely to hear negative remarks about gender expression often or frequently (42.5% vs.
                   54.7% of students with a generic policy and 56.5% of students with no policy);

                 - Were less likely to hear negative remarks about transgender people often or frequently (35.4% vs.
                   44.5% of students with a generic policy and 47.5% of students with no policy);

                 - Were more likely to report that staff intervened when hearing anti-LGBTQ remarks than those with
                   a generic policy or no policy;

                 - Experienced less anti-LGBTQ victimization than those with a generic policy or no policy; and

                 - Were more likely to report victimization incidents to school staff and were more likely to rate
                   school staff’s responses to such incidents as effective than those with a generic policy or no policy.

         • Among transgender and nonbinary students, those in schools with transgender/nonbinary student
           policies or guidelines:

                 - Were less likely to experience anti-LGBTQ discrimination in their school than transgender and
                   nonbinary students in schools without such policies and guidelines. Specifically, they were:

                     ~ Less likely to be prevented from using their name or pronoun of choice in school (18.8% vs.
                       44.9%);

                     ~ Less likely to be prevented from using bathrooms aligned with their gender (26.7% vs.
                       53.6%);

                     ~ Less likely to be prevented from using locker rooms aligned with their gender (25.6% vs.
                       50.7%); and

                     ~ Less likely to be prevented from wearing clothes thought to be “inappropriate” based on
                       gender (6.9% vs. 23.9%);


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      - Were less likely to miss school because they felt unsafe or uncomfortable (36.5% vs. 42.4%) than
        transgender and nonbinary students in schools without such policies and guidelines; and

      - Felt greater belonging to their school community than transgender and nonbinary students in
        schools without such policies and guidelines.


Changes in School Climate for LGBTQ Students Over Time

Although school climate for LGBTQ students has improved overall since our first installment of this survey
in 1999, school remains quite hostile for many LGBTQ students. In 2019, we saw more positive changes
than we had in the 2017 installment of this survey, but not as much positive change as in prior years.

Changes in Indicators of Hostile School Climate

Anti-LGBTQ Remarks

  • The frequency with which LGBTQ students heard homophobic remarks like “fag” or “dyke” was
    lower in 2019 than in all prior years, and there was a general downward trend in hearing homophobic
    remarks from 2001 to 2015, but these remarks remained consistent between 2015 and 2017.

  • The expression “that’s so gay” remains the most common form of anti-LGBTQ language heard by LGBTQ
    students, and its prevalence has been increasing from 2015 to 2019, after years of consistent decline.

  • There was a sizeable increase in the frequency of LGBTQ students hearing “no homo” at school in
    2019, after a consistent pattern of decline between 2011 and 2017.

  • Negative remarks about gender expression have decreased from 2017 to 2019.

  • The frequency of hearing negative remarks about transgender people decreased between 2017 and
    2019, after a steady increase between 2013 and 2017.

  • After a steady decline in homophobic remarks from school staff between 2007 and 2013, there was no
    change from 2013 to 2017. In 2019, however, homophobic remarks from staff decreased once again.

  • There had been an upward trend from 2013 to 2017 in the frequency of staff making negative
    remarks about gender expression, however these remarks decreased in 2019 to levels that are similar
    to our findings from 2015.

Harassment and Assault

  • With regard to victimization based on sexual orientation:

      - After years of decline, the frequency of verbal harassment has not changed from 2015 to 2019; and

      - Frequencies of physical harassment resumed a pattern of decline in 2019 after no change
        occurred in 2017, and frequencies of physical assault resumed a pattern of decline in 2019 after
        no change occurred in 2015 and 2017.

  • With regard to victimization based on gender expression:

      - Frequencies of verbal harassment resumed a pattern of decline in 2019, following an increase
        between 2015 and 2017; and




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             - Physical harassment and assault continued a pattern of modest decline, and were lower in 2019
               than all previous years.

         • The frequency of LGBTQ students reporting victimization to school staff in 2019 was similar to 2017
           and greater than nearly all other years; however, the frequency of students rating staff intervention as
           effective in 2019 has remained similar from 2013 to 2017, and is somewhat lower than prior years.

       Discriminatory Policies and Practices

         • For all time points since we began asking about LGBTQ-related discrimination in 2013, over half of
           LGBTQ students experienced this type of discrimination at school. In 2019, students were less likely
           to experience any type of discrimination than in 2013 and 2017.

         • For most specific types of LGBTQ-related discrimination, incidence was greatest in 2013, and for
           certain gender-specific forms of discrimination — including being prevented from using facilities
           aligned with one’s gender, and being prevented from using chosen name/pronouns — incidence was
           greatest in 2017. However, incidence for most types of discrimination was lower in 2019 than in
           previous years.

       Changes in Availability of LGBTQ-Related School Resources and Supports

       Supportive Student Clubs (GSAs)

         • The percentage of LGBTQ students reporting that they have a GSA has continued to increase since
           2007, and was greater in 2019 than in all prior survey years.

       Curricular Resources

         • Overall, there has been little change in LGBTQ-related curricular resources over time.

             - Access to LGBTQ-related internet resources through school computers increased in 2019 and has
               steadily increased since 2007;

             - Access to LGBTQ-related books and library resources increased in 2019 and was higher than all
               previous years; and

             - The percentage of LGBTQ students who were taught positive LGBTQ-related content in class, as well
               as those with LGBTQ inclusion in textbooks and class resources, did not change in 2019 from 2017.

         • The percentage being taught negative LGBTQ-related content in class increased between 2013 and
           2015, and has not changed since 2015.

       Supportive Educators

         • The percentage of students who had at least one supportive educator was higher in 2019 than all
           previous years.

         • The percentage of students who had a high number of supportive educators (6 or more) was also
           higher in 2019 than all previous years.

       Anti-Bullying/Harassment Policies

         • Overall, there was a sharp increase in the number of students reporting any type of policy after 2009,
           and the rate has remained more or less consistent since 2011. After small increases from 2011 to




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    2015, and a small decline in 2017, the number of students with any type of policy did not change
    in 2019.

  • With regard to enumerated policies, there was a small but significant increase in the percentage of
    students reporting comprehensive school policies (i.e., policies that enumerate protections for both
    sexual orientation and gender identity/expression) from 2015 to 2017 and this percentage did not
    change in 2019. Further, there has been a steady, modest decline in the percentage reporting partially
    enumerated policies from 2015 to 2019, and the rate was lower in 2019 than all prior years.


Differences in LGBTQ Students’ School Experiences by Personal Demographics

LGBTQ students are a diverse population, and although they share many similar experiences, their
experiences in school often vary based on their personal demographics. We examined differences in LGBTQ
student experiences, based on: 1) sexual orientation, including differences between gay and lesbian,
bisexual, pansexual, queer, and questioning students; 2) gender identity, including differences between
and among transgender, nonbinary, cisgender, and questioning students; and 3) racial/ethnic identity,
including differences between Arab American/Middle Eastern/North African (MENA), Asian American/
Pacific Islander/Native Hawaiian (AAPI), Black, Latinx, Native American/American Indian/Alaska Native
(referred to as “Native and Indigenous”), multiracial, and White LGBTQ students.

Sexual Orientation

  • Overall, pansexual students experienced more hostile climates than gay and lesbian, bisexual, queer,
    and questioning students, including facing the highest rates of victimization, school discipline, and
    missing school because of safety reasons.

  • Compared to students of other sexual orientations, gay and lesbian students were more likely to be
    “out” about their sexual orientation at school – both to other students and to school staff.

Gender

  • Transgender students reported more hostile school experiences than LGBQ cisgender students and
    nonbinary students.

  • Nonbinary students reported more hostile school experiences than cisgender LGBQ students.

  • Among cisgender LGBQ students, male students experienced a more hostile school climate based on
    their gender expression and on sexual orientation than cisgender female students, whereas cisgender
    female students experienced a more hostile school climate based on their gender than cisgender male
    students.

Race and Ethnicity

  • All students of color experienced similar levels of victimization based on race/ethnicity, although
    Black students were more likely to feel unsafe about their race/ethnicity than AAPI, Latinx, Native and
    Indigenous, multiracial, and White students.

  • Native and Indigenous LGBTQ students were generally more likely than other racial/ethnic groups to
    experience anti-LGBTQ victimization and discrimination.

  • Many LGBTQ students of color experienced victimization based on both their race/ethnicity and
    their LGBTQ identities. The percentages of students of color experiencing these multiple forms of
    victimization were similar across racial/ethnic groups.



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       • White students were less likely than all other racial/ethnic groups to feel unsafe or experience
         victimization because of their racial/ethnic identity.


      Differences in LGBTQ Students’ School Experiences by School Characteristics

      LGBTQ students’ experiences in school may often vary based on the kind of school they attend and where
      they live.

      School Level

       • LGBTQ students in middle school had more hostile school experiences than LGBTQ students in
         high school, including experiencing higher rates of biased language, victimization, and anti-LGBTQ
         discriminatory school policies and practices.

       • LGBTQ middle school students were less likely than high school students to have access to LGBTQ-
         related school resources, including GSAs, supportive school personnel, LGBTQ-inclusive curricular
         resources, and inclusive policies.

      School Type

       • Overall, LGBTQ students in private non-religious schools had fewer hostile school experiences than
         those in public schools and those in religious schools.

       • LGBTQ public school students were most likely to hear homophobic remarks at school and experienced
         the greatest levels of gender-based victimization, whereas those in religious schools were most likely to
         hear negative remarks about gender expression.

       • Students in religious schools were the most likely to report experiencing anti-LGBTQ discriminatory
         school policies and practices.

       • Students in private non-religious schools had greater access to most LGBTQ-related school resources
         and supports than all others, however public school students were most likely to report having a GSA
         and most likely to report having LGBTQ-inclusive school library resources. Students in religious schools
         were least likely to have access to LGBTQ-related school resources and supports.

       • Among students in public schools, those in charter schools were similar to those in regular public
         schools regarding anti-LGBTQ experiences and many resources and supports, although charter school
         students were more likely to have access to: inclusive curricular resources, supportive policies for
         transgender and nonbinary students, and a supportive administration. Students in regular public
         schools were more likely to have LGBTQ-inclusive school library resources.

      School Locale

       • LGBTQ students in rural schools faced more hostile school climates than students in urban and
         suburban schools including experiencing higher rates of biased language, victimization, and anti-
         LGBTQ discriminatory school policies and practices.

       • LGBTQ students in suburban schools experienced lower levels of anti-LGBTQ victimization than all
         others.

       • LGBTQ students in rural schools were least likely to have LGBTQ-related school resources or supports,
         as compared to students in urban and suburban schools.




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Region

  • LGBTQ students in the South had more negative school experiences overall than students in all other
    regions, including higher rates of biased language, victimization, and anti-LGBTQ discriminatory
    school policies and practices; those in the Midwest had more negative experiences overall than those
    in the Northeast and West.

  • Overall, LGBTQ students in the South were least likely to have access to LGBTQ-related resources at
    school, whereas students in the Northeast were most likely to have LGBTQ-related school resources.


CONCLUSIONS AND RECOMMENDATIONS

It is clear that there is an urgent need for action to create safe and affirming learning environments for
LGBTQ students. Results from the 2019 National School Climate Survey demonstrate the ways in which
school-based supports — such as supportive staff, inclusive and supportive school policies, curricular
resources inclusive of LGBTQ people, and GSAs — can positively affect LGBTQ students’ school
experiences. Yet findings on school climate over time suggest that more efforts are needed to reduce
harassment and discrimination and increase affirmative supports. Based on these findings, we recommend:

  • Increasing student access to appropriate and accurate information regarding LGBTQ people, history,
    and events through inclusive curricula, and library and internet resources;

  • Supporting student clubs, such as GSAs, that provide support for LGBTQ students and address LGBTQ
    issues in education;

  • Providing professional development for school staff to improve rates of intervention and increase the
    number of supportive teachers and other staff available to students;

  • Ensuring that school policies and practices, such as those related to dress codes and school dances,
    do not discriminate against LGBTQ students;

  • Enacting school policies that provide transgender and gender nonbinary students equal access to school
    facilities and activities and specify appropriate educational practices to support these students; and

  • Adopting and implementing comprehensive bullying/harassment policies that specifically enumerate
    sexual orientation, gender identity, and gender expression in individual schools and districts, with clear
    and effective systems for reporting and addressing incidents that students experience.

Instituting these measures can move us toward a future in which all students have the opportunity to learn
and succeed in school, regardless of sexual orientation, gender identity, or gender expression.




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INTRODUCTION




                                                Candlelight vigil held during GLSEN’s
                                                2009 Safe Schools Advocacy Summit
                                                in Washington, D.C. for Lawrence King.
                                                King was a junior high student who was
                                                killed by a classmate because of his
                                                sexual orientation and gender expression.


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For nearly 30 years, GLSEN has worked to ensure         administration, LGBTQ students’ complaints of
that schools are safe and affirming spaces for all      discrimination were less likely to result in the
students, regardless of their sexual orientation,       OCR opening a formal investigation, and such
gender identity, or gender expression. As part of       complaints were more than nine times less likely to
its mission, GLSEN conducts research on sexual          be addressed and corrected.2
orientation, gender identity, and gender identity
issues in education to raise awareness among            The Equality Act, a bill that would establish anti-
policymakers, educators, advocates, and the             discrimination protections for LGBTQ people in all
general public. In 1999, GLSEN began conducting         federally funded programs, including in schools,
the GLSEN National School Climate Survey                was passed by the U.S. House of Representatives
(NSCS), a national biennial survey of secondary         in May of 2019. After passing in the House, the
school students who identified as lesbian, gay,         Trump administration released guidance opposing
bisexual, or transgender, and as identities change      the passage of the bill, and it failed to pass in
over time, later surveys included those who             the Senate. Without these protections, LGBTQ
identify also as pansexual, queer, transgender,         students, educators, and other staff remain
nonbinary, genderqueer, two-spirit, and other           vulnerable to discrimination in school. Further,
non-cisgender and non-heterosexual identities.          the Trump administration has worked to expand
(All aforementioned identities are referred to as       religious exemptions from federal civil rights laws.3
“LGBTQ” in this report). The NSCS explores the          Such exemptions allow private religious schools
experiences of U.S. LGBTQ middle and high school        to discriminate against students and teachers
students, reports on the prevalence of anti-LGBTQ       based on their sexual orientation or gender identity
language, discrimination, and victimization, and        without any legal consequences. Additionally,
the impact that these experiences have on LGBTQ         DeVos has worked diligently to divert public
students’ educational outcomes and well-being.          money from public schools to private and
The NSCS also examines the availability of school       religious schools,4 which would reduce public
resources and supports and their utility for creating   school resources while financially strengthening
safer and more affirming learning environments          schools that can legally discriminate based on
for LGBTQ students, including GSAs (Gay-Straight        LGBTQ identity.
Alliances or Gender and Sexuality Alliances) and
similar supportive student clubs, LGBTQ-inclusive       At the state level however, we have seen some
curricular resources, supportive educators, and         progress in addressing hostile climates for LGBTQ
inclusive and supportive school district policies.      youth. Between 2017 and 2019, numerous states
                                                        passed LGBTQ affirming legislation. For example,
Since our 2017 NSCS report, we have continued           New Mexico passed an enumerated anti-bullying
to see the Federal Government roll back many            and harassment bill in 2019, becoming the 21st
LGBTQ-supportive actions of the previous                state to prohibit students from being discriminated
administration, sending a message to LGBTQ youth        against based on their sexual orientation or
that their safety is not a priority. In 2017, the       gender identity.5 Illinois, New Jersey, Oregon, and
Departments of Justice and Education under the          Colorado passed legislation requiring LGBTQ-
Trump administration rescinded guidance1 created        inclusive curricular standards in 2019,6 increasing
under the Obama administration that had declared        the number of students in the U.S. who will be
that Title IX protects the rights of transgender        exposed to positive representations of LGBTQ
students, including their right to access school        people and issues. Arizona also took a step toward
facilities, such as bathrooms and locker rooms, in      greater curricular inclusion in 2019 when the state
accordance with their gender identity. (Title IX is     repealed its “No Promo Homo” law7 — a type of
a federal civil rights law prohibiting discrimination   law which restricts LGBTQ curricular inclusion in
based on sex in schools that receive federal            health class, and which has been shown to have
funding.) Further, in 2018 it was revealed              broad negative effects on school climate.8
that under U.S. Secretary of Education Betsy
DeVos, the Department of Education was failing          Between 2017 and 2019, many discriminatory
to investigate complaints of discrimination by          state-level bills that were introduced during this
LGBTQ students. Compared to the actions of the          time focused on restricting transgender students’
Office of Civil Rights (OCR) during the Obama           participation in school sports teams, and limiting
administration, since the start of the Trump            their access to public spaces, including bathrooms



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    and locker rooms.9 For example, six states in          environments or school experiences of transgender
    2018 and four states in 2019 introduced bills          and nonbinary youth. Furthermore, virtually none of
    to bar transgender people, including transgender       the U.S. research is national in scope. One notable
    students, from using the bathrooms or locker rooms     exception is the National Center for Transgender
    that align with their gender. Although these bills     Equality’s (NCTE) series of reports based on their
    failed to become laws, they have sparked local,        U.S. Transgender Survey, a survey of transgender
    state-wide, and national conversations about the       adults that includes critical national data about
    rights of transgender and nonbinary people, which      their past school experiences, among other topics.
    may have resulted in negative attention toward         The 2015 U.S. Transgender Survey documented
    transgender and nonbinary students across the          high rates of violence at school, and illustrated
    country. Indeed, although public opinions about        the detrimental effects of these experiences on
    LGBTQ people have improved over time, recent           socioeconomic outcomes and psychological well-
    public polling shows more favorable attitudes about    being.15 NCTE’s study found that 12% of the
    the rights of LGBQ people than about transgender       sample had been out as transgender or perceived to
    people and their rights.10                             be transgender at some point in their K-12 school
                                                           years, that the majority of these respondents (77%)
    In addition to the visibility of transgender and       had experienced one or more negative experiences
    nonbinary issues brought to the fore by federal        at school, and that nearly a fifth (17%) left school
    and state actions, there has been increasing           because of mistreatment. However, because
    visibility in popular culture.11 Television shows      the NCTE study is a survey of adults, these
    with young audiences, such as One Day at a Time,       questions were about past school experiences, and
    Supergirl, and Pose tell stories about transgender     therefore may not be representative of the current
    and nonbinary characters, and many shows feature       experiences of transgender and nonbinary students
    transgender characters played by transgender           in school.
    actors. Additionally, films, young adult novels, and
    national ad campaigns have featured transgender        Although there has been a lack of national-level
    and nonbinary people in recent years. Transgender      data specifically examining the school experiences
    Day of Remembrance and International Day of            of transgender and nonbinary youth, more work has
    Transgender Visibility are recognized by celebrities   been done to examine LGBTQ youth in general.
    and influencers across social media. Now, more         For example, the Centers for Disease Control
    than ever before, transgender youth are able to        and Prevention (CDC) Division of Adolescent and
    find positive representations of themselves in the     School Health (DASH) added questions about
    media and popular culture that they consume. This      sexual orientation to the federal and standard
    representation has resulted in heightened visibility   versions of their Youth Risk Behavior Survey
    of transgender and nonbinary people and issues,        (YRBS) in 2015. Additionally, CDC DASH has
    yet this heightened visibility has also come with      begun asking students about transgender identity.
    increased transphobic rhetoric and sentiment.12        In 2017, this question was piloted in 19 Youth
    Vocal opponents to the progress of transgender         Risk Behavior Surveillance System (YRBSS) sites,
    and nonbinary people have gained large followings      and in 2019 the item was approved for use as an
    on social media, and “trans exclusionary radical       optional question available for all YRBSS sites to
    feminists,” who espouse transphobic ideas about        use. These changes will allow policymakers and
    gender, have been given platforms in respected         educators to collect state and local data about, and
    news and media outlets.13 As transgender               better understand, the experiences of transgender
    and nonbinary people gain more visibility and          youth in their states or localities. Most recent
    representation, they also face more opposition.        results from the national 2017 YRBS data reveal
                                                           that lesbian, gay, and bisexual students are at
    Despite this increase in visibility regarding          greater risk for most adverse health outcomes,
    transgender and nonbinary youth, there still           including school violence.16 Further, the 2017
    remains a dearth of national-level data on the         YRBS results from the 19 locations that asked
    school experiences of these young people. Much         about transgender identity similarly reveal a
    of the academic literature that has been recently      greater risk for adverse health outcomes among
    published about transgender and nonbinary youth        transgender students, compared to their cisgender
    has focused on mental and physical health.14           peers.17 The Trevor Project’s National Survey on
    Less research has examined the educational             LGBTQ Mental Health from 201918 contributes




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invaluable data about LGBTQ youth’s mental health    access to LGBTQ-related resources in schools. In
and information on how to best provide care and      recognition of the 20th anniversary of our National
support; however, their research contains limited    School Climate Survey, this year’s report includes
information about school experiences. Given          multiple insights that take a closer look at changes
that the YRBS is focused specifically on health      in LGBTQ youth and identities over time, while
risk behaviors, and the Trevor Project’s report is   centering the experiences of the most marginalized
focused on mental health, both surveys include       youth. We examine how youth’s endorsement of
limited items specifically related to the school     different sexual orientation and gender identity
environment. GLSEN’s National School Climate         terms and labels has evolved, how transgender
survey continues to be vitally important to the      students’ experiences with discriminatory policies
understanding of the school experiences of LGBTQ     and practices has changed throughout the years,
students nationally.                                 how the experiences of LGBTQ youth of color have
                                                     changed with regard to race-based victimization,
The 2019 NSCS offers a broad understanding of        and how anti-immigrant bias experienced by
the policies, practices, and conditions that make    LGBTQ youth has changed in recent years. In
LGBTQ students more vulnerable to discrimination     addition, as there has been tremendous growth
and victimization at school and how these            in the number of GSAs in schools across the
experiences impact their educational success         United States over the past 20 years, we provide
and trajectories. This report also demonstrates      a deeper examination into the role of these
the resilience of LGBTQ youth, even in the face      supportive clubs in schools and LGBTQ students’
of hostile environments, and highlights the ways     experiences with them. The 2019 NSCS report
LGBTQ students are engaging in school and taking     offers advocates, educators, and policymakers
steps to improve their schools and communities.      up-to-date and valuable information that will
Given that we have been conducting the NSCS for      strengthen their work in creating safe and affirming
twenty years, we continue to examine changes over    schools for all students.
time on measures of school climate and levels of




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METHODS AND
SAMPLE




                                            Student organizers brainstorm at GLSEN’s
                                            2013 Safe Schools Advocacy Summit,
                                            a weekend of learning and lobbying,
                                            where safe schools advocates from across
                                            the country gathered and met with U.S.
                                            representatives about passing safe schools
                                            legislation.



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Participants completed an online survey about          who were not connected to or engaged in LGBTQ
their experiences in school during the 2018–2019       communities in some way. Thus, in order to
school year, including hearing biased remarks,         broaden our reach to LGBTQ students who may
feeling safe, being harassed, feeling comfortable      not have had such connections, we conducted
at school, and experiencing discriminatory actions.    targeted outreach and advertising through social
Participants were also asked about their academic      media sites. Specifically, we broadly advertised the
experiences, attitudes about school, involvement       survey on Facebook, Instagram, and Snapchat to
in school, and availability of supportive school       U.S. users between 13 and 18 years of age who
resources. Youth were eligible to participate in       had interests aligned with LGBTQ communities
the survey if they were at least 13 years of age,      and issues. To ensure representation of groups who
attended a K–12 school in the United States            have historically been underrepresented in national
during the 2018–19 school year, and identified         surveys of LGBTQ youth and past GLSEN surveys,
as lesbian, gay, bisexual, pansexual, queer, or a      including transgender girls, LGBTQ youth of color,
sexual orientation other than heterosexual (e.g.,      and cisgender gay, bisexual, and queer boys,
homoflexible, questioning) or described themselves     additional advertisements were targeted specifically
as transgender or as having another gender identity    to these groups. Additionally, GLSEN reached out
that is not cisgender (“cisgender” describes a         to “influencers,” or well-known young actors and
person whose gender identity is aligned with the       social media personalities, with large LGBTQ youth
sex/gender they were assigned at birth). Data          audiences and asked them to post or talk about
collection occurred between April and August           the survey on their social media pages. Information
2019.                                                  about the survey was also posted on subgroups or
                                                       pages of social media sites with significant LGBTQ
The survey was available online through GLSEN’s        youth content or LGBTQ youth followers. Lastly,
website. The survey and survey outreach materials      advertisements for the survey were placed on
were available in English and Spanish. Notices         digital billboards in malls and shopping centers in
and announcements were sent through GLSEN’s            cities across the country.
email and chapter networks, SMS messages to
GLSEN constituents, and on GLSEN’s social              The final sample consisted of a total of 16,713
media pages including Facebook, Instagram and          students between the ages of 13 and 21. Students
Twitter. Additionally, national, regional, and local   came from all 50 states, the District of Columbia,
organizations that provide services to or advocate     Puerto Rico, American Samoa, and Guam. Table
on behalf of LGBTQ youth posted notices about the      M1 presents participants’ demographic and
survey on listservs, websites, and social network      educational characteristics, and Table M2 shows
accounts. Local organizations serving LGBTQ youth      the characteristics of the schools attended by
and GLSEN chapters also notified their participants    participants. As shown in Table M1, 69.2% was
about the online survey via paper flyers, and          White, 41.6% was cisgender female, and 40.4%
promotional stickers. To ensure representation         identified as gay or lesbian. Students were in
of transgender and gender nonconforming youth,         grades 6 to 12, and most participants were in
youth of color, and youth in rural communities,        9th, 10th, and 11th grades (see also Table M1).
additional outreach efforts were made to notify        As shown in Table M2, the majority of LGBTQ
groups and organizations that work predominantly       students were in public schools (89.8%) and
with these populations about the survey.               nearly half (45.2%) were from suburban schools.
                                                       Compared to national public school enrollment19,
Contacting participants only through LGBTQ             our sample included more students from the North
youth-serving groups and organizations would           and Midwest and fewer students from the South.20
have limited our ability to reach LGBTQ students




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     Insight on Emerging Sexual Orientation and
     Gender Identity Terms Over Time

     Over the last 20 years, sexual orientation and gender identities have changed and evolved. LGBTQ youth
     in 2020 identify in countless different ways, whereas in the early 2000s, they may have more commonly
     identified with the terms “lesbian,” “gay,” “bisexual,” and “transgender.” As new identity terms arose
     through the years, and as youth began to endorse them, our survey adapted to account for the current
     sexual orientation and gender identity labels being endorsed by LGBTQ youth. Thus, we believe our
     surveys may provide some insight into when identity terms emerged among LGBTQ youth, as new sexual
     orientation and gender identities were added to sexual orientation and gender identity measure items after
     being endorsed by youth throughout the years.
     In 2001, the second iteration of the National School Climate Survey, an option was provided for students
     to write in their sexual orientation or gender identity if they identified as something different from the
     provided options. These open-ended response options, and the youth voices that the responses allowed us
     to capture, have been vital in adapting how we ask about students’ LGBTQ identities.
     Queer. In our 2001 survey, “queer” was not listed as an option on our sexual orientation item, but was
     written in by over 20 students. In the following years, students continued to write in “queer” as their
     sexual orientation at a growing rate. It was the most popular write-in response in 2005, and was added as
     an option in all later surveys.
     Pansexual. Just as students wrote in “queer” in 2001, a few students also wrote in “pansexual.”
     Although “queer” was a more common write-in response than “pansexual” in the early years of the survey,
     “pansexual” gradually increased in frequency over time and became the most common write-in response
     before being added as an option to the sexual orientation item in 2015.
     Although the terms “pansexual” and “bisexual” may share certain meaning, it became clear that
     “pansexual” is a discrete term, different from “bisexual,” given that “pansexual” continued to increase in
     usage over the years. Since “pansexual” was added to the sexual orientation item in 2015, the percentage
     of our sample identifying as pansexual has remained relatively consistent (just under 20% of the sample),
     as has the percentage of students identifying as bisexual (around a third of the sample).
     Asexual. In 2003, one student wrote in “asexual” as their sexual orientation. Over the years, this
     term grew in frequency in write-in responses, often accompanied by romantic orientation terms such
     as “homoromantic” and “panromantic.” More specific asexual identities, such as “demisexual” and
     “graysexual,” have appeared and increased in more recent years. “Demisexual” first appeared in 2011,
     and “graysexual” in 2015. By the 2015 survey, almost 400 students had written in an asexual identity.
     In 2017, “asexual” was added as an option in the sexual orientation item.
     Genderqueer. Gender identities have also emerged and evolved in the 20 years of NSCS survey
     administration. In 2001, there was one instance of a student identifying as “genderqueer,” and the
     number of students identifying their gender in this way continued to grow. Before being added as an option
     on the gender identity item in 2013, the only non-cisgender options listed for students to select were
     transgender identities.
     Nonbinary. In more recent years, nonbinary identities have also emerged. “Nonbinary” first appeared in the
     write-in responses in 2011 and was written in by a small number of students in 2011 and 2013. However, a
     much larger number of students identified as nonbinary in 2015, and it was added to the survey in 2017.
     Honoring youth voices and allowing them to report all the identities with which they are aligned has allowed
     us to better understand the emerging identities that youth have endorsed over the last 20 years. We believe
     that using this information to modify our identity items to better accommodate the current times and to
     represent a more diverse and large number of sexual orientation and sexual orientation identities, has allowed
     more youth to feel affirmed and visible in our survey. It has also been a benefit to our research, as we have
     become increasingly able to examine more nuanced differences in school experiences based on different
     sexual orientation and gender identities (You can read more about the differences in experiences of youth
     with different sexual orientation identities and different gender identities in the “School Climate by Sexual
     Orientation” and “School Climate by Gender” sections in Part 3 of this report).



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              Table M.1 Demographic and Educational Characteristics of Survey Participants
Sexual Orientation21 (n = 16578)                   Gender26 (n = 16632)
Gay or Lesbian                             40.4%   Cisgender                                 51.4%
Bisexual                                   32.9%      Female                                 41.6%
Pansexual22                                18.0%      Male                                    9.6%
Queer                                       3.9%      Nonbinary/Genderqueer                   0.2%
Asexual  23
                                            1.7%   Transgender                               28.2%
Another Sexual Orientation (e.g., fluid,              Female                                  1.1%
  heterosexual)                             1.2%      Male                                   16.9%
Questioning or Unsure                       1.9%      Nonbinary/Genderqueer                   5.7%

Race and Ethnicity24 (n = 16631)                      Unspecified                             4.5%

White                                      69.2%   Nonbinary                                 15.1%

Hispanic or Latinx,25 any race             14.6%      Nonbinary or Genderqueer Only           9.8%

African American or Black                   2.6%      Nonbinary or Genderqueer Female         2.6%

Asian American, Pacific Islander,                     Nonbinary or Genderqueer Male           0.5%
   and Native Hawaiian                      3.1%      Other Nonbinary Gender Identity
Arab American, Middle Eastern,                           (e.g., agender, demigender)          2.2%
   or North African                         1.3%   Questioning                                5.3%
Native American, American Indian or         0.5%
  Alaska Native                                    Grade in School (n = 16640)
Multiracial                                 8.6%   6th                                        1.2%
                                                   7th                                        6.9%
Religious Affiliation (n = 16657)                  8th                                       14.5%
Christian (non-denominational)             12.3%   9th                                       21.7%
Catholic                                    5.3%   10th                                      22.8%
Protestant                                  2.0%   11th                                      20.1%
Jewish                                      2.6%   12th                                      12.7%
Buddhist                                    1.1%
Muslim                                      0.3%   Receive Educational Accommodations27 (n = 16598)
Hindu                                       0.3%   23.9%
Another Religion (e.g., Unitarian
  Universalist, Wiccan, Pagan)              8.7%   Average Age (n = 16713) = 15.5 years
No Religion, Atheist, or Agnostic          67.2%

Sex at Birth (n = 16676)
Assigned Male                              13.1%
Assigned Female                            86.9%
Intersex (regardless of assigned sex)       0.6%




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                           Table M.2 Characteristics of Survey Participants’ Schools
     Grade Level (n = 16664)                              School Type (n = 16529)
     K through 12 School                      7.6%        Public School                         89.8%
     Lower School (elementary and                            Charter                             4.1%
       middle grades)                         1.7%           Magnet                              8.6%
     Middle School                           15.8%        Religious-Affiliated School            3.7%
     Upper School (middle and high grades)    8.1%        Other Independent or Private School    6.5%
     High School                             66.7%
                                                          Region28 (n = 16695)
     School Locale (n = 16488)                            Northeast                             21.5%
     Urban                                   24.0%        South                                 29.8%
     Suburban                                45.2%        Midwest                               24.9%
     Rural or Small Town                     30.9%        West                                  23.4%
                                                          U.S. Territories                       0.4%




12   EXHIBIT D                                                                                 42
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PART ONE:
EXTENT AND EFFECTS
OF HOSTILE SCHOOL
CLIMATE
Members of GLSEN’s National
Student Council march at the
2019 World Pride march in
New York City, on the 50th
anniversary of the 1969
Stonewall Riots.




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School Safety




                                       Key Findings
                                       •    6 in 10 LGBTQ students reported feeling unsafe
                                            at school because of their sexual orientation; 4
                                            in 10 reported feeling unsafe at school because
                                            of how they expressed their gender.

                                       •    One-third of LGBTQ students missed at least
                                            one day of school in the past month because
                                            they felt unsafe at or on their way to or from
                                            school.

                                       •    Nearly one-fifth of LGBTQ students reported
                                            having changed schools due to feeling unsafe or
                                            uncomfortable at school.

                                       •    LGBTQ students reported most commonly
                                            avoiding school bathrooms and locker rooms
                                            because they felt unsafe or uncomfortable in
                                            those spaces.

                                       •    Most LGBTQ students reported avoiding school
                                            functions and extracurricular activities to some
                                            extent, and over a quarter avoided them often or
                                            frequently.




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     Overall Safety at School                                        We also asked students to tell us if they felt unsafe
                                                                     at school for another reason not included in the
     For LGBTQ youth, school can be an unsafe place                  listed characteristics and, if so, why. As also shown
     for a variety of reasons. Students in our survey                in Figure 1.1, 8.5% of survey participants reported
     were asked whether they ever felt unsafe at school              feeling unsafe at school for other reasons, most
     because of a personal characteristic, including:                commonly due to fear or threat of gun violence
     sexual orientation, gender, gender expression                   or other types of violence, mental health issues
     (i.e., how traditionally “masculine” or “feminine”              such as anxiety or depression, and sexually
     they were in appearance or behavior), body size                 biased incidents, such as sexual violence, sexual
     or weight, family’s income or economic status,                  harassment, or sexist language.
     academic ability, citizenship status, and actual or
     perceived race or ethnicity, disability, and religion.          School Engagement and Safety Concerns
     Almost 8 in 10 LGBTQ students (79.6%) reported
     feeling unsafe at school because of at least one of             When students feel unsafe or uncomfortable in
     these personal characteristics. As shown in Figure              school, they may choose to avoid the particular
     1.1, LGBTQ students most commonly felt unsafe at                areas or activities where they feel most unwelcome
     school because of their sexual orientation or their             or may feel that they need to avoid attending
     gender expression,29 with 68.9% reporting feeling               school altogether. Thus, a hostile school climate
     unsafe for one, or both, of these reasons.                      can impact an LGBTQ student’s ability to fully
                                                                     engage and participate with the school community.
       • More than half of LGBTQ students (59.1%)
         reported feeling unsafe at school because of                Avoiding spaces. To examine this possible restriction
         their sexual orientation.                                   of LGBTQ students’ school engagement, we asked
                                                                     LGBTQ students if there were particular spaces
       • Four in ten students (42.5%) felt unsafe                    at school that they avoided specifically because
         because of how they expressed their gender.                 they felt unsafe or uncomfortable. As shown in
                                                                     Figure 1.2, school bathrooms, locker rooms, and
       • Sizable percentages of LGBTQ students also                  physical education or gym classes were most
         reported feeling unsafe because of their body               commonly avoided, with approximately 4 in 10
         size or weight (39.6%), gender (37.4%),                     students avoiding each of these spaces because
         emotional, developmental, or physical                       they felt unsafe or uncomfortable (45.2%, 43.7%,
         disability (29.5%), and because of their                    and 40.2% respectively). One-quarter of LGBTQ
         academic ability or how well they do in school              students avoided school athletic fields or facilities
         (23.3%).                                                    (25.1%) or the school cafeteria or lunchroom
                                                                     (25.9%) because they felt unsafe or uncomfortable.

                Figure 1.1 LGBTQ Students Who Felt Unsafe at School Because of Actual or Perceived Personal Characteristics
              59.1%
     60%

                                                                   “Do you feel unsafe at school because of...”

                       42.5%
                                 39.6%
     40%                                  37.4%

                                                    29.5%

                                                              23.3%

     20%
                                                                          14.9%
                                                                                     10.5%
                                                                                                 7.5%                         8.5%

                                                                                                           1.5%     1.4%
     0%
             Sexual      Gender Body Size Gender   Disability Academic     Family   Religion    Race or    English Citizenship Other
           Orientation Expression or Weight                    Ability    Income               Ethnicity Proficiency Status Reasons




16   EXHIBIT D                                                                                                46
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Insight on Feelings of Safety Regarding Citizenship Over Time

Increasing anti-immigrant rhetoric and government actions in recent years1 further complicate an already
complex environment negotiated by LGBTQ immigrants in the United States. Among LGBTQ youth, who
already routinely experience negative classroom environments, those not born in the U.S. may experience
further marginalization. For these reasons, in 2013, we began asking LGBTQ students about their feelings
of safety at school regarding their citizenship status. Given the aforementioned recent increases in anti-
immigrant attitudes and actions, for this report, we examined whether these feelings of safety have
changed over time for foreign-born students.2

As shown in the figure, across all years, LGBTQ students who were undocumented were more likely to
feel unsafe at school regarding their citizenship status than those who were documented residents as well
as those who were U.S. citizens. We also found that even those LGBTQ students who were documented
residents were more likely to feel unsafe in school regarding citizenship than those who were U.S. citizens
across all years. From 2013 to 2019, as shown in the figure, these feelings of safety remained similar
across years for each group, with one notable exception: undocumented LGBTQ students were significantly
more likely to feel unsafe regarding their citizenship status in 2019 than in 2017. We did not observe
any significant differences across years for foreign-born LGBTQ students who were U.S. citizens or
documented residents.

Overall, these results suggest that, in
                                                    Feeling Unsafe in School Because of Citizenship Status Among
addition to anti-LGBTQ harassment                                   Foreign-Born LGBTQ Students
and discrimination, some LGBTQ
immigrant students may also face           70%
challenges at school regarding their
citizenship status. All students born      60%
outside the U.S. may face challenges
                                           50%
with acculturation in the school
                                                                                                            Undocumented
environment,3 as well as legal scrutiny    40%                                                              Resident
over their right to reside in the U.S. at
all. However, national anti-immigrant      30%                                                              Documented
                                                                                                            Resident
policy and rhetoric may exacerbate
                                           20%
these challenges, especially for                                                                            U.S.
undocumented students. For example,                                                                         Citizen
                                           10%
in February 2019, a national state
of emergency was declared to fund a         0%
wall along the U.S.-Mexico border, in             2013          2015           2017          2019
which undocumented immigrants were
characterized as violent criminals.4
Thus, it is not surprising that undocumented LGBTQ students were more likely than all other foreign-born
LGBTQ students to feel unsafe regarding their citizenship status across all years, and that undocumented
LGBTQ students in 2019 were more likely to report feeling unsafe for this reason than those in 2017. Our
findings also underscore the importance of acknowledging the multiple identities held by LGBTQ students,
and ensuring that programs and resources for and about LGBTQ students respond to the needs and
experiences of immigrant students and their families.
1
    Pierce, S. (2019). Immigration-Related Policy Changes in the First Two Years of the Trump Administration. Washington, DC: Migration Policy Institute.
2
    To test differences in the percentages of LGBTQ students who were born outside the United States and its territories on feeling unsafe because of
    citizen status over time, a two-way analysis of covariance (ANCOVA) was performed, controlling for demographic and method differences across
    survey years, with two independent variables Survey Year and Citizenship Status (U.S. Citizen, Documented Resident, Undocumented Resident),
    and the interaction Survey Year X Citizenship Status. The main effect for Survey Year was significant: F(3, 1939) = 3.31, p<05, ηp2 = .01. Pairwise
    differences were considered at p<.05 and indicated that the percentage was higher in 2019 than all other years. The main effect for Citizenship
    Status was also significant: F(2, 1939) = 157.31, p<001, ηp2 = .14. Pairwise differences indicated a higher percentage of feeling unsafe for
    Undocumented Residents than all others, and a higher percentage for Documented Residents compared to U.S. Citizens. The interaction term
    was also significant: F(6, 1939) = 2.82, p<05, ηp2 = .01. Post-hoc t-test comparisons indicated a significant difference across years only for
    Undocumented Residents, specifically a significant increase from 2017 to 2019.
3
    Schwartz, S. J., Waterman, A. S., Umaña-Taylor, A. J., Lee, R. M., Kim, S. Y., Vazsonyi, A. T., Huynh, Q.-L., Whitbourne, S. K., Park, I. J. K.,
    Hudson, M., Zamboanga, B. L., Bersamin, M. M., & Williams, M. K. (2013). Acculturation and well-being among college students from immigrant
    families. Journal of Clinical Psychology, 69(4), 298–318.
4
    Taylor, J., & Naylor, B. (2019 February 15). As Trump declares national emergency to fund border wall, democrats promise a fight. National Public
    Radio. Retrieved from https://www.npr.org/2019/02/15/695012728/trump-expected-to-declare-national-emergency-to-help-fund-southern-border-wall




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     “I don’t feel very safe or                                   avoided them often or frequently (31.3% and
                                                                  25.9%, respectively).
     accepted at my school at
     all. I feel like if I were to                                Avoiding school. Feeling unsafe or uncomfortable
                                                                  at school can negatively affect the ability of
     come out to my friends/                                      students to thrive and succeed academically,
                                                                  particularly if it results in avoiding school
     classmates, I would be                                       altogether. When asked about absenteeism,
     hated for just being                                         about one third of LGBTQ students (32.7%)
                                                                  reported missing at least one entire day of school
     who I am.”                                                   in the past month because they felt unsafe or
                                                                  uncomfortable, and just under a tenth (8.6%)
     Avoiding functions and extracurricular activities.           missed four or more days in the past month (see
     In addition to avoiding certain spaces in school             Figure 1.4). Additionally, in some cases, the
     because of safety reasons, LGBTQ students may                school environment may be so hostile that some
     also avoid other more social aspects of student              students need to leave their current school. In
     life, for similar fears for personal safety. For             the 2017 survey, we asked students whether they
     any student, involvement in school community                 had ever changed schools due to feeling unsafe or
     activities like clubs or special events can have a           uncomfortable; slightly less than a fifth of LGBTQ
     positive impact on students’ sense of belonging at           students (17.1%) reported having done so (see
     school, self-esteem, and academic achievement.30             Figure 1.5).
     However, LGBTQ students who do not feel safe or
     comfortable in these environments may not have               The majority of LGBTQ youth do not feel safe at
     full access to the benefits of engaging in these             their schools because of their sexual orientation,
     school activities. Thus, we specifically asked               gender expression, and gender identity, and
     students if they avoided school functions, such as           frequently avoid school spaces and activities
     school dances or assemblies, and extracurricular             at school. These high rates of avoiding school
     clubs or programs because of feeling unsafe or               activities indicate that LGBTQ students may be
     uncomfortable. As seen in Figure 1.3, most LGBTQ             discouraged from full participation in school life,
     students reported avoiding school functions and              and for some, are being denied access to their
     extracurricular activities to some extent (77.6%             education because they avoid school altogether for
     and 71.8%, respectively), and over a quarter                 safety reasons.


        Figure 1.2 Percentage of LGBTQ Students Who Avoided Spaces at School Because They Felt Unsafe or Uncomfortable



        50%
                 45.2%      43.7%
                                       40.2%
        40%

        30%
                                                   25.9%       25.1%

        20%                                                               17.2%
                                                                                      12.2%          11.1%
        10%
                                                                                                                  3.0%
         0%
              Bathrooms    Locker     Physical Cafeteria or School        School   Hallways or       School Other Spaces
                           Rooms     Education Lunch Room Athletic        Buses     Stairwells      Grounds        (e.g.,
                                      (P.E.) or             Fields or                            (e.g., parking classrooms,
                                     Gym Class              Facilities                                lots)       offices)




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       Figure 1.3 LGBTQ Students Who Avoided               Figure 1.4 Frequency of Missing Days of School in the
          School Activities Because They Felt             Past Month Because of Feeling Unsafe or Uncomfortable
               Unsafe or Uncomfortable
                                                                                    1 Day
 80%                                                                                10.6%
                                                             0 Days
           17.3%                                             67.3%
                            12.7%
 60%                                         Frequently                                         2 or 3 Days
           14.0%            13.2%
                                                                                                13.5%
                                             Often
 40%
           23.1%            21.4%
                                             Sometimes                                           4 or 5 Days
 20%                                                                                             3.6%
           23.2%            24.5%            Rarely
                                                                                               6 or More Days
  0%                                                                                           5.0%
            School       Extracurricular
          Functions      Activities (e.g.,
         (e.g., school    after-school
           dances)     clubs or programs)



       Figure 1.5 Percentage of LGBTQ Students
           Who Changed Schools Because of
                School Safety Concerns




                      17.1%
                  of LGBTQ students
                  reported changing
                 schools because they
                     felt unsafe or
                     uncomfortable




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Exposure to Biased
Language




  Key Findings
  •   Three-fourths of LGBTQ students heard the word “gay” used in a negative way often or
      frequently at school.

  •   More than half of LGBTQ students heard the phrase “no homo” often or frequently at school.

  •   Over half of LGBTQ students heard homophobic remarks such as “fag” or “dyke” often or
      frequently at school.

  •   More than half of LGBTQ students heard negative remarks about gender expression often
      or frequently at school. Remarks about students not acting “masculine enough” were more
      common than remarks about students not acting “feminine enough.”

  •   More than two-fifths of LGBTQ students heard negative remarks specifically about transgender
      people, such as “tranny” or “he/she,” often or frequently.

  •   More than half of LGBTQ students heard homophobic remarks from school staff, and two-thirds
      heard negative remarks from staff about students’ gender expression.

  •   Less than one-fifth of LGBTQ students reported that school staff intervened most of the time
      or always when overhearing homophobic remarks at school, and nearly one-tenth of LGBTQ
      students reported that school staff intervened most of the time or always when overhearing
      negative remarks about gender expression.

  •   More than 3 in 4 LGBTQ students heard sexist remarks often or frequently at school, and three-
      quarters of students heard negative remarks about ability (e.g., “retard” or “spaz”) often or
      frequently.
  •   Over half of LGBTQ students heard their peers make racist remarks often or frequently at
      school, and almost a fifth of students heard negative remarks about students’ immigration
      status often or frequently.
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     GLSEN strives to make schools safe and affirming                  students (75.6%) reporting that they heard these
     for all students, regardless of their sexual                      types of comments often or frequently in their
     orientation, gender identity or expression, or any                schools. These expressions are often used to mean
     other characteristic that may be the basis for                    that something or someone is stupid or worthless
     harassment. Keeping classrooms and hallways free                  and, thus, may be dismissed as innocuous by
     of homophobic, sexist, racist, and other types of                 school authorities and students in comparison
     biased language is one aspect of creating a more                  to overtly derogatory remarks such as “faggot”
     positive school climate for all students. Thus, we                or “dyke.” However, 91.8% of LGBTQ students
     asked LGBTQ students about their experiences                      reported that hearing “gay” used in a negative
     with hearing anti-LGBTQ remarks and other types                   manner caused them to feel bothered or distressed
     of biased remarks while at school. We further asked               to some degree (see Figure 1.7).
     students in our survey about school staff’s usage
     of and responses to hearing anti-LGBTQ language,                  “No homo” is a phrase employed at the end
     specifically.                                                     of a statement in order to rid it of a potential
                                                                       homosexual connotation. For instance, some
     Hearing Anti-LGBTQ Remarks at School                              might use the phrase after giving a compliment
                                                                       to someone of the same gender, as in, “I like
     We asked students about the frequency with                        your jeans—no homo.” This expression is
     which they heard homophobic remarks (such as                      homophobic in that it promotes the notion that it
     “faggot” and “dyke,” the word “gay” being used                    is unacceptable to have a same-gender attraction.
     in a negative way, or the phrase “no homo”). We                   This expression was also heard regularly by
     also asked about the frequency of hearing negative                students in our 2019 survey — the majority of
     remarks about the way students expressed their                    LGBTQ students (60.9%) reported hearing this
     gender at school (such as comments related to                     remark often or frequently in their schools (see also
     a female student not acting “feminine enough”)                    Figure 1.6). We also asked LGBTQ students who
     and negative remarks about transgender people                     heard homophobic remarks in school how pervasive
     (such as “tranny” or “he/she”). Further, we also                  this behavior was among the student population.
     asked students about the frequency of hearing                     As shown in Figure 1.8, almost a quarter of
     these types of remarks from school staff, as well as              students (23.2%) reported that these types of
     whether anyone intervened when hearing this type                  remarks were made by most of their peers.
     of language at school.
                                                                       Students who reported hearing homophobic
     Homophobic remarks. As shown in Figure 1.6,                       remarks at school were asked how often
     more than half of LGBTQ students (54.4%)                          homophobic remarks were made in the presence
     reported hearing homophobic remarks, such as                      of teachers or other school staff, and whether
     “fag” or “dyke,” regularly (often or frequently) at               staff intervened when present. Almost a third
     school. The most common form of homophobic                        of students in our survey (35.7%) reported that
     language that was heard by LGBTQ students in                      school staff members were present all or most of
     our survey was “gay” being used in a negative way                 the time when homophobic remarks were made.
     at school, such as comments like “that’s so gay”                  When school staff were present, the use of biased
     or “you’re so gay,”31 with three-fourths of LGBTQ                 and derogatory language by students remained

                                      Figure 1.6 Frequency of Hearing Anti-LGBTQ Remarks at School
                                                                                   6.8%
                                                            “That’s So Gay” 1.2%      16.5%    25.2%             50.4%

                                                         “No Homo”     3.1% 13.5%     22.5%    24.2%         36.7%

                  Other Homophobic Remarks (e.g., “fag” or “dyke”)    4.8% 16.7%     24.1%     23.8%       30.6%

                                  Remarks about Gender Expression     8.2% 13.2%     25.4%     26.6%        26.6%

        Remarks about Transgender People (e.g., “tranny,” “he/she”) 12.6% 16.8%     26.9%      19.9%     23.8%

                                                              Never     Rarely     Sometimes     Often    Frequently




22   EXHIBIT D                                                                                               52
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largely unchallenged. Nearly half (46.6%)              1) how often they heard remarks about someone
reported that staff never intervened when hearing      not acting “masculine enough,” and 2) how often
homophobic remarks, and only 13.7% reported            they heard comments about someone not acting
that school personnel intervened most of the time      “feminine enough.” Findings from this survey
or always when homophobic remarks were made in         indicate that negative remarks about someone’s
their presence (see Figure 1.9). One would expect      gender expression were pervasive in schools.
teachers and school staff to bear the responsibility   As previously shown in Figure 1.6, 53.2% of
for addressing problems of biased language in          students reported hearing either type of remark
school. However, given that school personnel are       often or frequently. Figure 1.10 shows the specific
often not present during these incidents, students     frequencies of the two variables: hearing remarks
may also intervene when hearing biased language.       about other students not acting “masculine
Thus, other students’ willingness to intervene         enough” and hearing remarks about other students
when hearing this kind of language may be another      not acting “feminine enough.” Remarks related
important indicator of school climate. However,        to students not acting “masculine enough” were
less than a tenth of students (6.4%) reported that     found to be more common than remarks related to
their peers intervened always or most of the time      students not acting “feminine enough.”32 Nearly
when hearing homophobic remarks, and more than         half of students (46.9%) heard negative comments
half (59.8%) said their peers never intervened (see    related to students’ masculinity regularly (i.e.,
also Figure 1.9).                                      often or frequently), compared to just under a third
                                                       of students (31.9%) that regularly heard comments
Altogether, these findings indicate that the           related to students’ femininity. When asked how
majority of LGBTQ students report rampant usage        much of the student population made these types
of homophobic remarks in their schools, which          of remarks, almost a fifth of students (17.4%)
contributes to a hostile learning environment          reported that most of their peers made negative
for this population. Infrequent intervention by        remarks about someone’s gender expression (see
school authorities when hearing such language in       Figure 1.11).
school may also send a message to students that
homophobic language is tolerated.                      Almost a third of students in our survey who heard
                                                       negative remarks about gender expression (30.7%)
Negative remarks about gender expression. Society      reported that school staff members were present
often imposes norms for what is considered             all or most of the time when these remarks were
appropriate expression of one’s gender. Those who      made. In addition, intervention by educators
express themselves in a manner considered to be        regarding gender expression remarks was even
atypical may experience criticism, harassment, and     less common than intervention for homophobic
sometimes violence. Thus, we asked students in         remarks — 9.0% of LGBTQ students reported
our survey two separate questions about hearing        that school staff intervened most of the time or
comments related to a student’s gender expression:     always when remarks about gender expression
                                                       were made in their presence (see Figure 1.12),
      Figure 1.7 Degree that LGBTQ Students Were
          Bothered or Distressed as a Result of                Figure 1.8 LGBTQ Students’ Reports of
         Hearing “Gay” Used in a Derogatory Way            How Many Students Make Homophobic Remarks
                                                                               None
                              Not at all                                       0.6%
                              8.2%
                                                               Most                          A Few
     Extremely                                                23.2%                          22.9%
     21.7%



                                            A little
                                            32.6%


                                                                                            Some
                                                                                            53.3%
     Pretty much
     37.5%




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     compared to 13.7% of LGBTQ students who                       challenge to “traditional” ideas about gender. Also,
     reported that staff intervened most of the time or            in recent years, there has been greater transgender
     always for homophobic remarks (see Figure 1.9).33             visibility in the media and more political attention
     Furthermore, less than a tenth of students (8.6%)             to transgender student rights.34 Therefore, we
     reported that other students intervened most of the           asked students about how often they heard
     time or always when negative remarks about gender             negative remarks specifically about transgender
     expression were made.                                         people, like “tranny” or “he/she.” Over two-fifths
                                                                   of LGBTQ students in our survey (43.7%) reported
     The high frequency of hearing these remarks,                  hearing these comments often or frequently (see
     coupled with the fact that these comments are                 Figure 1.6).
     so rarely challenged by adults at school, suggests
     that a range of gender expressions may not be                 The pervasiveness of anti-LGBTQ remarks is a
     commonly tolerated in schools. In addition,                   concerning contribution to hostile school climates
     homophobic remarks may be more commonly                       for all LGBTQ students. Any negative remark about
     understood by school personnel to be inappropriate            sexual orientation, gender identity, or gender
     for the school environment than are negative                  expression may signal to LGBTQ students that they
     remarks about someone’s gender expression, and                are unwelcome in their school communities, even
     greater education among school professionals may              if a specific negative comment is not personally
     be needed for them to understand the contribution             applicable to the individual student who hears it.
     of gender bias to a hostile school environment.               For example, negative comments about gender
                                                                   expression may disparage transgender or LGB
     Negative remarks about transgender people.                    people, even if transgender-specific or homophobic
     Similar to negative comments about gender                     slurs are not used.
     expression, people may make negative comments
     about transgender people because they can pose a


              Figure 1.9 LGBTQ Students’ Reports                         Figure 1.10 Frequency of LGBTQ Students
                of Staff and Student Intervention                        Hearing Different Types of Remarks about
                    in Homophobic Remarks                                       Students’ Gender Expression

     100%                         0.9%                               100%
                 3.0%
                                  5.5%                                                        15.6%
                10.7%
                                                                                23.0%
      80%                         33.9%                               80%                     16.3%
                                                                                                             Frequently
                39.7%                                                           23.9%
      60%                                       Always                60%                                    Often
                                                                                              24.6%

                                                Most of the time                                             Sometimes
      40%                                                             40%       26.4%
                                  59.8%         Some of the time                              26.9%          Rarely
                46.6%
      20%                                                             20%       16.5%
                                                Never                                                        Never
                                                                                              16.6%
                                                                                10.1%
       0%                                                               0%
                  Staff          Student                                      Comments      Comments
            Intervention for Intervention for                                   about         about
             Homophobic       Homophobic                                      Not Acting    Not Acting
               Remarks          Remarks                                       “Masculine    “Feminine
                                                                               Enough”       Enough”




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    Figure 1.11 LGBTQ Students’ Reports of How Many             Figure 1.12 LGBTQ Students’ Reports of Staff
Students Make Negative Remarks about Gender Expression          and Student Intervention in Negative Remarks
                           None
                                                                          about Gender Expression
                           1.4%
          Most                                                         1.9%            1.0%
         17.4%                                           100%
                                                                       7.1%            7.6%

                                                         80%
                                                                      31.6%
                                                                                      40.7%
                                           A Few
                                           38.2%         60%                                          Always

                                                                                                      Most of the time
                                                         40%
                                                                      59.5%                           Some of the time
                                                                                      50.6%
       Some                                              20%
       43.0%                                                                                          Never

                                                          0%
                                                                       Staff          Student
                                                                   Intervention     Intervention
                                                                    for Gender       for Gender
                                                                    Expression       Expression
                                                                     Remarks          Remarks




                           Anti-LGBTQ Remarks from School Personnel
We asked the students in our survey how often
                                                            Figure 1.13 Frequency of LGBTQ Students
they hear homophobic remarks and negative                    Hearing Negative Remarks from Teachers
remarks about gender expression from teachers                         or Other School Staff
or other school staff. Disturbingly, slightly more
                                                                       1.0%             3.9%
than half of students (52.4%) reported hearing           100%          2.5%
homophobic remarks from their teachers or other                        13.0%            7.7%
school staff (see Figure 1.13). Further, two thirds
                                                          80%                          22.3%
of students (66.7%) had heard teachers or other                                                       Frequently
school staff make negative comments about a                            35.9%
student’s gender expression (see Figure 1.13).            60%                                         Often
LGBTQ students heard school staff make negative                                        32.8%
                                                                                                      Sometimes
remarks about gender expression more frequently           40%
than homophobic remarks.35 In that most students                                                      Rarely
                                                                       47.6%
in our 2019 survey heard school staff make                20%                          33.3%
homophobic remarks and negative remarks about                                                         Never
gender expression themselves, school staff may be
                                                           0%
modeling poor behavior and legitimizing the use                    Homophobic         Negative
of anti-LGBTQ language.                                             Remarks        Remarks about
                                                                                  Gender Expression




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     “Many students at my                                                   heard negative remarks about students’ ability/
                                                                            disability regularly. Negative remarks about
     school use offensive                                                   students’ weight or body size and racist remarks
     language about race,                                                   were also very commonly heard types of biased
                                                                            remarks, with over half having heard these types
     gender and sexuality                                                   of remarks regularly from other students (56.6%
                                                                            and 55.8%, respectively). Comments about religion
     which very few people                                                  were somewhat less common, with nearly a quarter
     do anything about.”                                                    (23.4%) reporting hearing negative remarks
                                                                            about other students’ religion from other students
                                                                            regularly. Least commonly heard were negative
     Hearing Other Types of Biased Remarks                                  remarks about students’ immigration status, with
     at School                                                              almost a fifth (17.4%) reporting that they heard
                                                                            them regularly at school.
     In addition to hearing anti-LGBTQ remarks at
     school, hearing other types of biased language                         Hearing biased or derogatory language is a
     is also an important indicator of school climate                       common occurrence at school, and most teachers
     for LGBTQ students. We asked students about                            and other school authorities did not consistently
     their experiences hearing racist remarks, sexist                       intervene when these remarks were made in their
     remarks (such as someone being called “bitch”                          presence, with regard to homophobic remarks and
     in a negative way, or girls being talked about as                      negative remarks about gender expression. Thus,
     inferior to boys), negative remarks about other                        the pervasive use of biased language would remain
     students’ ability (such as “retard” or “spaz”),                        largely unchallenged. In order to ensure schools are
     negative remarks about other students’ religion,                       welcoming and safe for LGBTQ students, teachers
     negative remarks about other students’ body size                       and other school personnel need to intervene
     or weight, and negative remarks about students’                        when LGBTQ-biased remarks are made in their
     immigration status (such as “illegal,” “alien,” or                     presence, and school personnel need to make clear
     “anchor baby”) at school. The LGBTQ students                           to students that such biased remarks will not be
     in our survey reported that many of these types                        tolerated. Although homophobic and sexist remarks
     of remarks were commonplace at their schools,                          were most commonly heard at school, other types
     although some comments were more prevalent                             of remarks were also common, such as remarks
     than others (see Figure 1.14). The majority of                         about a student’s ability or body size or weight.
     LGBTQ students (77.4%) heard sexist remarks                            As such, any type of biased remark tolerated in
     regularly (i.e., frequently or often) at their school.                 school can create an unwelcoming environment
     In fact, sexist remarks were the most commonly                         for all students, and especially for students with
     heard remark — even more than homophobic                               marginalized identities.
     remarks.36 In addition, the majority (74.9%) also

                            Figure 1.14 Frequency of LGBTQ Students Hearing Other Biased Remarks in School
                                                                         5.7%
                                                  Sexist Remarks     2.0%    14.9%       22.3%                55.1%

            Remarks about Ability (e.g., “retarded” or “spaz”)    2.5% 6.9% 15.6%        23.7%                51.2%

                 Remarks about Weight or Body Size      4.6% 13.2%          25.6%        23.7%            32.9%

                                     Racist Remarks    4.6% 13.9%            25.7%       23.6%            32.2%

            Remarks about Religion        19.6%          32.3%              24.7%      11.6% 11.8%
            Remarks about
            Immigration Status              39.8%                  26.8%      16.0% 8.1% 9.3%
                                             Never               Rarely    Sometimes   Often Frequently




26   EXHIBIT D                                                                                                    56
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Experiences of
Harassment and
Assault at School




  Key Findings
  •   More than 8 in 10 LGBTQ students experienced harassment or assault at school.

  •   LGBTQ students were most commonly harassed or assaulted at school based on sexual
      orientation and gender expression.

  •   Over two-thirds of LGBTQ students reported being verbally harassed at school due to their
      sexual orientation; more than half were verbally harassed because of their gender expression.

  •   A quarter of LGBTQ students reported being physically harassed at school due to their sexual
      orientation; over a fifth were physically harassed because of their gender expression.

  •   1 in 7 LGBTQ students reported being physically assaulted at school in the past year due to
      their sexual orientation, gender, or gender expression.

  •   Over a third of LGBTQ students reported being bullied or harassed due to their actual or
      perceived disability, and more than 1 in 5 reported being harassed based on their religion and
      actual or perceived disability.

  •   Relational aggression (i.e. spreading rumors or deliberate exclusion) was reported by the vast
      majority of LGBTQ students.

  •   Over two-fifths of LGBTQ students reported experiencing some form of electronic harassment
      (“cyberbullying”) in the past year.

  •   Nearly 6 in 10 LGBTQ students were sexually harassed at school in the past year.




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     Hearing anti-LGBTQ remarks in school can                    • More than two-thirds of LGBTQ students
     contribute to feeling unsafe and create a negative            (68.7%) were verbally harassed at school in
     learning environment. However, direct experiences             the past year based on their sexual orientation;
     with harassment and assault may have even more                over a fifth (21.7%) experienced this
     serious consequences on the lives of students.                harassment often or frequently;
     The vast majority of LGBTQ students (86.3%)
     experienced harassment or assault based on                  • A majority of LGBTQ students (56.9%) were
     personal characteristics, including sexual                    verbally harassed at school in the past year
     orientation, gender expression, gender, and actual or         based on their gender expression; a fifth
     perceived race and ethnicity, religion, and disability.       (20.0%) experienced this harassment often or
                                                                   frequently;
     Harassment and Assault Based on Sexual
     Orientation, Gender, and Gender Expression                  • Over half of LGBTQ students (53.7%) were
                                                                   verbally harassed at school in the past year
     We asked survey participants how often (“never,”              based on their gender; nearly a fifth (18.3%)
     “rarely,” “sometimes,” “often,” or “frequently”)              experienced this harassment often or frequently.
     they had been verbally harassed, physically
     harassed, or physically assaulted at school               Physical harassment. With regard to physical
     during the past year specifically based on sexual         harassment, over a third of LGBTQ students
     orientation, gender, and gender expression (e.g.,         (34.2%) had been physically harassed (e.g., shoved
     not acting “masculine” or “feminine enough”).             or pushed) at some point at school during the
                                                               past year based on their sexual orientation, gender
     Verbal harassment. Students in our survey were            expression, or gender. Students most commonly
     asked how often in the past year they had been            reported being physically harassed at school based
     verbally harassed (e.g., been called names or             on their sexual orientation, followed by gender
     threatened) at school specifically based on sexual        expression and gender (see Figure 1.16):38
     orientation, gender expression, and gender.
     An overwhelming majority (81.0%) reported                   • Approximately a quarter of LGBTQ students
     being verbally harassed at some point in the                  (25.7%) were physically harassed at school in
     past year, and over a third (35.1%) experienced               the past year based on their sexual orientation;
     higher frequencies (often or frequently) of verbal            5.4% experienced this harassment often or
     harassment based on any of these characteristics.             frequently;
     LGBTQ students most commonly reported
     experiencing verbal harassment at school based              • More than a fifth of LGBTQ students (21.8%)
     on their sexual orientation, followed by gender               were physically harassed at school in the
     expression (see Figure 1.15):37                               past year based on their gender expression;
        Figure 1.15 Frequency of Verbal Harassment Based on
          Sexual Orientation, Gender, and Gender Expression     Figure 1.16 Frequency of Physical Harassment Based on
       Experienced by LGBTQ Students in the Past School Year       Sexual Orientation, Gender, and Gender Expression
                                                                Experienced by LGBTQ Students in the Past School Year
      80%
                                                                30%

               9.6%
      60%                                                                2.7%
               12.1%         9.3%                 Frequently             2.7%                    2.5%
                                                                20%                  2.5%
                                       8.6%
                                                                                     2.8%        2.6%      Frequently
                           10.7%       9.7%       Often                  7.7%
      40%
               23.6%                                                                 6.2%        6.6%
                                                                                                           Often
                           18.1%                  Sometimes
                                       17.2%
                                                                10%
                                                                                                           Sometimes
      20%                                         Rarely
                                                                        12.6%
               23.4%                                                               10.3%         10.5%
                           18.8%       18.2%                                                               Rarely

       0%                                                        0%
              Sexual        Gender     Gender                           Sexual      Gender       Gender
            Orientation   Expression                                  Orientation Expression




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      5.3% experienced this harassment often or          “As soon as I came out, I
      frequently; and
                                                         was actively tormented and
  • Over a fifth of LGBTQ students (22.2%) were
    physically harassed at school in the past year
                                                         bullied by the popular boys
    based on their gender; 5.1% experienced this         and sexually harassed by
    harassment often or frequently.
                                                         them as well.”
Physical assault. LGBTQ students were less likely
to report experiencing physical assault (e.g., being
punched, kicked, or injured with a weapon) at            for many LGBTQ students, students also may
school than verbal or physical harassment,39 which       be victimized for other reasons, given that
is not surprising given the more severe nature of        LGBTQ students, like all people, hold multiple
assault. Nonetheless, 14.8% of students in our           identities. We also asked LGBTQ students about
survey were assaulted at school during the past          their experiences with harassment related to
year based on their sexual orientation, gender,          other identity-based characteristics, including
or gender expression. As we found with physical          their religion, their actual or perceived race or
harassment, LGBTQ students most commonly                 ethnicity, and an actual or perceived emotional,
experienced physical assault based on their sexual       developmental, or physical disability. As shown
orientation, followed by assault based on gender         in Figure 1.18, over a third of LGBTQ students
expression and gender (see Figure 1.17):40               were harassed at school based on their actual or
                                                         perceived disability (36.5%), and more than one in
  • 11.0% of LGBTQ students were physically              five reported being harassed at school based on their
    assaulted at school in the past year based on        religion (23.1%) and actual or perceived race or
    their sexual orientation;                            ethnicity (21.4%).

  • 9.5% of LGBTQ students were physically               Other Types of Harassment and Negative Events
    assaulted at school in the past year based on
    how they expressed their gender; and                 LGBTQ students may be harassed or experience
                                                         other negative events at school for reasons that
  • 9.3% of LGBTQ students were physically               are not clearly related to their gender, sexuality,
    assaulted at school in the past year school          or other identities. In our survey, we also asked
    based on their gender.                               students how often they experienced these other
                                                         types of events in the past year, such as sexual
Harassment and Assault Based on Other                    harassment and deliberate property damage.
Characteristics
                                                               Figure 1.18 Frequency of Other Identity-Based
Although harassment based on gender and sexuality                 Harassment and Assault Experienced by
may be the most salient type of victimization                     LGBTQ Students in the Past School Year

                                                         40%
   Figure 1.17 Frequency of Physical Assault Based on            3.0%
   Sexual Orientation, Gender, and Gender Expression
 Experienced by LGBTQ Students in the Past School Year   30%     5.3%

15%
                                                                             1.4%
                                                                 11.9%                   1.4%
                                                         20%                 2.0%                        Frequently
                                            Frequently                                   2.0%
10%       1.5%
                                                                             7.2%                        Often
          1.0%       1.3%       1.2%        Often                                        6.5%
          2.7%       1.0%       1.0%
                     2.4%       2.4%                     10%                                             Sometimes
 5%                                         Sometimes            16.3%
          5.8%                                                              12.5%       11.5%
                     4.8%       4.7%                                                                     Rarely
                                            Rarely
 0%                                                       0%
         Sexual      Gender     Gender                         Disability   Religion    Race/
       Orientation Expression                                                          Ethnicity




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     Sexual harassment. Survey participants were asked           students at their school via electronic media (for
     how often they had experienced sexual harassment            example, text messages, emails, Instagram, Twitter,
     at school in the past year, such as unwanted                Tumblr, Facebook, Snapchat), and over two-fifths
     touching or sexual remarks directed at them.                of LGBTQ students (44.9%) reported experiencing
     As shown in Figure 1.19, a majority of LGBTQ                this type of harassment in the past year, with
     students (58.3%) had been sexually harassed                 10.8% reporting that they experienced it often or
     at school, and 13.4% reported that such events              frequently (see also Figure 1.19).
     occurred often or frequently.
                                                                 Property theft or damage at school. Having one’s
     Relational aggression. Research on school-based             personal property damaged or stolen is yet another
     bullying and harassment often focuses on physical           dimension of a hostile school climate for students.
     or overt acts of aggressive behavior; however, it           Over a third of LGBTQ students (35.7%) reported
     is also important to examine relational forms of            that their property had been stolen or purposefully
     aggression that can damage peer relationships,              damaged by other students at school in the past
     such as spreading rumors or excluding students              year, and 5.5% said that such events had occurred
     from peer activities.41 We asked participants how           often or frequently (see Figure 1.19).
     often they had experienced two common forms of
     relational aggression: being purposefully excluded          In this section, we found that the vast majority
     by peers and being the target of mean rumors or             of LGBTQ students experienced identity-based
     lies. As illustrated in Figure 1.19, the vast majority      harassment at school, most-often targeting
     of LGBTQ students (90.1%) in our survey reported            their LGBTQ identities. We also found that, in
     that they had felt deliberately excluded or “left           addition to verbal and physical harassment and
     out” by other students, and nearly half (47.5%)             assault, LGBTQ students faced other forms of
     experienced this often or frequently. Most LGBTQ            harassment, such as relational aggression and
     students (73.6%) had mean rumors or lies told               sexual harassment. Although we do not know the
     about them at school, and over a quarter (25.2%)            degree to which these other forms of harassment
     experienced this often or frequently.                       target students’ LGBTQ identities, it is likely that
                                                                 LGBTQ youth face these forms of peer victimization
     Electronic harassment or “cyberbullying.”                   more frequently than their non-LGBTQ peers.
     Electronic harassment (often called                         These forms of victimization can have serious
     “cyberbullying”) is using an electronic medium,             consequences on students’ academic outcomes
     such as a mobile phone or the Internet, to threaten         and well-being, and we examine these relationships
     or harm others.42 We asked students in our survey           for LGBTQ students later in this report.
     how often they were harassed or threatened by

                                 Figure 1.19 Frequency of Other Types of Harassment Experienced by
                                              LGBTQ Students in the Past School Year
                 100%


                   80%       25.7%
                                         12.8%
                   60%                                                                               Frequently
                             21.8%       12.4%         5.5%
                                                       7.8%
                                                                     5.4%         2.5%               Often
                   40%                   22.7%         20.4%         5.5%
                             25.0%                                                3.0%
                                                                    13.6%         10.0%              Sometimes
                   20%
                                         25.7%         24.5%        20.5%                            Rarely
                             17.6%                                                20.2%
                    0%
                            Social      Rumors        Sexual     Cyberbullying   Property
                           Exclusion                Harassment                   Damage




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    Reporting of School-
    Based Harassment
    and Assault




Key Findings
•   The majority of LGBTQ students who were harassed or
    assaulted at school did not report these incidents to school
    staff.

•   The most common reasons that LGBTQ students did not
    report incidents of victimization to school staff were doubts
    that effective intervention would occur, and fears that
    reporting would make the situation worse.

•   When asked to describe how staff responded to reports of
    victimization, LGBTQ students most commonly said that
    staff did nothing or told the student to ignore it; 2 in 10
    students were told to change their behavior (e.g., to not act
    “so gay” or dress in a certain way)

•   Just over a quarter of LGBTQ students who had reported
    incidents of victimization to school staff said that staff had
    effectively addressed the problem.




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     GLSEN advocates that anti-bullying/harassment          were more likely to tell their families about the
     measures in school must include clear processes        victimization they were experiencing in school
     for reporting by both students and staff, and          (52.3% vs. 28.1%).43
     stipulations that staff are adequately trained
     to effectively address instances of bullying           Reasons for Not Reporting Harassment
     and harassment when informed about them.               or Assault
     In our survey, we asked those students who
     had experienced harassment or assault in the           Reporting incidents of harassment and assault
     past school year how often they had reported           to school staff may be an intimidating task for
     the incidents to school staff. Given that family       students, especially when there is no guarantee
     members may be able to advocate on behalf of the       that reporting these incidents will result in
     student with school personnel, we further asked        effective intervention. Students who indicated that
     students in our survey if they reported harassment     they had not always told school personnel about
     or assault to a family member (i.e., to a parent,      their experiences with harassment or assault were
     guardian, or other family member), and if family       asked why they did not do so. Table 1.1 shows
     members intervened on their behalf with the school.    the frequencies for the reasons given by survey
                                                            respondents for not reporting.
     As shown in Figure 1.20, over half of these
     students (56.6%) never reported incidents of           Doubted that effective intervention would occur.
     victimization to school staff, and less than a fifth   As shown in Table 1.1, the most common reasons
     of students (16.7%) indicated that they reported       that LGBTQ students cited for not always reporting
     these incidents to staff regularly (i.e., reporting    incidents of victimization to school staff were
     “most of the time” or “always”). Less than half of     related to doubt that doing so would be effective.
     students (44.9%) said that they had ever told a        Almost three-fourths of victimized students in our
     family member about the victimization they faced       survey (72.7%) expressed the belief that school
     at school (see also Figure 1.20), and of those         staff would not do anything about the harassment
     who had, only half (51.9%) reported that a family      even if they reported it. In addition, about two-
     member had ever addressed the issue with school        thirds of students (65.8%) believed that even if
     staff (see Figure 1.21). Although more research is     staff did do something, their actions would not
     needed to understand why LGBTQ students do not         effectively address the victimization that they were
     inform their families about school victimization,      experiencing.
     we posit that one reason may be related to whether
     or not they are out to a parent or guardian.           Feared making the situation worse. Many LGBTQ
     We, indeed, found that students who were out           students indicated that they did not report
     as LGBTQ to at least one parent or guardian            instances of victimization because they were
                                                            afraid of exacerbating an already hostile situation.
                                                            For example, nearly two-thirds of these students
                                                            (63.0%) indicated they wanted to avoid being
       Figure 1.20 Frequency of LGBTQ Students Reporting
               Incidents of Harassment and Assault
                                                                     Figure 1.21 Frequency of Intervention by
        100%                       6.6%
                    8.3%                                           LGBTQ Students’ Family Members (n = 5020)
                    10.3%         10.1%
          80%                                                        Always
                    26.3%         26.7%          Always              15.0%                           Never
                                                                                                     48.1%
          60%
                                                 Most of
                                                 the time       Most of
          40%                                                   the time
                                                 Some of        12.5%
                    55.1%         56.6%          the time
          20%
                                                 Never

           0%                                                       Some of
                Family Member   School Staff                        the time
                 (n = 11195)    (n = 11159)                         24.4%




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labeled a “snitch” or “tattle-tale.” Furthermore,                          students experience, or may simply choose not
many students did not report their harassment                              to help. Perhaps the most troubling, however, is
or assault to school staff due to concerns about                           that nearly one-tenth of victimized students in our
confidentiality. Specifically, approximately two-                          survey (8.5%) said that school staff members were
fifths of LGBTQ students in our survey (43.5%)                             actually part of the harassment or assault they were
were worried about being “outed” to school staff                           experiencing, thus leaving students to feel that
or to their family members simply by reporting the                         there is no recourse for addressing incidents of
bias-based bullying that they were experiencing.                           victimization at their school.
Lastly, just over two-fifths of students (41.6%)
expressed explicit safety concerns, such as fear of                        Staff themselves perpetrating victimization against
retaliation from the perpetrator if they reported the                      LGBTQ students is troubling in and of itself, but
harassment to school staff.                                                also can exacerbate the negative school climate
                                                                           that many LGBTQ students often experience.
Concerns about approaching school staff.                                   Harassment by school staff can cause additional
Many LGBTQ students reported that they were                                harm when witnessed by other students by sending
uncomfortable approaching school staff. About                              a message that harassment is acceptable in
half of students said they felt too embarrassed                            the classroom or within the school community.
or ashamed to report the incident to school staff                          Harassment of students by staff also serves as a
members (49.5%), and also about half (48.4%)                               reminder that safer school efforts must address all
felt they might be blamed and/or disciplined by                            members of the school community, and not just the
school staff simply for reporting the incident. In                         student body.
addition, more than a quarter of students (27.7%)
were deterred from reporting harassment or assault                         Did not think harassment was serious enough.
because they felt that staff members at their school                       Nearly half of students (48.3%) expressed that
were homophobic or transphobic themselves. Such                            they did not report incidents of victimization to
staff may not fully grasp the victimization LGBTQ                          school personnel because they did not consider


                       Table 1.1 Reasons LGBTQ Students Did Not Always Report Incidents of
                                 Harassment or Assault to School Staff (n = 10406)
 Students Reporting Specific Response*                                                                                     %          number
 Doubted that Effective Intervention Would Occur
       Did Not Think School Staff Would Do Anything About It                                                           72.7%          7560
       Did Not Think School Staff’s Handling of the Situation Would Be Effective                                       65.8%          6843
 Feared Making the Situation Worse
       Did Not Want to be Perceived as a “Snitch” or a “Tattle Tale”                                                   63.0%          6560
       Did Not Want to be “Outed” as Being LGBTQ to Staff or Family Members                                            43.5%          4526
       Was Concerned for Their Safety (e.g., retaliation, violence from perpetrator)                                   41.6%          4330
 Concerns about Approaching School Staff
       Was Too Embarrassed or Ashamed to Report It                                                                     49.5%          5156
       Fear of Being Blamed or Getting in Trouble for the Harassment                                                   48.4%          5032
       Homophobic/Transphobic School Staff                                                                             27.7%          2878
       School Staff Were Part of the Harassment                                                                          8.5%          882
 Did Not Think the Harassment was Serious Enough                                                                       48.3%          5030
 Student Handled It Themselves                                                                                         25.3%          2629
 Other Reason (e.g., reported incident to friends or family instead, did not want                                        1.1%          110
    perpetrator punished)
   *Because respondents could select multiple responses, categories are not mutually exclusive. Percentages may not add up to 100%.




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     “I got rocks thrown at                                 toward appropriately and effectively responding
                                                            to incidents of victimization. Many of the reasons
     me and was beaten by                                   students gave for not reporting victimization could
     kids at my school. I never                             be addressed through more intentional school
                                                            policies and practices. School staff should respond
     told anyone about this.                                to each incident brought to their attention, as well
                                                            as inform victims of the action that was taken.
     Not a parent, school staff                             Training all members of the school community
     member, nor peer.”                                     to be sensitive to LGBTQ student issues and
                                                            effectively respond to bullying and harassment,
     the harassment to be serious enough to report.         in addition to doing away with zero-tolerance
     Because we lack specific details about these           policies that lead to automatic discipline of
     particular incidents of victimization, we cannot       targets of harassment and assault, could increase
     determine whether the events perceived as “not         the likelihood of reporting by students who are
     serious enough” to report were truly minor. We,        victimized at school. Such efforts could, in turn,
     nevertheless, did find that students who said they     improve school climate for all students.
     did not report victimization because it was “not
     that serious” had lower levels of victimization        Students’ Reports on the Nature of School
     compared to those who did not cite this reason for     Staff’s Responses to Harassment and Assault
     not reporting harassment or assault.44 However, it
     is also possible that some students may convince       We asked those LGBTQ students who had reported
     themselves that their harassment is insignificant,     incidents to school staff about the actions taken
     and therefore not worth reporting, due to the many     by staff in response to the most recent incident. As
     other inhibiting factors discussed throughout this     shown in Table 1.2, the most common responses
     section.                                               were that the staff member:

     Students handled it themselves. A quarter of             • Did nothing and/or told the reporting student to
     students (25.3%) in our survey said they did               ignore the victimization (60.5%);
     not report harassment or assault to school staff
     because they handled the situation themselves.           • Talked to the perpetrator/told them to stop the
     Without further information, we cannot know what           harassment (43.1%);
     specific actions these students took to address
     these incidents. It may be that they confronted          • Provided emotional support to the reporting
     the perpetrator directly, either instructing them          student (23.1%); and
     to stop, or they retaliated in some way. However,
     it is a concern because such actions could put           • Told the reporting student to change their
     the victimized students at risk for disciplinary           behavior (e.g., not to act “so gay” or not to
     consequences and may not prevent further peer              dress a certain way — 20.8%).
     victimization. Further research is needed to explore
     the nature and possible consequences of the            Formal disciplinary action to address reported
     various ways that students handle incidents of         incidents of victimization occurred less frequently—
     harassment themselves.                                 less than one-fifth of students who had reported
                                                            harassment (14.9%) indicated that the perpetrator
     Taken together, these responses demonstrate a          had been disciplined by school staff. Unfortunately,
     pervasive problem in our nation’s schools. It is       formal disciplinary action was sometimes directed
     clear that LGBTQ youth are not able to report          at the target of the harassment themselves. Nearly
     experiences of harassment and/or assault in their      one in ten students (7.3%) reported that they
     schools, whether due to doubts about school staff      themselves were disciplined when they reported
     taking effective action, fear of retaliation from      being victimized (see also Table 1.2).
     perpetrators, concerns about being “outed” as
     LGBTQ, or by simply being too embarrassed to           Failing to intervene when harassment is reported,
     come forward and report the victimization they are     punishing students for their own victimization,
     experiencing. In order to create a safe learning       and other inappropriate responses to reports of
     environment for all students, schools should work      harassment and assault are unacceptable and




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 Table 1.2 LGBTQ Students’ Reports of School Staff’s Responses to Reports of Harassment and Assault
                                            (n = 4841)
Students Reporting Specific Response*                                          %               n
Staff Did Nothing/Took No Action and/or Told the Student to Ignore It        60.5%           2930
     Staff told the student to ignore it                                     45.2%           2186
     Staff did nothing/Took no action                                        43.2%           2092
Staff Talked to Perpetrator/Told Perpetrator to Stop                         43.1%           2085
Provided Them Emotional Support                                              23.1%           1120
Parents were Contacted                                                       21.5%           1040
     Staff contacted the reporting student’s parents                         15.8%             766
     Staff contacted the perpetrator’s parents                               11.9%             576
Told Reporting Student to Change Their Behavior (e.g., to not act            20.8%           1006
   “so gay” or dress in a certain way)
Reporting Student and Perpetrator were Separated from Each Other             17.7%             857
Perpetrator was Disciplined (e.g., with detention, suspension)               14.9%             719
Incident was Referred to Another Staff Person                                16.5%             799
Filed a Report of the Incident                                               15.2%             734
Staff Attempted to Educate Students about Bullying                           11.3%             549
     Staff educated the perpetrator about bullying                            7.4%             356
     Staff educated the whole class or school about bullying                  5.9%             284
Used Peer Mediation or Conflict Resolution Approach                           6.5%             317
Reporting Student was Disciplined (e.g., with detention, suspension)          7.3%             351
Other Responses (e.g., staff counseled student, victim was blamed,            1.8%              86
   threats of discipline)




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     potentially harmful to students who experience             • Staff did nothing to address the incident and/
     them. Staff members who do not address reports               or told the reporting student to ignore the
     of student victimization not only fail to help the           harassment;
     victimized student, but also may discourage other
     students from reporting when they are harassed or          • Staff talked to the perpetrator/told the
     assaulted at school.                                         perpetrator to stop;

     Effectiveness of Staff Responses to                        • Staff filed a report;
     Harassment and Assault
                                                                • Staff referred the incident to another staff
     In our survey, students who said that they reported          member;
     incidents of harassment and assault to school staff
     were also asked how effective staff members were in        • Staff contacted the reporting student’s parents;
     addressing the problem.45 As shown in Figure 1.22,
     just over a quarter of students (28.0%) believed           • Staff used a peer mediation/conflict resolution
     that staff responded effectively to their reports of         approach;
     victimization. The staff actions that students were
     more likely to indicate as effective included:46           • Staff educated the class or student body about
                                                                  bullying; and
       • Staff took disciplinary action against the
         perpetrator;                                           • Staff separated the perpetrator and reporting
                                                                  student.
       • Staff educated the perpetrator about bullying;
                                                              Although these findings about ineffective responses
       • Staff contacted the perpetrator’s parents; and       may suggest a lack of care on the part of staff,
                                                              they may also be indicative of school staff who
       • Staff provided emotional support.                    are well-meaning but are also misinformed about
                                                              effective intervention strategies for cases of bullying
     The responses that students were more likely to          and harassment. For example, peer mediation and
     indicate were less effective were:47                     conflict resolution strategies, in which students
                                                              speak to each other about an incident, are only
       • Staff told the reporting student to change their     effective in situations where conflict is among
         behavior;                                            students with equal social power. Peer mediation
                                                              that emphasizes that all involved parties contribute
       • Staff disciplined the student who reported the       to conflict can be ineffective, and, at worst, may
         incident;                                            re-victimize the targeted student when there is an
                                                              imbalance of power between the perpetrator and the
                                                              victim. When harassment is bias-based, as is the
                                                              case with anti-LGBTQ harassment, there is almost
             Figure 1.22 LGBTQ Students’ Perceptions of       always, by definition, an imbalance of power.48
                Effectiveness of Reporting Incidents of
                Harassment and Assault to School Staff
                                                              School personnel are charged with providing a
              Very Effective                                  safe learning environment for all students. In this
              7.3%                               Not at All   survey, the most common reason students gave
                                                 Effective    for not reporting harassment or assault was the
                                                 51.2%        belief that nothing would be done by school staff.
        Somewhat                                              And as discussed above, even when students did
        Effective                                             report incidents of victimization, the most common
        20.7%                                                 staff responses were to do nothing or merely to
                                                              tell the student to ignore it. By not effectively
                                                              addressing harassment and assault, students who
            Somewhat                                          are victimized are denied an adequate opportunity
            Ineffective                                       to learn. It is particularly troubling that one-fifth of
            20.8%                                             victimized students (20.8%) were told by school




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staff to change their behavior for reasons such         them to stop. Separating the student was also not
as their sexual orientation or gender expression        an effective intervention. Although this type of
(see Table 1.2), which implies that they somehow        intervention may be a near-term solution to the
brought the problem upon themselves for simply          problem, it does not necessarily address the root
being who they are. It is even more concerning that     of the problem and may not be an effective long-
this type of response — that an LGBTQ identity          term solution. Finally, peer mediation was not an
is the actual problem — aligns with the notion          effective response because, as discussed earlier
of conversion therapy, a practice that claims to        in this section, the LGBTQ student may be re-
change an individual’s sexual orientation or gender     victimized due to the imbalance of power between
identity/expression, which can lead to lowered          the perpetrator and the victim.
psychological well-being among other issues for
LGBTQ youth.49 Although this practice has been          Given that we do not know the circumstances
widely discredited by mainstream medical and            for each instance of harassment or assault, or
mental health organizations, some practitioners         the reasons why students would characterize
continue to administer conversion therapy in the        a response as effective or not, we are not able
U.S. This type of response by school staff may          to know details about what made certain staff
exacerbate an already hostile school climate for        responses (e.g., talking to the perpetrator) more
LGBTQ students, and may deter students from             effective than others (i.e., whether it resulted in
reporting other incidents of harassment or assault      an end to the harassment and/or made the student
in the future.                                          feel more supported in school). As discussed, it
                                                        may be that actions taken by school staff that are
When students reported incidents of harassment          directed at the perpetrator and actions that have
or assault to staff members, the interventions          negative consequences for the perpetrator are
had varying degrees of perceived effectiveness.         seen as more effective intervention strategies than
The findings suggest that direct actions taken by       actions that are not directed at the perpetrator or
school staff were more likely seen as effective,        that do not have consequences. Disciplining the
such as teaching the perpetrator about bullying.        perpetrator, contacting the perpetrator’s parents,
In contrast, indirect actions that are not as visible   and educating the perpetrator about bullying
and immediate to the student, such as teaching          may be more likely to change their behavior than
the class or student body about bullying, filing        simply talking to the perpetrator or telling the
a report, or referring to another staff person,         perpetrator to stop, and educating the class or
were more likely to be seen as ineffective. One         student body about bullying. Our prior research has
interesting exception, however, was that talking        indicated that general training about bullying and
to the perpetrator or telling the perpetrator to        harassment may not be enough to equip educators
stop, a direct action, was less likely to be seen       with the ability to effectively address anti-LGBTQ
as an effective response, yet taking disciplinary       victimization.50 School or district-wide educator
action against the perpetrator and teaching the         professional development trainings on issues
perpetrator about bullying were more likely to          specifically related to LGBTQ students and bias-
be seen as effective responses. It may be that          based bullying and harassment may better equip
talking to the perpetrator or telling the perpetrator   educators with tools for effectively intervening in
to stop was a simple, momentary reprimand               cases of bullying of LGBTQ students. In addition,
without any further action that would have              such trainings may help educators become more
stopped future incidents. In contrast, taking           aware of the experiences of LGBTQ students,
disciplinary action against the perpetrator and         including incidents of harassment and bullying,
teaching the perpetrator about bullying connote         which could play a vital role in improving LGBTQ
more substantial actions that could prevent future      students’ school experiences overall.
incidents, than talking to the perpetrator or telling




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Experiences of
Discrimination at School




  Key Findings
  •   Approximately 6 in 10 LGBTQ students indicated that they had experienced LGBTQ-related
      discriminatory policies and practices at their school.

  •   Students were commonly restricted from expressing themselves as LGBTQ at school, including
      being: disciplined for public displays of affection that are not disciplined among non-LGBTQ
      students, prevented from discussing or writing about LGBTQ topics in assignments, restricted
      from wearing clothing or items supporting LGBTQ issues, prohibited from bringing a date of
      the same gender to a school dance, and being disciplined unfairly simply because they were
      LGBTQ.

  •   Schools often limited the inclusion of LGBTQ topics or ideas in extracurricular activities,
      including: preventing LGBTQ students from using locker rooms aligned with their gender
      identity, preventing or discouraging students from participating in school sports because
      they were LGBTQ, preventing students from discussing or writing about LGBTQ issues in
      extracurricular activities, and inhibiting GSAs’ activities.

  •   Schools often enforced adherence to traditional gender norms, including being: prevented from
      using bathrooms aligned with their gender identity, prevented from using their chosen name or
      pronouns, and prevented from wearing clothes considered “inappropriate” based on gender.

  •   Students commonly experienced gender separation practices at school, including homecoming
      court or prom royalty, attire for graduation, and attire for official school photographs.




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     Hearing homophobic language and negative remarks        LGBTQ content in extracurricular activities and/
     about gender expression in the hallways and directly    or restricted LGBTQ students’ participation in
     experiencing victimization from other students          these activities. For example, 16.3% of LGBTQ
     clearly contribute to a hostile climate for LGBTQ       students said that their school prevented them
     students. Certain school policies and practices may     from discussing or writing about LGBTQ issues in
     also contribute to negative experiences for LGBTQ       extracurricular activities, such as the yearbook,
     students and make them feel as if they are not          school newspaper, or events like Day of Silence.51
     valued by their school communities. In our survey,      Additionally, 14.7% reported that they had been
     we asked students about a number of specific            hindered in forming or promoting a GSA or similar
     LGBTQ-related discriminatory policies and practices     school club supportive of LGBTQ issues (see also
     at their school that they may have personally           Figure 1.23).
     experienced. Nearly 6 in 10 students (59.1%)
     indicated that they had experienced any of these        LGBTQ students in our survey also reported
     LGBTQ-related discriminatory policies and practices     discriminatory experiences with regard to school
     (see Figure 1.23).                                      athletics. Approximately one-tenth of students
                                                             (10.2%) indicated that school staff or coaches had
     Restricting LGBTQ Expression in School                  prevented or discouraged them from playing sports
                                                             because they were LGBTQ. LGBTQ students may
     Several of the questions about policies and practices   also be indirectly discouraged from participating
     were related to efforts to restrict students from       in sports if they are unable to use the locker rooms
     identifying as LGBTQ, from being themselves in the      aligned with their gender identity. For example,
     school environment, and from expressing support         transgender and nonbinary students may be required
     for or interest in LGBTQ issues. Not only do these      to use the locker room of their assigned sex, and
     policies stifle students’ expression, but they also     other LGBQ students may be prevented from using
     serve to maintain a silence around LGBTQ people         gendered locker rooms based on their same-sex
     and issues that could have the effect of further        attraction (e.g., staff preventing a lesbian girl
     stigmatizing LGBTQ people. As shown in Figure           from using the girl’s locker room because she is a
     1.23, over a quarter of LGBTQ students (28.0%)          lesbian). We found that 27.2% of LGBTQ students
     said that they had been disciplined for public          were prevented from using locker rooms aligned
     affection, such as kissing or holding hands, that       with their gender identity. Further, we found that
     is not similarly disciplined among non-LGBTQ            LGBTQ students who experienced this locker room
     students. Additionally, 16.6% of LGBTQ students         discrimination were less likely to participate in
     said that they had been prevented from including        school sports, and were more likely to avoid gym
     LGBTQ topics in class assignments and projects,         class, sports fields, and locker rooms at school.52
     or discussing LGBTQ topics in class. One in ten
     LGBTQ students (10.7%) indicated that their             Clearly, some schools are sending the message
     schools had prevented them from wearing clothing or     that LGBTQ topics are not appropriate for
     items supporting LGBTQ issues (e.g., a t-shirt with     extracurricular activities, and in some cases,
     a rainbow flag), and 7.6% had been prevented from       that LGBTQ people should not be allowed to
     attending dances with someone of the same gender.       participate. Discriminatory policies and practices
     Finally, 3.0% of students reported that they had        that mark official school activities as distinctly non-
     been disciplined simply for identifying as LGBTQ.       LGBTQ prevent LGBTQ students from participating
                                                             in the school community as fully and completely as
     Limiting LGBTQ Inclusion in Extracurricular             other students.
     Activities

     Students in our survey indicated that some schools
     also maintained policies and practices that limited


     “More than one teacher did not allow me to hold hands
     with my girlfriend and threatened detention if they even
     saw us in the halls holding hands.”


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        Figure 1.23 Percentage of LGBTQ Students Who Have Experienced Discriminatory Policies and Practices at School


Experienced any Discriminatory Policies or Practices                                                              59.1%


Restricting LGBTQ Expression

Disciplined for public affection that is not disciplined
if it does not involve LGBTQ students                                                       28.0%

Prevented from discussing or writing about
LGBTQ topics in class assignments/projects                                       16.6%

Prevented from wearing clothing supporting
                                                                         10.7%
LGBTQ issues

Prevented from attending a school dance with
someone of the same gender                                             7.6%


Disciplined at school for identifying as LGBTQ                   3.0%


Limiting Inclusion in Extracurriculars

Prevented from using the locker room that
                                                                                            27.2%
aligns with my gender identity

Prevented from discussing or writing about
                                                                               16.3%
LGBTQ topics in extracurricular activities

Prevented from forming or promoting a GSA                                     14.7%

Prevented/discouraged from school sports
                                                                         10.2%
because of identifying as LGBTQ

Enforcing Adherence to Gender Norms

Prevented from using the bathroom that
aligns with my gender identity                                                              28.4%


Prevented from using my chosen name or pronouns                                        22.8%

Prevented from wearing clothes deemed
“inappropriate” based on gender                                                   18.3%


Another Discriminatory School Policy or Practice                1.2%


                                                           0%                  20%                  40%         60%             80%




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     Enforcing Adherence to Traditional                           uniquely impact transgender and nonbinary
     Gender Norms                                                 students. For further discussion on the experiences
                                                                  of transgender and nonbinary students and their
     Other discriminatory policies appeared to target             experiences with discriminatory policies and
     students’ gender by prescribing certain rules or             practices at school, see the “School Climate and
     practices that limited their gender expression or            Gender” section of this report.
     access to gendered facilities (see Figure 1.23).
     Nearly a quarter of LGBTQ students (22.8%) said              Gender Separation in School
     that they had been prevented from using their
     chosen name or pronouns in school, and nearly                School policies and practices that separate
     a fifth of students (18.3%) reported that their              students by gender or impose different standards
     school prevented them from wearing clothing                  and expectations based on gender may pose
     deemed “inappropriate” based on their gender                 distinct challenges for transgender and nonbinary
     (e.g., a student prevented from wearing a dress              students. Depending on how these practices are
     because they are a boy, or because staff think               enforced, students may be forced to group with
     they are a boy). Additionally, over a quarter of             others based on their legal sex, regardless of their
     LGBTQ students (28.4%) said that they had been               gender identity. These practices may also place
     prevented from using the bathroom aligned with               undue pressure on transgender and nonbinary
     their gender. Policies and practices that restrict           students to disclose their transgender status before
     bathroom access may have a particularly damaging             they are ready in order to advocate for their right
     impact on LGBTQ youth, including physical health             to be grouped in a way that affirms their gender
     complications if students are forced to avoid using          identity. As these practices reinforce the gender
     the bathroom during the school day.53 In fact, we            binary (i.e., the notion that there are only two
     found that LGBTQ students were approximately                 distinct and opposite genders) by separating boys
     twice as likely to avoid the bathroom at school if           from girls, they create an environment that may
     they experienced bathroom discrimination (71.8%              be uniquely difficult to navigate for nonbinary
     vs. 34.6%).54                                                students. When gendered spaces, activities, and
                                                                  rules provide no options for students who do not
     It is important to note that each of these gender-           conform to a gender binary, these students may
     related discriminatory policies and practices,               feel as if they have no place in school at all.
     including the discriminatory locker room policies
     mentioned previously, explicitly target students’            Previously in this section, we discussed
     gender identity and expression, and thus, may                discriminatory practices in sports participation,

                      Figure 1.24 LGBTQ Students’ Reports of Ways Schools Separate Activities by Gender
                                       or Have Different Requirements Based on Gender
                                 (Percentage of LGBTQ Students in Co-ed Schools, n = 16497)
          70%
                       62.4%
          60%

          50%                              44.9%

          40%

          30%                                                  26.4%               25.5%

          20%
                                                                                                          10.0%
          10%

            0%
                    Any Gender         Homecoming         Graduation Attire       Yearbook                Other
                    Separation          Court/Prom                              Photos/Senior
                                          Royalty                                  Pictures




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and access to bathrooms and locker rooms. In           commonly reported practices related to orchestra,
addition to these gendered spaces, we asked            band, chorus, and dance performances (e.g.,
LGBTQ students about other specific practices that     different dress requirements, separation of boys and
separate students by gender in school or require       girls), as well as school uniforms and dress codes
different standards for students based on gender.      (e.g., having different dress codes or uniforms for
As seen in Figure 1.24, the majority of LGBTQ          boys and girls, or differential enforcement of dress
students (62.4%) experienced gendered spaces           code based on gender). A number of students also
or practices at school.55 Nearly half of LGBTQ         discussed special events or classroom activities that
students (44.9%) reported that their school had        pitted boys against girls.
gender-specified homecoming courts, prom kings/
queens, or other types of honors at dances. These      Our findings indicate that anti-LGBTQ
practices not only reinforce the gender binary, but    discriminatory school policies and practices
by selecting a “king” and a “queen,” also enforce      are all too pervasive in our nation’s schools. In
the idea that heterosexuality is the norm and the      order to ensure that schools are welcoming and
only acceptable way of being. In addition, just over   affirming of all students, staff and administration
one-fourth of students (26.4%) reported that their     should eliminate policies and practices that treat
school required gendered attire for graduation,        LGBTQ couples differently, censor expressions
such as different-colored robes for boys and girls,    of LGBTQ identities, enforce traditional gender
and 25.5% reported gendered attire for official        norms, needlessly separate students by gender,
school photographs, such as having boys wear           or maintain different rules or standards for boys
tuxedos and girls wear dresses for senior portraits    and girls. Ending these practices can help to
(see also Figure 1.24).                                provide LGBTQ youth with a more inclusive school
                                                       experience. Later in this report, we discuss the
We also provided an opportunity for students to        negative effects of these discriminatory policies
indicate additional ways that their school separated   and practices on LGBTQ students’ well-being and
student activities by gender, and 10.0% reported       academic outcomes.
other types of gender separation. Students most




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Hostile School Climate,
Educational Outcomes,
and Psychological
Well-Being




   Key Findings
   •   LGBTQ students who experienced high levels of in-school victimization:

         -   Had lower GPAs than other students;

         -   Were less likely to plan to pursue any post-secondary education;

         -   Were nearly three times as likely to have missed school in the past month because they
             felt unsafe;

         -   Were more likely to have been disciplined at school;
         -   Were less likely to feel a sense of belonging to their school community; and

         -   Had lower levels of self-esteem and higher levels of depression.

   •   LGBTQ students who experienced discrimination at school:

         -   Had lower GPAs than other students;

         -   Were nearly three times as likely to have missed school in the past month because they
             felt unsafe;

         -   Were more likely to have been disciplined at school;

         -   Were less likely to feel a sense of belonging to their school community; and

         -   Had lower levels of self-esteem and higher levels of depression.

   • LGBTQ students who did not plan to graduate high school (e.g., who planned to drop out
     or were not sure if they would finish high school) most commonly reported mental health
     concerns,
EXHIBIT D      academic concerns, and hostile school climate as reasons for leaving school. 75
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     “I love learning but most                                     We also asked LGBTQ students who did not plan
                                                                   on completing high school or who were not sure
     days i just hate school.                                      if they would graduate whether they planned to
     i can’t deal with the                                         obtain a General Education Diploma (GED) or
                                                                   similar equivalent, and 65.7% indicated that they
     comments and the inability                                    did. Some research on high school equivalency
                                                                   certification in the general student population
     for people to just be kind to                                 suggests that GED equivalencies are not associated
     LGBTQIA+ students.”                                           with the same educational attainment and earning
                                                                   potential as high school diplomas.57 Nevertheless,
                                                                   the majority of students who planned to get a GED
     Educational Aspirations                                       (59.4%) indicated that they intended to pursue
                                                                   some type of post-secondary education.58 More
     In order to examine the relationship between                  research is needed to better understand how LGBTQ
     school climate and educational outcomes, we                   students’ educational and career plans may be
     asked students about their aspirations with regard            impeded if they do not graduate from high school.
     to further education, including their plans to
     complete high school and their highest level of               Reasons LGBTQ students may not finish high
     expected educational attainment.                              school. To better understand why LGBTQ students
                                                                   might not finish high school, we asked those
     High school completion. As shown in Table 1.3,                students who indicated they were not planning on
     almost all LGBTQ students in our survey (96.5%)               completing high school or were not sure if they
     planned to graduate high school, and 3.5% of                  would graduate about their reasons for leaving
     students indicated that they did not plan to                  school. Most of these students cited multiple
     complete high school or were not sure if they                 reasons for potentially not graduating. As shown
     would. We also found that LGBTQ students in                   in Table 1.4, the most common reason concerned
     earlier grades were more likely than their older              mental health, such as depression, anxiety, or
     peers to indicate that they were unsure about                 stress (92.7% of those who provided reasons for
     their high school graduation plans.56 Further, it             leaving high school), followed by academic issues
     is important to note that the 2019 NSCS only                  (68.4%), including poor grades, high number of
     included students who were in school at some                  absences, or not having enough credits to graduate,
     point during the 2018–2019 school year. Thus,                 and then a hostile school climate (60.8%),
     this study sample includes some LGBTQ students                including issues with harassment, unsupportive
     who may not finish high school, but does not                  peers or educators, and gendered school policies/
     include youth who had already left school before              practices, such as restrictions on which bathroom
     the school year began.                                        they are allowed to use.59

                                    Table 1.3 LGBTQ Students’ High School Completion Plans
      High School Graduation Plans                                                                 % of All Students
      Plan to Graduate HS                                                                               96.5%
      Do Not Plan to Graduate HS or Not Sure if                                                           3.5%
         Will Graduate HS
            Do not plan to graduate                                                                       0.7%
            Unsure if will graduate                                                                       2.8%
                                                                  % of Students Not Planning to
      Plans to Receive GED or Equivalent                          Graduate or Not Sure (n = 589)
            Do not plan to obtain a GED or equivalent                         34.3%                       1.2%
            Plan to obtain a GED or equivalent                                65.7%                       2.3%
        *Due to rounding, percentages may not add up to 100%.




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LGBTQ students may consider leaving school for                             Post-secondary aspirations. When asked about
many reasons, some of which may have little to                             their aspirations with regard to post-secondary
do with their sexual orientation, gender identity,                         education, only 7.2% of LGBTQ students indicated
or peer victimization — as noted above. However,                           that they did not plan to pursue any type of post-
it is also possible that some of the mental health                         secondary education (i.e., that they only planned
and academic concerns that students reported                               to obtain a high school diploma, did not plan to
were caused by experiences of a hostile school                             finish high school, or were unsure of their plans).
environment, as noted later in this section.                               Just over two-fifths of students (43.0%) said that
For example, school-based victimization may                                they planned to complete their education with a
impact students’ mental health,60 and this                                 Bachelor’s degree (see Figure 1.25) and another
lower psychological well-being may also place                              two-fifths of students (39.1%) reported that they
students at risk for lower academic achievement.61                         planned to continue on to obtain a graduate degree
Furthermore, a lack of safety may lead to students                         (e.g., Master’s degree, PhD, MD).
missing school, which can result in a student
being pushed out of school by school disciplinary                          School Climate and Educational Aspirations
or criminal sanctions for truancy,62 dropping out of
school as a result of poor academic achievement,                           Students who experience victimization in school
or disengaging with school due to the days missed.                         may respond by avoiding the harassment, perhaps
Indeed, we found that among students in our                                by dropping out of school or avoiding any further
survey, missing school due to feeling unsafe or                            type of formal educational environments, such
uncomfortable was related to increased likelihood                          as college. We assessed the relationship between
of not planning to complete high school.63                                 school victimization64 and educational aspirations
Future research should examine the potentially                             for students in our survey and found that LGBTQ
interconnected mechanisms that lead LGBTQ                                  students who reported higher levels of victimization
students to leave high school before graduating.                           based on their sexual orientation or gender

   Table 1.4 Reasons LGBTQ Students Do Not Plan to Graduate High School or Are Unsure If They Will
                                       Graduate (n = 632)
                                                                                              % of Students Reporting*
                                                                                        (of students who indicated that they did
                                                                                          not plan to graduate or were unsure)
 Mental Health Concerns                                                                                          92.7%
   (e.g., depression, anxiety, stress)
 Academic Concerns (Any)                                                                                         68.4%
       Poor Grades                                                                                               57.4%
       Absences                                                                                                  39.2%
       Not Enough Credits                                                                                        29.0%
 Hostile School Climate (Any)                                                                                    60.8%
       Unsupportive Peers                                                                                        49.5%
       Harassment                                                                                                42.2%
       Unsupportive Teachers/Staff                                                                               30.1%
       Gendered School Policies/Practices                                                                        30.1%
 Future Plans Do Not Require HS Diploma                                                                          24.2%
 Family Responsibilities (e.g., child care, wage earner)                                                         15.5%
 Other (e.g., lack of motivation, unsupportive family)                                                            5.5%
   *Because respondents could select multiple responses, categories are not mutually exclusive, and percentages do not add up to 100%.




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     expression reported lower educational aspirations           illustrated in Table 1.5, experiences of institutional
     than LGBTQ students who reported lower levels of            discrimination were also related to lower
     victimization.65 For example, as shown in Figure            educational achievement.68
     1.26, students who experienced a higher severity
     of victimization based on sexual orientation                Overall, the vast majority of LGBTQ students
     were less likely to plan to go on to college or to          planned to complete high school as well as some
     vocational or trade school, compared with those             form of post-secondary education, although
     who had experienced less severe victimization               experiences with anti-LGBTQ harassment and
     (9.9% vs. 5.8%). Anti-LGBTQ discriminatory                  discrimination were both associated with lower
     policies and practices were also related to lower           educational aspirations as well as lower GPA. Thus,
     educational aspirations for LGBTQ students in our           supporting LGBTQ students’ future educational
     survey – students who experienced this type of              attainment requires focused efforts that reduce
     discrimination at school reported lower educational         anti-LGBTQ bias in schools and create affirming
     aspirations than those who did not experience               academic environments. Further, these efforts must
     discrimination.66                                           be implemented at all grade levels, with particular
                                                                 attention paid to younger students, who may be at
     School Climate and Academic Achievement                     greater risk for not completing high school.

     As detailed previously in this section, a hostile           Absenteeism
     school climate can lead LGBTQ students to
     not want to continue on with their education.               School-based victimization can impinge on a
     However, it can also result in these students               student’s right to an education. Students who
     struggling academically. We found that more                 are regularly harassed or assaulted in school may
     severe victimization was related to lower academic          attempt to avoid these hurtful experiences by
     achievement among LGBTQ students. As shown                  not attending school and, accordingly, may be
     in Table 1.5, the mean reported grade point                 more likely to miss school than students who do
     averages (GPA) for students who had higher levels           not experience such victimization. We found that
     of victimization based on their sexual orientation          experiences of harassment and assault were, in
     or gender expression was significantly lower than           fact, related to missing days of school.69 As shown
     for students who experienced less harassment                in Figure 1.27 students were nearly three times as
     and assault.67 For example, LGBTQ students who              likely to have missed school in the past month if
     experienced higher levels of victimization based            they had experienced higher levels of victimization
     on gender expression reported an average GPA                related to their sexual orientation (57.2% vs.
     of 2.98 and LGBTQ students who experienced                  21.7%) or gender expression (59.0% vs. 21.8%).
     lower levels of this type of victimization reported
     an average GPA of 3.36 (see Table 1.5). As also
                                                                           Figure 1.26 Educational Aspirations and
                                                                                    Severity of Victimization
      Figure 1.25 Educational Aspirations of LGBTQ Students              (Percentage of LGBTQ Students Not Planning
                                                                              to Pursue Postsecondary Education)

                                               Graduate Degree     15%
     Bachelor’s                                39.1%
     Degree                                                                                                    11.1%
     43.0%                                                                              9.9%
                                                                   10%


                                                                              5.8%                    5.4%
                                                                    5%

                                             Less Than
      Associate’s                            High School
                                             1.2%                   0%
      Degree                                                                 Victimization Re:       Victimization Re:
      7.0%          Vocational, Trade or                                    Sexual Orientation      Gender Expression
                                           High School Diploma
                    Technical School       or Equivalent (GED)
                    3.7%                   5.9%                            Lower Victimization        Higher Victimization




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In addition to victimization, we found that                       School Climate and School Discipline
experiences of discrimination were related to
missing days of school.70 As also shown in Figure                 The use of harsh and exclusionary discipline,
1.27, LGBTQ students were almost three times                      such as zero tolerance policies, has proliferated
as likely to have missed school in the past month                 over the previous several decades for both serious
because they felt unsafe or uncomfortable if they                 infractions as well as minor violations of school
had experienced LGBTQ-related discrimination in                   policies.71 Initially framed as vital for protecting
their school (44.1% vs. 16.4%).                                   teachers and students,72 these disciplinary policies
                                                                  are regarded by many as being over-employed
As these findings indicate, both negative                         in removing students from the traditional school
interpersonal experiences, such as victimization,                 environment.73 The use of harsh discipline has
as well as negative institutional treatment, such as              contributed to higher dropout rates, as well as
anti-LGBTQ discriminatory policies and practices                  more youth in alternative educational settings and
both contribute to a school setting that feels                    in juvenile justice facilities, where educational
unwelcoming for many LGBTQ students. And as                       supports and opportunities may be less available.74
such, they restrict access to an LGBTQ student’s                  Growing awareness of the soaring use of
education.                                                        exclusionary school discipline approaches in the


  Table 1.5 Academic Achievement of LGBTQ Students by Experiences of Victimization and Discrimination
                                                                                    Mean Reported Grade Point Average
 Peer Victimization
 Sexual Orientation
      Lower Victimization                                                                           3.34
      Higher Victimization                                                                          3.03
 Gender Expression
      Lower Victimization                                                                           3.36
      Higher Victimization                                                                          2.98
 Experiences of Discrimination
 Had Not Experienced Discriminatory Policies or Practices at School                                 3.39
 Had Experienced Discriminatory Policies or Practices at School                                     3.14


                      Figure 1.27 Absenteeism by Experiences of Victimization and Discrimination
                  (Percentage of LGBTQ Students Who Missed at Least a Day of School in Past Month)

                                      57.2%                             59.0%
        60%

                                                                                                        44.1%

        40%


                   21.7%                              21.8%
        20%                                                                              16.4%




         0%
                   Lower              Higher          Lower             Higher          Had Not          Had
               Victimization      Victimization   Victimization     Victimization     Experienced     Experienced
                       Victimization Re:                 Victimization Re:                   Experiences of
                      Sexual Orientation                 Gender Expression                   Discrimination




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     “My last school I went to                                  specifically about justice system involvement as
                                                                a result of school discipline, and thus the finding
     before I moved to my new                                   does not reflect student involvement in criminal or
     one, expelled me for being                                 juvenile justice system in general.

     a member of the LGBTQ                                      LGBTQ youths’ high rates of victimization, and
                                                                discriminatory policies that intentionally or
     community.”                                                unintentionally target LGBTQ students, may put
                                                                them in greater contact with school authorities and
     U.S. has included some attention to their effect           increase their risk of discipline. For these reasons,
     on LGBTQ youth.75 It is possible that both the high        we examined whether students who experienced
     rates of peer victimization and the school policies        victimization and discrimination experienced
     that, intentionally or unintentionally, target LGBTQ       higher rates of school discipline.
     students may put these students at risk of greater
     contact with school authorities and increase their         Discipline due to punitive response to harassment
     likelihood of facing disciplinary sanctions.               and assault. As discussed in the “Reporting
                                                                of School-Based Harassment and Assault”
     Rates of school discipline. We asked LGBTQ                 section, some LGBTQ students reported that
     students if they had certain types of experiences          they themselves were disciplined when they
     at school as a result of disciplinary action. A third      reported being victimized to school staff. As a
     of students in this survey (33.0%) reported having         result, LGBTQ students who experience higher
     ever been disciplined at school, with most of              rates of victimization may also experience higher
     these students reporting discipline that occurred          rates of school discipline, perhaps because they
     in-school, such as being sent to principal’s               were perceived to be the perpetrator in these
     office, receiving detention, or receiving in-school        incidents. Indeed, LGBTQ youth who reported
     suspension (see Figure 1.28). A smaller portion of         higher than average levels of victimization based
     LGBTQ students reported experiencing disciplinary          on their sexual orientation or gender expression
     consequences that prohibited them from attending           experienced substantially greater rates of discipline
     school, such as out-of-school suspension and               examined in this survey.76 For example, as shown
     expulsion (see also Figure 1.28). In addition,             in Figure 1.29, 47.0% of students with higher
     disciplinary action in school can lead to having           levels of victimization based on sexual orientation
     contact with the criminal or juvenile justice              experienced school discipline compared to 26.7%
     system, such as being arrested or serving time in          of students with lower levels of this type of
     a detention facility. A very small portion of LGBTQ        victimization.
     students (1.2%) reported having had contact
     with the criminal or juvenile justice system.              Absenteeism. LGBTQ students who are victimized
     It is important to note that we asked students             at school may also miss school because they


                     Figure 1.28 Percentage of LGBTQ Students Who Have Experienced School Discipline


              40%
                                                                                                       33.0%

              30%

                        21.6%
                                      19.6%
              20%


              10%                                     8.7%
                                                                      5.0%
                                                                                     0.7%
              0%
                      Principal’s   Detention       In-School     Out-of-School     Expelled      Any Form of
                        Office                     Suspension      Suspension     from School   School Discipline




50   EXHIBIT D                                                                                        80
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feel unsafe, and thus, face potential disciplinary              school had experienced some form of disciplinary
consequences for truancy. We found that students                action, compared to 22.6% of youth who had not
who reported missing school due to safety concerns              experienced discrimination (see Figure 1.29).78
were more likely to have experienced school
discipline.77 Specifically, 44.3% of students who               These findings evidence that a sizeable number
had missed at least a day of school in past month               of LGBTQ students experienced school discipline,
because they felt unsafe or uncomfortable had                   and that unsafe and unfair school environments,
faced some sort of disciplinary action, compared to             including experiences with victimization and
27.4% of students who had not missed school for                 discriminatory school policies and practices,
these reasons.                                                  contribute to higher rates of school discipline.
                                                                In order to reduce disciplinary disparities toward
Discipline due to discriminatory policies and                   LGBTQ students, schools need to employ non-
practices. As discussed in the “Experiences                     punitive discipline practices and the creation of
of Discrimination” section of this report, some                 safe and affirming spaces for LGBTQ students, with
schools have official policies or unofficial practices          properly trained school personnel. Educators need
that unfairly target LGBTQ youth, and also put                  to be provided professional development trainings
LGBTQ youth at greater risk for school discipline.              on issues specifically related to LGBTQ student
For example, having a gendered dress code may                   and bias-based bullying and harassment, so that
result in a transgender or nonbinary student being              they can effectively intervene in cases of bullying
disciplined because they are wearing clothing                   of LGBTQ students. In addition, schools need
deemed “inappropriate” based on their legal sex.                to eliminate school policies and practices that
Furthermore, as also indicated in that earlier                  discriminate against LGBTQ students.
section, a number of students in our survey
reported that they were subjected to punishment                 School Climate and School Belonging
for violations that were not similarly punished
among their non-LGBTQ peers (e.g., same-sex                     The degree to which students feel accepted by
couples experiencing harsher discipline for public              and a part of their school community is another
displays of affection in schools than heterosexual              important indicator of school climate and is related
couples). When we examined the relationship                     to a number of educational outcomes, including
between discrimination and discipline, we found                 greater academic motivation and effort and higher
that LGBTQ students who had experienced                         academic achievement.79 Students who experience
discriminatory policies and practices at school had             victimization or discrimination at school may feel
reported higher rates of school discipline — 40.2%              excluded and disconnected from their school
of LGBTQ youth experiencing discrimination at                   community. Thus, we examined the relationship


                    Figure 1.29 School Discipline by Experiences of Victimization and Discrimination
                          (Percentage of LGBTQ Students Who Experienced School Discipline)

         60%

                                    47.0%                            46.8%
                                                                                                    40.2%
         40%

                    26.7%                          27.2%
                                                                                    22.6%
         20%




          0%
                    Lower           Higher          Lower             Higher        Had Not           Had
                Victimization   Victimization   Victimization     Victimization   Experienced     Experienced
                     Victimization Re:                 Victimization Re:                Experiences of
                     Sexual Orientation                Gender Expression                Discrimination




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                                                                      positive feelings of school belonging compared
     “Most students use                                               to students who had experienced school-based
     homophobic, racist, and                                          discrimination (72.7% vs. 37.9%).82

     transphobic slurs. One                                           School Climate and Psychological Well-Being
     gay student has been                                             Previous research has shown that being harassed
     beaten. I feel like I do not                                     or assaulted at school may have a negative impact
                                                                      on students’ mental health and self-esteem.83
     belong here.”                                                    Given that LGBTQ students face an increased
                                                                      likelihood for experiencing harassment and
                                                                      assault in school,84 it is especially important to
     between these negative indicators of school climate              examine how these experiences relate to their
     and LGBTQ students’ sense of belonging to their                  well-being. We specifically examined two aspects
     school community.80                                              of psychological well-being: self-esteem85 and
                                                                      depression86. As illustrated in Figures 1.31 and
     As illustrated in Figure 1.30, students who                      1.32, LGBTQ students who reported more severe
     experienced a higher severity of victimization based             victimization regarding their sexual orientation or
     on sexual orientation or gender expression reported              gender expression had lower levels of self-esteem87
     lower levels of school belonging than students who               and higher levels of depression88 than those who
     experienced less severe victimization in school.81               reported less severe victimization. For example,
     For example, nearly two-thirds of students who                   72.0% of students who experienced higher levels
     experienced lower levels of victimization based on               of victimization based on sexual orientation
     their sexual orientation (62.7%) reported a positive             demonstrated higher levels of depression compared
     sense of connection to their school, compared to                 to 42.3% of students who experienced lower levels
     less than a third of students who experienced more               of victimization (see Figure 1.32).
     severe victimization (28.7%).
                                                                      Discrimination and stigma have also been found
     Experiencing anti-LGBTQ discriminatory policies                  to adversely affect the well-being of LGBTQ
     and practices at school was also related to                      people.89 We found that LGBTQ students in our
     decreased feelings of connectedness to the school                survey who reported experiencing discriminatory
     community. As also illustrated in Figure 1.30,                   policies or practices in school had lower levels of
     LGBTQ students who did not experience school-                    self-esteem90 and higher levels of depression91
     based discrimination were more likely to report                  than students who did not report experiencing this

                          Figure 1.30 School Belonging by Experiences of Victimization and Discrimination
                             (Percentage of LGBTQ Students Demonstrating Positive School Belonging)

               80%                                                                         72.7%
                          62.7%                          62.3%
               60%



               40%                                                                                        37.9%
                                          28.7%                            27.7%

               20%



                0%
                          Lower           Higher          Lower             Higher        Had Not           Had
                      Victimization   Victimization   Victimization     Victimization   Experienced     Experienced
                         Victimization Re:                  Victimization Re:                   Experiences of
                         Sexual Orientation                 Gender Expression                   Discrimination




52   EXHIBIT D                                                                                             82
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                 Figure 1.31 Self-Esteem by Experiences of Victimization and Discrimination
                (Percentage of LGBTQ Students Demonstrating Higher Levels of Self-Esteem)

      60%                                                                       56.6%
                51.0%                          50.7%



      40%                                                                                      36.9%
                                31.6%                           31.0%



      20%




      0%
                Lower           Higher          Lower           Higher         Had Not           Had
            Victimization   Victimization   Victimization   Victimization    Experienced     Experienced
                Victimization Re:                 Victimization Re:                 Experiences of
                Sexual Orientation                Gender Expression                 Discrimination



                 Figure 1.32 Depression by Experiences of Victimization and Discrimination
                (Percentages of LGBTQ Students Demonstrating Higher Levels of Depression)

      80%
                                 72.0%                            72.3%

                                                                                                     62.3%
      60%


                42.3%                            42.9%
      40%                                                                         35.9%



      20%



      0%
                Lower           Higher          Lower            Higher          Had Not           Had
            Victimization   Victimization   Victimization    Victimization     Experienced      Experienced
                Victimization Re:                 Victimization Re:                   Experiences of
                Sexual Orientation                Gender Expression                   Discrimination




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     discrimination (see Figures 1.31 and 1.32). For     more likely to experience school discipline, which
     example, as shown in Figure 1.31, only 36.9%        could result in pushing students out of school,
     of students who experienced discrimination          and even into the criminal justice system.92 These
     demonstrated higher levels of self-esteem           findings also demonstrate that a hostile school
     compared to 56.6% of students who had not           climate may negatively impact an LGBTQ student’s
     experienced discrimination.                         sense of school belonging and psychological well-
                                                         being. In order to ensure that LGBTQ students
     Conclusions                                         are afforded supportive learning environments
                                                         and equal educational opportunities, community
     The findings in this section provide insight        and school advocates must work to prevent and
     into how peer victimization and institutional       respond to in-school victimization and to eliminate
     discrimination may lead to less welcoming schools   school policies and practices that discriminate
     and more negative educational outcomes for          against LGBTQ youth. Reducing victimization and
     LGBTQ students. LGBTQ students who experienced      discrimination in school may then lead to better
     victimization and discrimination were more likely   mental health for LGBTQ youth, better enabling
     to have lower educational aspirations, lower        them to reach their fullest potential inside and
     grades, and higher absenteeism. They were also      outside of school.




54   EXHIBIT D                                                                                84
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PART TWO:
SCHOOL-BASED
RESOURCES
AND SUPPORTS




Student organizers gather at the 2012 Students of Color Organizing Conference, held by the GLSEN
Baltimore chapter to help train LGBTQ and ally youth to work toward creating safer schools for LGBTQ
students of color.



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Availability of School-
Based Resources
and Supports



  Key Findings
  •   Just over 6 in 10 LGBTQ students attended a school that had a Gay-Straight Alliance or
      Gender and Sexuality Alliance (GSA) or similar student club that addressed LGBTQ issues in
      education.

  •   Approximately 1 in 5 LGBTQ students were taught positive representations of LGBTQ people,
      history, or events in their classes. A similar amount had been taught negative content about
      LGBTQ topics.

  •   Few LGBTQ students (8.2%) reported having ever received LGBTQ-inclusive sex education at
      school.

  •   Approximately a fifth of LGBTQ students (19.6%) had access to information about LGBTQ-
      related topics in their textbooks or other assigned readings, just under half of LGBTQ students
      (48.9%) had access to these topics in their school library, and just over half (55.9%) with
      internet access at school had access to these topics online on school computers.

  •   Almost all students could identify at least one school staff member whom they believed was
      supportive of LGBTQ students. Just over two-fifths (42.3%) could identify many (11 or more)
      supportive school staff.

  •   Just over two-fifths of LGBTQ students reported that their school administration was supportive
      of LGBTQ students.

  •   Few students reported that their school had a comprehensive anti-bullying/harassment
      policy that specifically included protections based on sexual orientation and gender identity/
      expression.
  •   Approximately one-tenth of LGBTQ students reported that their school had official policies or
      guidelines to support transgender or nonbinary students.




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     The availability of resources and supports in           attended club meetings at least sometimes, and
     school for LGBTQ students is another important          just over a third (34.1%) had participated as a
     dimension of school climate. There are several key      leader or an officer in their club (see Table 2.1).
     resources that may help to promote a safer climate      Although most LGBTQ students in schools with a
     and more positive school experiences for students:      GSA reported having participated in the GSA at
     1) student clubs that address issues for LGBTQ          some level, nearly two-fifths (38.2%) had not.
     students, 2) school personnel who are supportive
     of LGBTQ students, 3) LGBTQ-inclusive curricular        There is a small body of research examining why
     materials, and 4) inclusive, supportive school          LGBTQ students may or may not participate in
     policies, such as inclusive anti-bullying policies      their school’s GSA. Some research suggests that
     and policies supporting transgender and nonbinary       LGBTQ students may be motivated to join their
     students.93 Thus, we examined the availability          GSAs because of experiences of harassment and
     of these resources and supports among LGBTQ             discrimination at school, to seek support (e.g.,
     students in the survey.                                 emotional support), and to engage in advocacy.97
                                                             However, some research specifically on LGBTQ
     Supportive Student Clubs                                students of color suggests that some racial/
                                                             ethnic groups may be discouraged from attending
     For all students, including LGBTQ students,             because they do not perceive their schools’ GSAs
     participation in extracurricular activities is          to be inclusive of or useful for youth of color.98 In
     related to a number of positive outcomes, such          contrast, recent research from GLSEN has found
     as academic achievement and greater school              that there are some benefits to GSA participation
     engagement.94 Supportive student clubs for LGBTQ        for LGBTQ students of color, such as feeling
     students, often known as Gay-Straight Alliances or      more comfortable in bringing up LGBTQ issues in
     Gender and Sexuality Alliances (GSAs), can provide      class and greater engagement in activism.99 More
     LGBTQ students in particular with a safe and            research is needed in this area. Nevertheless,
     affirming space within a school environment that        GSA leaders and advisors should assess potential
     they may otherwise experience as unwelcoming            barriers to GSA attendance at their school and take
     or hostile.95 GSAs may also provide leadership          steps to ensure that GSA meetings are accessible
     opportunities for students and potential avenues        to a diverse range of LGBTQ students.
     for creating positive school change.96 In our survey,
     nearly two-thirds of LGBTQ students (61.6%)             Inclusive Curricular Resources
     reported that their school had a GSA or similar
     student club. Among students with a GSA in              LGBTQ student experiences may also be shaped
     their school, almost half (48.7%) said that they        by inclusion of LGBTQ-related information in the
                                                             curriculum. Learning about LGBTQ historical
                   Table 2.1 Availability of and             events and positive role models may enhance
                      Participation in GSAs                  LGBTQ students’ engagement in their schools and
      Have a GSA at School                                   provide valuable information about the LGBTQ
                                                             community. Students in our survey were asked
           Yes                                     61.6%     whether they had been exposed to representations
           No                                      38.4%     of LGBTQ people, history, or events in lessons at
                                                             school, and the majority of respondents (66.8%)
      Frequency of GSA Meeting Attendance (n = 10265)
                                                             reported that their classes did not include these
           Frequently                              29.6%     topics (see Figure 2.1).
           Often                                    7.4%
                                                             Access to LGBTQ-inclusive instruction. Of the third
           Sometimes                               11.7%     of students (33.2%) who indicated that LGBTQ
           Rarely                                  13.1%     topics had been discussed in one or more of their
                                                             classes, 48.8% said that they were covered in a
           Never                                   38.2%
                                                             positive manner only, 41.5% said that they were
      Acted as a Leader or Officer (n = 6340)                covered in a negative manner only, and 9.6%
           Yes                                     34.1%     said that they were covered both in a positive and
                                                             negative manner.100 Among the students who had
           No                                      65.9%     been taught positive things about LGBTQ-related




58   EXHIBIT D                                                                                    88
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Insight on GSA Activities
As discussed in the “Availability of School-Based Resources and Supports” section of this report, the majority
of LGBTQ students (61.6%) have a GSA at their school, and among those who have a GSA, nearly two-thirds
(61.8%) have attended GSA meetings. However, we do not have a strong understanding of what GSAs do
and how they may vary in their actions. Therefore, in the present 2019 survey, we asked students who were
members of their GSAs about the activities that their GSAs have engaged in during the past school year.
As shown in the figure, the most common activities that GSAs engaged in during the past school year
were providing a space or events to meet and socialize (87.5%), providing emotional support (73.8%),
and organizing a school event to raise awareness on LGBTQ issues (54.2%). The least common activities
were collaborating with other student-led clubs or organizations on events and advocacy (26.7%), working
outside of their school to advocate on LGBTQ issues (24.7%), and working with district officials to
advocate for inclusive policies and staff trainings (12.6%). Students were also asked if there were other
activities that their GSA engaged in that were not listed. Few students (5.1%) reported other activities,
such as providing education for members, fundraising, and awareness campaigns in school.

                      Percentage of LGBTQ Students With GSAs at Their School Who Reported the Following
                                     GSA Activities During the Past School Year (n = 6168)


Provided a Space or Events to                                                                                     87.5%
Meet and Socialize

Provided Emotional Support                                                                                73.8%


Organized a School Event to Raise Awareness                                               54.2%
on LGBTQ issues

Worked with Staff to Create                                                       43.3%
Safer School Environment
Addressed Members’ Experiences of                                            38.2%
Victimization and Discrimination

Collaborated with Other Student-Led Clubs or                        26.7%
Organizations on Events and Advocacy

Worked Outside of School to Advocate on                            24.7%
LGBTQ Issues
Worked with District Officials to Advocate
                                                           12.6%
for Inclusive Policies and Staff Trainings
Other (e.g., provided education for
members, fundraising, awareness campaign            5.1%
in school, etc.)
                                               0%           20%             40%           60%             80%         100%


Given that the majority of LGBTQ students experience high levels of victimization and discrimination at
school, it is not surprising that the vast majority of students reported that GSAs serve as a place to socialize
and to receive emotional support. Also, for some LGBTQ students, it may be the only extracurricular activity
where they can feel safe as an LGBTQ person. It is also important to note that the majority of students
reported that their GSAs organize school events to raise awareness about LGBTQ issues, which may further
indicate that the majority of GSAs also actively engage in making their school safer and more inclusive.
Although we know that the availability of GSAs is positively associated with psychological well-being and
school belonging for LGBTQ youth (see the “Utility of School-Based Resources and Supports” section of this
report), we do not know whether specific GSA activities are related to these outcomes. Also, there may be
certain activities that draw LGBTQ students to join their GSA because of negative school experiences related
to their LGBTQ identity. Thus, further research should examine the benefits of GSA membership and whether
they vary by type of activities of the GSA and whether certain activities that their GSA engages in are related
to their school experiences, such as with anti-LGBTQ victimization.




EXHIBIT D                                                                                                           89       59
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     topics in class, History/Social Studies and English                         “I wish there was more
     were the classes most often mentioned as being
     inclusive of these topics (see Table 2.2).                                  education and discussion
     Access to LGBTQ-inclusive materials and
                                                                                 of LGBTQ people and
     resources. We also asked students about potential                           issues, but no one will start
     curricular inclusion outside of direct classroom
     instruction, such as in class readings. Only a fifth                        the conversation.”
     of LGBTQ students (19.6%) reported that LGBTQ-
     related topics were included in textbooks or other                          textbooks and readings and 19.2% of students
     assigned readings, with 0.5% of students reporting                          reporting that they were included in only a few
     that these topics were included in many of their                            (see Figure 2.2).101 Additionally, we asked students
                                                                                 about their ability to access information about
            Figure 2.1 Representations of LGBTQ-Related                          LGBTQ issues that may not be directly covered in
             Topics Taught in Any Classroom Curriculum                           class or assigned readings, such as information
                  None                       Positive
                                                                                 available in school libraries or via school
                  66.8%                      16.2%                               computers. Many LGBTQ students in our survey did
                                                                                 not have access to these types of LGBTQ-related
                                                                                 curricular resources. As Figure 2.2 illustrates,
                                                                                 about half (48.9%) reported that they could find
                                                                                 books or information on LGBTQ-related topics in
                                                         Negative
                                                                                 their school library (8.2% of students reported they
                                                         13.8%
                                                                                 could find many resources, and 40.8% reported
                                                                                 they could find only a few).102 In addition, just
                                                        Both                     over half of students with internet access at school
                                                        Positive &               (55.9%) reported being able to access LGBTQ-
                                                        Negative                 related information via school computers.
                                                        3.2%



                         Table 2.2 Positive Representations of LGBTQ-Related Topics Taught in Class
                                                                           % of LGBTQ Students Taught
                                                                            Positive Representations of                       % of All LGBTQ
                                                                              LGBTQ-Related Topics                              Students*
      Classes                                                                       (n = 3213)                                 (n = 16636)
      History or Social Studies                                                            60.3%                                  11.6%
      English                                                                              38.0%                                    7.3%
      Health                                                                               26.6%                                    5.1%
      Art                                                                                  14.2%                                    2.7%
      Music                                                                                11.6%                                    2.2%
      Science                                                                              10.6%                                    2.1%
      Psychology                                                                             8.9%                                   1.7%
      Foreign Language                                                                       8.8%                                   1.7%
      Gym or Physical Education                                                              5.3%                                   1.0%
      Sociology                                                                              4.6%                                   0.9%
      Math                                                                                   3.6%                                   0.7%
      Other Class (e.g., Drama, Advisory)                                                  10.2%                                    2.0%
        *Note: This number does not include respondents who chose not to respond to the question about the availability of LGBTQ curricular content.




60   EXHIBIT D                                                                                                         90
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Access to LGBTQ-inclusive sex education. In                      Less than a quarter of students (22.9%) who
addition to asking broadly about LGBTQ inclusion                 received some kind of sex education reported
in students’ classes in the past year, we also asked             that it included LGBTQ topics in some way,
students specifically about LGBTQ inclusion in any               either positively or negatively (see Figure 2.3).
sex education they had ever received in school.                  Furthermore, when considering all students in
Sex education can be a prime location for LGBTQ                  the sample, including those who did and did not
inclusion and an important source of information                 receive sex education, only 8.2% received LGBTQ-
for youth about a variety of critical topics —                   inclusive sex education, which included positive
including contraception and pregnancy, HIV/AIDS                  representations of both LGB and transgender
and other sexually transmitted infections (STIs),                and nonbinary identities and topics. Of those
dating and marriage, sexual violence, and puberty.               who received sex education, 27.5% reported
Sex education is often included in health classes,               inclusion of lesbian, gay, and bisexual (LGB)
and as previously discussed, 26.6% of LGBTQ                      topics, and 19.4% of these students reported that
youth reported that they were taught positive                    this inclusion was positive. In addition, 18.5% of
representations of LGBTQ-related topics in their                 students who received sex education were taught
health classes. However, we wanted to specifically               about transgender and nonbinary topics in their
examine LGBTQ inclusion in sex education that                    sex education courses, and of these students,
occurs in school, both in and out of health classes.             12.3% reported that these topics were taught in a
                                                                  positive manner. LGB topics were more common103
            Figure 2.2 Availability of LGBTQ-Related              in sex education classes, and were taught more
                      Curricular Resources                        positively104 than transgender and nonbinary
                                                                  topics. However, for both LGB and transgender
 60%                                                55.9%         and nonbinary topics, more students reported
                                     48.9%                        positive than negative inclusion (see Figure 2.4).

                                                                 Supportive School Personnel
 40%
                                                                 Supportive teachers, principals, and other school
                                                                 staff serve as another important resource for
            19.6%       19.5%                                    LGBTQ students. Being able to speak with a
 20%                                                             caring adult in school may have a significant
                                                                 positive impact on school experiences for
                                                                 students, particularly those who feel marginalized
                                                                 or experience harassment. In our survey, almost
   0%                                                            all students (97.7%) could identify at least one
         Textbooks or   LGBTQ-      Library        Internet
        Other Assigned Inclusive   Resources        Access
           Readings    Curricula                  to LGBTQ         Figure 2.4 Inclusion of LGBTQ Topics in Sex Education
                                                   Content        (Percentage of LGBTQ Students with Inclusion of Topics,
                                                                         Among Those Who Received Sex Education)

                                                                   100%
   Figure 2.3 Percentage of LGBTQ Students Who Have
               Received Any Sex Education

Sex Education                                                       80%
                                      No Sex Education                                                           No
With LGB or
                                      24.1%                                                                      Inclusion
Trans/Nonbinary                                                              72.5%
                                                                    60%                        81.5%
Topics                                                                                                           Negaitive
22.9%                                                                                                            Inclusion
                                                                    40%
                                                                                                                 Positive
                                                                                                                 Inclusion
                                                                              8.1%
                                               Sex Education        20%
                                               Without LGB or                                   6.2%
                                                                             19.4%
                                               Trans/Nonbinary                                 12.3%
                                               Topics                0%
                                               53.0%                       LGB Topics   Trans/Nonbinary Topics
                                                                          (n = 12643)        (n = 12640)




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     school staff member whom they believed was                           of LGBTQ students, and less than a quarter of
     supportive of LGBTQ students at their school, and                    students (22.5%) said their administration was
     66.3% could identify six or more supportive school                   very or somewhat unsupportive. It is also important
     staff (see Figure 2.5).                                              to note that over a third of students (35.1%)
                                                                          indicated that their administration was neutral.
     As the leaders of the school, school administrators                  This may signify administration that has not been
     have a particularly important role to play in the                    actively supportive or unsupportive regarding
     school experiences of LGBTQ youth. They may                          LGBTQ students. It may also signify that students
     serve not only as caring adults to whom the youth                    are unsure of their administration’s stance on
     can turn, but they also set the tone of the school                   LGBTQ issues, perhaps because they have not
     and determine specific policies and programs                         been at all vocal about LGBTQ student issues.
     that may affect the school’s climate. As shown in
     Figure 2.6, 42.4% of LGBTQ students reported                         To understand whether certain types of educators
     that their school administration (e.g., principal,                   were more likely to be seen as supportive, we asked
     vice principal) was very or somewhat supportive                      LGBTQ students how comfortable they would feel

          Figure 2.5 LGBTQ Students’ Reports on the                             Figure 2.6 LGBTQ Students’ Reports on
          Number of Teachers and Other School Staff                            How Supportive Their School Administration
            Who Are Supportive of LGBTQ Students                                         Is of LGBTQ Students
                              None                                                               Very Unsupportive
                              2.3%    One
            More                                                                                 7.4%
                                      4.0%                                                                           Very Supportive
            than 10                                                         Somewhat
                                                                                                                     16.9%
            42.3%                                                           Unsupportive
                                                                            15.1%
                                                   Between
                                                   2 and 5
                                                   27.5%

                                                                                                                           Somewhat
                                                                                                                           Supportive
                                                                               Neutral                                     25.5%
                                               Between                         35.1%
                                               6 and 10
                                               24.0%


                               Figure 2.7 Comfort Talking with School Personnel about LGBTQ Issues
          100%
                                                     10.4%            7.8%               6.4%           6.3%            5.0%
                                     10.7%
                      20.2%                                                                                            10.8%
                                                                                         16.5%         16.2%
           80%                                       20.3%           20.3%
                                     31.1%                                                                             22.7%
                      31.6%                                                              28.6%         28.4%
           60%
                                                     28.2%           30.9%

           40%                       24.3%
                      25.5%
                                                                                                                       61.5%
                                                                                         48.6%         49.1%
           20%                                       41.1%           41.0%
                      22.7%          23.9%

            0%
                 School-Based        Teacher       Librarian/Other    School      Principal/Vice    School Safety, Athletics
                 Mental Health                        Resource        Nurse         Principal        Resource or Coach or P.E.
                  Professional                          Staff                                       Security Officer Teacher

                               Very                       Somewhat               Somewhat              Very
                               Uncomfortable              Uncomfortable          Comfortable           Comfortable




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Insight on Reasons for Not Attending a GSA
As shown in the “Availability of School-Based                               Reasons LGBTQ Students Have Not Attended Any
Resources and Supports” section of this                                     GSA Meetings in the Past School Year (n = 3663)
report, nearly two-fifths (38.2%) of LGBTQ
students who had a GSA at their school did                                                                                            Students
not attend the meetings. Little is known about                                                                                        Reporting
why LGBTQ students do not attend GSAs at                                                                                               %* (n)
their school. One qualitative study suggested                             Interpersonal Dynamics                                            27.4%
that some LGBTQ students may not want                                     (e.g., “I just don’t get along with the                           (1005)
to join a GSA because of lack of interest or                              people in it, not my type of folks.”)
awareness of a GSA at their school; lack of
time or time conflict; not being out or unaware                           Scheduling and Logistics                                 26.7% (977)
of their sexual orientation; fear of being outed,                         (e.g., “The meetings were on the
stigmatized, victimized or discriminated                                  days I had dance.”)
against; and the perception that the GSA is                               Outness                                                  26.2% (959)
inactive or disorganized.1 Furthermore, some                              (e.g., “I didn’t feel comfortable
groups of LGBTQ students, such as students                                coming out to that many people.”)
of color, may feel discouraged from attending                               General Concerns of Being Outed                        15.3% (560)
because they do not perceive their school’s                                 Not Out to Parents/Family                               4.9% (180)
GSAs to be inclusive or useful.2 Therefore, we                              Not Out at School                                        2.5% (90)
ask students who have a GSA at their school,
                                                                          Potential Repercussions                                  15.8% (580)
but never attended GSA meetings, an open-
                                                                          (e.g., “I am afraid of what others
ended question about their reasons for not
                                                                          might do to me if they find out I have
attending.
                                                                          attended.”)
As shown in the table, the most common                                      General Repercussion                                     7.7% (281)
reasons for not attending GSAs at their school                              From Parents/Family                                      6.1% (224)
were interpersonal dynamics, such as having                                 From Peers                                                2.1% (78)
conflicts with other GSA members (27.4%),                                   From Teachers or Staff                                       0.3% (12)
scheduling and logistics issues (26.7%),
                                                                          Club Functioning                                         12.8% (469)
and issues with outness related to attending
                                                                          (e.g., “It was not well put together
GSA meetings (26.2%). The least common
                                                                          and no one knew when or where
reasons for not attending were with issues
                                                                          meetings were.”)
with the functioning of their GSA such as lack
of organization (12.8%), that their GSA did                               GSA Does Not Meet Their Needs                             12.3% (452)
not meet their needs (12.3%), and personal                                (e.g., “I already feel comfortable as a
concerns associated with attending their                                  lesbian, and my school does a good
GSA such as fear or discomfort and social                                 job of making everyone feel safe and
awkwardness (8.1%). Few students (1.3%)                                   included.”)
reported other reasons for not attending.                                 Personal Concerns                                          8.1% (295)
Given that many LGBTQ students who have                                   (e.g., “I was too shy and nervous to
a GSA at their school do not attend GSA                                   participate…”)
meetings, it is important to address the issues                             Fear or Discomfort                                       5.1% (186)
that these students have about their GSA and                                Social Awkwardness                                         2.7% (99)
barriers that prevent them from attending their
GSA. Future research should examine how                                   Other                                                        1.3% (47)
to address these issues, so that all LGBTQ                                (e.g., other personal reasons, not
students can benefit from attending GSA                                   aware of GSA until recently)
meetings at their school.                                                   *Because respondents could indicate multiple reasons, categories are
                                                                            not mutually exclusive. Percentages may not add up to 100%.

1
    Heck, N. C., Lindquist, L. M., Stewart, B. T., Brennan, C., Cochran, B. N. (2013). To join or not to join: Gay-Straight Student Alliances and the high
    school experiences of lesbian, gay, bisexual, and transgender youths. Journal of Gay & Lesbian Social Services, 25(1), 77–101.
2
    Ocampo, A. C. & Soodjinda, D. (2016). Invisible Asian Americans: The intersection of sexuality, race, and education among gay Asian Americans.
    Race Ethnicity and Education, 19(3), 480–499.
    Toomey, R. B., Huynh, V. W., Jones, S. K., Lee, S. & Revels-Macalinao, M. (2016). Sexual minority youth of color: A content analysis and critical
    review of the literature. Journal of Gay and Lesbian Mental Health, 21(1), 3–31.




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     “… my school’s policy on bullying/harassment is
     extremely vague and unspecific, stating that they will
     not stand for it but not including any specific measures
     that will be taken to prevent/solve any problems and also
     not including protections for ANY minorities, including
     religious, ethnic, and LGBTQ students.”
     talking one-on-one with various school personnel        Safe Space Kit,106 an educator resource aimed at
     about LGBTQ-related issues. As shown in Figure          making learning environments more positive for
     2.7, students reported that they would feel most        LGBTQ students. These materials are intended to
     comfortable talking with school-based mental            help students identify staff members who are allies
     health professionals (e.g., school counselors, social   to LGBTQ students and who can be a source of
     workers, or psychologists) and teachers: 51.8%          support or needed intervention. We asked students
     said they would be somewhat or very comfortable         if they had seen Safe Space stickers or posters
     talking about LGBTQ issues with a mental health         displayed in their school, and nearly two-thirds of
     staff member and 41.8% would be somewhat or             LGBTQ students (62.8%) in the survey reported
     very comfortable talking with a teacher (see also       seeing these materials at their school.
     Figure 2.7). Fewer students indicated that they
     would feel comfortable talking one-on-one with a        The presence of LGBTQ school personnel who are
     school librarian (30.7%) or a school nurse (28.1%)      out or open at school about their sexual orientation
     about these issues. LGBTQ students were least           and/or gender identity may provide another source
     likely to feel comfortable talking with an athletic     of support for LGBTQ students. In addition, the
     coach/Physical Education (P.E.) teacher about           number of out LGBTQ personnel may provide a sign
     LGBTQ issues (see also Figure 2.7).105                  of a more supportive and accepting school climate.
                                                             Nearly half of students (48.8%) in our survey said
     Supportive teachers and other school staff              they could identify at least one out LGBTQ staff
     members serve an important function in the              person at their school (see Figure 2.8).
     lives of LGBTQ youth, helping them feel safer in
     school, as well as promoting their sense of school      Inclusive and Supportive School Policies
     belonging and psychological well-being. One way
     that educators can demonstrate their support for        GLSEN believes that all students should
     LGBTQ youth is through visible displays of such         have access to a safe and supportive learning
     support, such as Safe Space stickers and posters.       environment, regardless of a student’s sexual
     These stickers and posters are part of GLSEN’s          orientation, gender identity, or gender expression.
                                                             Official school policies and guidelines can
                                                             contribute toward this goal by setting the standards
       Figure 2.8 LGBTQ Students’ Reports on the Number of
           Openly LGBTQ Teachers or Other School Staff       for which students should be treated, noting what
                                                             types of behavior are unacceptable, and making
                     Between       More than 10              students aware of the protections and rights
                     6 and 10      1.1%                      afforded to them. In this section, we examine the
                     2.1%                                    availability of two specific forms of supportive
                                              None           school policies: inclusive anti-bullying and
           Between
                                              51.2%
           2 and 5                                           harassment policies and supportive transgender
           23.0%                                             and nonbinary student policies.

                                                             School policies for addressing bullying, harassment,
                                                             and assault. School policies that address in-school
                                                             bullying, harassment, and assault are powerful tools
             One
             22.6%                                           for creating school environments where students
                                                             feel safe. These types of policies can explicitly
                                                             state protections based on personal characteristics,




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such as sexual orientation and gender identity/          environments for all students. However, these
expression, among others. In this report, we identify    policies do not explicitly address potential
and discuss three types of school anti-bullying and      discrimination faced by LGBTQ students. Our
harassment policies: 1) comprehensive, 2) partially      research has indicated that transgender and
enumerated, and 3) generic. Comprehensive                nonbinary youth are at heightened risk for in-
policies explicitly enumerate protections based on       school discrimination that can greatly hinder their
personal characteristics and include both sexual         right to an education (see also the “Experiences
orientation and gender identity/expression. When         of Discrimination at School” section).108
a school has and enforces a comprehensive policy,        Some state and local education agencies have
especially one which also includes procedures            developed explicit policies and implemented
for reporting incidents to school authorities, it        practices designed to ensure transgender and
can send a message that bullying, harassment,            nonbinary students are provided with equal access
and assault are unacceptable and will not be             to education.109 For example, to ensure that
tolerated. Comprehensive school policies may also        transgender and nonbinary students are called by
provide students with greater protection against         the appropriate name and pronouns, some schools
victimization because they make clear the various        have adopted policies that require those at school
forms of bullying, harassment, and assault that          to use students’ chosen names and pronouns
will not be tolerated. They may also demonstrate         consistent with their gender identity. However, little
that student safety, including the safety of LGBTQ       is known about the prevalence or the content of
students, is taken seriously by school administrators.   these types of policies.
Partially enumerated policies explicitly mention
sexual orientation or gender identity/expression,        In our survey, we asked LGBTQ students whether
but not both, and may not provide the same level         their school or district had official policies or
of protection for LGBTQ students. Lastly, generic        guidelines to support transgender and nonbinary
anti-bullying or anti-harassment school policies do      students, and one in ten LGBTQ students (10.9%)
not enumerate sexual orientation or gender identity/     indicated that their school or district did have
expression as protected categories.107                   such a policy (see Figure 2.9). Transgender and
                                                         nonbinary students were more likely to report that
Students were asked whether their school had             their school or district had official policies in this
a policy about in-school bullying, harassment,           area than cisgender LGBQ students and students
or assault, and if that policy explicitly included       questioning their gender identity (see also Figure
sexual orientation and gender identity/expression.       2.9),110 which is not surprising given that these
Although a majority of students (79.1%) reported         policies are more salient for transgender and
that their school had some type of policy (see Table     nonbinary students who would likely be more aware
2.3), only 13.5% of students in our survey reported      of their existence.
that their school had a comprehensive policy that
specifically mentioned both sexual orientation and       Students who reported that their school had such
gender identity/expression (see also Table 2.3).         a policy were provided a list of nine different
                                                         areas that the policy might address, and were also
Policies and guidelines on transgender and               provided the opportunity to indicate other areas
nonbinary students. Anti-bullying and harassment         that were not listed. Responses from transgender
policies are critical for ensuring safe school           and nonbinary students are provided in Table 2.4,

         Table 2.3 LGBTQ Students’ Reports of School Bullying, Harassment, and Assault Policies
 No Policy/Don’t Know                                                                                 20.9%
 Any Policy                                                                                           79.1%
      Generic (enumerates neither sexual orientation nor gender expression)                           57.7%

      Partially Enumerated                                                                              7.9%
              Sexual orientation only                                                                   7.0%
              Gender identity/expression only                                                           0.9%
      Comprehensive (enumerates both sexual orientation and gender identity/expression)               13.5%



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     both the percentages among only those transgender                          specifically in the table, cisgender students in
     and nonbinary students who had such a policy and                           our survey reported inclusion to nearly the same
     the percentages for all transgender and nonbinary                          degree as transgender and nonbinary students.111
     students in the survey. Although we highlight                              Transgender and nonbinary students most
     responses from transgender and nonbinary students                          commonly reported that transgender and nonbinary
                                                                                student policies addressed the use of students’
                                                                                names/pronouns (10.9% of all transgender and
                Figure 2.9 Percentage of Students
                   Reporting Their School Has                                   nonbinary students in the survey, and 89.5% of
                   Policy/Guidelines Regarding                                  those with a policy), school bathrooms (8.6% of all
               Transgender and Nonbinary Students                               transgender and nonbinary students reported use
                                                                                of boys/girls bathroom, and 70.3% of those with
       100%                                                                     a policy; 7.9% of all transgender and nonbinary
                   10.9%              12.5%
                                                                                students reported gender neutral bathroom access,
       80%                                                                      and 64.4% of those with a policy), and changing
                                                         School Has
                   35.9%              30.1%                                     official school records (7.9% of all transgender and
                                                         a Policy
                                                                                nonbinary students, and 64.9% of those with a
       60%
                                                         Not Sure               policy).112 The least commonly addressed area was
                                                                                housing in dorms or during field trips (3.8% of all
       40%                                               School Does            transgender and nonbinary students, and 31.0%
                                      57.4%              Not Have               of those with a policy). Several students also
                   53.1%
       20%
                                                         a Policy               indicated that their policy included other topics,
                                                                                such as access to gender-neutral locker rooms or
                                                                                permission to change unofficial school documents,
        0%                                                                      such as a student identification card or student
                 All LGBTQ       Trans/Nonbinary
                  Students        Students Only
                                                                                email address.


          Table 2.4 Transgender and Nonbinary Students’ Reports of Areas Addressed in Transgender and
                            Nonbinary Student School Policies and Official Guidelines
                                                                                                                                     % of All
                                                                                                             % of Trans/               Trans/
                                                                                                             Nonbinary              Nonbinary
                                                                                                             Students*              Students in
                                                                                                             with Policy              Survey
     Use of chosen name/pronouns                                                                               89.5%                  10.9%
     Access to bathroom corresponding to one’s gender                                                          70.3%                    8.6%
     Change in official school records to reflect name or gender change                                        64.9%                    7.9%
     Access gender neutral bathroom                                                                            64.4%                    7.9%
     Able to participate in extracurricular activities that match gender                                       54.4%                    6.7%
        identity (non-sports)
     Able to wear clothes that reflect gender identity                                                         48.5%                    5.9%
     Access to locker rooms that match gender identity                                                         45.5%                    5.6%
     Participate in school sports that match gender identity                                                   41.7%                    5.1%
     Stay in housing during field trips or in dorms that matches one’s                                         31.0%                    3.8%
        gender identity
     Another topic not listed (e.g., gender-neutral locker rooms, name                                           1.5%                   0.2%
       change on unofficial school documents)
       *”Transgender and nonbinary students” refers to all students in the survey sample who were not cisgender and were not questioning their gender
       identity, including transgender students, genderqueer students, nonbinary students, and other students with an identity other than cisgender
       (e.g., agender).




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Conclusions                                              Furthermore, less than half of LGBTQ students
                                                         reported that their school administration was
Overall, the findings in this section on “Availability   somewhat or very supportive, and over a third of
of School-Based Resources and Supports” revealed         the students reported that their administration
that many LGBTQ students did not have access             was neutral in terms of supportiveness. In order to
to LGBTQ resources and supports at their school.         create an inclusive school environment for LGBTQ
Regarding GSAs, over a third reported that they          students, it is important for students to have a
did not have this type of club at their school.          wide network of staff at school that they can turn
With regard to inclusive curricular resources, the       to, and administrators that are proactive in their
majority of students reported that their classes         support for LGBTQ students.
did not teach positive representations of LGBTQ
history, people, or events, and did not include          Finally, few LGBTQ students reported having
positive representations of LGBTQ topics in sex          comprehensive anti-bullying/harassment policies
education. Furthermore, regarding curricular             or supportive transgender and nonbinary student
resources, most students did not have access             policies in their school or district. These findings
to LGBTQ-inclusive materials and resources,              indicate that more efforts are needed to provide
including LGBTQ-related textbooks or other               positive supports in schools in order to create
assigned readings, LGBTQ-inclusive content in the        safer and more affirming school environments
curriculum, and LGBTQ-related library resources.         for LGBTQ students.

Regarding supportive school personnel, although
the vast majority of students could identify at least
one supportive school staff member, many students
could only identify five or fewer supportive staff.




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Utility of School-Based
Resources and Supports




  Key Findings
  •   LGBTQ students experienced a safer, more positive school environment when:

        -   Their school had a Gay-Straight Alliance or Gender and Sexuality Alliance (GSA) or similar
            student club;

        -   They were taught positive representations of LGBTQ people, history, and events through
            their school curriculum;

        -   They had supportive school staff who frequently intervened in biased remarks and
            effectively responded to reports of harassment and assault; and

        -   Their school had an anti-bullying/ harassment policy that specifically included protections
            based on sexual orientation and gender identity/expression.

  •   Transgender and nonbinary students in schools with official policies or guidelines to support
      transgender and nonbinary students had more positive school experience, including less
      discrimination and more positive school belonging.




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     School-based resources, such as supportive student           anti-LGBTQ remarks, as well as peer acceptance
     clubs, LGBTQ-inclusive curricula, supportive                 of LGBTQ people. We also examined how the
     school personnel, and inclusive, supportive                  availability of GSAs impacts LGBTQ students’
     policies, may contribute directly to a more positive         connection to school staff, and feelings of school
     school environment for LGBTQ students.113 These              belonging and well-being.
     institutional supports may also indirectly foster
     better school outcomes and well-being for students           Biased language, school safety, and absenteeism.
     by decreasing the incidence of negative school               We found that LGBTQ students in our survey who
     climate factors, such as anti-LGBTQ remarks and              attended schools with a GSA were less likely to
     victimization.114 In this section, we examine the            report negative indicators of school climate. LGBTQ
     relationship between school-based institutional              students in schools with a GSA:
     supports and school climate, as well as educational
     indicators (specifically, absenteeism, academic                 • Heard anti-LGBTQ remarks less frequently
     achievement, educational aspirations, and school                  than LGBTQ students in schools without a
     belonging), and indicators of student well-being                  GSA (see Figure 2.10).118 For example, 49.4%
     (specifically, self-esteem and depression).                       of students in schools with a GSA reported
                                                                       hearing homophobic remarks such as “fag” or
     Supportive Student Clubs                                          “dyke” often or frequently, compared to 62.5%
                                                                       of students in schools without a GSA;
     Student clubs that address issues of sexual
     orientation and gender identity/expression, such                • Were less likely to feel unsafe regarding their
     as GSAs, can provide a safe space for LGBTQ                       sexual orientation (53.6% vs. 67.4% of
     students and their allies to meet, socialize,                     students without a GSA) or gender expression
     and advocate for changes in their schools and                     (40.2% vs. 46.0%; see Figure 2.11);119 and
     communities.115 The presence of a GSA may also
     contribute to a more respectful student body by                 • Experienced less severe victimization related
     raising awareness of LGBTQ issues, as well as                     to their sexual orientation or gender expression
     demonstrate to LGBTQ students that they have                      (see Figure 2.12).120 For example, a quarter
     allies in their schools.116 As such, GSAs can                     of students (24.9%) in schools with a GSA
     contribute to safer and more inclusive schools                    experienced higher levels of victimization
     for LGBTQ students.117 We specifically examined                   based on sexual orientation, compared to
     how, for LGBTQ students, the availability of a GSA                two-fifths of students (40.1%) in schools
     at school impacts negative indicators of school                   without GSAs.
     climate, as well as peer intervention regarding

                               Figure 2.10 Presence of GSAs and Frequency of Hearing Biased Remarks
                                (Percentage of LGBTQ Students Hearing Remarks Often or Frequently)
     100%

               83.5%
      80%
                       70.5%
                                     66.4%
                                                             62.5%                59.5%
      60%                                      57.4%
                                                                      49.4%                49.3%       50.0%
                                                                                                                39.9%
      40%


      20%


       0%
              “Gay” Used in            “No Homo”          Other Homophobic      Negative Remarks      Negative Remarks
              a Negative Way                                  Remarks           Regarding Gender      about Trangender
                                                                                   Expression              People

                                             School Does Not Have a GSA         School Has a GSA




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 Perhaps, in part, because of the positive effect                       presence of a GSA may make it easier for LGBTQ
 of GSAs on school climate, LGBTQ students in                           students to identify a supportive school staff
 schools with a GSA were less likely to have missed                     person. Indeed, students in schools with a GSA
 school in the past month because of feeling unsafe                     could identify more supportive staff members than
 or uncomfortable (28.4% vs. 39.6% without a                            students in schools without a GSA.122 For example,
 GSA; see also Figure 2.11).121                                         as shown in Figure 2.13, over half of LGBTQ
                                                                        students (55.8%) with a GSA reported having 11
 Students’ connections to school staff. Given that                      or more supportive staff, compared to just one-fifth
 GSAs typically have at least one faculty advisor, the                  (20.6%) of those without a GSA in their school.


                                     Figure 2.11 Presence of GSAs and LGBTQ Students’ Feelings of
                                                       Safety and Missing School
                         80%
                                       67.4%

                         60%
                                                  53.6%
                                                                46.0%
                                                                          40.2%          39.6%
                         40%
                                                                                                    28.4%

                         20%
                                                                                       Figure 2.13 Presence of GSAs and Number of
                                                                                        School Staff Supportive of LGBTQ Students
                            0%
                                     Felt Unsafe Because      Felt Unsafe Because of Missed at Least One Day
                                                                               100%
                                     of Sexual Orientation     Gender Expression of School in the Past Month
                                                                                            20.6%
                                               School Does Not Have a GSA              School Has a GSA
                                                                               80%
                                                                                                            55.8%
                                                                                            23.1%
        Figure 2.12 Presence of GSAs and Victimization                         Figure 2.13 Presence of GSAs and Number of
         (Percentage of LGBTQ Students Experiencing                             School Staff Supportive of LGBTQ Students
                                                                                60%
                                                                                                                            11 or More
                 Higher Levels of Victimization)
                                                                                                                            Supportive Staff
                                                                        100%
      50%
                                                                                                                            6–10
                40.1%                                                          40% 20.6%
      40%                                  36.0%                                                                            Supportive Staff
                                                                                                            24.5%
                                                                         80%                56.3%                           0–5 Supportive
      30%                   24.9%                     24.9%
                                                                                                      55.8%                 Staff
      20%                                                                      20% 23.1%
  Figure 2.12 Presence of GSAs and Victimization
   (Percentage
    10%        of LGBTQ Students Experiencing                            60%                                19.7%
                                                                                                                     11 or More
           Higher Levels of Victimization)
                                                                                                                     Supportive Staff
      0%                                                                          0%
50%          Victimization Re:            Victimization Re:                              School Does      School Has 6–10
        40.1%
            Sexual Orientation           Gender Expression               40%           Not Have a GSA       a GSA
40%                                  36.0%                                                                           Supportive Staff
                                                                                                      24.5%
30%               School Does Not                School Has                            56.3%                         0–5 Supportive
                   24.9%
                  Have a GSA                    24.9%
                                                 a GSA                                                               Staff
20%                                                                      20%

10%                                                                                                   19.7%

0%                                                                        0%
       Victimization Re:            Victimization Re:                            School Does        School Has
       Sexual Orientation           Gender Expression                          Not Have a GSA         a GSA

            School Does Not              School Has
            Have a GSA                   a GSA

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     “I really wish that so many other LGBTQ+ kids could come
     to our school and feel the support we do, or at least have
     the ability to come to a GSA like ours which inputs so
     much change in our school community, and provides so
     much support for its members.”
     GSAs increase visibility around anti-LGBTQ                 in school. In addition, GSAs may engage in
     bullying and discrimination in school. In addition,        activities designed to combat anti-LGBTQ prejudice
     some GSAs also conduct trainings or workshops              and raise awareness about LGBTQ issues. Overall,
     for faculty on LGBTQ student experiences. By               31.9% of LGBTQ students participated in a GLSEN
     increasing awareness of anti-LGBTQ bias in the             Day of Action, such as the Day of Silence,124 and
     school environment or promoting training for               those who had a GSA in their school were much
     educators on LGBTQ issues, GSAs may help                   more likely to participate than those who did not
     increase rates of staff intervention when anti-            have a GSA (41.5% of those with a GSA vs. 16.6%
     LGBTQ biased remarks occur. We found that staff            of those without).125 As such, GSAs may foster
     in schools with GSAs intervened in homophobic              greater acceptance of LGBTQ people among the
     remarks and negative remarks about gender                  student body, which in turn may result in a more
     expression more frequently than educators in               positive school climate for LGBTQ students.
     schools without a GSA.123 For example, 16.4%
     of staff in schools with GSAs intervened in                Among all students in our survey, 43.5% reported
     homophobic remarks most of the time or always,             that their peers were somewhat or very accepting of
     compared to 9.4% of staff in schools without GSAs          LGBTQ people.126 Students who attended schools
     (see Figure 2.14).                                         with a GSA were much more likely than those
                                                                without a GSA to report that their classmates were
     Peer acceptance and intervention. GSAs provide             accepting of LGBTQ people: 52.0% of LGBTQ
     an opportunity for LGBTQ students and their allies         students in schools with GSAs described their
     to meet together in the school environment, and            peers as accepting, compared to 29.9% of those in
     they may also provide an opportunity for LGBTQ             schools without a GSA.127 GSAs were also related
     students and issues to be visible to other students        to increased student intervention regarding biased

                             Figure 2.14 Presence of GSAs and Intervention in Anti-LGBTQ Remarks
                                (Percentage of LGBTQ Students Reporting that Staff and Students
                                              Intervene Most of the Time or Always)
                20%

                                 16.4%



                                                                               10.9%
                         9.4%                                                                          9.3%
                10%
                                                                                              7.7%
                                                         7.0%
                                                5.4%                   5.9%




                 0%
                             Staff                Students                Staff                  Students

                          Intervention in Homophobic Remarks             Intervention in Negative Remarks
                                                                             About Gender Expression

                                          School Does Not Have a GSA          School Has a GSA




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remarks — students in schools with GSAs reported               Inclusive Curricular Resources
that other students intervened more often when
hearing homophobic remarks and negative remarks                Many experts in multicultural education believe
about gender expression than those in schools                  that a curriculum that is inclusive of diverse groups
without GSAs (see Figure 2.14).128                             -including diverse cultures, races, ethnicities,
                                                               genders, and sexual orientations - instills a belief
School belonging and student well-being. Given                 in the intrinsic worth of all individuals and in the
that LGBTQ students with a GSA report having                   value of a diverse society.131 Including LGBTQ-
supportive educators and more accepting peers,                 related issues in the curriculum in a positive
it is likely that these students may also have                 manner may make LGBTQ students feel like
greater feelings of connectedness to their school              more valued members of the school community,
community and more positive feelings about                     and it may also promote more positive feelings
themselves and their LGBTQ identity. Indeed, we                about LGBTQ issues and persons among their
found that LGBTQ students in schools with GSAs                 peers, thereby resulting in a more positive school
reported greater feelings of school belonging,129              climate.132 Thus, we examined the relationship
lower levels of depression, and higher levels of self-         between access to LGBTQ-inclusive curricular
esteem130 than students in schools without GSAs.               resources and various indicators of school climate
                                                               and well-being.
As shown above, having a GSA at school benefits
LGBTQ students in several ways. Students in                    Biased language. Among the LGBTQ students
schools with GSAs reported fewer homophobic                    in our survey, attending a school that included
remarks and negative remarks about gender                      positive representations of LGBTQ topics in the
expression, experienced less anti-LGBTQ                        curriculum was related to less frequent use of anti-
victimization, were less likely to feel unsafe and             LGBTQ language.133 Specifically, LGBTQ students
miss school for safety reasons, and reported                   in schools with an LGBTQ-inclusive curriculum:
a greater sense of belonging to their school
community and increased psychological well-                         • Heard homophobic remarks less frequently
being. However, many LGBTQ students do not                            than students in schools without an inclusive
have access to GSAs at their school, and given the                    curriculum (see Figure 2.15);
benefits of GSAs, more work is needed to make
GSAs available to all students in order to help                     • Heard negative remarks about gender
create safer and more inclusive schools.                              expression less frequently than students in
                                                                      schools without an inclusive curriculum (see
                                                                      also Figure 2.15); and

                  Figure 2.15 LGBTQ-Inclusive Curriculum and Frequency of Hearing Anti-LGBTQ Remarks

100%

          79.8%
80%

                                 62.7%
                   59.2%                                 58.3%
60%                                                                                                     56.0%
                                           53.1%
                                                                                47.2%
                                                                                                                 41.8%
                                                                    38.6%
40%
                                                                                          30.1%

20%


  0%
          “Gay” Used in            “No Homo”           Other Homophobic        Negative Remarks       Negative Remarks
          a Negative Way                                   Remarks             Regarding Gender       abtout Trangender
                                                                                  Expression               People

                     School Does Not Have an Inclusive Curriculum           School Has an Inclusive Curriculum




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       • Heard negative remarks about transgender                            • Reported less severe victimization based on
         people less frequently than students in schools                       sexual orientation and on gender expression
         without an inclusive curriculum (see also                             than students in schools without an inclusive
         Figure 2.15).                                                         curriculum (see Figure 2.16);134

     Victimization and school safety. Attending a school                     • Were less likely to feel unsafe at school
     with an LGBTQ-inclusive curriculum was also                               because of their sexual orientation and their
     related to greater school safety and fewer absences                       gender expression than those without an
     related to feeling unsafe at school. Specifically,                        inclusive curriculum (see Figure 2.17);135 and
     LGBTQ students in schools with an LGBTQ-
     inclusive curriculum:                                                   • Were less likely to report having missed school
                                                                               due to feeling unsafe or uncomfortable (see
                                                                               also Figure 2.17).136
            Figure 2.16 LGBTQ-Inclusive Curriculum and
             Frequency of Hearing Anti-LGBTQ Remarks                       Students’ connections to school staff. When
                                                                           educators include LGBTQ-related content in their
      40%                                                                  curriculum, they may also be sending a message
                                          33.6%                            that they are open to discussing LGBTQ-related
                31.6%
                                                                           issues with their students. LGBTQ students in
      30%                                                                  schools with an inclusive curriculum were more
                                                                           likely to say they felt comfortable discussing
                          19.3%                    19.2%                   these issues with their teachers than students in
      20%
                                                                           schools without an inclusive curriculum — almost
                                                                           two-thirds of students (64.6%) with an inclusive
                                                                           curriculum indicated they felt “somewhat” or “very”
      10%
                                                                           comfortable talking with their teachers about these
                                                                           issues, compared to just over one-third of students
                                                                           (36.4%) without an inclusive curriculum.137
       0%
              Victimization Re:         Victimization Re:
              Sexual Orientation        Gender Expression                  Achievement and aspirations. Inclusive curricula can
                                                                           serve a vital role in creating an affirming learning
            School Does Not Have            School Has an                  environment where LGBTQ students see themselves
            an Inclusive Curriculum         Inclusive Curriculum           reflected in their classroom. This may result in
                                                                           increased student engagement and may encourage

                                Figure 2.17 LGBTQ-Inclusive Curriculum and LGBTQ Students’ Feelings of
                                                     Safety and Missing School

                          80%

                                       62.7%
                          60%

                                                  44.4%            44.7%
                          40%                                                33.5%         35.0%

                                                                                                     23.2%
                          20%



                           0%
                                   Felt Unsafe Because of   Felt Unsafe Because of Missed at Least One Day
                                      Sexual Orientation      Gender Expression of School in the Past Month

                                               School Does Not Have               School Has an
                                               an Inclusive Curriculum            Inclusive Curriculum




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students to strive academically which, in turn, may            all of the time when hearing homophobic remarks
yield better educational outcomes. Indeed, we found            and negative remarks about gender expression,
that LGBTQ students in schools with an inclusive               compared to students in schools without an
curriculum reported a somewhat higher grade                    inclusive curriculum (see Figure 2.18).141
point average (GPA) than those in schools without
an inclusive curriculum (3.32 vs. 3.23).138 We                 School belonging and well-being. Given that
also found that students with an LGBTQ-inclusive               having positive curricular inclusion was related to
curriculum evidenced higher academic aspirations               a greater number of supportive educators and more
— students in schools with an inclusive curriculum             accepting peers, it is likely that being taught a
were less likely to say they did not plan to pursue            curriculum that is inclusive of LGBTQ people and
some type of post-secondary education compared                 topics would also be related to LGBTQ students
to LGBTQ students in schools without an inclusive              feeling more connected to their school community,
curriculum (6.1% vs. 8.3%).139                                 and more positively about themselves and their
                                                               LGBTQ identity. Indeed, we found that access to an
Peer acceptance and peer intervention. The                     inclusive curriculum was related to greater feelings
inclusion of positive portrayals of LGBTQ topics in            of school belonging,142 higher self-esteem, and
the classroom may not only have a direct effect on             lower depression143 among the LGBTQ students in
LGBTQ students’ experiences, but may also help                 our survey.
educate the general student body about LGBTQ
issues and promote respect and understanding                   Overall, we found that access to inclusive
of LGBTQ people in general. LGBTQ students                     curriculum is related to a more positive school
who attended schools with an LGBTQ-inclusive                   climate. Students who are taught an LGBTQ-
curriculum were much more likely to report that                inclusive curriculum report less anti-LGBTQ
their classmates were somewhat or very accepting               biased language and victimization, and are less
of LGBTQ people (66.9% vs. 37.9%).140 Increased                likely to feel unsafe and miss school because of
understanding and respect may lead students in                 their LGBTQ identity than those who do not have
general to speak up when they witness anti-LGBTQ               access to LGBTQ-inclusive curriculum. LGBTQ
behaviors. Although overall rates of students’                 students with an inclusive curriculum are more
intervention regarding these types of remarks were             comfortable talking to school staff about LGBTQ
low, we found that LGBTQ students in schools with              topics and report that their peers are more
an inclusive curriculum reported that other students           accepting. Finally, students at schools with an
were more than twice as likely to intervene most or            inclusive curriculum report higher levels of
                                                               school belonging and self-esteem and lower
                                                               levels of depression. However, as we saw in
        Figure 2.18 LGBTQ-Inclusive Curriculum and
                                                               the “Availability of School-Based Resources and
        Student Intervention in Anti-LGBTQ Remarks
                                                               Supports” section, most LGBTQ students are
  20%                                                          not taught positive LGBTQ-related information
                                                               and many lack access to other LGBTQ-inclusive
                                                 15.6%         curricular resources at school. It is important
                                                               for educators to implement LGBTQ-inclusive
                      12.0%
                                                               curriculum in their classes, as increased access
                                                               to LGBTQ-inclusive curriculum and curricular
  10%                                                          resources can lead to more positive school
                                       7.1%                    experiences for LGBTQ students.
            5.0%
                                                               Supportive School Personnel

                                                               Having supportive teachers and school staff
   0%                                                          can have a positive effect on the educational
            Intervention in        Intervention in Negative    experiences of any student, and has been
         Homophobic Remarks             Remarks About
                                                               shown to increase student motivation to learn
                                     Gender Expression
                                                               and positive engagement in school.144 Given
         School Does Not Have           School Has an          that LGBTQ students often feel unsafe and
         an Inclusive Curriculum        Inclusive Curriculum   unwelcome in school, having access to school



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     personnel who provide support may be particularly              (0 to 5) of supportive staff said they did not plan to
     critical for these students.145 Therefore, we                  pursue post-secondary education, compared to only
     examined the relationships between the presence                4.7% of students with a high number (11 or more)
     of supportive staff and several indicators of                  of supportive staff. We also found that students
     school climate.                                                with more supportive staff reported higher GPAs:
                                                                    students with 0 to 5 supportive staff reported an
     School safety and absenteeism. Having staff                    average GPA of 3.14, compared to a GPA of 3.34
     supportive of LGBTQ students was related to                    for students with 11 or more supportive staff (see
     feeling safer in school and missing fewer days                 Table 2.5).148
     of school. As shown in Figure 2.19, students
     with more supportive staff at their schools were               School belonging and well-being. As we saw with
     less likely to feel unsafe regarding their sexual              having a GSA and an LGBTQ-inclusive curriculum,
     orientation or gender expression, as well as less              having supportive school personnel may also
     likely to miss school because of feeling unsafe or             enhance a student’s connection to school. Students
     uncomfortable.146 For example, 44.8% of students               with more supportive staff members expressed
     with a high number (11 or more) of supportive                  higher levels of school belonging.149 Increased
     staff reported feeling unsafe regarding their sexual           feelings of connection may also have a positive
     orientation, compared to 74.2% of students with                effect on student well-being. We found that LGBTQ
     low number (0 to 5) of supportive staff.                       students in schools with more supportive staff
                                                                    reported higher levels of self-esteem and lower
     Achievement and aspirations. Supportive staff                  levels of depression.150
     members serve a vital role in creating an affirming
     learning environment that engages students and                 Staff responses to anti-LGBTQ remarks and
     encourages them to strive academically. Therefore,             victimization. School staff members serve a vital
     it stands to reason that supportive staff would be             role in ensuring a safe learning environment for
     related to LGBTQ students’ educational outcomes.               all students, and, as such, should respond to
     We found that students with more supportive                    biased language and all types of victimization.
     staff hkad greater educational aspirations.147 For             We found that students felt safer at school when
     example, as seen in Figure 2.20, approximately                 they had educators who intervened more often
     one-tenth of students (10.6%) with a low number                when anti-LGBTQ remarks were made.151 As shown
                                                                    in in Figure 2.21, students in schools where
                                                                    staff intervened most of the time or always in
              Figure 2.19 Supportive School Staff and
               Feelings of Safety and Missing School
                                                                              Figure 2.20 Supportive School Staff and
     80%         74.2%                                                                Educational Aspirations

                                     62.4%                          20%
     60%
                 51.3%
                                     45.6%             44.8%

     40%         45.9%
                                                       33.6%
                                                                                10.6%
                                  34.7%                             10%
     20%                                                                                            6.2%
                                                       21.3%
                                                                                                                      4.7%

                                                                                 2.2%
      0%                                                                                            1.0%
                0–5               6–10             11 or More                                                         0.6%
           Supportive Staff   Supportive Staff   Supportive Staff    0%
                                                                               0–5               6–10             11 or More
              Felt Unsafe Because of Sexual Orientation                   Supportive Staff   Supportive Staff   Supportive Staff

              Felt Unsafe Because of Gender Expression                         Not Planning to Pursue Post-Secondary Education
              Missed at Least One Day of School in the Past Month              Not Planning to Graduate High School




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response to anti-LGBTQ remarks were less likely           “My teachers are usually
to report that they felt unsafe regarding their
sexual orientation or gender expression (55.6%            very kind, and four have
vs. 76.2%). Staff intervention was also related to
fewer days of missing school.152 Nearly two-fifths
                                                          openly defended me/LGBT
of students (38.1%) in schools where school staff         rights. Two have given me
never intervened or intervened only sometimes in
anti-LGBTQ remarks had missed school due to               serious emotional help and
feeling unsafe or uncomfortable, compared to a
fourth of students (25.0%) in schools where staff
                                                          have made my life feel less
members intervened most or all of the time (see           terrible.”
also Figure 2.21).

When school staff respond to incidents of
victimization, the overarching goals should be to
protect students, prevent future victimization, and       Table 2.5 Supportive Staff and LGBTQ Students’
demonstrate to the student body that such actions                     Academic Achievement
will not be tolerated. Clear and appropriate actions                                          Mean Reported
on the part of school staff regarding harassment                                               Grade Point
and assault can improve the school environment                                                Average (GPA)
for LGBTQ youth and may also serve to deter future
acts of victimization.153 In fact, as shown in Figure     0 to 5 Supportive Staff                   3.14
2.22, when students believed that staff effectively       6 to 10 Supportive Staff                  3.22
addressed harassment and assault, they were               11 or More Supportive Staff               3.34
less likely to feel unsafe at school regarding their
sexual orientation or gender expression (67.9%
vs. 84.2%)154 and less likely to miss school
because they felt unsafe or uncomfortable


  Figure 2.21 Feelings of Safety and Staff Intervention          Figure 2.22 Effectiveness of Staff Response to
  Regarding Negative Remarks about Sexual Orientation          Harassment/Assault and LGBTQ Students’ Feelings
                 or Gender Expression                                     of Safety and Missing School
        (Percentage of LGBTQ Students Who Felt               (Percentage Among Those Who Reported Victimization
               Unsafe or Missed School)                                        to Staff, n = 4824)
                                                            100%
  80%       76.2%
                                                                      84.2%
                                                            80%
  60%                 55.6%                                                     67.9%

                                                            60%                               54.7%
                                    38.1%
  40%
                                                            40%                                        33.6%
                                              25.0%

  20%                                                       20%



   0%                                                        0%
        Felt Unsafe Because of      Missed at Least                Felt Unsafe Because of Missed at Least One Day
         Sexual Orientation or     One Day of School                 Sexual Orientation       of School in the
          Gender Expression        in the Past Month                or Gender Expression        Past Month


              Staff Intervened       Staff Intervened               Reporting Was Not            Reporting Was
              Never or Some          Most or All of                 at All Effective or          Somewhat or
              of the Time            the Time                       Somewhat Ineffective         Very Effective




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                                                                    Figure 2.23 Effectiveness of Staff Response to
     (33.6% vs. 54.7%).155 In addition, as shown
                                                                      Harassment/Assault and LGBTQ Students’
     in Figure 2.23, students in schools where staff                         Experiences of Victimization
     responded effectively experienced lower levels of              (Percentage Experiencing Higher Severities of
     victimization based on their sexual orientation or               Victimization, Among Those Who Reported
     gender expression. For example, 30.4% of students                     Victimization to Staff, n = 4654)
     who reported that staff intervened effectively
                                                              60%        55.1%
     experienced higher levels of victimization based                                              52.2%
     on gender expression, compared to over half
     of students (52.2%) who reported that staff
     responded ineffectively.156
                                                              40%
                                                                                   29.9%                        30.4%
     Visible displays of support. One of the many ways
     that educators can demonstrate to LGBTQ students
     that they are supportive allies is through visible
                                                              20%
     displays of support, such as GLSEN’s Safe Space
     stickers and posters. LGBTQ students who reported
     seeing Safe Space stickers and posters were more
     likely to report having supportive teachers and other
                                                               0%
     staff at their schools.157 For instance, as shown in               Victimization Re:          Victimization Re:
     Figure 2.24, just over half of students (56.1%) who                Sexual Orientation         Gender Expression
     had seen a Safe Space sticker or poster were able
     to identify a high number of supportive staff (11 or              Reporting Was Not                  Reporting Was
     more) in their schools, compared to less than a fifth             at All Effective or                Somewhat or
     of students (18.8%) who had not seen a Safe Space                 Somewhat Ineffective               Very Effective
     sticker or poster at school.
                                                                      Figure 2.24 Safe Space Stickers/Posters
     LGBTQ-supportive school staff play a critical role               and Number of Supportive School Staff
     in creating a more positive school climate for
                                                             100%
     LGBTQ students. When LGBTQ students attend
                                                                         18.8%
     school with more caring adults to whom they can
     turn, they feel safer and more connected to the         80%                                              11 or More
     school community, and are more likely to plan                       22.8%            56.1%               Supportive Staff
     on graduating and going on to post-secondary            60%                                              6–10
     education. Further, when school staff demonstrate                                                        Supportive Staff
     their support for LGBTQ students by intervening                                                          0–5
     on anti-LGBTQ language or effectively responding        40%
                                                                                                              Supportive Staff
     to harassment, they help to reduce hostile school                   58.4%            24.6%
     experiences for LGBTQ youth, thereby improving          20%
     the learning environment for LGBTQ students.                                         19.2%
     Our findings also highlight the importance of
                                                              0%
     having several LGBTQ-supportive staff at school,                Had Not Seen       Had Seen a
     rather than only a few. Having a large network of               a Safe Space        Safe Space
     supportive staff may create more spaces throughout             Sticker or Poster Sticker or Poster
     the school where LGBTQ students can feel at
     ease about their identities, and where anti-LGBTQ
     remarks and harassment are interrupted. Thus,
     schools must invest in professional development
     for all staff on recognizing and responding to
     the needs of LGBTQ students, and effectively
     intervening in bias-based harassment.




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Inclusive and Supportive School Policies                   partially enumerated policies, 44.5% in schools
                                                           with generic policies, and 47.5% in schools with
Inclusive and supportive school policies can help          no policy.
to ensure that students are safe, respected, and
feel valued in their school. Not only do policies          Experiences of anti-LGBTQ victimization. Overall,
specify prohibited and allowable behaviors, but            LGBTQ students in schools with comprehensive
they also serve to set a tone for the entire school        policies experienced the lowest levels of anti-LGBTQ
community. When these policies are supportive              victimization, followed by partially enumerated and
of LGBTQ students, they can contribute to more             generic policies (see Figure 2.26).159 Students with
positive school climate for these students.                no anti-bullying and harassment policy reported
                                                           the highest levels of experiences with anti-LGBTQ
Policies for addressing bullying, harassment,              victimization. Furthermore, students in schools with
and assault. Comprehensive anti-bullying/                  comprehensive policies experienced lower levels
harassment policies can help ensure schools are            of victimization based on gender expression and
safe for LGBTQ students in that they explicitly            on sexual orientation than compared to those in
state protections from victimization based on              schools with a generic policy (i.e., those that have
sexual orientation and gender identity/expression.         no enumeration) and with no policy. For example,
Furthermore, comprehensive anti-bullying/                  23.4% of students in schools with a comprehensive
harassment policies may also provide school                policy reported higher levels of victimization based
staff with the guidance needed to appropriately            on gender expression, compared to 29.5% in
intervene when students use anti-LGBTQ language            schools with a generic policy, and 33.2% in schools
and when LGBTQ students report incidents of                with no policy.
harassment and assault.
                                                           Responses to anti-LGBTQ remarks. School anti-
Anti-LGBTQ language. Overall, LGBTQ students               bullying/harassment policies often provide guidance
in schools with comprehensive policies were the            to educators in addressing incidents of harassment
least likely to hear anti-LGBTQ language, followed         and biased remarks. Even though students
by those in schools with partially enumerated              reported, in general, that staff intervention was a
policies and schools with generic policies (see            rare occurrence, it was more common in schools
Figure 2.25).158 Students with no anti-bullying            with anti-bullying policies. Students in schools
and harassment policy were most likely to hear             with comprehensive policies reported the highest
such language. For example, 35.4% of students              frequencies of staff intervention when anti-LGBTQ
in schools with a comprehensive policy commonly            remarks occurred, followed by partially enumerated
heard negative remarks about transgender people,           policies, and generic policies (see Figure 2.27).160
compared to 42.9% of students in schools with              Students with no anti-bullying and harassment


              Figure 2.25 School Harassment/Assault Policies and Frequency of Hearing Anti-LGBTQ Remarks
                          (Percentage of LGBTQ Students Hearing Remarks Often or Frequently)

       79.0% 77.6%
80%
                 71.2%     62.5%
                     63.4%     61.8%
                                   58.8%     58.8%
60%                                               55.7%        56.5% 54.7%
                                       55.3%                                        47.5%
                                                      51.8%               51.8%          44.5%
                                                          43.9%               42.5%          42.9%
40%                                                                                                           35.4%


20%


  0%
         “Gay” Used in           “No Homo”         Other Homophobic        Negative Remarks      Negative Remarks
         a Negative Way                                Remarks               about Gender     about Trangender People
                                                                              Expression

               No Policy      Generic Policy       Partially Enumerated Policy       Comprehensive Policy




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     policy reported the lowest frequencies of staff                  school officials. We found that the presence of a
     intervention. For example, a quarter of LGBTQ                    comprehensive anti-bullying policy was related to
     students (25.3%) in schools with comprehensive                   reporting of victimization — students in schools
     polices said teachers intervened most of the time                with a comprehensive school policy were most
     or always when homophobic remarks were made,                     likely to report victimization to school staff than all
     compared to under a fifth of those (17.8%) in                    other students in the survey (see Figure 2.28). We
     schools with partially enumerated policies, 13.0%                did not find that students in schools with partially
     in schools with a generic policy, and 6.8% in                    enumerated policies differed from students with
     schools with no policy.                                          generic policies regarding reporting incidents of
                                                                      victimization to school staff.161 There were no
     Students’ reporting of victimization to school                   differences in reporting victimization among the
     staff and effectiveness of staff response. Policies              other three types of policies. LGBTQ students in
     may provide guidance to students on reporting                    schools with comprehensive policies were also
     bullying and harassment, but perhaps more                        more likely to report that when staff responded
     importantly, policies may also signal that students’             to victimization, their responses were effective
     experiences of victimization will be addressed by                (see also Figure 2.28).162 LGBTQ students in

                          Figure 2.26 School Harassment/Assault Policies and Experiences of Victimization
                            (Percentage of LGBTQ Students Experiencing Higher Levels of Victimization)

                   40%
                              35.3%
                                                                           33.2%
                                          31.5%
                   30%                                                               29.5%
                                                    27.2%
                                                                                              25.5%
                                                              22.5%                                     23.4%
                   20%

                   10%

                     0%
                              Victimization Re: Sexual Orientation         Victimization Re: Gender Expression

                              No Policy           Generic Policy      Partially Enumerated        Comprehensive
                                                                      Policy                      Policy


                              Figure 2.27 School Harassment/Assault Policies and Staff Intervention
                                                Regarding Anti-LGBTQ Remarks
                    (Percentage of LGBTQ Students Reporting that Staff Intervened Most of the Time or Always)

                   30%
                                                              25.3%



                   20%                             17.8%                                               18.5%


                                          13.0%
                                                                                              10.5%
                   10%                                                              8.4%
                              6.8%
                                                                          4.5%


                    0%
                                     Intervention Regarding            Intervention Regarding Negative Remarks
                                      Homophobic Remarks                       About Gender Expression

                             No Policy            Generic Policy       Partially Enumerated        Comprehensive
                                                                       Policy                      Policy




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schools with comprehensive policies and partially              Policies and official guidelines on transgender
enumerated policies were more likely to report that            and nonbinary students. School or district policies
staff responses were effective, compared to all other          detailing the rights and protections afforded to
students. We did not find that students in schools             transgender and nonbinary students help to ensure
with comprehensive policies differed from students             these students have access to an education. These
with partially enumerated policies regarding                   policies can also serve to send the message that
effectiveness of staff responses.                              transgender and nonbinary students are a valuable
                                                               and important part of the school community.
Collectively, these findings suggest that
comprehensive policies are more effective than                 Transgender and nonbinary policies/guidelines
other types of policies in promoting a safe school             and students’ experiences of discrimination. We
environment for LGBTQ students. These policies                 examined whether the presence of a policy or
may send the message to teachers and other school              official guidelines supporting transgender and
staff that responding to LGBTQ-based harassment                nonbinary students was related to experiences
is expected and critical. As we saw in our results,            of gender-related discrimination at school
school personnel intervened more often and more                for these students. We found that having a
effectively when the school was reported to have a             supportive transgender and nonbinary policy was
comprehensive policy. In addition, comprehensive               related to a lower likelihood of gender-related
policies may be effective in curtailing anti-LGBTQ             discrimination — specifically, being prevented
language and behaviors among students —                        from using bathrooms of their gender identity,
students in schools with comprehensive policies                prevented from using locker rooms of their gender
reported the lowest incidence of homophobic                    identity, prevented from wearing clothes deemed
remarks, negative remarks about gender                         “inappropriate” based on gender, and prevented
expression, negative remarks about transgender                 from using their chosen name or pronouns.163 For
people, and reported the lowest levels of anti-                example, as shown in Figure 2.29, transgender and
LGBTQ victimization. These policies may also                   nonbinary students in schools with a transgender
send a message to students that LGBTQ-based                    and nonbinary student policy were less than half
harassment is not tolerated, and that students                 as likely as those in schools without a policy to
should take appropriate action when witnessing                 experience discrimination related to their name or
LGBTQ-based harassment. Thus, comprehensive                    pronouns in school (18.8% vs. 44.9%).
policies may signal to all members of the school
community that anti-LGBTQ victimization and                    As discussed in the “Experiences of Discrimination
biased remarks are not tolerated.                              at School” section of this report, we asked about

                    Figure 2.28 School Harassment/Assault Policies, Reporting Harassment/Assault,
                                        and Effectiveness of Staff Response

             50%
                                                                                                 43.0%

              40%
                                                                                         32.8%
              30%                                                             26.1%
                                                       23.6%
                                                                    21.1%
              20%                   16.2%    17.2%
                        14.2%

              10%


               0%
                    Reported Harassment/Assault to School Staff    Staff Response to Harassment/Assault
                            Most of the Time or Always                Was Somewhat or Very Effective

                        No Policy           Generic Policy        Partially Enumerated       Comprehensive
                                                                  Policy                     Policy




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     specific forms of gender-related discriminatory              bathrooms that were consistent with their gender.165
     school policies and practices experienced by                 With regard to experiences of discrimination related
     transgender and nonbinary students. We further               to names/pronouns for transgender and nonbinary
     asked transgender and nonbinary students whether             students, we found that transgender and nonbinary
     there were any policies that protect against those           students in schools with policies having the specific
     specific forms of gender-related discrimination.             inclusion of name/pronoun protections were less
     For example, we asked if they were prevented                 likely to be prevented from using their chosen
     from using the bathroom aligned with their gender            names/pronouns.166 However, with regard to the
     identity, and here we asked whether there was any            experiences of clothing-related discrimination,
     policy to specifically protect them from bathroom            inclusion of protections related to gendered dress
     discrimination. We examined whether inclusion of             codes was not related to clothing discrimination.167
     protections regarding boys/girls bathrooms, gender-          It may be that certain types of discrimination,
     neutral bathrooms, locker rooms, clothing/dress              such as enforcing restrictive gendered dress code
     codes, and name/pronouns usage were related to the           policies, may be more dependent on individual
     discrimination experiences associated with those             school staff and their knowledge or interpretation
     protections (bathroom, locker rooms, clothing/dress          of the policy, and this finding may indicate
     code, and name/pronouns usage, respectively).                a need for staff training on the policy and its
                                                                  implementation.
     Regarding locker rooms, we found that transgender
     and nonbinary students with policies specifying              The findings on locker room and bathroom policies
     locker room access were less likely to have been             highlight the importance of codifying access
     prevented from using the locker room of their                to these spaces for transgender and nonbinary
     gender.164 Similarly, regarding bathroom access,             students in official policies, given that transgender
     we found that transgender and nonbinary students             and nonbinary students in schools with such
     in schools with policies explicitly allowing them            policies reported less discrimination.168 In addition,
     access to boys’ or girls’ bathrooms consistent with          our findings demonstrate how policies about names
     their gender identity, as well as those with policies        and pronouns are crucial as they were associated
     allowing them access to gender neutral bathrooms,            with less discrimination of that type. Furthermore,
     were less likely to be prevented from using                  previous research has shown that preventing


                          Figure 2.29 Transgender and Nonbinary Policy and Gender-Related Discrimination
                  (Percentage of Transgender and Nonbinary Students Experiencing Type of Discrimination in School)

              60%
                                                53.6%
                                                                        50.7%
                        44.9%

              40%


                                                          26.7%                  25.6%
                                                                                                23.9%
                                  18.8%
              20%


                                                                                                          6.9%

               0%
                      Prevented from Using      Required to Use         Required to Use     Prevented from Wearing
                          Chosen Name            Bathroom of             Locker Room           Clothes Deemed
                           or Pronouns            Legal Sex              of Legal Sex           “Inappropriate”
                                                                                               Based on Gender

                             School Does Not Have a Transgender            School Has a Transgender and
                             and Nonbinary Policy                          Nonbinary Policy




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transgender and nonbinary students from using             that schools institute policies to help safeguard
their chosen pronouns is associated with lowered          these students’ rights and ensure they have equal
psychological well-being,169 which, along with            access to an education. For instance, the findings
our findings on names/pronouns discrimination,            regarding locker room and bathroom discrimination
underscore the importance of enforcing the                indicate that allowing students to access gendered
implementation of such policies. Regarding                facilities that correspond to their gender are critical
clothing-related discrimination, the findings may         for transgender and nonbinary students. Although
reflect the need for effective implementation of          having official protections for transgender and
policies, including notification, enforcement, and        nonbinary students and their rights is crucial, the
related training.                                         power of the policy is in the degree to which it is
                                                          implemented. Professional development is critical
Transgender and nonbinary official policies/              to ensure that school staff are aware of policy
guidelines and school engagement. Having policies         mandates including those that protect transgender
that provide access and support to transgender            and nonbinary students, and are able to enact
and nonbinary students may help students                  them. Furthermore, schools and districts should
feel comfortable and welcome in their school,             develop monitoring and accountability measures
ultimately resulting in greater school engagement.        to ensure that these policies are being effectively
In fact, we found that transgender and nonbinary          implemented and that transgender and nonbinary
students in schools with these policies or                students are not being deprived of their rights.
guidelines were more engaged with their school
community. Transgender and nonbinary students             Supportive and inclusive school policies play
with supportive transgender and nonbinary policies        an essential role in creating safe and inclusive
were less likely to miss school due to feeling            school communities. However, it is important
unsafe or uncomfortable — 63.5% of those with             to note that a significant portion of students in
a policy had not missed school for those reasons,         schools with these policies still faced hostile
compared to 57.6% of students without a policy            school climates — including victimization and
(see Figure 2.30).170 Furthermore, transgender and
nonbinary students with these policies also felt
                                                             Figure 2.30 Transgender and Nonbinary Policy and
more connected to their school community; they                             Days of Missed School
reported higher levels of school belonging than             (Percentage of Transgender and Nonbinary Students
those without policies.171                                      Who Missed School in the Past Month Due to
                                                                     Feeling Unsafe or Uncomfortable)
In addition to the presence of any type of
                                                           100%
transgender and nonbinary policy, policies that                       13.2%          10.5%
are more comprehensive and cover more areas of
protection may be more effective in promoting               80%
                                                                                     26.0%
school engagement for these youth. We found that                      29.2%
among transgender and nonbinary students whose              60%
                                                                                                   4 or More Days
school had a transgender and nonbinary policy,
the number of protections addressed in these                                                       1–3 Days
policies was related to greater school belonging,           40%
                                                                                     63.5%         0 Days
but was not related to absenteeism.172 Thus, the                      57.6%
more comprehensive a school’s policy is, the more           20%
effective it may be in ensuring transgender and
nonbinary students feel connected to their school.
                                                             0%
                                                                   School Does    School Has a
These findings indicate that having specific                       Not Have a     Transgender
policies or official guidelines that explicitly                    Transgender        and
document the rights of transgender and nonbinary                  and Nonbinary    Nonbinary
                                                                      Policy         Policy
students can greatly improve the school experience
for these students. Given transgender and
nonbinary students are at higher risk of in-school
victimization, absenteeism, school discipline, and
ultimately leaving school altogether,173 it is critical



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     discrimination — even when they reported having        comfortable talking to school staff about LGBTQ
     an anti-bullying/harassment policy or a transgender    topics, and were more likely to have classmates
     and nonbinary student policy. Clearly, it is not       who were accepting of LGBTQ people. Our findings
     enough for policies to merely exist in schools,        also showed that students with more supportive
     but they must also be enforced and effectively         school staff were less likely to feel unsafe and to
     implemented. For both types of policies explored       miss school for safety reasons, had higher GPAs,
     in this section, a substantial portion of students     higher educational aspirations, and reported
     indicated that they did not know whether their         a greater sense of belonging to their school
     school had such policies (see Table 2.3 and Figure     community and increased psychological well-being.
     2.9 in “Availability of School-Based Resources
     and Supports” section). If a student is not aware      Students in schools with comprehensive anti-
     of their school’s policies, then they would not be     bullying/harassment policies that included
     aware of the valuable rights and protections these     protections for sexual orientation and gender
     policies provide. Therefore, it is critical not only   identity/expression reported less anti-LGBTQ
     that schools enact these policies but also that all    biased language and less anti-LGBTQ victimization.
     members of the school community are made aware         Furthermore, students with comprehensive
     of the policies and what they include. Furthermore,    policies reported greater frequency of school
     policies are vitally important, yet are only one of    staff intervention regarding anti-LGBTQ biased
     the key elements necessary to ensure safe and          remarks, were more likely to report incidents
     welcoming schools for LGBTQ students.                  of harassment and assault to school personnel,
                                                            and more likely to rate school staff’s response to
     Conclusions                                            such incidents as effective. Among transgender
                                                            and nonbinary students, those in schools with
     Our findings indicate that LGBTQ supports and          supportive transgender and nonbinary official
     resources play an important role in making schools     policies or guidelines reported less gender-related
     safer and more affirming for LGBTQ students.           discrimination, were less likely to miss school
     Students in schools that had a GSA and students        because of feeling unsafe, and felt a greater sense
     in schools that had LGBTQ inclusive curriculum         of connection to their school community.
     (taught positive representations of LGBTQ people,
     history, and events) reported less anti-LGBTQ          Unfortunately, as discussed previously in the
     biased language and less anti-LGBTQ victimization,     “Availability of School-Based Resources and
     were less likely to feel unsafe and to miss school     Supports” section, many LGBTQ students do
     for safety reasons, and reported a greater sense of    not have access to these supports and resources
     belonging to their school community and increased      at their schools. These findings indicate the
     psychological well-being. Students in schools          importance of advocating for the inclusion of these
     with LGBTQ-inclusive curriculum also had higher        resources in schools to ensure positive learning
     GPAs, higher educational aspirations, were more        environments for LGBTQ students in all schools.




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PART THREE:
SCHOOL CLIMATE
BY DEMOGRAPHIC
AND SCHOOL
CHARACTERISTICS
                                 The 2019–2020 GLSEN National Student Council. The
                                 National Student Council dedicates their time, passion, and
                                 commitment to safer schools, advising GLSEN programs
                                 and campaigns, sharing their stories with community
                                 stakeholders, and elevating the voices of marginalized
                                 groups within the LGBTQ community.
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School Climate and
Sexual Orientation




                                 Key Findings
                                 •   Pansexual students experienced more hostile climates
                                     than students of other sexual orientations.

                                 •   Gay and lesbian students were more likely to be “out”
                                     about their sexual orientation at school, both to other
                                     students and to school staff, than students of other
                                     sexual orientations.




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     “I had no idea what                                            and pansexual students were younger than gay and
                                                                    lesbian, bisexual, and queer students.175
     pansexual was until
     somebody explained it                                          One of the last steps of sexual orientation
                                                                    identity formation is coming out publicly about
     to me in high school and                                       one’s lesbian, gay, bisexual, pansexual, or queer
                                                                    identity.176 Students who have reached this stage
     that’s how I identify. If                                      of identity development may be more confident in
     somebody had told me                                           their identity, but also may be more targeted for
                                                                    victimization and discrimination. Indeed, previous
     what it was sooner, I                                          research has shown that being out about one’s
                                                                    LGBTQ identity at school relates to greater peer
     would not have spent so                                        victimization.177 In our survey, gay and lesbian
     much time questioning my                                       students were more out to peers than were students
                                                                    with other sexual orientations, and pansexual
     sexuality and thinking I was                                   students were more out to peers than were bisexual
                                                                    and questioning students. Gay and lesbian students
     weird and broken.”                                             were also more out to school staff than pansexual,
                                                                    bisexual, and questioning students, and pansexual
     An important element of adolescent development                 students were more out to staff than bisexual and
     is identity formation, in which youth explore and              questioning students (see Figure 3.1).178
     come to define their personal identity, both as an
     individual and as a member of different social                 LGBTQ students in our sample were not only
     groups.174 Youth in our survey were navigating the             navigating their sexual orientation identity, many
     development of multiple identities, including their            were also developing their non-cisgender gender
     sexual orientation identity. As it is a developmental          identities. It is important to reiterate that sexual
     process, age plays a role in identity formation.               orientation identity and gender identity are not
     Older youth, who have had more time to explore                 wholly independent amongst LGBTQ youth, and
     and develop their identity, may be more secure                 prior research has shown that transgender and
     and confident about their lesbian, gay, bisexual,              nonbinary students are more likely to have negative
     pansexual, or queer identity, which could contribute           school experiences than cisgender students.179
     to different school experiences than younger youth.            In our survey, pansexual and queer students were
     In fact, we found that age was related to sexual               least likely to be cisgender — they were more likely
     orientation identity. Queer students were older                to identify as transgender, genderqueer, nonbinary,
     than students with all other sexual orientations,              or another non-cisgender identity than were gay

                                           Figure 3.1 Outness in School by Sexual Orientation
                                     (Percentages of LGBTQ Students Out to Peers and School Staff)

          80%

                    63.7%
           60%                         57.7%     57.6%
                             51.6%


           40%                                              35.6%        35.5%                       34.7%
                                                                                          29.4%
                                                                                 24.4%                        22.3%
           20%



            0%
                              Out to Most or All Peers                            Out to Most or All Staff


                         Gay and Lesbian         Bisexual           Pansexual        Queer            Questioning




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and lesbian, bisexual, and questioning students.180         on sexual orientation.183 Lastly, we examined
Nearly two thirds of pansexual (62.4%) and queer            differences across sexual orientations regarding the
(64.3%) students did not identity as cisgender.             experiences of students with discriminatory school
Alternatively, gay and lesbian and bisexual students        policies and practices, and school discipline and
were more likely to identify as cisgender than were         regarding their levels of school engagement, as
pansexual and questioning students,181 and 6 in             these were also identified as particularly salient.
10 gay and lesbian (59.8%) and bisexual (60.0%)
students identified as such.                                Victimization

We examined differences in school climate                   Students’ experiences of in-school victimization
and students’ school experiences across sexual              based on sexual orientation and gender expression
orientation groups — gay and lesbian (“gay/                 differed based on their sexual orientation (see
lesbian”) students, bisexual students, pansexual            Figure 3.2).184
students, queer students, and students questioning
their sexual orientation (“questioning”).182                Gay/lesbian and pansexual students reported higher
Because of the differences in age, outness to               levels of victimization based on sexual orientation
peers and adults in school, and gender identity             than did queer, bisexual, and questioning students.
discussed above, and the fact that they contribute          For example, approximately three-quarters of gay/
to students’ school experiences, in the following           lesbian (73.5%) and pansexual (75.9%) students
analyses we controlled for all these characteristics.       reported having been victimized based on sexual
                                                            orientation in contrast to nearly two-thirds of queer
With regard to victimization, we specifically               (66.5%) and bisexual (64.9%) students, and half
examined students’ experiences related to sexual            of questioning (51.0%) students.
orientation and gender expression, as they are
most related to students’ LGBTQ identities.                 Pansexual students experienced higher levels
We also examined differences in students’                   of victimization based on gender expression
experiences of sexual harassment, as previous               than students of all other sexual orientations.
research has found significant differences based            Specifically, 69.9% of pansexual students



                                Figure 3.2 Victimization by Sexual Orientation


                                                                                              57.7%
Gay and Lesbian                                                                    55.4%                    73.5%



       Bisexual                                                              50.9%       59.8% 64.9%



     Pansexual                                                                                   64.6% 69.9% 75.9%


                                                                                                         66.5%
         Queer                                                                        57.1%      64.4%

                                                                                 53.1%
                                                                          51.0%
    Questioning                                                                       54.2%




                  0%                 20%                       40%                         60%                      80%


                             Sexual Orientation       Gender Expression           Sexual Harassment




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     experienced this type of victimization compared to         differences within the LGBTQ population, perhaps
     57.7% of gay/lesbian, 50.9% of bisexual, 64.4%             because of small sample sizes of LGBTQ students.
     of queer, and 53.1% of questioning students.               Therefore, we examined whether in-school and
                                                                out-of-school rates of school discipline varied
     Regarding sexual harassment, we found that                 based on students’ sexual orientation among the
     pansexual students reported a higher incidence             students in our survey. Specifically, we examined
     than students of all other sexual orientations, and        differences in in-school discipline (being referred
     that bisexual students reported a higher incidence         to the principal, getting detention, or receiving
     than gay/lesbian and questioning students.185 As           an in-school suspension), and in out-of-school
     shown in Figure 3.2, almost two-thirds of pansexual        discipline (receiving out-of-school suspension or
     students (64.6%) reported having been sexually             being expelled). As shown in Figure 3.4, pansexual
     harassed at school in the past year, compared to           students reported higher rates of in-school
     more than half of gay/lesbian (55.4%), bisexual            discipline than queer students. Queer students
     (59.8%), and queer (57.1%) students, and nearly            experienced lower rates of both in- and out-of-
     half of questioning (54.2%) students.                      school discipline than did gay and lesbian and
                                                                pansexual students.188
     Discrimination and School Discipline
                                                                Absenteeism
     Experiences of anti-LGBTQ discrimination through
     school policies and practices also varied based on         Experiencing victimization, discrimination, and
     students’ sexual orientation.186 Pansexual students        disproportionate rates of discipline all serve to
     were more likely to report experiencing this type          make schools less safe and welcoming for students,
     of discrimination than gay/lesbian, bisexual,              which could influence students’ desire to attend
     and questioning students (see Figure 3.3). For             school. Given that pansexual students experienced
     example, over two-thirds of pansexual students             higher rates of victimization, it is not surprising
     (69.5%) experienced discrimination, compared               that pansexual students were more likely than gay
     to approximately half of bisexual and questioning          and lesbian, bisexual, and queer students to report
     students (54.5% and 52.9%, respectively).                  having missed school because they felt unsafe than
                                                                all other students (see Figure 3.5).189 For example,
     A growing field of research on school discipline           40.1% of pansexual students reported missing
     has suggested that LGBTQ students may be at                school in the past month due to safety concerns,
     a higher risk of experiencing school discipline            compared to slightly less than a third of gay and
     than their non-LGBTQ peers,187 but most of these           lesbian (31.6%) and bisexual (30.2%) students.
     studies have not examined sexual orientation


                                  Figure 3.3 Experiences of Discrimination by Sexual Orientation
                                        (Percentage of LGBTQ Students Who Experienced
                                        Anti-LGBTQ Discriminatory Policies and Practices)

                         80%
                                                              69.5%
                                                                            63.7%
                          60%      57.4%         54.5%                                    52.9%


                          40%



                          20%



                           0%
                                  Gay and       Bisexual    Pansexual       Queer      Questioning
                                  Lesbian




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Conclusions                                                       Further research is clearly warranted to understand
                                                                  why pansexual students appear to face more hostile
Overall, our results indicate that pansexual students             school climates than other students. This research
reported the most negative school experiences in                  should examine factors related to a student’s
comparison to students of other sexual orientations.              decision to adopt particular sexual identity labels
Pansexual students experienced higher levels of                   (i.e., why a student who is attracted to people of
victimization based on gender identity and sexual                 multiple genders may identify as pansexual as
harassment than all other sexual orientations.                    opposed to queer or bisexual) to better understand
Pansexual students, along with gay and lesbian                    these different sexual orientation groups.
students, reported the highest rates of victimization
based on sexual orientation. Pansexual students                   These findings reveal a complex picture regarding
also experienced more discriminatory policies and                 differences among LGBTQ students by sexual
practices and missed more school due to feeling                   orientation. In our survey, bisexual students
unsafe than did gay and lesbian, bisexual, and                    experienced less victimization based on sexual
questioning students.                                             orientation and gender expression than gay and

                                    Figure 3.4 School Discipline by Sexual Orientation
                  (Percentage of LGBTQ Students Who Experienced In-School and Out-of-School Discipline)

     40%                            36.8%

                31.6%    31.1%                            31.0%
      30%
                                              26.0%


      20%



      10%
                                                                        5.4%                   6.5%
                                                                                   4.5%                          4.2%
                                                                                                        2.2%
       0%
                   In-School Discipline (Principal’s Office,               Out-of-School Discipline (Out-of-School
                      Detention, In-School Suspension)                             Suspension, Expulsion)

                    Gay and Lesbian            Bisexual           Pansexual            Queer            Questioning


                                        Figure 3.5 Missing School Due to Safety Concerns

                  50%

                                                               40.1%
                  40%
                                                                               33.4%
                               31.6%            30.2%
                  30%                                                                           26.8%


                  20%


                  10%


                   0%
                                                     Missed School in Past Month

                          Gay/Lesbian         Bisexual         Pansexual        Queer           Questioning




EXHIBIT D                                                                                                               121   91
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     lesbian students, but more sexual harassment than     violence.190 Furthermore, queer students were
     their gay and lesbian peers. However, bisexual        similar to gay and lesbian and bisexual students
     youth did not differ from gay and lesbian students    with regard to hostile school climate experiences,
     with regard to discrimination, discipline, and        but they were less likely to experience school
     missing school due to safety concerns. Yet research   discipline. More research is needed to better
     on adolescent health outcomes has demonstrated        understand the complex role sexual identity plays
     that bisexual youth are typically at higher risk      in the experiences of adolescents’ lives both in and
     than both heterosexual and lesbian/gay peers on       out of school.
     suicidality, substance abuse, and intimate partner




92   EXHIBIT D                                                                                 122
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School Climate
and Gender




  Key Findings
  •    Transgender students experienced a more hostile school climate than LGBQ cisgender students
       and nonbinary students.

  •    Nonbinary students experienced a more hostile school climate than cisgender LGBQ students.

  •    Among cisgender LGBQ students, male students experienced a more hostile school climate
       based on their gender expression and on sexual orientation than cisgender female students.

  •    Cisgender female students experienced a more hostile school climate based on their gender
       than cisgender male students.




EXHIBIT D                                                                                  123
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     “I’m the first openly                                     • Were more likely to have felt unsafe based on
                                                                 their gender expression (see Figure 3.6);193
     transgender person at my
     school which makes me a                                   • Experienced higher levels of victimization
                                                                 based on their gender expression (see Figure
     bigger target for bullying                                  3.7);194

     and harassment than most                                  • Were more likely to have felt unsafe at school
     others.”                                                    based on their gender (see Figure 3.6);195 and

     We also examined potential differences in LGBTQ           • Experienced higher levels of victimization
     students’ experiences of safety, victimization, and         based on their gender (see Figure 3.7).196
     discrimination by gender identity, specifically,
     the differences between transgender, nonbinary,         Transgender students were also more likely to have
     cisgender, and questioning students as well as          felt unsafe197 and experienced higher levels of
     differences within each of those identity groups.191    victimization198 because of their sexual orientation
     Furthermore, we examined school engagement,             compared to cisgender LGBQ students, but were less
     specifically absenteeism for safety reasons, feelings   likely than nonbinary students to feel unsafe based
     of school belonging, changing schools for safety        on sexual orientation (see Figures 3.6 and 3.7).
     reasons, and dropping out. Given the growing
     attention to inequities in administration of school     Avoiding school spaces. As shown in the “School
     discipline and some previous research indicating        Safety” section in Part 1 of this report, sizable
     that transgender and gender nonconforming               percentages of LGBTQ students avoided places at
     students are more likely to face disciplinary           school because they felt unsafe or uncomfortable,
     consequences at school,192 we also examined gender      most notably spaces that are traditionally
     differences in rates of school discipline — both in-    segregated by sex in schools, such as bathrooms
     school discipline and out-of-school discipline.         and locker rooms. Overall, transgender students
                                                             were more likely to avoid spaces at school than
     Across all gender groups, students commonly             were other students.199 For transgender and
     reported feeling unsafe, experiencing high              nonbinary youth (i.e., genderqueer and other
     frequencies of harassment or assault, and facing        nonbinary-identified youth), sex-segregated spaces
     discrimination at school related to their gender,       at school may be particularly challenging.200
     gender expression, and sexual orientation.              Because of this, we specifically examined whether
     Furthermore, a sizable number of students across        transgender students were more likely to avoid
     gender groups reported missing school and, to a         gendered spaces. As shown in Figure 3.8, we
     lesser extent, changing schools because of safety       found that, compared to cisgender students and
     concerns. In addition, LGBTQ students of all            nonbinary students, transgender students were:201
     gender identities reported having been disciplined
     at school. However, there were some significant           • More likely to avoid school bathrooms at school
     differences among gender groups in all of these             because they felt unsafe or uncomfortable;
     areas.
                                                               • More likely to avoid school locker rooms
     Experiences of Transgender Students                         because they felt unsafe or uncomfortable; and

     Overall, transgender students were more likely than       • More likely to avoid Gym/Physical
     all other students to have negative experiences at          Education class because they felt unsafe or
     school.                                                     uncomfortable.

     Safety and victimization. Specifically, compared        Educational attachment. A hostile school climate
     to cisgender and nonbinary students, transgender        can affect students’ feelings of school belonging,
     students:                                               can result in students avoiding school altogether,




94   EXHIBIT D                                                                                   124
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and can hinder students’ overall educational                          More likely than other students to report that they
experience. We found that transgender students                        were not planning to complete high school or were
were:                                                                 not sure if they would complete high school.205

  • Less likely than other students to feel                           Discriminatory policies and practices. As shown in
    connected to their school, i.e., reported lower                   Figure 3.10, transgender students were more likely,
    levels of school belonging;202                                    overall, to report incidences with discriminatory
                                                                      policies and practices206 — 77.3% of transgender
  • More likely than other students to report                         students reported having been discriminated
    missing school because they felt unsafe or                        against compared to 46.1% of cisgender students
    uncomfortable (see Figure 3.9);203                                and 69.1% of nonbinary students. Certain forms of
                                                                      discrimination are more specific to the experiences
  • More likely than other students to report having                  of transgender and nonbinary students, such
    changed schools because they felt unsafe or                       as being prevented from using the bathroom
    uncomfortable(see also Figure 3.9);204 and                        consistent with one’s gender identity. Thus, it is


                                   Figure 3.6 Feelings of Safety at School by Gender Identity
                         (Percentage of LGBTQ Students Who Felt Unsafe Based On Sexual Orientation,
                                               Gender Expression, and Gender)


         All Cisgender          8.8%    22.2%                         56.7%                                    All Cisgender


             Cis Male                                                                                          Cis Male
                         1.6%                           39.4%            59.1%
           Cis Female                                                                                          Cis Female
                              10.4% 18.1%                       56.1%

       All Transgender                                                  58.9% 69.5%           84.4%            All Transgender


           Trans Male                                                                                          Trans Male
                                                                      57.4%      69.6%          86.4%
         Trans Female                                                                                          Trans Female
                                                                       58.7% 70.7% 81.0%
      Trans Nonbinary                                                                                          Trans Nonbinary
                                                                      62.3% 77.7%           69.2%

           Trans Only                                                                                          Trans Only
                                                                    60.4%           69.5%       86.1%

        All Nonbinary                                             52.4% 58.3%                                  All Nonbinary
                                                                                      65.2%

Nonbinary/Genderqueer                                                                                          Nonbinary/Genderqueer
                                                                57.7% 59.5% 63.9%
      Other Nonbinary                                                                                          Other Nonbinary
                                                                 57.7%           63.4%
                                                                         60.9%
Nonbinary Male/Female                                                                                          Nonbinary Male/Female
                                                31.7%              52.4%            70.5%

          Questioning                  20.6%                  48.2%           65.5%                            Questioning



                         0%            20%              40%              60%             80%            100%

                                   Sexual Orientation           Gender Expression             Gender




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     not surprising that transgender students reported                    • More likely to be prevented from wearing
     more of these incidents than cisgender students.207                    clothing deemed “inappropriate” based on
     Compared to cisgender students, as shown in Table                      gender (20.5% vs. 15.1%).
     3.1, transgender students were:
                                                                        As seen in Table 3.1, transgender students also
       • More likely to be required to use the bathroom                 reported more instances of being required to use
         of their legal sex (58.1% for transgender                      the bathroom and locker room of their legal sex
         students vs. 10.8% for cisgender students);                    and being prevented from using their chosen name
                                                                        and pronouns than nonbinary students.208 However,
       • More likely to be required to use the locker                   transgender and nonbinary students reported
         room of their legal sex (55.5% vs.10.7%);                      similar rates of being prevented from wearing
                                                                        clothing deemed “inappropriate” based on gender.
       • More likely to be prevented from using their
         chosen name and pronouns (44.5% vs.                            In addition to the specific types of gender-related
         7.3%); and                                                     discrimination noted above, transgender students
                                                                        were also more likely than cisgender LGBQ

                                         Figure 3.7 School Victimization by Gender Identity
                               (Percentage of LGBTQ Students Who Experienced Victimization Based On
                                         Sexual Orientation, Gender Expression, and Gender)


              All Cisgender                         36.8%                    66.2%                              All Cisgender
                                                                39.3%

                  Cis Male                                                                                      Cis Male
                                       20.0%                    49.1%                73.8%

                Cis Female                                                                                      Cis Female
                                                 36.9% 40.6%                64.4%        82.1%

            All Transgender                                                        72.0% 83.3%                  All Transgender

                                                                                                      83.5%
                Trans Male                                                                                      Trans Male
                                                                                   71.8% 86.0%

              Trans Female                                                                                      Trans Female
                                                                                                 80.2%
                                                                              66.3%

           Trans Nonbinary                                                                                      Trans Nonbinary
                                                                           68.4% 72.8% 74.8%
                                                                                         83.8%
                                                                                                       86.2%
                Trans Only                                                                                      Trans Only
                                                                                   78.3%
                                                                         68.7%                   76.6%
             All Nonbinary                                                            75.2%                     All Nonbinary

                                                                                              76.8%
     Nonbinary/Genderqueer                                                                                      Nonbinary/Genderqueer
                                                                             70.8%       76.5%
                                                                                                 79.8%
           Other Nonbinary                                                                                      Other Nonbinary
                                                                                72.3% 77.9%

     Nonbinary Male/Female                                                                                      Nonbinary Male/Female
                                                                   59.6%         67.6%     76.1%

               Questioning                                        52.0%     64.0%     75.0%                     Questioning



                              0%        20%               40%             60%              80%           100%


                                     Sexual Orientation         Gender Expression             Gender




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students to experience all forms of anti-LGBTQ                         • Higher rates of in-school discipline (e.g.
discrimination, including broader forms of LGBTQ                         principal’s office, detention);210 and
discrimination, such as being prevented from
addressing LGBTQ topics in class assignments                           • Higher rates of out-of-school discipline (e.g.,
and being unfairly disciplined for identifying                           out of school suspension, expulsion).211
as LGBTQ.209 It may be that transgender and
nonbinary students are generally more targeted                     Differences among transgender students.
for discipline because they are more visible and/                  Transgender students in our survey fell into four
or more stigmatized than other LGBQ students.                      different categories: 1) those who identified as
Further research is needed to explore these                        transgender and male, 2) those who identified as
disparities and the factors that determine which                   transgender and female, 3) those who identified
students are most often targeted by discriminatory                 as transgender and nonbinary or genderqueer (i.e.,
policies and practices.                                            transgender nonbinary), and 4) those who identified
                                                                   only as transgender and no other gender identity
School discipline. Compared to cisgender LGBQ                      (referred to as “transgender only” for the rest of
students, transgender students reported (see                       this section). Transgender students, in general,
Figure 3.11):                                                      experienced the most hostile school climates

                                  Figure 3.8 Avoiding Spaces at School by Gender Identity
                                   (Percentage of LGBTQ Students Who Avoided Spaces)

                                                     29.5%
         All Cisgender                                                                                  All Cisgender
                                      24.6% 29.3%

             Cis Male                                                                                   Cis Male
                                             32.8%       45.2%
           Cis Female                                                                                   Cis Female
                              19.8%              28.5%
                                         25.8%
       All Transgender                                                59.4% 69.1%     82.1%             All Transgender


           Trans Male                                                                                   Trans Male
                                                                        62.5% 72.7%      86.6%

         Trans Female                                                                                   Trans Female
                                                                      59.2% 70.7% 77.2%
      Trans Nonbinary                                                                                   Trans Nonbinary
                                                             49.5% 59.5% 69.0%

           Trans Only                                                                                   Trans Only
                                                          45.3%       60.1% 67.3%     82.8%

        All Nonbinary                                 41.2%                                             All Nonbinary
                                                                  48.9%

Nonbinary/Genderqueer                                                                                   Nonbinary/Genderqueer
                                                   41.8% 45.9%     51.1%

      Other Nonbinary                            40.3%                                                  Other Nonbinary
                                                         42.5% 52.5%
                                              39.7%
Nonbinary Male/Female                                                                                   Nonbinary Male/Female
                                               39.9%          45.5%
                                          36.1%      40.2%
          Questioning                                                                                   Questioning
                                                              40.5%


                         0%            20%            40%              60%           80%         100%

                                       Bathrooms          Locker Rooms         Gym/PE Class




EXHIBIT D                                                                                                                 127   97
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     compared to their peers, and we wanted to further                 school because of their sexual orientation or
     examine whether school experiences varied across                  because of their gender expression. However,
     these four groups of transgender students. We                     transgender nonbinary students were less likely
     found some significant differences within the group               to feel unsafe at school because of their gender
     of transgender students regarding victimization,                  than were transgender male and transgender only
     feelings of unsafety because of gender, experiencing              students (see Figure 3.6).212
     discriminatory policies and practices, avoiding
     certain school spaces, and missing school.                        With regard to victimization based on sexual
                                                                       orientation, transgender only students reported
     Victimization and safety. There were no differences               higher rates than transgender nonbinary and
     among transgender students in feeling unsafe at                   transgender male students, but did not differ from
                                    Figure 3.9 Percentage of LGBTQ Students Who Missed School or
                                    Changed Schools Because of Safety Concerns by Gender Identity


              Cisgender Students
                                                         13.1%
                    All Cisgender
                                                                            24.9%

                                                      11.1%
                        Cis Male                                   20.0%

                                                          13.5%
                      Cis Female                                             26.0%


            Transgender Students

                                                                          23.6%
                  All Transgender                                                                         43.6%

                                                                            25.6%
                      Trans Male                                                                          44.4%

                                                                    20.1%
                    Trans Female                                                          34.1%

                                                                   19.3%
                 Trans Nonbinary                                                               37.7%

                                                                       22.6%
                      Trans Only                                                                                  50.5%

              Nonbinary Students

                                                                  18.5%
                   All Nonbinary                                                               38.1%

                                                                  18.9%
          Nonbinary/Genderqueer                                                                   38.9%

                                                                  18.2%
                 Other Nonbinary                                                           35.5%

                                                               17.5%
          Nonbinary Male/Female                                                               37.4%


            Questioning Students

                                                              16.2%
         All Questioning Students                                                          35.1%

                                    0%                         20%                            40%                         60%


                                                    Ever Changed Schools            Missed School in Past Month



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transgender female students. Furthermore, there               did not differ. However, transgender male students
were no differences between transgender male and              reported higher rates than did transgender
transgender female students on victimization based            nonbinary students (see also Figure 3.7).214
on sexual orientation (see Figure 3.7).213
                                                              With regard to victimization based on gender,
With regard to victimization based on gender                  transgender male students reported higher rates
expression, transgender only students reported                than did transgender only students. In addition,
higher rates than transgender male and                        transgender nonbinary students reported lower
transgender nonbinary students, but did not                   rates than transgender male and transgender only
differ from transgender female students, and                  students (see Figure 3.7).215
transgender female and transgender male students

                                Figure 3.10 Percentage of LGBTQ Students Who Experienced
                                   Anti-LGBTQ Discrimination at School by Gender Identity


          Cisgender Students


                All Cisgender                                       46.1%


                    Cis Male                                      41.6%


                  Cis Female                                         47.0%


        Transgender Students


              All Transgender                                                                 77.3%


                  Trans Male                                                                  77.5%


                Trans Female                                                               72.1%


             Trans Nonbinary                                                                74.7%


                   Trans Only                                                                      80.9%


          Nonbinary Students


                All Nonbinary                                                         69.1%


       Nonbinary/Genderqueer                                                              70.2%


             Other Nonbinary                                                                 75.4%


       Nonbinary Male/Female                                                      61.6%


         Questioning Students


                 Questioning                                                  58.7%


                                0%           20%            40%             60%             80%            100%




EXHIBIT D                                                                                                         129   99
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                             Table 3.1 Gender-Related Discrimination by Gender Identity216
                                                                              Locker      Names/      Gendered
                                                              Bathrooms       Rooms      Pronouns     Clothing
       All Cisgender Students217                                 10.8%         10.7%         7.3%       15.1%
            Cis Male Students                                     9.8%          9.5%         5.7%       15.5%
            Cis Female Students                                  11.0%         10.9%         7.5%       15.0%
       All Transgender Students 218
                                                                 58.1%         55.5%      44.5%         20.5%
            Trans Male Students                                  58.9%         57.7%      44.1%         19.5%
            Trans Female Students                                50.8%         51.9%      36.6%         26.1%
            Trans Nonbinary Students                             51.2%         45.7%      43.5%         19.0%
            Trans Only Students                                  65.6%         60.4%      49.0%         24.6%
       All Genderqueer and Other Nonbinary Students    219
                                                                 35.5%         32.8%      36.3%         24.1%
            Nonbinary/Genderqueer students                       38.2%         34.7%      39.8%         24.9%
            Other Nonbinary Students                             38.8%         37.7%      38.6%         38.6%
            Nonbinary Male/Female Students                       24.5%         23.3%      23.5%         23.5%
            Questioning Students                                 20.8%         19.6%      18.6%         19.5%

      Avoiding school spaces. Transgender students              • Regarding being prevented from wearing
      also differed in their avoidance of gendered                clothes that align with their gender,
      school spaces because they felt unsafe in them.             transgender male and transgender female
      Transgender nonbinary students were less likely to          students reported similar rates, but
      avoid bathrooms, locker rooms, and gym/PE class             transgender only students reported this kind of
      than were transgender male and transgender only             discrimination slightly more than transgender
      students.220 As seen in Figure 3.8, transgender             nonbinary students (see Table 3.1).225
      male, transgender female, and transgender only
      students avoided these spaces at similar rates.           • Regarding being prevented from using the
                                                                  bathroom that aligns with their gender,
      Educational attachment. Transgender only students           transgender only students were more likely
      were more likely than other transgender students            to report this form of discrimination than
      to have missed school because they felt unsafe or           other transgender students (see Table 3.1).226
      uncomfortable (see Figure 3.9).221 Transgender male         Additionally, transgender male students
      and transgender female students did not differ in           were more likely than transgender nonbinary
      their rates of missing school; however, transgender         students to report this type of discrimination.
      male students were more likely to change schools
      for safety reasons than were transgender nonbinary        • Regarding being denied locker room access,
      students (see Figure 3.9).222 Educational aspirations       transgender male and transgender only
      did not differ by transgender identity — there were         students did not differ, but both groups were
      no differences in transgender students’ plans to            more likely to report being prevented from
      complete high school.223                                    using the locker room that aligns with their
                                                                  gender than were transgender nonbinary
      Discriminatory policies and practices. When                 students (see Table 3.1).227
      considering overall experiences with anti-LGBTQ
      discriminatory policies and practices, there were       Overall, these findings suggest that transgender
      no significant differences among transgender            only students may experience somewhat more
      students (see Figure 3.10).224 There were, however,     hostile school climates and that transgender
      significant differences across transgender students     nonbinary students may experience somewhat less
      when specifically examining gender-specific             hostile climates than other transgender students.
      discriminatory policies and practices:                  Additionally, transgender male and transgender




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female students in our sample experienced                    this difference was not statistically significant. Our
generally similar school climates. However,                  sample included a small number of transgender
regarding certain indicators of school climate               female students, compared to all other gender
that we examined, transgender female students                identities (1.1% of the full sample), and we may
appeared to have more negative experiences, even             have been unable to detect statistically significant
though they were not statistically different. For            differences with this small of a sample.
example, when considering discriminatory policies
and practices, transgender female students seem              There is no consensus in the literature regarding
to report higher rates of gender-based clothing              differences between transgender males and
discrimination than other transgender students, but          transgender females regarding mental health. Some

                                       Figure 3.11 Comparison by Gender Identity:
                            Percentage of LGBTQ Students Who Experienced School Discipline


              Cisgender Students

                                          4.3%
                   All Cisgender
                                                                                   28.5%
                                              6.7%
                        Cis Male
                                                                                   28.6%
                                         3.7%
                     Cis Female
                                                                                27.2%

            Transgender Students

                                                6.8%
                 All Transgender
                                                                                                    37.3%
                                                7.2%
                      Trans Male
                                                                                                         38.6%

                                                  8.6%
                   Trans Female
                                                                                                          40.0%
                                           4.9%
                 Trans Nonbinary
                                                                                            33.5%
                                                 7.6%
                      Trans Only
                                                                                                   36.8%

             Nonbinary Students

                                           5.2%
                   All Nonbinary
                                                                                                 34.7%
                                           5.0%
          Nonbinary/Genderqueer
                                                                                                 34.8%

                                                 7.5%
                Other Nonbinary
                                                                                                    37.2%
                                          4.3%
          Nonbinary Male/Female
                                                                                           32.5%

            Questioning Students

                                          4.7%
                     Questioning
                                                                                             34.3%

                                   0%            10%            20%              30%                40%


                                          Out-of-School Discipline        In-School Discipline




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      Insight on Gender-Related Discrimination Among
      Transgender Students Over Time

      As discussed in the “School Climate and Gender” section of this report, transgender students were more
      likely to experience discrimination at school than students of all other gender identities in our 2019
      survey. Given that there has been much public and political discourse in recent years regarding the rights
      of transgender youth to access bathrooms and locker rooms that align with their gender, we examined
      whether there have been changes in recent years in the experiences of transgender students with regard to
      gender-related discrimination at school.1

      As shown in the figure, with regard to being prevented from wearing clothing deemed “inappropriate”
      based on gender, there had been a significant decline in the percentage of transgender students reporting
      this type of discrimination from 2015 to 2017, and from 2017 to 2019. With regard to being prevented
      from using one’s chosen name or pronoun, there was an increase in the percentage of transgender students
      reporting this type of discrimination from 2013 to 2015 and no change from 2015 to 2017. However,
      there was a significant decrease from 2017 to 2019. With regard to being prevented from using the
      bathroom or locker room that aligns with one’s gender identity, there were no differences across years in
      the percentage of transgender students experiencing this discrimination.

                                        Gender-Based Discrimination Among Transgender Students Over Time

            80%



            60%                                                                                       Prevented from using the bathroom or
                                                                                                      locker room that aligns with one’s
                                                                                                      gender identity

            40%                                                                                       Prevented from using chosen name
                                                                                                      or pronouns

                                                                                                      Prevented from wearing clothes deemed
            20%                                                                                       “inappropriate” based on gender



              0%
                       2013               2015              2017               2019



      Considering these findings together, it appears that schools may be becoming more accepting with
      regard to transgender students’ expression of their identity through their clothing and use of their chosen
      names and pronouns. However, schools have remained unchanged in their restrictions of transgender
      students’ use of school facilities that align with their gender identity. It is also important to note that the
      enforcement of dress code or use of name or pronoun may be more likely to happen as a result of actions
      by an individual school staff person, and findings with regard to those two forms of discrimination may
      indicate how attitudes of teachers and other school staff may be changing with regard to transgender
      students. In contrast, restrictions on use of facilities and policies codifying such restrictions may more
      likely be the responsibility of school administrators or school district officials. Thus, more education and
      advocacy may be indicated at the administrative level of U.S. schools.
      1
          To test differences in the percentages of transgender students experiencing gender-related discrimination at school, a multivariate analysis of
          covariance (MANCOVA) was performed, controlling for demographic and method differences across the survey years, with Survey Year as the
          independent variable and the three gender-related discrimination items as dependent variables. Note that in 2017, the question about access to
          locker rooms and bathrooms was split into two questions; thus, we recombined the two questions for 2017 and 2019 by taking the higher of the
          two values in order to compare with prior years. The multivariate effect was significant: Pillai’s Trace = .01, F(9, 34938) = 17.34, p<.001, ηp2 =
          .00. Univariate and post hoc comparisons were considered at p<.05, and only significant pairwise differences are listed. The univariate effect for
          discrimination regarding clothing was significant: F(3, 11646) = 24.43, p<.01, ηp2 = .01; 2019<all; 2017<2013, 2015. The univariate effect
          for discrimination regarding use of name and pronoun was significant: F(3, 11646) = 19.52, p<.01, ηp2 = .01; 2019<2017, 2015; 2015>2019,
          2013; 2005>2019, 2013; 2013<2017, 2015. The univariate effect for discrimination regarding locker room and bathroom access was not
          significant at p<.05.




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research has found that transgender males and             • Less likely to avoid athletic fields or
transgender females do not differ with regard to            facilities;235
some mental health outcomes;228 some has found
that transgender males have poorer outcomes than          • More likely to feel connected to school, and
transgender females,229 and some has indicated              report positive school belonging;236
transgender males have better outcomes.230 In
addition to this lack of consensus on differences         • Less likely to have been prevented from using
between transgender males and females, there                the locker rooms and bathrooms that match
is very little research on transgender nonbinary            their gender and to have been prevented from
people.231 Furthermore, even less in known about            using their chosen name and pronouns (see
people who identify as only transgender, with no            Table 3.1);237
additional gender identity (what we refer to in our
sample as “transgender only.”). Considering that          • Less likely to have missed school or changed
transgender only students in our survey experienced         schools because of safety concerns (see Figure
the most hostile climate, future research should            3.9);238 and
further investigate this population of transgender
people to increase knowledge and understanding            • Less likely to have been prevented from playing
of this identity. Of the research that exists on            sports.239
transgender and nonbinary people, very little is
on transgender youth populations, and thus, our         However, nonbinary students were more likely
findings on transgender youth and other research        than transgender students to feel unsafe based
on transgender adults are not wholly comparable,        on sexual orientation (see Figure 3.6).240 In
and differences between research studies could be       addition, nonbinary students did not differ from
due to developmental or generational differences.       transgender students on victimization based
Clearly, further research is needed to explore          on sexual orientation (see Figure 3.7).241 They
differences among transgender students and              also did not differ from transgender students on
potential factors accounting for those differences.     experiences of in- and out-of-school discipline (see
                                                        Figure 3.11).242 Lastly, nonbinary students did
Experiences of Nonbinary Students                       not differ from transgender students in avoiding
                                                        school spaces or in experiences with anti-LGBTQ
In addition to those transgender students who           discriminatory policies and practices that were not
identified as nonbinary (see above), there were         gender-specific, except for the differences in sports
other students in our survey who endorsed a             and athletics related spaces and discrimination
nonbinary identity but did not also identify            mentioned above.
as transgender. This group included students
who identified as “nonbinary,” “genderqueer,”           Compared to cisgender LGBQ students, nonbinary
and those who wrote in identities outside the           students were:
gender binary, such as “bigender,” “agender,”
or “genderfluid.” Some nonbinary students also            • More likely to feel unsafe243 at school and to
identified as male or female, but not cisgender or          experience higher levels of victimization244 at
transgender. As reported above in the “Experiences          school based on sexual orientation, gender
of Transgender Students” section, nonbinary                 expression, and gender (see Figures 3.6 and
students had somewhat better school experiences             3.7);
than transgender-identified students. Compared to
transgender students, nonbinary students were:            • More likely to avoid bathrooms, locker rooms,
                                                            and Gym/Physical Education class because they
  • Less likely to feel unsafe232 or be victimized233       felt unsafe or uncomfortable (see Figure 3.8);245
    based on their gender and their gender
    expression (see Figure 3.6 and Figure 3.7,            • More likely to report both missing school and
    respectively);                                          changing school for safety reasons (see Figure
                                                            3.9);246
  • Less likely to avoid gender segregated spaces
    in schools, such as bathrooms, locker rooms,          • More likely to experience discrimination
    and Gym/PE class (see Figure 3.8);234                   at school, particularly for gender-related



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          discrimination such as names/pronouns or             • Were less likely to experience anti-LGBTQ
          locker room access (see Table 3.1);247 and             discrimination in school (see Figure 3.10);257

        • More likely to experience in-school discipline       • Experienced lower rates of in-school discipline
          (see Figure 3.11).248                                  (see Figure 3.11);258 and

      Differences among nonbinary students. In examining       • Were more likely to report that they planned
      differences among students who identified as               to continue school after high school (94.5%
      nonbinary — those who identified as nonbinary or           for cisgender vs. 88.2% for transgender and
      genderqueer, some other nonbinary identity, or as          91.6% for nonbinary students).259
      nonbinary and also male or female — we found few
      differences between nonbinary and genderqueer          Differences among cisgender LGBQ students.
      students and other nonbinary students. However, we     There were a few notable differences between
      did find significant differences between nonbinary     cisgender male and cisgender female LGBQ
      male or female students compared to other students     students. Compared to cisgender female students,
      in the nonbinary group. Compared to other students     cisgender male students:
      in the nonbinary group, the group of nonbinary
      students who also identified as male or female were:     • Were more likely to feel unsafe because of
                                                                 their gender expression260 and experienced
        • Less likely to feel unsafe249 and experience           higher levels of victimization based on gender
          victimization250 based on their gender (see            expression261 (see Figures 3.6 and 3.7);
          Figures 3.6 and 3.7);
                                                               • Experienced higher levels of victimization
        • Less likely to avoid bathrooms because of              based on sexual orientation (see Figure 3.7);262
          safety concerns (see Figure 3.8),251 and
                                                               • Were more likely to avoid gender segregated
        • Less likely to experience gender-related               spaces, i.e. bathrooms, locker rooms, and Gym/
          discrimination, including pronoun and name             PE class (see Figure 3.8);263 and
          usage and bathroom and locker room access
          (see Table 3.1).252                                  • Reported higher rates of school discipline (see
                                                                 Figure 3.11).264
      Experiences of Cisgender LGBQ Students
                                                             In contrast, compared to cisgender male students,
      Overall, most LGBQ cisgender students faced            cisgender female students:
      hostile school climates, but experienced
      fewer negative experiences in school than did            • Were more likely to feel unsafe because of
      transgender students and nonbinary students.               their gender265 and experienced higher levels of
      Compared to transgender and nonbinary students,            victimization based on gender266 (see Figures
      cisgender students:                                        3.6 and 3.7);

        • Were less likely to feel unsafe based on sexual      • Were more likely to report missing school and
          orientation, gender expression, and gender (see        changing schools because of safety concerns
          Figure 3.6);253                                        (see Figure 3.9);267 and

        • Experienced lower levels of victimization based      • Were more likely to report experiencing any
          on sexual orientation, gender expression, and          form of anti-LGBTQ discrimination at school
          gender (see Figures 3.7);254                           (47.0% vs 41.6%).268

        • Were less likely to avoid gender-segregated and    It is important to note that both LGBQ cisgender
          all other spaces due to safety concerns (see       male and female students reported frequent
          Figure 3.8);255                                    victimization and high rates of discrimination.
                                                             Nevertheless, the above findings indicate that they
        • Were less likely to report missing school or       also face some differing challenges. Cisgender
          changing schools due to safety concerns (see       male students experienced feeling less safe at
          Figure 3.9);256                                    school and experienced greater victimization


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regarding gender expression than cisgender               3.7).280 Furthermore, their school experiences
female students. It is possible that our society         differed quite significantly from cisgender students.
allows for more fluidity of gender expression for        These findings suggest that students questioning
girls, particularly compared to boys. For example,       their gender may not be perceived as cisgender
it is often considered more acceptable for a girl        by their peers and teachers, leading to generally
to behave in ways deemed “masculine” than for            more hostile school experiences. When considering
a boy to behave in ways deemed “feminine.”269            students who identify as “questioning,” it is also
Conversely, cisgender female students experienced        important to recognize that it is unknown which
lower feelings of safety and greater victimization       gender identities they are specifically questioning.
than cisgender male students with regard to their        It could be that these students are questioning
gender, illustrating the additional ways that female     whether or not they are cisgender. It is also
students may experience sexism at school.                possible that they know they are not cisgender,
                                                         but are questioning their non-cisgender identity
Experiences of Questioning Students                      (for example, questioning whether they are
                                                         transgender and male or nonbinary). This latter type
Little research exists on the experiences of youth       of questioning could help explain why questioning
who are questioning their gender identity. Overall,      students in our survey more frequently reported
students in our survey who were questioning their        school experiences that were similar to transgender
gender identity experienced less hostile school          and nonbinary students than experiences that were
climates than did transgender and nonbinary              similar to cisgender students.
students. However, compared to cisgender
students, questioning students:                          Conclusions

  • Were more likely to feel unsafe because of           Overall, we found that among the LGBTQ students
    their gender expression and gender270 and            in our survey, students whose identities do not align
    experience victimization271 based on these           with their sex assigned at birth (i.e., transgender,
    characteristics (see Figures 3.6 and 3.7);           nonbinary, genderqueer, and other nonbinary-
                                                         identified students) faced a more hostile climate
  • Were more likely to experience victimization         than their cisgender LGBQ peers. Specifically,
    based on their sexual orientation (see Figure        transgender students appear to face the most
    3.7);272                                             hostile school climates. Our findings also highlight
                                                         that transgender and nonbinary students have less
  • Were more likely to avoid gendered spaces at         access to education than their peers — not only
    school, including bathrooms, locker rooms, and       because they feel more unsafe and experience more
    PE classes (see Figure 3.8);273                      victimization, but also because they often have
                                                         restricted access within the school environment
  • Were more likely to have missed school due to        itself, specifically, a lack of access to gender
    safety concerns (see Figure 3.9),274 and report      segregated spaces. School staff need to be aware
    positive school belonging;275                        of the various ways that gender-segregated spaces
                                                         may be particularly difficult for transgender and
  • Were more likely to report experiencing gender-      gender nonconforming youth to navigate, and should
    based discrimination (see Table 3.1);276 and         work to ensure that all students have equal access
                                                         to school facilities. Educators must also be mindful
  • Were more likely to experience in-school             that improving school climate for transgender and
    discipline (see Figure 3.11).277                     nonbinary students goes beyond ensuring that they
                                                         can access school facilities like bathrooms and
In some instances, questioning students had similar      locker rooms. They must work to be inclusive and
experiences to transgender and nonbinary students.       affirming of transgender and nonbinary students
For example, questioning students experienced            in their teaching and in their interactions with
in-school discipline at the same rate as transgender     transgender and nonbinary students.
and nonbinary students (see Figure 3.11).278
Additionally, those three groups were similar in         Among LGBQ cisgender students, we found that
feeling unsafe279 and in the severity of victimization   cisgender male students encountered a more
based on sexual orientation (see Figures 3.6 and         hostile school climate regarding their gender



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      expression and sexual orientation, whereas       cisgender female students based on gender can
      cisgender female students encountered a more     be considered manifestations of misogyny, in
      hostile school climate with regard to their      that they demonstrate hostility towards females
      gender. Both the bias experienced by cisgender   and femininity. Thus, it is critical that efforts
      male students based on gender expression         to combat victimization and marginalization of
      (i.e., stigmatizing boys who are perceived to    LGBTQ students at school also incorporate efforts
      be “feminine”) and the bias experienced by       to combat sexism.




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              School Climate
              and Racial/Ethnic
              Identity




  Key Findings
  •    All LGBTQ students of color experienced similar levels of victimization based on race/ethnicity,
       although Black students were more likely to feel unsafe about their race/ethnicity than AAPI,
       Latinx, Native and Indigenous, multiracial, and White students.

  •    Native and Indigenous LGBTQ students were generally more likely than other racial/ethnic
       groups to experience anti-LGBTQ victimization and discrimination.

  •    Many LGBTQ students of color experienced victimization based on both their race/ethnicity and
       their LGBTQ identities. The percentages of students of color experiencing these multiple forms
       of victimization were similar across racial/ethnic groups.

  •    White students were less likely than all other racial/ethnic groups to feel unsafe or experience
       victimization because of their racial/ethnic identity.

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      As discussed previously in this report, many            (46.9%) were bullied or harassed based on their
      LGBTQ students feel unsafe at school or face            actual or perceived racial/ethnic identity (see
      identity-based victimization related to a variety       Figure 3.13). We also found that MENA students
      of personal characteristics, including race/            were more likely than White students to feel
      ethnicity. Furthermore, for students with multiple      unsafe286 and to experience harassment287 based
      marginalized identities, such as LGBTQ youth of         on race/ethnicity.
      color, multiple forms of oppression may interact
      with and affect one another.281 For example, the        The majority of MENA LGBTQ students reported
      racism that an LGBTQ student of color experiences       negative school experiences related to their LGBTQ
      at school may impact the homophobia or                  identity. Most (61.0%) felt unsafe regarding their
      transphobia that they experience, and vice versa.282    sexual orientation, and over a third (40.5%) felt
      Thus, we examined school climate for different          unsafe based on the way they express their gender,
      racial/ethnic groups283 of LGBTQ students in our        although we did not observe differences with
      survey: Arab American, Middle Eastern, and North        other students (see Figure 3.12).288 Approximately
      African (MENA); Asian American, Pacific Islander,       two-thirds (67.5%) experienced harassment or
      and Native Hawaiian (AAPI); Black; Latinx;284           assault related to their sexual orientation, and
      Native American, American Indian, and Alaska            nearly two-thirds (64.7%) experienced this kind
      Native (referred to as “Native and Indigenous”          of victimization related to their gender expression
      in this section); multiracial; and White students.      (see Figure 3.13). For both victimization based on
      Specifically, we examined safety and victimization      sexual orientation and based on gender expression,
      related to sexual orientation, gender expression,       MENA LGBTQ students experienced greater
      and race/ethnicity. We further examined how             levels of harassment than Black and AAPI LGBTQ
      anti-LGBTQ bias may manifest for different racial/      students.289 Additionally, two-fifths of MENA
      ethnic groups by also examining their experiences       LGBTQ students (42.2%) experienced both anti-
      with anti-LGBTQ discriminatory school policies          LGBTQ and racist harassment at school.290
      and practices. Finally, given previous research
      that indicates some youth of color may be               We also examined MENA LGBTQ students’
      disproportionately targeted by school staff for         experiences with anti-LGBTQ discriminatory
      disciplinary action, as compared to their White         school policies and practices, and found that
      peers,285 we also examined students’ experiences        nearly two-thirds (63.3%) encountered this type of
      with school disciplinary action, including: in-school   discrimination at school (see Figure 3.14). MENA
      discipline (including referral to the principal,        students were more likely than AAPI students to
      detention, and in-school suspension), out-of-school     experience this discrimination.291
      discipline (including out-of-school suspension and
      expulsion), and contact with the criminal justice       Many MENA LGBTQ students also experienced
      system as a result of school discipline.                school discipline: 33.7% experienced some form of
                                                              in-school discipline, and 7.2% experienced some
      Throughout this section, we present the school          form of out-of-school discipline (see Figure 3.15).
      experiences of each racial/ethnic group of LGBTQ        Further, 1.4% had contact with law enforcement
      students, and we specifically note statistically        as a result of school discipline. We did not observe
      significant differences between groups. Further,        any differences between MENA students and
      because differences in outness and student body         others with regard to discipline.292
      racial composition may also impact students’
      school experiences, we account for these and other      Experiences of Asian American, Pacific
      demographic and school characteristics in our           Islander, and Native Hawaiian (AAPI)
      analyses, as appropriate.                               LGBTQ Students

      Experiences of Arab American, Middle                    Approximately a quarter of AAPI LGBTQ students
      Eastern, and North African (MENA)                       (25.4%) felt unsafe at school regarding their race/
      LGBTQ Students                                          ethnicity — less than Black LGBTQ students,
                                                              but more than multiracial and White students
      Just over a quarter of MENA LGBTQ students              (see Figure 3.12).293 Furthermore, just over half
      (26.2%) felt unsafe at school regarding their           (51.2%) were assaulted or bullied based on their
      race/ethnicity (see Figure 3.12), and nearly half       actual or perceived race/ethnicity, and they faced




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more frequent race-based harassment than White                 and Indigenous, White, and multiracial LGBTQ
students (see Figure 3.13).294                                 students.296 Despite the fact that AAPI students
                                                               experienced comparatively lower levels of anti-
The majority of AAPI LGBTQ students reported                   LGBTQ experiences, it is important to note that
negative school experiences regarding their                    two-fifths (40.8%) experienced both anti-LGBTQ
LGBTQ identity, although these experiences were                and racist harassment at school.
somewhat less common than for other racial/ethnic
groups. Nearly half of AAPI students (49.3%) felt              Many AAPI LGBTQ students experienced anti-
unsafe regarding their sexual orientation and nearly           LGBTQ discriminatory school policies and
a third (32.0%) felt unsafe regarding the way they             practices. Over a third (35.5%) experienced anti-
express their gender (see Figure 3.12). However,               LGBTQ discrimination at school, although AAPI
AAPI students were less likely than White, Latinx,             youth were less likely to experience this type of
and Native and Indigenous youth to feel unsafe                 discrimination than all other racial/ethnic groups
for either reason, and were also less likely than              (see Figure 3.14).297
multiracial students to feel unsafe about their
gender expression.295 We also found that most AAPI             With regard to school disciplinary action, one-fifth
LGBTQ students (55.7%) experienced harassment                  of AAPI LGBTQ students (19.9%) experienced
or assault related to their sexual orientation,                in-school discipline, although this was less than all
and 43.5% experienced harassment or assault                    others except Native and Indigenous students, and
related to their gender expression (see Figure                 2.8% experienced out-of-school discipline, which
3.13), although both were less severe than the                 was less than Black LGBTQ youth (see Figure
victimization experienced by Latinx, MENA, Native              3.15).298 Finally, 0.6% of AAPI students had


                                        Figure 3.12 Sense of Safety at School by Race/Ethnicity


Arab American, Middle Eastern,
                                                      26.2%       40.5%              61.0%
            and North African


    Asian American and Pacific              25.4%
                                                          32.0%            49.3%
                      Islander


                                             25.9%
                        Black                             32.3%           47.5%



                        Latinx                 20.5%                43.2%          57.1%



    Native American, American
                                            17.2%                                 56.3%           73.6%
     Indian, and Alaska Native



                   Multiracial                18.1%                  44.3%         58.2%



                        White    1.4%                              42.7%             60.1%




                                 0%            20%                40%                60%              80%      100%


                                          Sexual Orientation        Gender Expression         Race/Ethnicity




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      contact with law enforcement as a result of school               Nearly half of Black students (47.5%) felt unsafe
      discipline.                                                      regarding their sexual orientation and approximately
                                                                       a third (32.3%) felt unsafe regarding their gender
      Experiences of Black LGBTQ Students                              expression (see Figure 3.12). However, Black
                                                                       LGBTQ students were less likely than White, Latinx,
      A quarter of Black LGBTQ students (25.9%) felt                   and Native and Indigenous youth to feel unsafe
      unsafe at school regarding their race/ethnicity                  about sexual orientation and gender expression,
      (see Figure 3.12), and they were more likely than                and were also less likely than multiracial students
      AAPI, Latinx, Native and Indigenous, multiracial,                to feel unsafe about their gender expression.301
      and White LGBTQ students to feel unsafe for this                 Many Black LGBTQ students also experienced
      reason.299 Furthermore, 43.2% of Black students                  victimization based on their sexual orientation
      experienced harassment or bullying based on their                (58.6%) and their gender expression (46.0%),
      actual or perceived race/ethnicity, which was more               although they experienced lower levels of both
      frequent than the race-based victimization faced by              forms of victimization than all other racial/ethnic
      White students (see Figure 3.13).300                             groups except for AAPI students (see Figure
                                                                       3.13).302 Nevertheless, even though Black LGBTQ
      Most Black LGBTQ students also reported negative                 youth experienced comparatively lower levels of
      school experiences due to their LGBTQ identity,                  anti-LGBTQ victimization compared to most other
      although they were generally less likely to do so                students, over a third (34.7%) experienced both
      than LGBTQ youth of other racial/ethnic identities.              anti-LGBTQ and racist harassment at school.


                 Figure 3.13 Experiences of In-School Victimization Based on Personal Characteristics by Race/Ethnicity
                  (Percentage of LGBTQ Students Who Experienced any Bullying, Harassment, or Assault Based on . . .)




                                                                                       64.7%
      Arab American, Middle Eastern,
                                                                              46.9%               67.5%
                  and North African
                                                                                  51.2%
          Asian American and Pacific
                                                                          43.5%        55.7%
                            Islander


                                                                  43.2%
                              Black                                           46.0%       58.6%



                              Latinx                                       44.9%          59.5%     71.2%



          Native American, American
                                                                               48.3%              68.2%        82.0%
           Indian, and Alaska Native



                         Multiracial                                     41.2%              62.3%    72.3%



                              White         11.0%                                       58.4%       70.4%




                                       0%            20%                40%               60%                 80%          100%


                                                  Sexual Orientation          Gender Expression           Race/Ethnicity




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Many Black LGBTQ students also experienced                  identity. Over half of Latinx LGBTQ students
anti-LGBTQ discriminatory school policies and               (57.1%) felt unsafe at school regarding their sexual
practices. Nearly half (48.3%) experienced this             orientation, more than a third (43.2%) felt unsafe
type of discrimination in school — more than AAPI           regarding their gender expression, and they were
students, but less than Latinx, White, multiracial,         more likely than Black and AAPI students to feel
and Native and Indigenous (see Figure 3.14).303             unsafe for these reasons (see Figure 3.12).307 Over
                                                            two-thirds of Latinx students (71.2%) experienced
With regard to school discipline, a third of                peer victimization based on their sexual
Black LGBTQ students (33.3%) experienced                    orientation, and over half (59.5%) experienced
in-school discipline and nearly a tenth (8.8%)              victimization based on how they express their
experienced out-of-school discipline (see Figure            gender (see Figure 3.13). Similar to feelings of
3.15). Black LGBTQ students were more likely to             safety, Latinx LGBTQ students were more likely
experience both forms of discipline than LGBTQ              than Black and AAPI students to experience both
AAPI students, and were also more likely to                 forms of anti-LGBTQ victimization, although
experience out-of-school discipline than White              they were less likely to experience homophobic
LGBTQ students.304 Finally, 1.6% of Black LGBTQ             victimization than Native and Indigenous LGBTQ
students had contact with law enforcement as a              students.308 Notably, two-fifths of Latinx LGBTQ
result of school discipline.                                students (41.0%) experienced both anti-LGBTQ
                                                            and racist harassment at school.
Experiences of Latinx LGBTQ Students
                                                            The majority of Latinx LGBTQ students (57.4%)
Approximately a fifth of Latinx LGBTQ students              also experienced anti-LGBTQ discriminatory
(20.5%) felt unsafe at school regarding their               school policies and practices (see Figure 3.14).
race/ethnicity (see Figure 3.12), and nearly half           Latinx students were more likely than Black
(44.9%) experienced bullying or harassment                  and AAPI students to experience this type of
related to their race or ethnicity (see Figure 3.13).       discrimination.309
Latinx students were more likely than White and
multiracial students to feel unsafe regarding               Regarding school discipline, more than a third
their race/ethnicity, but less likely than Black            of Latinx LGBTQ students (35.1%) experienced
students.305 Latinx students were also more likely          in-school discipline — more than White and
than White and multiracial students to experience           AAPI students — and 5.9% experienced some
bullying or harassment based on race/ethnicity.306          form of out-of-school discipline (see Figure
                                                            3.15).310 Additionally, 1.5% had contact with law
We also found that many Latinx students reported            enforcement as a result of school discipline.
negative school experiences related to their LGBTQ

                         Figure 3.14 Experiences of Anti-LGBTQ Discrimination by Race/Ethnicity
          (Percentage of LGBTQ Students Experiencing Anti-LGBTQ Discriminatory School Policies and Practices)

80%                                                                        73.6%

            63.3%                                                                           64.4%
                                                                                                          60.0%
                                                           57.4%
 60%
                                           48.3%

 40%                       35.5%



 20%



  0%
        Arab American, Asian American      Black           Latinx      Native American,   Multiracial      White
        Middle Eastern,  and Pacific                                   American Indian,
       and North African   Islander                                    or Alaska Native




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      Experiences of Native American, American                             sexual orientation, and over two-thirds (68.2%)
      Indian, and Alaska Native (“Native and                               based on their gender expression. In fact, Native
      Indigenous”) LGBTQ Students                                          and Indigenous students experienced more severe
                                                                           homophobic victimization than all others, except
      Nearly one-fifth of Native and Indigenous LGBTQ                      for MENA students from whom they did not differ,
      students (17.2%) felt unsafe at school regarding                     and faced more severe victimization based on
      their race/ethnicity (see Figure 3.12), and nearly                   gender expression than White, Black, and AAPI
      half (48.3%) were bullied or harassed based on                       students.314 It is also important to note that nearly
      their actual or perceived race/ethnicity (see Figure                 half (47.2%) experienced both anti-LGBTQ and
      3.13). Native and Indigenous students were                           racist harassment at school.
      more likely than White students to feel unsafe
      regarding race/ethnicity, but less likely than Black                 Experiences of anti-LGBTQ discriminatory
      students.311 Native and Indigenous students were                     school policies and practices were also common
      also more likely than White students to experience                   among Native and Indigenous students. Nearly
      victimization based on race/ethnicity.312                            three-fourths (73.6%) experienced this type of
                                                                           discrimination at school, and they were more likely
      The vast majority of Native and Indigenous LGBTQ                     to experience discrimination than Black and AAPI
      students reported negative school experiences                        LGBTQ students (see Figure 3.14).315
      related to their LGBTQ identity, and were generally
      more likely to report these experiences than                         Many Native and Indigenous LGBTQ students
      other racial/ethnic groups. Nearly three quarters                    also experienced school disciplinary practices.
      of Native and Indigenous LGBTQ students felt                         Nearly two-fifths (37.1%) experienced in-
      unsafe regarding their sexual orientation (73.6%)                    school discipline, and nearly one-tenth (9.0%)
      and over half (56.3%) because of the way they                        experienced some form of out-of-school discipline
      express their gender (see Figure 3.12). Native and                   (see Figure 3.15). In addition, 2.2% had contact
      Indigenous students were also more likely than                       with law enforcement as a result of school
      Black and AAPI students to feel unsafe for both                      discipline. We, however, did not observe any
      reasons.313 As shown in Figure 3.13, over four-                      differences regarding discipline between Native
      fifths of Native and Indigenous students (82.0%)                     and Indigenous students and other groups.316
      experienced harassment and assault based on their

                                       Figure 3.15 Experiences of School Discipline by Race/Ethnicity
                                     (Percentage of LGBTQ Students Who Experienced School Discipline)
      50%


      40%                                      37.1% 38.6%
                                       35.1%
               33.7%           33.3%
                                                                   31.3%
      30%

                       19.9%
      20%


                                                                                                8.8%           9.0%
      10%                                                                      7.2%                                    7.4%
                                                                                                       5.9%                     4.6%
                                                                                       2.8%
       0%
                       In-School Discipline (Principal’s Office,                      Out-of-School Discipline (Out-of-School
                          Detention, In-School Suspension)                                    Suspension, Expulsion)


                  Arab American, Middle Eastern, and North African                Native American, American Indian, and Alaska Native

                  Asian American and Pacific Islander                             Multiracial

                  Black                                                           White

                  Latinx




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“I feel … outnumbered, looked down upon. I have to work
twice as hard just to be at par with a white boy with
privilege, not to mention that being worse because of the
fact that I’m not straight.”

Experiences of Multiracial LGBTQ Students
                                                       fifths of multiracial LGBTQ students (38.6%)
Nearly a fifth of multiracial LGBTQ students           experienced in-school discipline, and nearly a tenth
(18.1%) felt unsafe in school regarding their race/    (7.4%) experienced some form of out-of-school
ethnicity (see Figure 3.12), and they were more        discipline (see Figure 3.15). Multiracial students
likely to feel unsafe for this reason than White       were more likely to experience both in-school and
students, but less likely than MENA, Black, and        out-of-school discipline than White youth, and were
AAPI students.317 Additionally, over two-fifths        also more likely to experience in-school discipline
(41.2%) faced harassment based on racial/ethnic        than AAPI youth.322 Finally, 1.3% of multiracial
identity, and they faced more frequent harassment      LGBTQ students had contact with law enforcement
than White LGBTQ students (see Figure 3.13).318        as a result of school discipline.

Many multiracial LGBTQ students also reported          Experiences of White LGBTQ Students
negative school experiences regarding their LGBTQ
identity. More than half (58.2%) felt unsafe at        A small number of White LGBTQ students (1.4%)
school regarding their sexual orientation, and more    felt unsafe at school regarding their race/ethnicity,
than two-fifths (44.3%) felt unsafe regarding the      and just over one-tenth (11.0%) experienced
way they express their gender (see Figure 3.12).       bullying or harassment based on their actual or
Although multiracial students did not differ from      perceived race/ethnicity (see Figures 3.12 and
other students on feeling unsafe because of their      3.13). Not surprisingly, White LGBTQ students
sexual orientation, they were more likely than Black   were less likely than all other racial/ethnic
and AAPI students to feel unsafe regarding their       groups to feel unsafe323 or experience bullying or
gender expression.319 The majority of multiracial      harassment324 for this reason.
LGBTQ students also experienced harassment
regarding their LGBTQ identity — 72.3% faced           The majority of White LGBTQ students reported
harassment based on their sexual orientation and       negative school experiences with regard to LGBTQ
62.3% experienced this victimization based on          identity. Over half (60.1%) felt unsafe regarding
gender expression (see Figure 3.13). Multiracial       their sexual orientation, and over two-fifths (42.7%)
students reported greater levels of homophobic         felt unsafe regarding their gender expression (see
victimization than Black and AAPI students, but        Figure 3.12). White students were more likely to
lower levels than Native and Indigenous students.      feel unsafe regarding sexual orientation and gender
They also reported greater levels of victimization     expression than both Black and AAPI students.325
based on gender expression than Black and              More than two-thirds of White LGBTQ students
AAPI LGBTQ students.320 Notably, over a third of       (70.4%) experienced victimization related to
multiracial LGBTQ students (36.5%) experienced         their sexual orientation, and over half (58.4%)
both racist and anti-LGBTQ harassment at school.       experienced victimization related to gender
                                                       expression (see Figure 3.13). Similar to feelings of
We also found that the majority of multiracial         safety, White students were more likely to face anti-
LGBTQ students experienced anti-LGBTQ                  LGBTQ victimization than Black and AAPI students,
discriminatory policies and practices at school.       although they were less likely to experience
Nearly two-thirds (64.4%) experienced this type        this victimization than Native and Indigenous
of discrimination — more than Black and AAPI           students.326 Although most White LGBTQ students
students (see Figure 3.14).321                         had negative school experiences regarding their
                                                       LGBTQ identity, only one-tenth (10.1%) experienced
Many multiracial LGBTQ students reported               harassment based on both LGBTQ identity and
experiences with school discipline. Nearly two-        actual or perceived race/ethnicity.



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      The majority of White LGBTQ youth (60.0%)               students’ feelings of safety about their race are
      experienced some form of anti-LGBTQ                     related to other experiences of racism not captured
      discrimination at school (see Figure 3.14).             in this survey, given this country’s long, ongoing,
      Furthermore, White students were more likely than       and pervasive culture of racism against Black
      Black and AAPI students to experience this form of      communities in particular.329
      discrimination.327
                                                              Black and AAPI LGBTQ students were both
      Regarding school discipline, just under a third of      generally less likely than others to have had anti-
      White LGBTQ students (31.3%) experienced some           LGBTQ experiences at school. Conversely, we found
      form of in-school discipline and 4.6% experienced       that Native and Indigenous LGBTQ students were
      out-of-school discipline (see Figure 3.15). White       more likely to have experienced anti-LGBTQ bias in
      students were more likely than AAPI students to         school than other racial/ethnic groups. It is unclear
      experience either form of discipline. However,          why anti-LGBTQ experiences differ across racial/
      they were less likely than multiracial and Latinx       ethnic groups in this way, and further research
      students to experience in-school discipline, and        is warranted regarding the relationship between
      less likely than multiracial and Black students to      racial/ethnic identity and anti-LGBTQ school
      report experiences with out-of-school discipline.328    experiences.
      Finally, 1.1% of White students had contact with
      law enforcement as a result of school discipline.       Despite the differences that we found, it is
                                                              important to acknowledge that all LGBTQ youth of
      Conclusions                                             color were at greater risk of experiencing multiple
                                                              forms of victimization than their White LGBTQ
      The majority of LGBTQ students of all races and         peers.330 Furthermore, our prior research has
      ethnicities reported hostile school experiences         shown that LGBTQ youth of color who experienced
      due to their marginalized identities. Nevertheless,     both racist and anti-LGBTQ victimization at
      we observed some notable relationships between          school reported the poorest well-being, and are
      racial/ethnic identity and feelings of safety as well   most likely to feel unsafe at school, compared
      as experiences of victimization, discrimination, and    to those who experienced one or neither form of
      disciplinary action in school.                          victimization.331 Thus, school staff must support
                                                              LGBTQ youth of color with an intersectional
      With regard to students’ experiences with race/         approach that acknowledges and responds to
      ethnicity, it is interesting to note that nearly all    racism, homophobia, and transphobia, and to the
      LGBTQ students of color experienced similar rates       ways these interconnected forms of oppression
      of racist harassment, but Black LGBTQ students          may influence one another. This approach must
      were more likely than nearly all others to feel         also acknowledge the uniquely harmful impact of
      unsafe about their race/ethnicity. In part, this may    racism on Black students and Black communities,
      be related to the nature of racist victimization        in particular. Further research is needed to
      that Black LGBTQ students experience, which             critically examine how school climate manifests
      may occur at a similar rate but could be more           for LGBTQ students of different racial and ethnic
      severe than the harassment faced by other racial/       backgrounds, as well as best practices to serve
      ethnic groups. It is also likely that Black LGBTQ       these populations of youth.




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School Climate by
School Characteristics




  Key Findings
  •    LGBTQ students in middle school had more hostile school experiences and less access to
       LGBTQ-related school supports than LGBTQ students in high school.

  •    LGBTQ students in private non-religious schools experienced a less hostile school climate than
       those in public or religious schools. LGBTQ students in private non-religious schools also had
       greater access to most LGBTQ-related school supports, however public schools were more likely
       to have a GSA and most likely to have LGBTQ-inclusive school library resources.

  •    Among students in public schools, those in charter schools were similar to those in regular
       public schools regarding anti-LGBTQ experiences and many resources and supports, although
       charter school students were more likely to have access to: inclusive curricular resources,
       supportive policies for transgender and nonbinary students, and a supportive administration.
       Regular public school students were more likely to have LGBTQ-inclusive school library
       resources.

  •    LGBTQ students in small towns or rural areas were most likely to hear anti-LGBTQ remarks,
       and experience anti-LGBTQ victimization and discrimination than students in urban and
       suburban schools. They were also least likely to have access to LGBTQ-related school supports.

  •    LGBTQ students in schools in the South were most likely to hear anti-LGBTQ remarks, and
       experience anti-LGBTQ victimization and discrimination than students in other regions. They
       were also least likely to have access to LGBTQ-related school supports.




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      LGBTQ students’ experiences at school with             “My school has both middle
      regard to safety and LGBTQ-related supports
      may vary depending on the characteristics of           and high school students
      the school itself. Students in our survey were
      asked about their grade level, the type of school
                                                             in the same building. The
      they attend, and the geographic location of their      middle schoolers are much
      school. We examined potential differences in
      LGBTQ students’ reports of hearing anti-LGBTQ          more intolerant of LGBTQ
      language, experiences of anti-LGBTQ victimization
      and discrimination, and access to LGBTQ-related
                                                             people. The high schoolers
      resources and supports by school level, school         are much more supportive.”
      type, locale, and geographic region.332
                                                             posters. In addition, LGBTQ students in middle
      Differences by School Level                            school were less likely than those in high school
                                                             to report having LGBTQ-inclusive curriculum,
      We examined differences in the experiences of          including LGBTQ-inclusive sex education, as well
      LGBTQ students in middle schools and high              as other LGBTQ-inclusive curricular resources,
      schools.333 Overall, we found that LGBTQ middle        such as website access, library resources, and
      school students reported a more hostile school         textbooks/other assigned readings. It is important
      climate than LGBTQ high school students.               to note, regarding LGBTQ-inclusive sex education,
                                                             that we asked students about whether they had
      Biased language. LGBTQ students in middle school       ever received this type of instruction, and as
      heard homophobic remarks, including “that’s so         such, high school students would have had more
      gay,” “no homo,” and other homophobic remarks,         opportunity to receive this type of curriculum
      more frequently than LGBTQ students in high            than middle school students because they have
      school. Middle school students, however, did not       had more years of schooling. Nevertheless, it is
      differ from high school students with regard to        important that LGBTQ students receive LGBTQ-
      hearing gender-biased remarks, including negative      inclusive sex education early on before they are
      remarks about gender expression and negative           faced with situations that may put them at risk for
      remarks about transgender people (see Table 3.2).334   sexual health problems, especially because prior
                                                             research has shown that LGBTQ youth are more
      Peer victimization. Middle school students also        likely to engage in sexual health risk behaviors than
      experienced higher levels of all types of anti-        non-LGBTQ youth.338
      LGBTQ victimization, including victimization based
      on sexual orientation, gender expression, and          Middle school students were also less likely to
      gender (see Table 3.2).335                             report that their school had a supportive student
                                                             club, such as a GSA. However, among LGBTQ
      Anti-LGBTQ discrimination. Middle school students      students who had a GSA in their school, those in
      were more likely to experience anti-LGBTQ              middle school reported attending meetings more
      discriminatory school policies and practices than      often.339 It may be that because GSAs are less
      high school students (see Table 3.2).336               common in middle schools, there is a stronger
                                                             commitment and greater effort among LGBTQ
      LGBTQ-related resources and supports. LGBTQ            students to sustain those GSAs that do exist. It
      students in middle school were less likely to have     may also be that LGBTQ students in middle school
      access to LGBTQ-related resources and supports in      are more likely than those in high school to seek
      school, as compared to those in high school (see       support at GSA meetings, given the comparatively
      Table 3.2).337 LGBTQ middle school students were       more hostile school climate in middle school.
      less likely to report having both comprehensive
      anti-bullying/harassment policies and policies         Overall, these findings are consistent with research
      supportive of transgender and nonbinary students.      on the general population which indicates that
      Middle school students reported having fewer           students in middle schools face more hostile
      supportive educators, less supportive school           climates than students in high schools.340 School
      administrations, and fewer visible signs of LGBTQ      districts should devote greater attention to
      support in school, specifically Safe Space stickers/   implementing these LGBTQ-supportive resources in




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             Table 3.2 Percentages of Students Reporting Anti-LGBTQ Language, Experiences of
             LGBTQ-Related Victimization, Discriminatory Policies and Practices, and Availability
                    of LGBTQ-Related School Resources and Supports, by School Level.*
                                                                                                      Middle School             High School
Anti-LGBTQ Language in School (Heard Often or Frequently)
   “Gay” Used in Negative Way (e.g., “that’s so gay”)                                                       87.4%                 73.4%
   Other Homophobic Remarks                                                                                 59.4%                 54.4%
   “No Homo”                                                                                                77.8%                 57.3%
   Negative Remarks About Gender Expression                                                                 52.1%                 53.2%
   Negative Remarks About Transgender People                                                                45.0%                 43.8%
Experiences of LGBTQ-Related Victimization (Any Bullying/
   Harassment/Assault)
   Victimization Based on Sexual Orientation                                                                80.7%                 67.2%
   Victimization Based on Gender Expression                                                                 64.6%                 56.4%
   Victimization Based on Gender                                                                            61.5%                 54.4%
Discriminatory School Policies and Practices
   Any LGBTQ-Related Discrimination                                                                         68.9%                 55.7%
School Resources and Supports
   GSAs
      Presence of GSA                                                                                       34.3%                 73.5%
   Curricular Inclusion
      Positive LGBTQ Curricular Inclusion                                                                   15.7%                 20.4%
      Negative LGBTQ Curricular Inclusion                                                                   14.8%                 16.5%
      Positive LGBTQ Inclusion in Sex Education                                                               7.4%                  8.6%
   Curricular Resources
      LGBTQ Website Access                                                                                  45.9%                 59.4%
      LGBTQ Library Resources                                                                               44.3%                 52.2%
      LGBTQ Inclusion in Textbooks or Other Assigned Readings                                               11.3%                 21.7%
   Supportive Educators
      Many (11 or More Supportive Staff)                                                                    32.3%                 46.8%
      Supportive Administration (Somewhat or Very Supportive)                                               35.7%                 45.0%
      Safe Space Stickers/Posters                                                                           45.2%                 70.8%
   Inclusive and Supportive Policies
      Comprehensive Anti-Bullying/Harassment Policy                                                         10.7%                 14.8%
      Transgender/Nonbinary Student Policy                                                                    7.2%                12.1%
  *Note: The percentages shown in the table are raw percentages. Because demographic differences were controlled for in the analyses, the raw
  percentages may not reflect differences in the analyses.




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      middle schools and to addressing anti-LGBTQ bias         Among public school students, we also examined
      in younger grades, before it becomes engrained in        anti-LGBTQ language between students in charter
      middle school students’ behaviors and attitudes.         schools and those in regular public schools.
      With specific regard to school policies, given           However, for all types of anti-LGBTQ remarks, we
      that comprehensive anti-bullying/harassment              did not observe any differences (see Table 3.3).342
      policies and supportive policies for transgender
      and nonbinary students are often mandated at the         Peer victimization. The frequency of anti-LGBTQ
      district level, one would not necessarily expect any     victimization also differed across school type (see
      differences by school level. It may be that younger      Table 3.3).343 LGBTQ students in public schools
      students are less aware of protective policies at        generally experienced higher levels of anti-LGBTQ
      their schools, and as such, school districts may         victimization than others. Specifically, public
      need to increase efforts to educate students at          school students experienced higher levels of all
      all school levels about their rights. It also might      types of anti-LGBTQ victimization than those in
      reflect that some districts are inconsistent in the      private non-religious schools, and higher levels
      implementation of policies among their schools,          of victimization based on gender than those
      particularly middle schools, and in such cases,          in religious schools. However, public school
      districts must ensure that all schools are following     and religious school students did not differ on
      district policies about school climate.                  victimization based on sexual orientation and
                                                               based on gender expression. Private non-religious
      Differences by School Type                               school students and religious school students did
                                                               not differ on any type of anti-LGBTQ victimization.
      We examined differences in the experiences               Furthermore, among public school students, there
      of LGBTQ students in public schools, religious           were no significant differences with regard to
      schools, and private non-religious schools. Overall,     victimization between those in charter schools and
      we found that LGBTQ students in private non-             those in regular public schools (see Table 3.3).344
      religious schools experienced the least hostile
      school climates.                                         Anti-LGBTQ discrimination. Students in private
                                                               non-religious schools were the least likely to report
      Biased language. Overall, we found that LGBTQ            experiencing anti-LGBTQ discriminatory school
      students from public schools were most likely to         policies and practices, and students in religious
      hear LGBTQ-biased language at school, whereas            schools were the most likely to experience anti-
      LGBTQ students in private non-religious schools          LGBTQ discrimination (see Table 3.3).345 Among
      were least likely to hear this type of language (see     public school students, there were no significant
      Table 3.3).341 Specifically, LGBTQ students in           differences in experiences with discrimination
      private non-religious schools heard all types of anti-   between those in charter schools and those in
      LGBTQ remarks less frequently than public school         regular public schools (see also Table 3.3).346
      students, and heard most types of anti-LGBTQ
      remarks less frequently than religious school            LGBTQ-related resources and supports. We
      students, with the exception of hearing “no homo”        examined differences by school type regarding
      where there were no differences between private          LGBTQ students’ access to LGBTQ-related school
      non-religious and religious school students. There       supports, including: GSAs, supportive staff,
      were also differences between LGBTQ students             LGBTQ-inclusive curriculum, other curricular
      in public schools and those in religious schools,        resources, and inclusive and supportive school
      although they were somewhat more nuanced.                policies. Overall, students in religious schools
      LGBTQ students in religious schools heard most           were less likely to report having LGBTQ-related
      types of homophobic remarks less frequently              resources and supports in their schools, and
      than those in public schools, with the exception         students in private non-religious schools were
      of hearing “gay” used in a negative way where            more likely to report having these resources
      there were no differences. However, public school        and supports (see Table 3.3).347 Furthermore,
      students heard negative remarks about gender             there were few differences in the availability of
      expression less frequently than religious school         LGBTQ-related resources and supports among
      students. There were no differences between public       public school students between those in charter
      and religious school students on hearing negative        schools and those in regular public schools (see
      remarks about transgender people.                        also Table 3.3).348




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             Table 3.3 Percentages of Students Reporting Anti-LGBTQ Language, Experiences of
             LGBTQ-Related Victimization, Discriminatory Policies and Practices, and Availability
                    of LGBTQ-Related School Resources and Supports, by School Type.*
                                                                                             Public**                   Private      Religious
                                                                                All         Regular
                                                                               Public       Public         Charter
Anti-LGBTQ Language in School
   (Heard Often or Frequently)
   “Gay” Used in Negative Way (e.g., “that’s so gay”)                          77.2%          77.3%        74.5%        54.5%            70.9%
   Other Homophobic Remarks                                                    56.5%          56.6%        55.6%        31.3%            46.8%
   “No Homo”                                                                   61.7%          61.6%        64.2%        51.8%            54.1%
   Negative Remarks About Gender Expression                                    53.4%          53.4%        53.3%        47.1%            60.7%
   Negative Remarks About Transgender People                                   44.9%          44.9%        44.4%        29.0%            42.8%
Experiences of LGBTQ-Related Victimization
   (Any Bullying/ Harassment/Assault)
   Victimization Based on Sexual Orientation                                   70.9%          70.7%        75.1%        58.9%            68.1%
   Victimization Based on Gender Expression                                    58.8%          58.6%        65.2%        51.6%            57.4%
   Victimization Based on Gender                                               56.5%          56.3%        60.8%        51.4%            44.4%
Discriminatory School Policies and Practices
   Any LGBTQ-Related Discrimination                                            58.7%          58.5%        62.3%        51.2%            83.5%
School Resources and Supports
  GSAs
    Presence of GSA                                                            63.9%          64.0%        61.2%        57.9%            14.9%
  Curricular Inclusion
    Positive LGBTQ Curricular Inclusion                                        18.8%          18.4%        26.8%        32.9%            13.2%
    Negative LGBTQ Curricular Inclusion                                        15.6%          15.5%        16.3%        13.1%            59.2%
    Positive LGBTQ Inclusion in Sex Education                                   8.0%           7.9%        11.0%        14.2%             3.1%
  Curricular Resources
    LGBTQ Website Access                                                       56.1%          56.0%        57.1%        68.7%            42.3%
    LGBTQ Library Resources                                                    50.5%          50.8%        42.9%        43.1%            24.1%
    LGBTQ Inclusion in Textbooks or                                            18.9%          18.8%        21.8%        26.4%            27.0%
        Other Assigned Readings
  Supportive Educators
    Many (11 or More Supportive Staff)                                         42.8%          42.9%        40.5%        50.2%            17.2%
    Supportive Administration (Somewhat or Very                                42.4%          42.2%        46.5%        55.9%            18.6%
    Supportive)
    Safe Space Stickers/Posters                                                64.4%          64.5%        62.6%        65.9%            19.5%
  Inclusive and Supportive Policies
    Comprehensive Anti-Bullying/Harassment Policy                              13.6%          13.6%        14.3%        16.9%                 3.6%
    Transgender/Nonbinary Student Policy                                       10.9%          10.7%        13.8%        17.3%                 2.6%
  *Note: The percentages shown in the table are raw percentages. Because demographic differences were controlled for in the analyses, the raw
  percentages may not reflect differences in the analyses.
  **Analyses were conducted on all public schools. Within public schools, analyses were also conducted on regular (non-charter) and charter
  schools.




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      Students in private non-religious schools were            to report having LGBTQ-inclusive curriculum,
      most likely to have LGBTQ-related supportive              including LGBTQ-inclusive sex education, as well
      school resources, with a few exceptions. We did           as supportive transgender and nonbinary student
      not observe a difference between those in private         policies. Charter school students also reported
      non-religious schools and those in religious schools      having more supportive administrations. However,
      regarding access to LGBTQ-related textbooks and           students in charter schools were less likely to have
      other assigned reading materials. Further, we did         access to LGBTQ-related library resources than
      not observe a difference between those in private         those in regular public schools.
      non-religious and those in public schools regarding
      visible displays of support (i.e., Safe Space stickers/   In general, we found that private non-religious
      posters), and private non-religious school students       schools were more positive environments for
      were actually less likely than those in public schools    LGBTQ youth than public or religious schools,
      to have GSAs and LGBTQ-related library resources.         as private non-religious school students were
                                                                least likely to hear anti-LGBTQ remarks, least
      In contrast to private non-religious schools,             likely to experience anti-LGBTQ victimization
      students in religious schools were least likely to        or discrimination, and were most likely to have
      report having most supportive school resources            LGBTQ-related school resources and supports. The
      we examined, including: GSAs, LGBTQ-inclusive             differences between LGBTQ student experiences
      curriculum, access to LGBTQ-related websites,             in religious schools and those in public schools,
      LGBTQ-related library resources, indicators of            however, are more nuanced. Students in religious
      supportive school personnel (i.e., supportive             schools were less likely than those in public
      educators, supportive school administration,              schools to hear homophobic remarks and to
      Safe Space stickers/posters), comprehensive               experience victimization based on gender, but
      anti-bullying/harassment policies, and policies           they were more likely to hear negative remarks
      supportive of transgender and nonbinary students.         about gender expression, more likely to experience
      Furthermore, religious school students were most          LGBTQ-related discrimination at school, and less
      likely to report negative representations of LGBTQ        likely to have LGBTQ resources and supports.
      people and topics in their curriculum (see Table
      3.3).349 However, we also found that LGBTQ                The results regarding gender-based bias, in
      students in religious schools were more likely            particular, indicate a somewhat complex pattern.
      to have LGBTQ-related information in textbooks            Compared to students in public schools, those in
      or other assigned readings than public school             religious schools experienced less gender-based
      students, and as previously mentioned, were not           victimization and similar rates of victimization
      different from private non-religious school students      based on gender expression. However, students in
      in their access to these types of resources.              religious schools were more likely to hear negative
                                                                comments about gender expression. In part, this
      It is perhaps surprising that LGBTQ students in our       pattern may come from a culture in religious
      sample from religious schools reported more LGBTQ         schools that is often more gendered than in public
      content in their textbooks or other assigned readings     schools. For example, students in religious schools
      than public school students. However, students in         were more likely than those in public schools
      the survey were asked about any LGBTQ inclusion           to report that they attended a single-sex school
      in textbooks and assigned readings, regardless of its     (17.0% vs 0.2%),350 and students in religious
      nature. Considering the finding that religious school     schools were also more likely to report school
      students were more likely than others to report being     practices that separated students by gender or
      taught negative LGBTQ content, it is possible that        held them to different standards based on gender,
      the LGBTQ topics included in students’ textbooks          such as gendered dress codes or uniforms.351 Thus,
      and assigned readings are often included in a             the gender of LGBTQ students’ peers in religious
      negative manner.                                          schools may be more homogenous, whereas gender
                                                                expression would still vary among students. As
      Within public schools, students in charter schools        such, one might expect less victimization based
      and students in regular public schools did not differ     on gender, but one might not necessarily expect
      regarding access to most LGBTQ resources and              less victimization based on gender expression,
      supports. However, students in charter schools were       as we saw in our findings. Furthermore, students
      more likely than those in regular public schools          in religious schools were less likely than those in




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public schools to report that school staff intervened    “I go to a Catholic school…
on negative remarks about gender expression,352
which may reflect more traditional attitudes and         My school also was begged
values in religious schools about gender roles.          by LGBT students to create
In addition to the gendered culture and practices in     a support group of LGBT or
many religious schools, it is also important to note
that all private schools, both religious and non-        some of the sort. Students
religious, can select who attends their school and
can more easily expel students than public schools,
                                                         asked for literally 4 years,
which could result in comparatively lower rates of       and they told them straight
harassment that LGBTQ students experience in
private non-religious schools. However, the policies     up NO.”
and practices of some religious schools may reflect
a more negative, anti-LGBTQ attitude of their            resources in general than regular public schools.353
specific religious doctrine or beliefs, which in turn,   More research is needed to understand these
may result in greater LGBTQ-related discrimination       differences in resources and supports between
and fewer supports.                                      charter schools and regular public schools. With
                                                         increased attention paid to charter schools in
Despite the differences we found between public,         recent years, it is also important that future
religious, and private non-religious schools, we         research further examines the experiences of
found that LGBTQ students in all three school            LGBTQ students in these schools. As charter
types commonly reported experiences of anti-             schools may vary widely in their missions, ideals,
LGBTQ remarks, victimization, and discrimination.        and practices, further exploration into how various
For all types of schools, more effort needs to be        types of charter schools address LGBTQ student
made to provide positive school environments for         issues would be particularly valuable.
LGBTQ youth. With specific regard to religious
schools, greater efforts toward providing more           Differences by Locale
inclusive curricular resources and policies for
LGBTQ students are specifically warranted. In            We examined differences in the experiences of
addition, given that little is known about the           LGBTQ students in urban, suburban, and rural
expulsion of LGBTQ students in private schools,          schools. Overall, we found that LGBTQ students in
further research is needed to better understand          rural schools experienced the most hostile school
how these and other school disciplinary actions          climates.
might affect school climate for LGBTQ students.
Furthermore, there is a need for action in all types     Biased language. LGBTQ students in rural schools
of schools to combat policies that create a hostile      reported hearing most types of anti-LGBTQ remarks
climate for LGBTQ students.                              more frequently than those in other locales, and
                                                         there were few differences between students in
Among students in public schools, specifically,          urban and those in suburban schools.354 The one
those in charter schools were generally similar to       exception was the phrase “no homo” — students in
those in regular public schools with regard to anti-     urban schools reported hearing this more frequently
LGBTQ experiences. With regard to LGBTQ-related          than those in suburban schools, but did not differ
resources and supports, however, students in             from students in rural schools (see Table 3.4).
charter schools were more likely to have inclusive
curricular materials, supportive transgender             Peer victimization. LGBTQ students in suburban
and nonbinary policies, and a supportive                 schools experienced less anti-LGBTQ victimization
administration. With regard to curricular inclusion      compared to students in other locales.355 LGBTQ
in particular, it may be that charter schools provide    students in urban schools were less likely
more curricular flexibility for teachers than regular    to experience victimization based on sexual
public schools. In contrast, charter schools were        orientation than LGBTQ students in rural schools,
less likely to have LGBTQ-related library resources      but students in the two regions did not differ in
than regular public schools, although this may           victimization based on gender expression and
be related to charter schools having fewer library       victimization based on gender (see Table 3.4).



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                   Table 3.4 Percentages of Students Reporting Anti-LGBTQ Language, Experiences of
                   LGBTQ-Related Victimization, Discriminatory Policies and Practices, and Availability
                             of LGBTQ-Related School Resources and Supports, by Locale.*
                                                                                                                                          Rural/
                                                                                                        Urban         Suburban          Small Town
      Anti-LGBTQ Language in School (Heard Often or Frequently)
         “Gay” Used in Negative Way (e.g., “that’s so gay”)                                            71.6%            73.3%              81.7%
         Other Homophobic Remarks                                                                      51.3%            50.0%              63.5%
         “No Homo”                                                                                     62.9%            59.1%              61.8%
         Negative Remarks About Gender Expression                                                      52.8%            51.1%              56.8%
         Negative Remarks About Transgender People                                                     40.1%            40.7%              51.0%

      Experiences of LGBTQ-Related Victimization
         (Any Bullying/Harassment/Assault)
         Victimization Based on Sexual Orientation                                                     68.8%            66.1%              76.4%
         Victimization Based on Gender Expression                                                      59.8%            54.6%              62.7%
         Victimization Based on Gender                                                                 57.5%            52.5%              59.2%
      Discriminatory Policies and Practices
         Any LGBTQ-Related Discrimination                                                              57.7%            55.1%              66.1%

      School Resources and Supports
           GSAs
            Presence of GSA                                                                            65.6%            71.6%              44.3%
         Curricular Inclusion
            Positive LGBTQ Curricular Inclusion                                                        23.9%            21.0%              13.9%
            Negative LGBTQ Curricular Inclusion                                                        16.5%            15.5%              19.4%
            Positive LGBTQ Inclusion in Sex Education                                                  11.0%              8.5%               5.6%
         Curricular Resources
            LGBTQ Website Access                                                                       57.1%            59.5%              51.6%
            LGBTQ Library Resources                                                                    46.3%            52.3%              46.5%
            LGBTQ Inclusion in Textbooks or Other Assigned Readings                                    21.3%            21.8%              15.2%
         Supportive Educators
            Many (11 or More Supportive Staff)                                                         46.5%            49.8%              28.3%
            Supportive Administration (Somewhat or Very Supportive)                                    46.6%            46.4%              33.5%
            Safe Space Stickers/Posters                                                                67.7%            70.6%              47.9%
         Inclusive and Supportive Policies
            Comprehensive Anti-Bullying/Harassment Policy                                              14.4%            15.4%              10.1%
            Transgender/Nonbinary Student Policy                                                       14.1%            11.4%                7.9%
        *Note: The percentages shown in the table are raw percentages. Because demographic differences were controlled for in the analyses, the raw
        percentages may not reflect differences in the analyses.




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Anti-LGBTQ discrimination. LGBTQ students in           the local communities. There tends to be greater
rural schools were more likely to experience anti-     community acceptance of LGBTQ people in urban
LGBTQ discrimination than those in other locales.      areas than in suburban areas.359 As such, there
There were no differences in experiences of this       may be a greater willingness, or less resistance, on
kind of discrimination between students in urban       the part of district administrations or school boards
schools and students in suburban schools (see          in urban areas to provide institutional LGBTQ-
Table 3.4).356                                         related resources and supports in the schools.
                                                       However, more research is warranted to understand
LGBTQ-related resources and supports. Overall,         why LGBTQ students in suburban schools have
LGBTQ students in rural schools were least             greater access to the other types of resources and
likely to report having LGBTQ-related resources        supports.
and supports in their schools (see Table 3.4).357
Specifically, students from rural schools had less     Overall, our findings indicate that schools in rural
access to all LGBTQ-related resources and supports     areas were the most unsafe and were least likely to
than students in suburban schools. Students in         have LGBTQ-related school resources and supports.
rural schools also had less access to most LGBTQ-      Although schools in suburban areas appeared to
related resources and supports than students in        be safest for LGBTQ students, they sometimes
urban schools, except they did not differ on the       lagged behind urban schools with regard to certain
availability of LGBTQ-related library resources.       resources and supports. More research is needed
                                                       to examine the relationship between school
The pattern of differences between students in         supports and their effect on school climate for
urban and suburban schools in regard to school         LGBTQ students, particularly while taking into
resources was somewhat mixed. Students in urban        account differences by locale. Nevertheless, given
schools were more likely to have LGBTQ-inclusive       the positive impact of LGBTQ-related school
curriculum, LGBTQ-inclusive sex education, and         resources and supports, specific efforts should be
supportive transgender and nonbinary student           made to increase these resources in all schools,
policies than students in suburban schools.            particularly in rural schools where there may be
However, students in urban schools were less likely    the greatest need.
to have GSAs, supportive educators, Safe Space
stickers/posters, LGBTQ-related website access,        Differences by Region
and LGBTQ-related library resources than students
in suburban schools. Certain resources, such as an     We examined differences in experiences of
educator who shows support of LGBTQ students           LGBTQ students in the South, Midwest, West,
or displays of a Safe Space sticker/poster, or a       and Northeast. In general, LGBTQ students from
librarian who selects LGBTQ-related content to         the South and Midwest reported a more hostile
be included in the school library, may more likely     school climate than students from the West and
be a result of individual-level actions taken by       Northeast.
educators and staff. In contrast, other resources,
such as positive curricular inclusion or LGBTQ-        Biased language. Overall, LGBTQ students from the
supportive policies, may more likely be a result       South and Midwest were more likely to hear anti-
of district-level stipulations by school board or      LGBTQ language than students in the Northeast
district leadership. With regard to resources driven   and West (see Table 3.5).360 For all types of
by individual-level actions, differences between       anti-LGBTQ remarks, except for the phrase, “no
urban and suburban schools may be caused by            homo,” students in the South reported the highest
inequities in funding and resources. Urban schools     rates relative to all other regions, students in the
often have fewer financial resources relative to       Midwest reported higher rates than students in the
the size of the student population than suburban       Northeast and West, and students in the Northeast
schools,358 and thus, educators in urban schools       and West did not differ. For the expression “no
may have less access to training and supports          homo,” students in the Northeast were the least
that facilitate LGBTQ-inclusion. With regard to        likely to hear the phrase “no homo” in school,
resources driven by institutional action, such         compared to all other regions. Further, students
as curriculum and policy, differences between          in the Midwest were less likely to hear “no homo”
urban and suburban schools may be related to           in school than those in the South and those in
differences in social and political attitudes of       the West. However, we did not find that those in



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                   Table 3.5 Percentages of Students Reporting Anti-LGBTQ Language, Experiences of
                   LGBTQ-Related Victimization, Discriminatory Policies and Practices, and Availability
                             of LGBTQ-Related School Resources and Supports, by Region.*
                                                                                                South        Midwest           West       Northeast
      Anti-LGBTQ Language in School (Heard Often or Frequently)
         “Gay” Used in Negative Way (e.g., “that’s so gay”)                                     81.4%          75.7%         72.6%           70.8%
         Other Homophobic Remarks                                                               60.7%          55.3%         48.4%           51.0%
         “No Homo”                                                                              65.8%          59.5%         64.0%           52.6%
         Negative Remarks About Gender Expression                                               57.6%          53.5%         50.4%           49.5%
         Negative Remarks About Transgender People                                              48.7%          46.5%         39.4%           39.1%

      Experiences of LGBTQ-Related Victimization
         (Any Bullying/Harassment/Assault)
         Victimization Based on Sexual Orientation                                              74.4%          71.4%         67.1%           65.3%
         Victimization Based on Gender Expression                                               60.8%          59.5%         57.2%           54.7%
         Victimization Based on Gender                                                          56.6%          56.6%         56.6%           52.9%

      Discriminatory Policies and Practices
         Any LGBTQ-Related Discrimination                                                       68.1%          61.6%         54.0%           49.2%

      School Resources and Supports
         GSAs
            Presence of GSA                                                                     46.8%          60.7%         71.6%           73.8%
         Curricular Inclusion
            Positive LGBTQ Curricular Inclusion                                                 12.2%          17.8%         25.4%           25.2%
            Negative LGBTQ Curricular Inclusion                                                 19.9%          17.7%         16.2%           12.8%
            Positive LGBTQ Inclusion in Sex Education                                             2.3%           5.9%        13.7%           13.3%
         Curricular Resources
            LGBTQ Website Access                                                                47.0%          59.5%         56.9%           65.8%
            LGBTQ Library Resources                                                             43.5%          51.0%         48.3%           55.8%
            LGBTQ Inclusion in Textbooks or                                                     16.7%          19.5%         21.5%           22.1%
              Other Assigned Readings
         Supportive Educators
            Many (11 or More Supportive Staff)                                                  30.7%          40.8%         47.0%           55.9%
            Supportive Administration (Somewhat or                                              29.0%          41.6%         49.2%           55.0%
              Very Supportive)
            Safe Space Stickers/Posters                                                         45.5%          62.1%         73.0%           77.7%
         Inclusive and Supportive Policies
            Comprehensive Anti-Bullying/Harassment Policy                                         6.3%         10.6%         18.3%           21.6%
            Transgender/Nonbinary Student Policy                                                  4.6%           9.6%        15.0%           17.1%
        *Note: The percentages shown in the table are raw percentages. Because demographic differences were controlled for in the analyses, the raw
        percentages may not reflect differences in the analyses.




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“I live in a fairly rural area, so it is a lot of old fashioned
people there…So I did get called some names and
a couple of shoves in the hall, but nothing that bad.
Teachers could see these things, but they never do
anything. Even the teachers I was closest to didn’t care.
Getting involved in a matter like that would very much so
hurt their reputation with other students.”

the South and those in the West differed in the          least likely to report having access to resources and
frequency of hearing this type of remark.                supports than all other regions (see Table 3.5).363

Peer victimization. Overall, LGBTQ students from         Students in the Northeast were more likely
the Northeast reported the lowest levels of anti-        than those in the Midwest to have access to
LGBTQ victimization, compared to students from all       all resources and supports that we examined.
other regions (see Table 3.5).361 In contrast, LGBTQ     Students in the Northeast also were more likely
students from the South generally experienced            than those in the West to report having supportive
higher levels of anti-LGBTQ victimization than           school personnel, LGBTQ website access, LGBTQ
students from all other regions. Specifically,           library resources, and comprehensive anti-bullying/
students from the South experienced higher levels        harassment policies, but they did not differ
of victimization based on sexual orientation than        regarding curricular inclusion, GSAs, LGBTQ-
those in all other regions. Students in the South also   related textbooks/other assigned readings, and
experienced higher levels of victimization based on      supportive transgender and nonbinary policies.
gender expression and based on gender than those         Students in the West were more likely to report
in the Northeast, but did not differ from students in    having GSAs, curricular inclusion, supportive
the Midwest or the West. Students in the Midwest         school personnel, and school policies than students
experienced higher levels of all forms of anti-LGBTQ     in the Midwest, but did not differ regarding LGBTQ
victimization than students in the Northeast, but        website access, LGBTQ library resources, and
they did not differ from students in the West. Lastly,   LGBTQ-related textbooks/other assigned readings.
students in the West experienced higher levels of
victimization based on gender expression and based       Overall, LGBTQ students in the South and Midwest
on gender than students in the Northeast, but they       faced more negative school climates and less
did not differ regarding victimization based on          access to LGBTQ-related resources and supports,
sexual orientation.                                      compared to those in the Northeast and West.
                                                         These regional findings highlight that much more
Anti-LGBTQ discrimination. Students from                 needs to be done to ensure that LGBTQ students
the Northeast were least likely to experience            are safe no matter where they attend school, and
anti-LGBTQ discriminatory school policies and            that education leaders and safe school advocates
practices, followed by students from the West,           must pay particular attention to schools in
and then students from the Midwest (see Table            regions where LGBTQ students experience a more
3.5).362 Students from the South were the most           hostile school climate. Given that attitudes about
likely to experience anti-LGBTQ discriminatory           LGBTQ people are less positive in the South and
school policies and practices, compared to all           Midwest,364 further inquiry is needed on how best
other regions.                                           to implement LGBTQ resources and supports in
                                                         schools in more conservative regions, in spite of
LGBTQ-related resources and supports. Students           cultural and political beliefs towards the LGBTQ
from the Northeast were, for the most part, more         community. Furthermore, national efforts regarding
likely to report having access to LGBTQ-related          bullying prevention and positive school climate
school resources and supports than all other             must not only take into account the overall
regions, and students from the South were the            experiences of LGBTQ students, but they must also



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      acknowledge and respond to regional differences        In the recent 2020 Supreme Court ruling
      regarding anti-LGBTQ victimization and access to       Bostock v. Clayton County, Georgia and two other
      LGBTQ student supports.                                consolidated cases,365 the determination was
                                                             that discrimination based on sexual orientation
      Conclusions                                            or gender identity is a violation of Title VII’s
                                                             prohibition on employment discrimination based
      Overall, schools nationwide are not safe learning      on sex. However, there is no federal legislation
      environments for LGBTQ students and are lacking        that has explicitly established protections from
      in LGBTQ resources and supports, and they differ       discrimination in schools based on sexual
      by school and geographical characteristics. By and     orientation and gender identity, and additional
      large, the majority of LGBTQ students in middle        fixes must be added to federal law. Further,
      schools, from schools in rural areas, and from         private religious schools can be exempt from
      schools in the South and Midwest experience more       Title IX protections while public schools are not
      hostile school climate, and have less access to        eligible for the same exemption, which allows
      LGBTQ-related resources and supports.                  religious schools the opportunity to discriminate
                                                             against LGBTQ students without the same legal
      With regard to school type, the picture of school      ramifications as public schools.366 Given the lack of
      climate for LGBTQ students is more complex. It is      consistent enforcement of federal protections from
      evident from our findings that private non-religious   anti-LGBTQ discrimination for LGBTQ students,
      schools were safer and had more supportive             along with our findings regarding LGBTQ youth
      resources for LGBTQ students than religious and        in religious schools, it is evident that focused
      public schools. However, the differences between       efforts must be made to provide positive school
      religious and public schools were more nuanced.        environments for LGBTQ youth in these schools.
      LGBTQ students in religious schools were less
      likely to hear homophobic remarks and experienced      Efforts should be made to ensure that schools are
      less victimization based on gender than those          safe and welcoming for all students across these
      in public schools, but were more likely to hear        school characteristics, while paying particular
      gender-biased remarks. Furthermore, students in        attention to school characteristics with the most
      public schools had more positive LGBTQ supports        hostile school climate. Furthermore, efforts should
      and resources and were less likely to experience       be made to ensure that LGBTQ students are
      anti-LGBTQ discrimination. Thus, as discussed          provided with access to LGBTQ-related resources
      in the section above, religious schools may be         and supports, with particular attention to the
      physically safer but not supportive or equitable       types of schools that are least likely to have such
      environments.                                          resources and supports.




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PART FOUR:
INDICATORS OF
SCHOOL CLIMATE
OVER TIME



                                             The 2016–2017 GLSEN National Student
                                             Council (NSC) meet with Congressman John
                                             Lewis. Lewis, who died in 2020, helped
                                             organize the 1968 March on Washington and
                                             was a decades-long champion for LGBTQ
                                             rights. GLSEN’s NSC met Representative
                                             Lewis as part of the 2016 NSC summit in
                                             Washington, D.C.



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Indicators of School
Climate Over Time
  Key Findings
  •    From 2001 to 2015, there had been a general downward trend in students’ frequency of
       hearing homophobic remarks at school. In 2019, the frequency of hearing homophobic remarks
       like “fag” or “dyke” was lower than all prior years, and these remarks did not differ between
       2015 and 2017. However, there has been a sizeable increase in frequency of hearing “no
       homo” at school in 2019, after a consistent pattern of decline between 2011 and 2017.

  •    There had been a decrease in hearing negative remarks about someone’s gender expression
       from 2017 to 2019. There was also a decrease of negative remarks about transgender people
       between 2017 and 2019, after a steady increase between 2013 and 2017.

  •    With regard to remarks from school staff, after seeing a steady decline in students’ frequency
       of hearing homophobic remarks from school staff from 2007 to 2013, and no change from
       2013 to 2017, we saw a decrease from staff on homophobic remarks once again in 2019.
       Furthermore, we saw an increase in frequency from 2013 to 2017 in hearing school staff
       making negative remarks about gender expression, but these remarks decreased in 2019 to
       levels that are similar to our findings from 2015.

  •    Students’ frequency of experiencing verbal harassment based on sexual orientation did not
       change from 2015 to 2019, but frequency of victimization based on gender expression
       resumed a pattern of decline in 2019, following an increase between 2015 and 2017.

  •    Frequency of experiencing physical harassment based on sexual orientation resumed a pattern
       of decline in 2019 after no change occurred in 2017, and frequency of physical assault based
       on sexual orientation resumed a pattern of decline in 2019 after no change occurred in 2015
       and 2017. For physical harassment and assault based on gender expression, there continued
       to be a pattern of modest decline, and was lower in 2019 than all prior years.

  •    LGBTQ students’ reporting of incidents or harassment to school staff in 2019 was similar to
       2017, and greater than nearly all other years. However, students’ reports on the effectiveness
       of staff’s responses to these incidents in 2019 has remained similar from 2013 to 2017, and
       is somewhat lower than prior years.

  •    Overall, LGBTQ students were less likely to experience discrimination in 2019 than in 2013
       and 2017. For certain gender-specific forms of discrimination, including being prevented
       from using facilities aligned with one’s gender and being prevented from using chosen name/
       pronouns, incidence was greatest in 2017. However, incidence for most types of discrimination
       was lower in 2019 than in previous years.

  •    In 2017, there were few changes in presence of several LGBTQ-related resources and supports
       in school. However, in 2019, we have seen promising increases in many LGBTQ supports in
       school. LGBTQ students were more likely to report having a GSA, supportive school personnel,
       access to LGBTQ information from school libraries and school computers, and comprehensive
       anti-bullying and harassment policies.

  •    LGBTQ students’ reports of peer acceptance of LGBTQ people had steadily increased from
       2011 to 2015, but has largely leveled off since that time.
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      GLSEN strives to make schools safe for all              “This was the most
      students, regardless of their sexual orientation,
      gender identity or expression, race or ethnicity, or    inclusive year at my
      any other characteristic that may be the basis for
      harassment. In 1999, there was very little research
                                                              school so far, but there is
      on the experiences of LGBTQ students and their          a tremendous amount of
      experiences in schools, and as such, GLSEN sought
      to fill this knowledge gap by conducting its first      work to be done.”
      National School Climate Survey (NSCS). Since that
      time, for 20 years, the National School Climate         LGBTQ students about anti-LGBTQ remarks. In
      Survey has been conducted biennially and is the         1999, because the expression “that’s so gay” was
      only study that has continually assessed the school     perhaps not as commonly used, we only assessed
      experiences of LGBTQ students in the U.S. Thus, it      the frequency of hearing homophobic epithets,
      is vital that we use our data to examine changes over   such as “fag” or “dyke.” In 2001, we assessed
      time in the education landscape for this population.    the frequency of hearing homophobic remarks,
                                                              remarks like “fag” or “dyke,” but also expressions
      In this section, we examine whether there have          using “gay” to mean something bad or valueless.
      been changes from 1999 to the present 2019              In 2003, we began asking questions about hearing
      survey with regard to indicators of school climate      negative remarks about gender expression, such
      for LGBTQ students. Across the years, the survey        as someone acting not “feminine enough” or
      has been slightly modified with each installment        “masculine enough.” In 2009, we began assessing
      to reflect new or emerging concerns about school        the expression “no homo,” and in 2013 we asked
      climate for LGBTQ students, but its content has         about negative expressions about transgender
      remained largely the same and has used virtually        people, such as “tranny” or “he/she.”
      the same data collection methods since 2001. The
      1999 survey differed slightly from all subsequent       Our results indicated that although there had been a
      surveys in the comprehensiveness of the survey          general trend that homophobic remarks were on the
      questions and in the methods. Nevertheless, there       decline from 2001 to 2015, the frequency of these
      were two questions — frequency of homophobic            remarks remained consistent from 2015 to 2017.
      remarks and frequency of harassment — that were         However, in 2019, we found that the downward
      equivalent to all subsequent surveys, and the 1999      trend in the frequency of remarks continued, with
      data was included for comparison in the analyses        LGBTQ students reporting a lower frequency of
      of those two variables.                                 homophobic remarks than all prior years.367 As shown
                                                              in Figure 4.1, a little more than half reported hearing
      We examine differences across years in indicators       homophobic remarks frequently in 2019, compared
      of a hostile school climate, such as hearing            to three-quarters of students in 2009 and more than
      homophobic remarks, experiences of harassment           90% in 1999. Use of expressions such as “that’s so
      and assault, and experiences of discriminatory          gay” has remained the most common form of biased
      school policies and practices. We also examine the      language heard by LGBTQ students in school, and
      availability of positive resources for LGBTQ students   had been in consistent decline until 2015, but has
      in their schools such as supportive educators,          been increasing from 2015 to 2019, as also shown
      student-led clubs such as GSAs (Gay-Straight            in Figure 4.1.368 Hearing the expression “no homo”
      Alliances or Gender and Sexuality Alliances),           had consistently been less common than most
      inclusive curricular resources, and comprehensive       other types of LGBTQ-related biased remarks, and
      anti-bullying/harassment policies. In addition, we      the frequency had been on a decline from 2011 to
      examine whether there have been changes over time       2017. However, in 2019, we saw a sizeable increase
      in students’ acceptance of LGBTQ people.                from 2017.369 From open-ended responses from the
                                                              LGBTQ students in our survey, several mentioned that
      Anti-LGBTQ Remarks Over Time                            “no homo” was in common use in their schools, in
                                                              ways similar to how “that’s so gay” has been used.
      Language perpetually evolves, and so is the             For example, one student wrote:
      case with anti-LGBTQ remarks since we began
      conducting the NSCS. To keep current with               “Many people use gay in an insulting way and
      changes in usage, we have modified how we ask           no homo,” and another wrote: “People deny they




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  are homophobic but then use negative terms                        across years between 2003, when we first included
  like no homo or that’s gay.” However, there were                  these items, and 2011. From 2011 to 2013, we
  other students who commented that the use of                      saw a decrease in frequency but then an increase
  the phrase was used more commonly among                           from 2013 to 2015, with no subsequent change
  LGBTQ students in an ironic or humorous way. For                  from 2015 to 2017. However, we saw a decrease
  example, another student commented: “In school                    in frequency from 2017 to 2019 (see Figure
  the use of ‘No Homo’ is said amongst me and my                    4.1).370 With regard to negative remarks about
  friends as a joke, those of us who identify as LGBT               transgender people, we saw a steady incline in the
  see it as a joke only and not a derogatory term,”                 rate of negative remarks about transgender people
  and another commented: “All of us including me                    in schools from 2013, when we first asked this
  use the term no homo as a meme or a joke....”                     question, to 2017, but a decrease from 2017 to
  Both types of use for the expression “no homo,” as                2019.371
  a homophobic or a reclaimed joke among LGBTQ
  friends, might explain the recent steep increase in               Figure 4.2 illustrates the preponderance of students
  use of the phrase in schools.                                     who reportedly use anti-LGBTQ language in school.
                                                                    The percentage of students who reported that
  With regard to hearing negative remarks about                     homophobic remarks were used pervasively by
  gender expression, we had seen few changes                        the student body had been on a decline since the

                                     Figure 4.1 Anti-LGBTQ Language by Students Over Time
             (Percentage of LGBTQ Students Hearing Language Frequently and Often Based on Estimated Marginal Means)

100%


                                                                                                         “That’s So Gay”
80%
                                                                                                         Other Homophobic
60%                                                                                                      Remarks

                                                                                                         Negative Remarks
                                                                                                         about Gender
40%
                                                                                                         Expression
                                                                                                         “No Homo”
20%
                                                                                                             Negative Remarks about
                                                                                                             Transgender People
 0%
       1999      2001    2003      2005    2007    2009    2011    2013    2015    2017   2019


                                 Figure 4.2 Preponderance of Students Using Anti-LGBT Language Over Time
                               (Percentage of LGBTQ Students Reporting that Most of Students Make Remarks,
                                                   Based on Estimated Marginal Means)

       60%




       40%

                                                                                                         Homophobic
                                                                                                         Remarks
       20%                                                                                               Negative Remarks
                                                                                                         about Gender
                                                                                                         Expression


       0%
               2001     2003     2005     2007    2009    2011    2013    2015    2017    2019




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      2001 survey through 2015, but there have been no           and remained at a similar lower level from 2015
      meaningful differences between 2015 and 2019.372           to 2019. With regard to intervention by other
      As also shown in Figure 4.2, the preponderance             students, there has largely been a steady decrease
      of students reportedly making negative remarks             through 2013. The rate of intervention increased
      about gender expression at school has remained             from 2013 to 2015, but has decreased since that
      low, relative to homophobic remarks. However, the          time. The rate of student intervention in 2019 was
      preponderance of students had largely not changed          significantly lower than all prior years.375
      from 2003 to 2015, but decreased slightly from
      2015 to 2017 and again from 2017 to 2019. The              Regarding staff intervention with regard to negative
      preponderance of students making negative remarks          remarks about gender expression, there was little
      about gender expression was lower in 2019 than all         change from 2003 to 2011 (see Figure 4.5).
      years prior.373                                            There was a small decrease in staff intervention
                                                                 from 2011 to 2013, and has largely remained at
      As shown in Figure 4.3, since 2001, the majority           a similar rate in subsequent years. The rates of
      of students have reported that they have heard             staff intervention beginning in 2013 were lower
      anti-LGBTQ remarks from teachers or other staff            than prior years. In 2019, specifically, the rate of
      in their school. We had seen a steady decline in           staff intervention was only greater than 2015. With
      the frequency of staff making homophobic remarks           regard to intervention by other students, we have
      from 2007 to 2013, but no change from 2013                 seen an upward trend in rates of intervention after
      to 2017. However, from 2017 to 2019, we saw a              2013, although the rate in 2019 was somewhat
      significant decrease in the frequency of school staff      lower than in 2017 (see also Figure 4.5).376
      making homophobic remarks.374 With regard to
      hearing negative remarks about gender expression           Taking into account all the results related
      from school staff, there had been a small,                 to anti-LGBTQ remarks in schools, we see a
      downward trend in frequency between 2003 and               complex picture of how anti-LGBTQ remarks
      2013, yet an upward trend from 2013 to 2017.               are contributing to a negative school climate for
      However, the frequency of gender biased remarks            LGBTQ students. Certain types of homophobic
      by school staff in 2019 was lower than 2017, and           remarks, like “fag” or “dyke,” and negative
      unchanged from 2015 (see also Figure 4.3).                 remarks about gender expression show a decline in
                                                                 2019, after no change in 2017. Further, negative
      In our 2001 survey, we began asking students               transgender remarks have decreased from 2017
      how frequently people in their school intervened           to 2019. However, our findings about remarks
      when hearing homophobic remarks. As shown                  such as “that’s so gay” and “no homo” evidence
      in Figure 4.4, the levels of intervention by staff         a concerning upward trend in frequency, and the
      were relatively similar across years between 2001          expression “no homo” shows a startling incline
      and 2013, but declined from 2013 to 2015                   after years of low and declining use. With regard

                                      Figure 4.3 Anti-LGBT Language by School Staff Over Time
                  (Percentage of LGBTQ Students Reporting Ever Hearing Remarks, Based on Estimated Marginal Means)


        80%

                                                                                                       Homophobic
                                                                                                       Remarks
        60%
                                                                                                       Negative Remarks
                                                                                                       about Gender
                                                                                                       Expression
        40%



        20%



         0%
               2001   2003    2005    2007    2009    2011    2013   2015    2017    2019




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to hearing biased remarks from school personnel,                Anti-LGBTQ remarks in school may be increasingly
we see a continued declining trend regarding                    left unaddressed, even though many of these
homophobic remarks, and the frequency was lower                 remarks have become less commonly heard at
in 2019 than all prior years. With hearing gender-              school.
biased remarks from school personnel, although
there was a significant decrease from 2017 to                   Experiences of Harassment and
2019, the frequency in 2019 was still higher than               Assault Over Time
most years prior. Regarding intervention when
hearing anti-LGBTQ remarks in school, by staff                  To gain further understanding of changes in school
or other students, we see little positive change in             climate for LGBTQ students in secondary schools,
recent years. In fact, student intervention when                we examined the incidence of reported anti-LGBTQ
hearing homophobic remarks has continued to                     harassment and assault over time. Beginning with
decline since 2015. It is important to note that                our first survey in 1999, we have assessed the
in these analyses regarding intervention, we took               frequency of experiencing verbal and physical
into account the frequency of remarks heard. Thus,              harassment and physical assault based on sexual
the diminished rate of response is not related to               orientation in school. As shown in Figure 4.6, we
decreases in these remarks occurring in schools.                saw few changes between 1999 and 2007 and

                               Figure 4.4 Intervention Regarding Homophobic Remarks Over Time
                (Percentage of LGBTQ Students Reporting Any Intervention, Based on Estimated Marginal Means)

   70%

   60%
                                                                                                     Intervention by
   50%                                                                                               School Staff

   40%                                                                                               Intervention by
                                                                                                     Other Students
   30%

   20%

   10%

    0%
         2001     2003     2005     2007   2009   2011    2013      2015   2017   2019




                 Figure 4.5 Intervention Regarding Negative Remarks about Gender Expression Over Time
             (Percentage of LGBTQ Students Reporting Any Intervention, Based on Estimated Marginal Means)


   70%

   60%

                                                                                                     Intervention by
   50%
                                                                                                     School Staff
   40%                                                                                               Intervention by
                                                                                                     Other Students
   30%

   20%

   10%

    0%
         2003       2005     2007     2009     2011      2013      2015    2017     2019




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       a significant decline in verbal harassment based                   and assault related to gender expression, as well as
       on sexual orientation from 2007 to 2015, yet no                    other personal characteristics. As shown in Figure
       change between 2015 and 2019. With regard                          4.7, there had been a notable decrease in verbal
       to physical harassment and assault, however, we                    harassment based on gender expression from 2001
       generally saw increases in the frequency of these                  to 2015, but an increase from 2015 to 2017. In
       types of victimization from 1999 to 2007, and                      2019, we saw a decrease in this form of verbal
       decreases starting in 2009 to 2015. In 2019,                       harassment from 2017, but was not different than
       there was a small but significant decrease in the                  2015. With regard to physical harassment and
       frequency of physical harassment from 2015 and                     assault based on gender expression, we mostly saw
       2017, and also a small but significant decrease in                 a small decline from 2007 to 2019. In general,
       the frequency of physical assault from 2017.377                    physical harassment and assault based on gender
                                                                          expression were generally lower in 2019 than all
       In 2001, we began including questions in the                       prior years.378
       National School Climate Survey about harassment


                               Figure 4.6 Frequency of Victimization Based on Sexual Orientation Over Time
                     (Percentage of LGBTQ Students Reporting Event Frequently, Based on Estimated Marginal Means)

      40%



      30%



      20%

                                                                                                                  Verbal Harassment
      10%                                                                                                         Physical Harassment

                                                                                                                  Physical Assault
      0%
             1999    2001    2003      2005    2007    2009    2011    2013     2015   2017     2019



                                Figure 4.7 Frequency of Victimization Based on Gender Expression Over Time
                                    (Percentage of LGBTQ Students Reporting Event Frequently or Often,
                                                    Based on Estimated Marginal Means)

            40%



            30%



            20%

                                                                                                             Verbal Harassment

            10%                                                                                              Physical Harassment

                                                                                                             Physical Assault

            0%
                  2001   2003     2005     2007    2009    2011    2013    2015    2017    2019




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Insight on Racist Remarks and Harassment Over Time
Since 2001, the GLSEN National School Climate Survey has included questions assessing the frequency
of LGBTQ students’ hearing racist remarks in school and their experiences with victimization based on
actual or perceived race/ethnicity. As shown in Part 3 of this report, among LGBTQ students of color
groups, just over a third to nearly half experienced both anti-LGBTQ and racist victimization at school
(see “School Climate and Racial/Ethnic Identity” section). However, we know of no prior research on
differences in LGBTQ students of color’s experiences with racist victimization over time. Therefore, we
examined potential changes from 2001 to the present 2019 survey with regard to LGBTQ students of
color’s experiences with racist events at school. Specifically, we examined whether there were differences
in hearing racist remarks and differences in experiences with racist victimization for all students of color
across survey years.
With regard to hearing racist remarks, we found significant differences among students of color over time. The
figure shows an increasing trend in the frequency of racist remarks starting from 2003. The frequency of racist
remarks was higher in 2019 than all previous years, except there was no difference between 2013 and 2019.1
With regard to racist harassment at school, there were also differences among all students of color over time —
LGBTQ students of color in 2019 were less likely to experience racist harassment than those in all prior years.2
Overall, there was an increase in racist remarks, but a decrease in racist victimization over time for LGBTQ
students of color. Because racist victimization is person-specific, it may be that it is covered under anti-
bullying/harassment policies at their school, whereas racist remarks are not necessarily person-specific.
Thus, school personnel may intervene more often when racist victimization occurs in their presence
because they understand that to be a clear violation of school policy, and in turn, intervention may curtail
future incidents of victimization. Similarly, it is also possible that students understand that bullying,
harassment or assault regarding another student’s race/ethnicity is not acceptable in school, but may
not have the same understanding with regard to racist remarks. Educators, school administrators, and
advocates should make efforts to ensure that all LGBTQ students feel safe and inclusive at their school,
not only based on their LGBTQ identity, but also based on their other identities, including race/ethnicity.
This includes addressing school incidents of racist victimization toward LGBTQ students of color, as well
as racist remarks that LGBTQ students of color are exposed to at their school.

           Hearing Racist Remarks and Experiences of Racist Harassment Among LGBTQ Students of Color Over Time
                                           (based on estimated marginal means)

    100%


                                                                                                                            Hearing Racist
    80%
                                                                                                                            Remarks in the Past
                                                                                                                            Year (Sometimes,
    60%                                                                                                                     Often, Frequently)


    40%                                                                                                                     Any Experiences
                                                                                                                            of Racist Harassment
                                                                                                                            in the Past School Year
    20%


     0%
             2001       2003      2005      2007      2009       2011      2013      2015      2017       2019

1
      To examine differences across years among LGBTQ students of color in the frequency of hearing racist remarks, an analysis of covariance (ANCOVA)
      was performed, with Survey Year as the independent variable, controlling for demographic and method differences across the survey years. The main
      effect for Survey Year was significant: F(9, 25069) = 14.44, p<.001, ηp2 = .01. In examining post-hoc year-by-year comparisons, differences were
      considered at p<.01 (non-significant pairs not listed): 2019>2001 to 2011, 2015, 2017; 2017>2003 to 2011, 2015 <2019; 2015>2003, 2005,
      <2019, 2017; 2013>2003 to 2011; 2011>2003, 2005, < 2013, 2017, 2019; 2009>2003, <2013, 2017, 2019; 2007>2003, 2005, <2013,
      2017, 2019; 2005<2007, 2011 to 2019; 2003<2007 to 2019; 2001<2019. Percentages are shown for illustrative purposes.
2
      Because of methodological changes to the question about race-based harassment, we examined differences in the frequencies of any experiences
      of this type of harassment. To examine differences across years and across racial groups in the frequency of race-based harassment, an analysis of
      covariance (ANCOVA) was performed, with Survey Year as the independent variable, controlling for demographic and method differences across the
      survey years. The main effect for Survey Year was significant: F(9, 24873) = 15.82, p<.001, ηp2 = .01. In examining post-hoc group comparisons,
      differences were considered at p<.01 (non-significant pairs not listed): 2019<all prior years; 2017 and 2015<2001, 2007 to 2011, >2019;
      2013, 2011, 2009, and 2007>2013 to 2019; 2005 and 2003>2019; 2001>2013 to 2019.



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      In 2003, we began asking students about the                     victimization across year, verbal harassment
      frequency of students reporting experiences of                  based on sexual orientation, has not improved in
      victimization to school staff. Across years, as                 recent years. With regard to reporting harassment
      shown in Figure 4.8, we saw that the highest level              and assault, it is hopeful that the higher level of
      of reporting was in 2003 and the lowest levels in               reporting we saw in 2017 remained constant in
      2007 and 2009, Since that time, we saw a small                  2019, but nevertheless has not increased. Further,
      but significant incline in the frequency of reporting           LGBTQ students have continued to see reporting
      up to 2017. The frequency of reporting did not                  victimization to school personnel as less effective
      differ between 2017 and 2019, but LGBTQ                         in recent years. It may be that LGBTQ students
      students in these years were more likely to report              may feel more empowered to report problems,
      victimization to school personnel than all prior                perhaps related to the presence of school policies
      years except for 2003.379                                       on bullying and harassment, but school staff may
                                                                      still be lacking in the professional development
      In 2005, we began asking students how effective                 to adequately address these issues at school.
      their teachers or other school staff were in                    In sum, although we do not see an overall trend
      addressing incidents of harassment and assault                  that schools are becoming appreciably safer for
      when students reported them. Across all years, a                LGBTQ students, we do not see that they have
      minority of students reported that any intervention             become significantly worse. These trends continue
      on the part of school staff was effective—                      to give us concern in light of the high levels of
      generally between 30% and 40% reported that                     victimization that LGBTQ students were reporting
      staff intervention was somewhat or very effective               in their schools in 2019.
      across years (see Figure 4.8). The highest levels of
      effectiveness were reported in 2005 and 2011. In                Experiences of Discrimination Over Time
      2019, the effectiveness of reporting was similar to
      2013, 2015, and 2017, and was somewhat lower                    In addition to hearing anti-LGBTQ remarks in the
      than prior years, specifically 2005, 2009, and                  hallways and directly experiencing victimization
      2011.380                                                        from other students, LGBTQ-related discriminatory
                                                                      policies and practices also contribute to a hostile
      Considering all changes over time with regard                   school experience for LGBTQ students. As
      to victimization, we have seen significant                      mentioned previously in the section “Experiences
      improvements from the first years of our biennial               of Discrimination at School,” we began asking
      survey, but few changes in recent years. There have             students about a number of specific LGBTQ-related
      been some improvements in 2019 — small, but                     discriminatory policies and practices at their school
      significant decreases in most types of victimization            in 2013, and in the following section, we examine
      related to sexual orientation and gender expression.            how these experiences may have changed between
      However, the most commonly reported type of                     2013 and 2019.381

               Figure 4.8 Frequency of Reporting Victimization to School Staff and Effectiveness of Reporting Over Time
                               (Percentage of LGBTQ Students, Based on Estimated Marginal Means)

      50%


      40%


      30%                                                                                                Staff Response was
                                                                                                         Somewhat or Very Effective
      20%                                                                                                Reported Always or
                                                                                                         Most of the Time

      10%


      0%
            2003    2005      2007     2009      2011     2013      2015     2017      2019




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                         Figure 4.9 Frequency of Experiences with Discriminatory Policies and Practices Over Time
                                   (Percentage of LGBTQ Students, Based on Estimated Marginal Means)




Experienced Any Discriminatory Policies
or Practices



Restricting LGBTQ Expression




Disciplined for public affection that is not
disciplined if it does not involve
LGBTQ students


Prevented from discussing or writing about
LGBTQ topics in class assignments/projects



Prevented from attending a school dance with
someone of the same gender (as a date)




Prevented from wearing clothing                                                                                     2013
supporting LGBTQ issues

                                                                                                                    2015
Disciplined at school for identifying as LGBTQ
                                                                                                                    2017



Limited Inclusion in Extracurriculars                                                                               2019




Prevented from forming or promoting a GSA




Enforcing Adherence to Gender Norms




Prevented from using the bathroom or
locker room that aligns with
one’s gender identity


Prevented from wearing clothes deemed
“inappropriate” based on gender



Prevented from using chosen name
or pronouns


                                                 0%       10%          20%         30%          40%         50%       60%        70%




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      Figure 4.9 shows the incidence of having had any             Supportive student clubs. As shown in Figure 4.10,
      experience with anti-LGBTQ discrimination at                 we continue to see a steady, significant increase
      school over the four time points, along with the             from previous years in the percentage of LGBTQ
      incidences for the specific types of discriminatory          students having a GSA at school.384 The percentage
      policies or practices asked across the four surveys.         of students reporting that they had a GSA at school
      Overall, over half of LGBTQ students experienced             has increased from under 40% in 2007 to over
      some type of LGBTQ-related discrimination at                 60% in 2019. The percentage of LGBTQ students
      school at all four time points. This percentage was          who reported having a GSA in their school in 2019
      highest in 2013, and lower in 2019 than 2013                 was significantly higher than all prior years.
      and 2017.382
                                                                   Inclusive curricular resources. Overall, there have
      With regard to the specific forms of discrimination,         been a few positive changes in LGBTQ-related
      the percentages for most forms were highest in               curricular resources over time (see Figure 4.11).
      2013, with a few notable exceptions.383 Overall              With regard to internet access to LGBTQ content
      in 2019, we saw a decline in most other forms                on school computers, we saw a significant increase
      of discrimination from prior years. Two forms of             across years between 2007 and 2019, including
      discrimination that were specific to gender —                an increase from 2017 to 2019. With regard to
      prevented from using facilities that align with one’s        LGBTQ-related books and resources in school
      gender and prevented from using one’s preferred              libraries, we saw a significant increase in 2019;
      name or pronouns — were highest in 2017, but                 the percentage in 2019 was higher than all prior
      decreased from 2017 to 2019. However, the third              years. However, with regard to LGBTQ inclusion
      gender-specific form of discrimination — being               in textbooks and class resources and being taught
      prohibited from wearing clothes of another gender            positive LGBTQ material in class, not only have
      — had not changed between 2013 and 2017, but                 these types of inclusion been the least common
      was lower in 2019 than all prior years.                      overall, they have also remained unchanged in
                                                                   recent years.385 It is interesting to note that there
      LGBTQ-Related Resources Over Time                            has not been much change over the years with
                                                                   regard to LGBTQ students being taught negative
      In 2001, we began asking LGBTQ students in                   LGBTQ-related content in class. Since we first
      the NSCS about the availability of LGBTQ-related             asked this question in 2013, the percentage
      resources in school, such as GSAs (Gay-Straight              increased slightly in 2015, and had not changed
      Alliances or Gender and Sexuality Alliances) and             from 2015 to 2019.386
      curricular resources. In this section, we examine
      the levels of availability of these supportive school
      resources over time.

                                            Figure 4.10 Availability of GSAs Over Time
                     (Percentage of LGBTQ Students Reporting Having GSA in School, Accounting for Covariates)

                     70%

                     60%

                     50%

                     40%

                     30%

                     20%

                     10%

                      0%
                           2001   2003    2005    2007    2009    2011     2013    2015    2017     2019




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  Supportive school personnel. Figure 4.12 shows                 Bullying, harassment, and assault policies. In all
  the percentage of students reporting any supportive            years, as shown in Figure 4.13, the majority of
  educators (from 2001 to 2019) and the percentage               LGBTQ students reported that their schools had
  of students reporting a higher number of supportive            some type of anti-bullying/harassment policy;
  educators (from 2003 to 2019).387 Across the years,            however, the minority of students reported that
  we have seen a positive increasing trend in the                the policy enumerated sexual orientation and/or
  number of supportive educators at school. Regarding            gender identity/expression. Overall, there was a
  the percentage of students who had any supportive              sharp increase in the number of students reporting
  educators at school, 2019 was higher than all prior            any type of policy after 2009, and the rate has
  years. In 2001, approximately 60% of LGBTQ                     remained more or less consistent since 2011.
  students reported having at least one supportive               From 2011 to 2015, there had been consistent yet
  educator, whereas in 2019, nearly all students                 small increases with regard to any type of anti-
  did so. LGBTQ students in 2019 also reported a                 bullying/harassment policy, followed by a small
  significantly higher number of supportive educators            decline from 2015 to 2017, and the rate had not
  than all prior years. As shown in Figure 4.12, the             changed between 2017 and 2019.
  percentage reporting 6 or more supportive educators
  ranged from under 50% in the earlier years of the              With regard to enumerated policies, from 2015 to
  survey compared to nearly 70% in 2019.                         2017 there was a small but significant increase in

                                Figure 4.11 Availability of Curricular Resources Over Time
                 (Percentage of LGBTQ Students Reporting Resource in School, Accounting for Covariates)

 60%

                                                                                                  Positive Inclusion of LGBTQ
 50%                                                                                              Issues in Curriculum
                                                                                                  LGBTQ-Related Content in
 40%
                                                                                                  Textbooks

 30%                                                                                              LGBTQ-Related Content
                                                                                                  Library Materials

 20%                                                                                              Internet Access to LGBTQ
                                                                                                  Resources
 10%

  0%
       2001    2003    2005    2007    2009    2011     2013    2015    2017     2019


                              Figure 4.12 Availability of Supportive School Staff Over Time
          (Percentage of LGBTQ Students Reporting Having Supportive Staff in School, Accounting for Covariates)


100%


80%                                                                                               Any Supportive Teachers/Staff

                                                                                                  Many Supportive Teachers/Staff
60%                                                                                               (6 or more)


40%


20%


 0%
       2001   2003    2005    2007    2009     2011    2013    2015    2017     2019




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      the number of students reporting comprehensive                 Student Acceptance of LGBTQ People
      policies in their schools and the rate has remained            Over Time
      similar between 2017 and 2019. In 2019 and
      2017, the rate of comprehensive policies was                   Previously in this part of the report, we noted
      higher than all prior years. There was also a small            that the frequency of student intervention with
      but significant decrease in the number reporting               regard to homophobic remarks was lowest in 2019
      partially enumerated policies from 2017 to 2019,               than all prior years, and student intervention
      and the rate was lowest in 2019 than all previous              with regard to negative remarks about gender
      years.388 Thus, even though the percentage of                  expression had decreased in 2019. These findings
      LGBTQ students reporting any type of anti-bullying/            raise the question as to whether student attitudes
      harassment policy in their school had not increased            about LGBTQ people have changed, and if so,
      in recent years, we saw an increase in the                     in what ways. However, we also found positive
      percentage of policies that were fully enumerated.             changes in the availability of LGBTQ supports in
                                                                     schools, which we found to be directly related to
      In our 2017 NSCS, we saw that the availability                 a more accepting student body (see the “Utility of
      of many LGBTQ-related resources in schools had                 School-Based Resources and Supports” section
      largely leveled off. In 2019, however, we saw                  of this report). For these reasons, we examined
      increases in most resources. LGBTQ student                     whether student attitudes toward LGBTQ people
      in 2019 were more likely to report having a                    have changed over time, and found that although
      GSA, school personnel who were supportive of                   student acceptance steadily increased from 2011
      LGBTQ students, access to LGBTQ information                    to 2015, it has largely level off since that time (see
      from school libraries and school computers, and                Figure 4.14).389
      comprehensive policies. However, it is important to
      note that curricular inclusion — LGBTQ inclusion               Conclusions
      in textbooks and class resources and being taught
      positive LGBTQ material in class — were not only               Considering all the differences across time —
      the most uncommon of all resources across all                  remarks, victimization, LGBTQ-related supports,
      years of the survey, but their rates of availability           and peer acceptance — we see a complex picture
      had not changed in recent years.                               of how school climate is changing for LGBTQ




                    Figure 4.13 Prevalence of School or District Anti-Bullying/Harassment Policies Over Time
                          (Percentage of LGBTQ Students Reporting Policy, Accounting for Covariates)

      100%



      80%


      60%
                                                                                                        Any Type of Policy

                                                                                                        Partially Enumerated Policy
      40%
                                                                                                        Comprehensive Policy

      20%


       0%
             2003   2005     2007      2009     2011      2013     2015      2017      2019




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students. Certain types of homophobic remarks,              and school computers, and comprehensive anti-
like “fag” or “dyke,” and negative remarks about            bullying and harassment policies. In 2017, in
gender expression showed a decline in 2019, after           contrast, we had seen few positive changes with
no change in 2017. Further, negative transgender            regard to school resources. It may be that the lack
remarks have decreased from 2017 to 2019.                   of change in supports in 2017 is related to few
However, homophobic remarks like “that’s so gay”            changes in negative indicators of school climate
and “no homo” increased in 2019. In addition,               in 2019 — it may take time for school supports
intervention when hearing anti-LGBTQ remarks in             to combat a negative school climate. Although
school, by staff or other students, generally has           we cannot know for sure, given our data each
not changed in recent years, with the exception             year is correlational, our results in future surveys
of student intervention regarding homophobic                may provide further insight. In that we have
remarks, which was lowest in 2019.                          seen increases in school supports in 2019, it is
                                                            possible that LGBTQ students in 2021 will see the
With regard to experiences of harassment and                continued benefits of these resources and have
assault, we again have seen few changes in recent           fewer negative experiences at school related to
years. There have been some improvements in                 their LGBTQ identities.
2019 — small, but significant decreases in most
types of victimization related to sexual orientation        In that LGBTQ student issues have been under
and gender expression. However, the most                    attack in recent years, with the U.S. Department
commonly reported type of victimization across              of Education’s revocation of the Title IX guidance
the years, verbal harassment based on sexual                on transgender students and failure to investigate
orientation, has not improved in recent years. In           complaints of discrimination by LGBTQ students,
sum, although we do not see an overall trend that           the fact that we have seen increases in many
schools have become appreciably safer for LGBTQ             LGBTQ supports in schools and that we have not
students in 2019, we do not see that they have              seen a tremendous worsening of school climate
become significantly worse.                                 may be a testament to the resilience and strength
                                                            of our LGBTQ young people in this country, and
We have seen promising increases in many LGBTQ              to the resourcefulness and dedication of school
supports in school. LGBTQ students in 2019                  personnel for continuing to offer support and
were more likely to report having a GSA, school             resources to create safer and more affirming school
personnel who were supportive of LGBTQ students,            environments for their students.
access to LGBTQ information from school libraries

                           Figure 4.14 Perceptions of Peer Acceptance of LGBTQ People Over Time
                         (Percentage of LGBTQ Students Reporing Somewhat or Very Accepting Peers,
                                                 Accounting for Covariates)

            60%




            40%




            20%




             0%
                  2009           2011            2013            2015            2017               2019




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DISCUSSION




                                             Student organizers gathered at GLSEN’s
                                             2007 Summer Start week of training.



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Limitations                                            lower, and LGBQ White students was higher than
                                                       compared to LGBQ secondary school students
Although there are no national population              from other population-based data.392 In part, this
parameters regarding LGBTQ youth, we believe           discrepancy may be related to different methods
that the methods used for our survey resulted in a     for measuring race/ethnicity. In our survey,
nationally representative sample of LGBTQ students     students were asked one question about their race/
who identify as lesbian, gay, bisexual, transgender,   ethnicity, and could choose multiple options.393 In
or queer (or another non-heterosexual sexual           contrast, national youth surveys often include two
orientation and/or non-cisgender gender identity)      questions — one about whether the respondent
and who were able to find out about the survey in      identifies as Hispanic/Latinx, and the other about
some way, either through a connection to LGBTQ         their race.394 This difference in methodology may
or youth-serving organizations that publicized the     also impact how students choose to identify in
survey, or through social media. As discussed in       the survey, and thus may account for some of the
the “Methods and Sample” section, we conducted         discrepancy in racial/ethnic representation between
targeted advertising on the social media sites         our LGBQ sample and LGBQ secondary students
Facebook, Instagram, and Snapchat in order to          from other population-based data. Nevertheless,
broaden our reach and obtain a more representative     it is possible that LGBQ African American/Black
sample. Advertising on these sites allowed             students and LGBQ Hispanic/Latinx students
LGBTQ students who did not necessarily have            were underrepresented, and LGBQ White students
any formal connection to the LGBTQ community           were overrepresented in our sample. Additionally,
to participate in the survey. However, the social      because there are no national statistics on the
media advertisements for the survey were sent only     demographic breakdown of transgender-identified
to youth who visited pages that included LGBTQ         youth, we cannot know how our transgender sample
content.390 LGBTQ youth who were not comfortable       compares to other population-based studies.
viewing pages with LGBTQ content would not have
received the advertisement about the survey. Thus,     Our sample, like other national samples of LGBTQ
LGBTQ youth who are perhaps the most isolated —        youth, included a small percentage of cisgender
those without a formal connection to the LGBTQ         males who identified as gay, bisexual, or queer. It
community or without access to online resources        may be that these youth are less likely to be out in
and supports, and those who are not comfortable        middle school or high school, and would be less
viewing LGBTQ content on social media — may be         likely to learn about the survey or feel comfortable
underrepresented in the survey sample.                 taking a survey specifically for LGBTQ students.
                                                       Additionally, our sample had a small percentage of
The sample also did not include students who have      transgender female students. In that our sample
a sexual attraction to the same gender or multiple     only includes students who had been in school
genders, but who do not identify themselves as         during the 2018–2019 school year, it is possible
LGBQ.391 These youth may be more isolated,             that transgender girls leave school at higher rates
unaware of supports available to them, or, even        than do transgender boys, thereby leading to fewer
if aware, uncomfortable using such supports.           transgender girls eligible to take our survey. It
Similarly, youth whose gender identity is not the      is also possible that transgender boys come out
same as their sex assigned at birth, but who do        earlier than do transgender girls, which would lead
not identify as transgender, may also be more          to lower numbers of transgender female secondary
isolated and without the same access to resources      school students.
as the youth in our survey. The survey was primarily
advertised as being for LGBTQ students, so non-        Given that our survey is available only in English
heterosexual students and non-cisgender students       and Spanish, LGBTQ students who are not
who did not identify as LGBTQ may be less likely       proficient in either of those languages might be
to participate in the survey, even though they were    limited in their ability to participate. Thus, these
included in the survey sample.                         students may also be underrepresented in our
                                                       survey sample.
Another possible limitation to the survey is related
to the sample’s racial/ethnic composition — the        It is also important to note that our survey only
percentage of LGBQ African American/Black              reflects the experiences of LGBTQ students who
students and LGBQ Hispanic/Latinx students were        were in school during the 2018–2019 school year.



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      Although our sample does allow for students who          harassment, cyberbullying, and deliberate property
      had left school at some point during the 2018–           damage at school.
      2019 school year to participate, it still does not
      reflect the experiences of LGBTQ youth who may           In addition to anti-LGBTQ behavior by peers, be it
      have already dropped out in prior school years. The      biased language in the hallways or direct personal
      experiences of these youth may likely differ from        victimization, the majority of LGBTQ students also
      those students who remained in school, particularly      faced anti-LGBTQ discriminatory school policies
      with regard to hostile school climate, access to         and practices. Schools prohibited LGBTQ students
      supportive resources, severity of school discipline,     from expressing themselves through their clothing
      and educational aspirations.                             or their relationships, limited LGBTQ inclusion
                                                               in curricular and extracurricular activities, and
      Lastly, the data from our survey are cross-sectional     enforced other policies that negatively affected
      (i.e., the data were collected at one point in time),    transgender and nonbinary students in particular,
      which means that we cannot determine causality.          such as preventing use of their chosen name or
      For example, although we can say that there was          pronoun.
      a relationship between the number of supportive
      staff and students’ academic achievement, we             LGBTQ students are a diverse population, and
      cannot say that one predicts the other.                  the results from our 2019 survey reveal important
                                                               differences among these students. Transgender
      While considering these limitations, our attempts        and nonbinary students in particular were more
      at diverse recruitment of a hard-to-reach population     likely to have felt unsafe and face anti-LGBTQ
      have yielded a sample of LGBTQ students that we          victimization at school than their cisgender LGBQ
      believe most likely closely reflects the population of   peers. Similarly, pansexual students were more
      LGBTQ middle and high school students in the U.S.        likely to feel unsafe and experienced greater levels
                                                               of anti-LGBTQ victimization than their LGBTQ
      Conclusion and Recommendations                           peers with other sexual orientations. Furthermore,
                                                               we found that LGBTQ students of color (including
      The 2019 National School Climate Survey continues        Black, AAPI, Latinx, Native and Indigenous,
      to provide evidence that schools are often unsafe        MENA, and multiracial LGBTQ students)
      learning environments for LGBTQ students. Hearing        commonly experienced both racist and anti-LGBTQ
      biased or derogatory language at school, especially      victimization at school, and were more likely to
      sexist remarks, homophobic remarks, and negative         experience multiple forms of victimization than
      remarks about gender expression, was a common            White LGBTQ students.
      occurrence. However, teachers and other school
      authorities did not often intervene when anti-           Results from our survey also demonstrate
      LGBTQ remarks were made in their presence, and           the serious consequences that anti-LGBTQ
      students’ use of such language remained largely          victimization and discrimination can have
      unchallenged. Almost 8 in 10 students in our survey      on LGBTQ students’ academic success and
      reported feeling unsafe at school because of at least    their general well-being. LGBTQ students who
      one personal characteristic, with sexual orientation     experienced frequent harassment and assault
      and gender expression being the most commonly            based on their sexual orientation or gender
      reported characteristics. Students also frequently       expression reported missing more days of school,
      reported avoiding spaces in their schools that they      having lower GPAs, lower educational aspirations,
      perceived as being unsafe, especially bathrooms,         and higher rates of school discipline than students
      locker rooms, and physical education (P.E.) or gym       who were harassed less often. In addition, students
      classes. More than two-thirds of LGBTQ students          who experienced higher levels of victimization
      reported that they had been verbally harassed            felt less connected to their school community
      at school based on their sexual orientation, and         and had poorer psychological well-being. LGBTQ
      nearly 6 in 10 students had been harassed based          students who reported experiencing anti-LGBTQ
      on their gender expression. In addition, many            discrimination at school also had worse educational
      students reported experiencing incidents of              outcomes, including missing more days of school,
      physical harassment and assault related to their         lower GPAs, and lower educational aspirations,
      sexual orientation or gender expression, as well         and were more likely to be disciplined at school,
      as other incidents of victimization such as sexual       than students who did not experience anti-LGBTQ




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discrimination. Furthermore, students who               “I sincerely hope that queer
experienced anti-LGBTQ discrimination also felt
less connected to their school community and had        kids in future generations
poorer psychological well-being.                        do not have to go through
Although our results suggest that school climate        what I have been through
remains unsafe and hostile environments for
many LGBTQ students, they also call attention           and will most likely
to the important role that institutional supports
and resources have in making schools safer and
                                                        continue to suffer through.”
promoting better educational outcomes and
healthy youth development for these students.           Our findings indicate that Gay-Straight Alliances/
Our findings demonstrate the important role that        Gender and Sexuality Alliances (GSAs) and
supportive school staff play in creating safer          similar clubs also play a key role in improving
and more affirming learning environments for            school climate for LGBTQ students. Students
LGBTQ students. Supportive educators positively         who attended schools with a GSA or similar club
influenced students’ academic performance,              were less likely to feel unsafe at school and miss
educational aspirations, feelings of safety, school     school for safety reasons, heard fewer anti-LGBTQ
absenteeism (missing fewer days of school),             remarks at school, reported more frequent staff and
psychological well-being, and connection to             peer intervention regarding anti-LGBTQ remarks,
their school community. Furthermore, when staff         and experienced less anti-LGBTQ victimization.
responded effectively to incidents of victimization,    Thus, GSAs may demonstrate to the whole school
LGBTQ students reported less anti-LGBTQ                 community that anti-LGBTQ behaviors should not
victimization than LGBTQ students in schools            be tolerated, and that they must be addressed
where staff responded ineffectively.                    when they do occur. Students who had a GSA at
                                                        school also reported that their peers were more
In addition to their role in providing direct support   accepting of LGBTQ people in general, indicating
and in intervening when anti-LGBTQ events occur         that GSAs may provide awareness to the student
at school, educators also serve a crucial role          community of LGBTQ student issues. Furthermore,
in teaching a curriculum that includes positive         having a GSA at school was also associated with a
representations of LGBTQ people, history, and           greater sense of belonging to the school community
events. By teaching about LGBTQ topics in a             and greater psychological well-being among LGBTQ
positive manner, educators may enhance the              students, perhaps as a result of the overall positive
connections of their LGBTQ students to the school       impact of GSAs on the school environment.
environment and to learning, in general. Students
in schools where their classroom included positive      With regard to school policies, our findings
representations of LGBTQ history, people, or            indicate important benefits associated with both
events had better educational outcomes, were            comprehensive anti-bullying/harassment policies, as
more comfortable engaging in conversations              well as policies affirming the rights of transgender
about LGBTQ issues with their teachers, and had         and nonbinary students. LGBTQ students with
a greater connection to their school community.         comprehensive anti-bullying/harassment policies
Furthermore, by teaching positive LGBTQ-related         that included protections for sexual orientation and
content in class, educators may also increase           gender identity/expression reported hearing less
the knowledge, awareness, and acceptance of             anti-LGBTQ language and reported lower levels of
LGBTQ people for all students in school. LGBTQ          anti-LGBTQ victimization. Such policies may provide
students who reported positive curricular inclusion     guidance for educators that these anti-LGBTQ
were less likely to feel unsafe and miss school for     behaviors must be addressed, as well as guidance
safety reasons, and reported less hostile behavior      on appropriate strategies for intervention. Our results
from peers (i.e., less anti-LGBTQ language and          indicate that LGBTQ students with comprehensive
victimization). Students with positive curricular       policies reported that staff were more likely to
inclusion also reported that their peers were more      intervene regarding biased remarks, and were
likely to intervene regarding anti-LGBTQ biased         more effective in their responses to harassment
remarks, and were more accepting of LGBTQ               and assault. We also found that LGBTQ students
people in general.                                      in schools with this type of policy were more likely



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      “It’s awful, and there needs to be some country-wide
      regulations to stop harassment, bullying, and etc. idk
      something! I have friends who are hurting much worse
      than me — and my heart is in constant pain for them.”
      to report incidents of harassment and assault to        positive learning environments for LGBTQ students
      school personnel, indicating that these policies may    everywhere—environments in which students can
      also provide important instruction for students on      be successful in learning, graduate, and even
      reporting. In addition, comprehensive policies may      continue on to further education.
      send a message to LGBTQ students that they are
      valued by the school community. Similarly, policies     The findings in this report also highlight some
      affirming transgender and nonbinary students’ rights    gains toward safe and inclusive schools for LGBTQ
      appear to improve school climate, particularly for      secondary school students since our last report.
      transgender and nonbinary students. Transgender         Certain types of homophobic remarks, such as
      and nonbinary students with such policies or            “fag” or “dyke,” and negative remarks about
      guidelines were less likely to miss school because      gender expression have declined in 2019, after
      of feeling unsafe, felt a greater sense of belonging    no change between 2015 and 2017. Further,
      to their school community, and were less likely to      negative remarks about transgender people
      experience gender-related discrimination.               decreased from 2017 to 2019. Our findings also
                                                              indicate a sharp increase in students hearing the
      Unfortunately, each of the LGBTQ-related resources      phrase “no homo.” However, this upward trend in
      and supports that we examined were not available        frequency may be due in part to LGBTQ students
      to all LGBTQ students. GSAs were somewhat more          reclaiming this phrase, and thus the degree to
      common than other resources, although over a            which LGBTQ students consider this language
      third of students did not have such a club at their     negative or derogatory is unclear. With regard to
      school. Most students could not identify a large        personal experiences of harassment and assault,
      number of school staff (11 or more) who were            we have seen few changes in recent years. There
      supportive of LGBTQ students, and a small number        have been small but significant decreases in most
      were unable to identify any supportive staff.           types of anti-LGBTQ victimization. However, verbal
      Furthermore, many LGBTQ students lacked access          harassment based on sexual orientation has not
      to positive LGBTQ information from school libraries     improved in recent years. We have also failed to
      and school computers, and few LGBTQ students            see gains in intervention regarding anti-LGBTQ
      reported being taught LGBTQ information in class        incidents. Rates of staff and student intervention
      or having this material in their textbooks and other    regarding anti-LGBTQ remarks did not improve
      class readings. With regard to supportive school        much in 2019. In fact, student intervention when
      policies, although a majority of students said          hearing homophobic remarks has continued to
      that their school had some type of harassment/          decline since 2015. Further, the level of reporting
      assault policy, few said that it was a comprehensive    harassment and assault to staff in 2019 was not
      policy that explicitly stated protections based on      different from 2017, and students have continued
      sexual orientation and gender identity/expression,      to see staff responses to victimization as less
      and only a tenth reported that they had official        effective in recent years. We also continue to find
      policies or guidelines to support transgender           that the majority of LGBTQ students experience
      and nonbinary students at their schools. Finally,       some type of LGBTQ-related discriminatory policies
      although all LGBTQ students commonly lacked             and practices at school. However, there was an
      access to supportive resources at school, those         overall decline in most forms of anti-LGBTQ
      in middle schools, religiously-affiliated private       discrimination from prior years. Although there is
      schools, schools in rural areas, and schools in the     an overall pattern that schools may be becoming
      South and Midwest, were all less likely than others     appreciably safer for LGBTQ students, the trends
      to report having these resources. These findings        we observed are not consistent and should remain
      underscore the importance of advocating for GSAs,       a concern in light of the high levels of victimization
      supportive staff, inclusive curricular resources, and   that LGBTQ students continued to report in 2019.
      supportive school policies in all schools to ensure




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There have been promising increases in the            across the country. There are steps that concerned
availability of LGBTQ-related positive supports in    stakeholders can take to remedy the situation.
schools. Compared to prior years, LGBTQ students      Results from the 2019 National School Climate
in 2019 reported more GSAs in schools, school         Survey demonstrate the ways in which the presence
personnel who were supportive of LGBTQ students,      of supportive student clubs, supportive educators,
access to LGBTQ information from school libraries     inclusive and supportive policies, and other school-
and school computers, and comprehensive anti-         based resources and supports can positively affect
bullying and harassment policies. Although we saw     LGBTQ students’ school experiences. Therefore, we
increases in internet access to LGBTQ content on      recommend the following measures:
school computers and LGBTQ-related books and
resources in school libraries, we have not seen         • Support student clubs, such as Gay-Straight
much change regarding the number of students              Alliances or Gender and Sexuality Alliances
being taught positive LGBTQ material in class, or         (GSAs), that provide support for LGBTQ
with LGBTQ-related content in textbooks and class         students and address LGBTQ issues in
resources. Further, these two aspects of curricular       education;
inclusion remain the least common of all school
resources, as in all previous years.                    • Provide training for school staff to improve
                                                          rates of intervention and increase the number
It is also important to note that we observed few         of supportive teachers and other staff available
positive changes with regard to school resources          to students;
in our 2017 report. This lack of improvement in
school supports observed in 2017 may be related         • Increase student access to appropriate and
to the few improvements in negative indicators            accurate information regarding LGBTQ people,
of school climate observed in 2019. It may take           history, and events through inclusive curricula
time for school supports to have a demonstrable,          and library and Internet resources;
positive effect on school climate. In that we have
seen increases in certain school supports in 2019,      • Ensure that school policies and practices, such
it is possible that LGBTQ students will see the           as those related to dress codes and school
continued benefits of these resources and have            dances, do not discriminate against LGBTQ
fewer negative experiences at school related to           students;
their LGBTQ identities in our next national survey
of LGBTQ students.                                      • Enact and implement policies and practices
                                                          to ensure transgender and nonbinary students
LGBTQ student issues have been under attack in            have equal access to education, such as having
recent years, including the U.S. Department of            access to gendered facilities that correspond to
Education’s revocation of the Title IX guidance on        their gender; and
transgender students and failure to investigate
complaints of discrimination by LGBTQ students.         • Adopt and implement comprehensive school
Yet, we have not seen a parallel increase in many         and district anti-bullying/harassment policies
hostile school experiences in 2019. Further,              that specifically enumerate sexual orientation,
we have seen greater access to certain LGBTQ-             gender identity, and gender expression as
related supports and resources in schools. This           protected categories alongside others such as
continued progress may be a testament to the              race, religion, and disability, with clear and
many school personnel who continue to offer               effective systems for reporting and addressing
support and resources aimed at creating safer and         incidents that students experience.
more affirming school environments for LGBTQ
students. Nevertheless, hostile political and         Instituting these measures can move us towards a
legislative government actions underscore the         future in which all students have the opportunity to
continued urgent need for action to create safer      learn and succeed in school, regardless of sexual
and more inclusive schools for LGBTQ students         orientation, gender identity, or gender expression.




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                                                                                   www.cdc.gov/mmwr/volumes/67/ss/ss6708a1.htm
7    Arizona Department of Education. (2019, April 11).
                                                                              17   Johns, M. M., Lowry, R., Andrzejewski, J., Barrios, L. C., Demissie,
     Superintendent Hoffman Celebrates Repeal of Anti-LGBTQ
                                                                                   Z., McManus, T., Rasberry, C. N., Robin, L., & Underwood, J. M.
     Curriculum Law [Press release]. https://www.azed.gov/
                                                                                   Transgender Identity and Experiences of Violence Victimization,
     communications/2019/04/11/superintendent-hoffman-celebrates-
                                                                                   Substance Use, Suicide Risk, and Sexual Risk Behaviors Among
     repeal-of-anti-lgbtq-curriculum-law/
                                                                                   High School Students — 19 States and Large Urban School
8    GLSEN. (2018). Laws Prohibiting “Promotion of Homosexuality”                  Districts, 2017. MMWR Morb Mortal Wkly Rep 2019;68:67–71.
     in Schools: Impacts and Implications (Research Brief). New York:              DOI: http://dx.doi.org/10.15585/mmwr.mm6803a3external icon.
     GLSEN.
                                                                              18   The Trevor Project. (2019). National Survey on LGBTQ Mental
9    ACLU (2020, March 20). Legislation affecting LGBT rights across               Health. New York, New York: The Trevor Project. Available at:
     the country. https://www.aclu.org/legislation-affecting-lgbt-rights-          https://www.thetrevorproject.org/survey-2019.
     across-country
                                                                              19   U.S. Department of Education, National Center for Education
10   Lewis, D. C., Flores, A. R., & Haider-Markel, D. P. (2017).                   Statistics, Common Core of Data (CCD), “State Nonfiscal Survey
     Degrees of acceptance: Variation in public attitudes toward                   of Public Elementary/Secondary Education,” 1990-91 through
     segments of the LGBT community. Political Research                            2015-16; and State Public Elementary and Secondary Enrollment
     Quarterly, (70)4, 861-875. https://journals.sagepub.com/doi/                  Projection Model, 1980 through 2027. https://nces.ed.gov/
     abs/10.1177/1065912917717352                                                  programs/digest/d17/tables/dt17_203.30.asp
11   Bernstein, J. (2014, March 12). In their own terms. The New York         20   To test if the regional representation of our sample differed from
     Times. https://www.nytimes.com/2014/03/13/fashion/the-growing-                national public school enrollment, a one-sample chi-square test
     transgender-presence-in-pop-culture.html                                      was conducted comparing our observed population numbers by
                                                                                   region to expected population numbers based on national projected
     Wolfe, E. & Ries, B. (2019, November 16). There are more LGBTQ
                                                                                   enrollment for fall 2018 from the National Center for Education
     characters on television than ever before. CNN. https://www.cnn.
                                                                                   Statistics. The test was significant: χ2 = 790.18, df = 3, p<.001.
     com/2019/11/16/entertainment/lgbtq-tv-representation-numbers-
     trnd/index.html                                                          21   Sexual orientation was assessed with a multi-check item (i.e.,
                                                                                   gay, lesbian, straight/heterosexual, bisexual, pansexual, queer,
12   Burns, K. (2019, December 27) The internet made trans people
                                                                                   and questioning) with an optional write-in item for sexual
     visible. It also left them more vulnerable. Vox. https://www.vox.
                                                                                   orientations not listed. Youth were allowed to endorse multiple
     com/identities/2019/12/27/21028342/trans-visibility-backlash-
                                                                                   options. Mutually exclusive categories were created at the data
     internet-2010
                                                                                   cleaning stage so that analyses could compare youth across sexual
     Faye, S. (2018, March 30). Trans visibility is greater than ever              orientation categories using the following hierarchy: gay/lesbian,
     - but that’s a double-edged sword. The Guardian. https://www.                 bisexual, pansexual, queer, questioning, and straight/heterosexual.
     theguardian.com/commentisfree/2018/mar/30/transgender-                        Thus, as an example, if an individual identified as “gay” and
     acceptance-media-international-day-visibility                                 “queer” they were categorized as “gay/lesbian”; if an individual
                                                                                   identified as “bisexual” and “questioning,” they were categorized
13   Burns, K. (2019, September 5). The rise of anti-trans
                                                                                   as “bisexual.”
     “radical” feminists, explained. Vox. https://www.vox.com/
     identities/2019/9/5/20840101/terfs-radical-feminists-gender-critical     22   Pansexual identity is commonly defined as experiencing attraction
                                                                                   to some people, regardless of their gender identity. This identity
     Haynes, S. (2019, October 25). A study analyzed 10 million online
                                                                                   may be distinct from a Bisexual identity, which is commonly
     posts over 3.5 years. It found a torrent od transphobic abuse. Time.
                                                                                   described as either experiencing attraction to some male-identified
     https://time.com/5710466/transphobic-abuse-online-study/
                                                                                   people and some female-identified people or as experiencing
14   Birnkrant, J. M. & Przeworski, A. (2017). Communication, advocacy,            attraction to some people of the same gender and some people of
     and acceptance among support-seeking parents of transgender                   different genders.
     youth. Journal of Gay & Lesbian Mental Health, 21(2), 132-153.
                                                                              23   Students who indicated that they were asexual and another
     Durwood, L., McLaughlin, K. A., & Olsen, K. R. (2017). Mental                 sexual orientation were categorized as another sexual orientation.
     health and self-worth in socially transitioned transgender youth.             Additionally, students who indicated that their only sexual
     Journal of the American Academy of Child & Adolescent Psychiatry,             orientation was asexual and also indicated that they were cisgender




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           were not included in the final study sample. Therefore, all                     and pattern-centered approaches. Journal of Social Issues, 62(1),
           students included in the Asexual category also are not cisgender                125-155.
           (i.e., are transgender, genderqueer, another nonbinary identity, or
                                                                                           Toomey, R. B., & Russell, S. T. (2012). An initial investigation of
           questioning their gender).
                                                                                           sexual minority youth involvement in school-based extracurricular
      24   Race/ethnicity was assessed with a single multi-check question                  activities. Journal of Research on Adolescence, 23(2), 304-318.
           item (i.e., African American or Black; Asian or South Asian; Native
                                                                                      31   Mean differences in the frequencies across types of biased remarks
           Hawaiian or other Pacific Islander; Native American, American
                                                                                           were examined using a repeated measures multivariate analysis
           Indian, or Alaska Native; White or Caucasian; Hispanic or Latino/
                                                                                           of variance (MANOVA), and percentages are shown for illustrative
           Latina/Latinx; and Arab American, Middle Eastern, or North
                                                                                           purposes. The multivariate effect was significant. Pillai’s Trace =
           African) with an optional write-in item for race/ethnicities not listed.
                                                                                           .36, F(4, 16650) = 2343.87, p<.001. Differences were significant
           Participants who selected more than one race category were coded
                                                                                           for all remarks. Hearing “gay” used in a negative way was higher
           as multiracial, with the exception of participants who selected
                                                                                           than all others. Hearing “no homo” was lower than “gay” used
           either “Hispanic or Latino/Latina/Latinx” or “Arab American, Middle
                                                                                           in a negative way, but higher than other homophobic remarks,
           Eastern, or North African” as their ethnicity. Participants who
                                                                                           negative remarks about gender expression and negative remarks
           selected either one ethnicity were coded as that ethnicity, regardless
                                                                                           about transgender people. Hearing other homophobic remarks was
           of any additional racial identities they selected. Participants who
                                                                                           lower than “gay” used in a negative way and other homophobic
           selected both ethnicities were coded as multiracial.
                                                                                           remarks, but higher than negative remarks about gender expression
      25   Latinx is a variant of the masculine “Latino” and feminine                      and negative remarks about transgender people. Hearing gender
           “Latina” that leaves gender unspecified and, therefore, aims to be              expression used in a negative way was higher than negative remarks
           more inclusive of diverse gender identities, including nonbinary                about transgender people, but lower than “gay” used in a negative
           individuals. To learn more: https://www.meriam-webster.com/words-               way, “no homo,” and other homophobic remarks. Hearing negative
           at-play/word-history-latinx                                                     remarks about transgender people was lower than all others.
      26   Gender was assessed via two items: an item assessing sex assigned          32   Mean differences in the frequencies between types of biased
           at birth (i.e., male or female) and an item assessing gender                    remarks based on gender expression were examined using a paired
           identity (i.e., cisgender, transgender, nonbinary, genderqueer,                 samples t-test. The difference was significant, t(16683) = 51.84,
           male, female, questioning, and an additional write-in option).                  p<.001, Cohen’s d = .40.
           Based on responses to these two items, students’ gender was
                                                                                      33   Mean differences in the frequencies of intervention regarding
           categorized for these analyses as: Cisgender (including cisgender
                                                                                           homophobic remarks and gender expression remarks by school
           male, cisgender female, cisgender nonbinary/genderqueer, or
                                                                                           staff and by students were examined using paired samples t-tests
           unspecified male or female), Transgender (including transgender
                                                                                           and percentages given for illustrative purposes. The differences
           male, transgender female, transgender nonbinary/genderqueer, and
                                                                                           were significant at p<.001 – staff intervention: t(10722) = -25.12;
           transgender only), Nonbinary/Genderqueer (including nonbinary,
                                                                                           student intervention: t(15246) = 22.22, Cohen’s d = .18.
           genderqueer, nonbinary/genderqueer male, nonbinary/genderqueer
           female, or another nonbinary identity (i.e., those who who wrote in        34   Burns, K. (December 27, 2019). The internet made trans people
           identities such as “genderfluid,” “agender” or “demigender”) and                visible. It also left them more vulnerable. Vox. https://www.vox.
           Questioning. Students in the “nonbinary/genderqueer” group did                  com/identities/2019/12/27/21028342/trans-visibility-backlash-
           not also identify as “transgender.”                                             internet-2010
      27   Receiving educational accommodations was assessed with a                        Faye, S. (March 30, 2018). Trans visibility is greater than ever
           question that asked students if they received any educational                   – but that’s a double-edged sword. The Guardian. https://www.
           support services at school, including special education classes,                theguardian.com/commentisfree/2018/mar/30/transgender-
           extra time on tests, resource classes, or other accommodations.                 acceptance-media-international-day-visibility
      28   Students were placed into region based on the state they were                   Jaschik, S. (October 22, 2018). Trump may eliminate trans
           from – Northeast: Connecticut, Delaware, Maine, Maryland,                       rights. Inside Higher Ed. https://www.insidehighered.com/
           Massachusetts, New Hampshire, New Jersey, New York,                             news/2018/10/22/trump-administration-considers-plan-end-legal-
           Pennsylvania, Rhode Island, Vermont, Washington, DC; South:                     status-transgender-students
           Alabama, Arkansas, Florida, Georgia, Kentucky, Louisiana,
                                                                                      35   Mean differences in the frequencies between homophobic remarks
           Mississippi, North Carolina, Oklahoma, South Carolina, Tennessee,
                                                                                           and gender expression remarks made by school staff were examined
           Texas, Virginia, West Virginia; Midwest: Illinois, Indiana, Iowa,
                                                                                           using a paired samples t-test. The difference was significant,
           Kansas, Michigan, Minnesota, Missouri, Nebraska, North Dakota,
                                                                                           t(15289) = 50.67, p<.001.
           Ohio, South Dakota, Wisconsin; West: Alaska, Arizona, California,
           Colorado, Hawaii, Idaho, Montana, Nevada, New Mexico, Oregon,              36   Mean differences in the frequencies across types of biased remarks
           Utah, Washington, Wyoming; U.S. Territories: American Samoa,                    were examined using a repeated measures multivariate analysis
           Guam, Northern Mariana Islands, Puerto Rico, U.S. Virgin Islands.               of variance (MANOVA), and percentages are shown for illustrative
                                                                                           purposes. The multivariate effect was significant. Pillai’s Trace
      29   Because of the large sample size and the multiple analyses
                                                                                           = .77, F(10, 16597) = 5420.92, p<.001. Differences were
           conducted for this report, we use the more restrictive p<.01 in
                                                                                           significant for all remarks, anti-LGBTQ and other remarks. Hearing
           determinations of statistical significance for our analyses, unless
                                                                                           sexist remarks was higher than all others. Hearing “gay” used in
           otherwise indicated. To examine mean differences in feelings of
                                                                                           a negative way was lower than hearing sexist remarks, but higher
           unsafety a repeated measures multivariate analysis of variance
                                                                                           than all other remarks. Hearing negative remarks about ability was
           (MANOVA) was conducted among the following “feeling unsafe
                                                                                           lower than hearing sexist remarks, and “gay” used in a negative
           because of…” variables: sexual orientation, gender expression,
                                                                                           way, but higher than all other remarks. Hearing the phrase “no
           body size or weight, gender, disability, academic ability, family
                                                                                           homo” was lower than hearing sexist remarks, “gay” used in a
           income, religion, race or ethnicity, how well one speaks English,
                                                                                           negative way, and negative remarks about ability, but was higher
           citizenship status. The multivariate effect was significant, Pillai’s
                                                                                           than all other remarks, Hearing negative remarks about body size/
           Trace = .807, F(12, 16556) = 5768.36, p<.001, ηp2 = .81.
                                                                                           weight was lower than hearing sexist remarks, “gay” used in a
           Pairwise comparisons were considered at p<.01. All variables
                                                                                           negative way, negative remarks about ability, and “no homo,”
           were significantly different with the following exception: English
                                                                                           but higher than all other remarks. Hearing racist remarks was
           proficiency was not different from citizenship status.
                                                                                           lower than hearing sexist remarks, “gay” used in a negative way,
      30   Darling, N., Caldwell, L. L., & Smith, R. (2005). Participation in              negative remarks about ability, “no homo,” and negative remarks
           school-based extracurricular activities and adolescent adjustment.              about body size/weight, but higher than all other remarks. Hearing
           Journal of Leisure Research, 37(1), 51-76.                                      other homophobic remarks was higher than hearing negative
                                                                                           remarks about gender expression, transgender people, religion,
           Fredericks, J. A., & Eccles, J. S. (2006). Is extracurricular
                                                                                           and immigration status, but lower than all other remarks. Hearing
           participation associated with beneficial outcomes? Concurrent and
                                                                                           negative remarks about gender expression was higher than negative
           longitudinal relations. Developmental Psychology, 42(4), 698-713.
                                                                                           remarks about transgender people, religion, and immigration status,
           Peck, S. C., Roeser, R. W., Zarrett, N., & Eccles, J. S. (2008).                but lower than all other remarks. Hearing negative remarks about
           Exploring the roles of extracurricular activity quantity and quality            transgender people was higher than hearing negative remarks about
           in the educational resilience of vulnerable adolescents: Variable               religion and immigration status, but lower than all other remarks.




152   EXHIBIT D                                                                                                           182
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     Hearing negative remarks about religion was higher than hearing             gender expression) as dependent variables. The independent
     negative remarks about immigration status, but lower than all other         variable was dichotomous, where 1 = “not that serious” and “0”
     remarks. Hearing negative remarks about immigration status was              indicated that students had not cited this reason for not reporting
     lower than all other remarks.                                               victimization to school staff. Multivariate results were significant:
                                                                                 Pillai’s Trace = .05, F(3, 9937) = 165.92, p<.001. Univariate
37   Mean differences in the frequencies of verbal harassment based on
                                                                                 effects for all three types of anti-LGBTQ victimization were
     sexual orientation, gender, and gender expression were examined
                                                                                 significant. Victimization based on sexual orientation: F(1, 9939)
     using repeated measures multiple analysis of variance (MANOVA):
                                                                                 = 453.23, p<.001, ηp2 = .04; Victimization based on gender:
     Pillai’s Trace = .05, F(2, 16482) = 391.81, p<.001, ηp2 = .05.
                                                                                 F(1, 9939) = 318.38, p<.001, ηp2 = .03; Victimization based
     Univariate effects were considered at p<.01. Students experienced
                                                                                 on gender expression: F(1, 9939) = 366.63, p<.001, ηp2 = .04.
     verbal harassment based on sexual orientation more commonly
                                                                                 Students who said that they did not report victimization because
     than gender expression or gender; students experienced verbal
                                                                                 it was not that serious had lower levels of victimization based on
     harassment based on gender expression more commonly than
                                                                                 sexual orientation, victimization based on gender, and victimization
     gender. Percentages are shown for illustrative purposes.
                                                                                 based on gender expression, than students who did not say this as
38   Mean differences in the frequencies of physical harassment based            a reason for not reporting victimization.
     on sexual orientation, gender, and gender expression were examined
                                                                            45   We define effectiveness in two different ways, one is whether staff
     using repeated measures multiple analysis of variance (MANOVA):
                                                                                 made a positive impact on the school climate for the student who
     Pillai’s Trace = .007, F(2, 16364) = 54.55, p<.001, ηp2 = .01.
                                                                                 experienced the harassment or assault (e.g., preventing future
     Univariate effects were considered at p<.01. Students experienced
                                                                                 harassment and assault), and the other is whether staff comforted
     physical harassment based on sexual orientation more commonly
                                                                                 the student who experienced the harassment or assault.
     than gender expression or gender; we did not observe a difference
     between physical harassment based on gender expression and based       46   Chi-square tests were performed examining type of school staff
     on gender. Percentages are shown for illustrative purposes.                 response by whether it was perceived to be effective or ineffective
                                                                                 (dichotomous variable was created for effectiveness: effective =
39   Mean differences in the percentage of students who had ever
                                                                                 “very effective” or “somewhat effective”; ineffective = “not at all
     experienced verbal harassment, physical harassment, and physical
                                                                                 effective” or “somewhat ineffective”). Responses that were more
     assault based on sexual orientation, gender, or gender expression
                                                                                 likely to be effective: Disciplined perpetrator: χ2 = 599.92, df =
     were examined using repeated measures multiple analysis of
                                                                                 1, p<.001, φ = .35; Educated perpetrator about bullying: χ2 =
     variance (MANOVA): Pillai’s Trace = .66, F(2, 16071) = 15652.01,
                                                                                 262.38, df = 1, p<.001, φ = .23; Contacted perpetrator’s parents:
     p<.001, ηp2 = .66. Pairwise comparisons were considered at
                                                                                 χ2 = 222.19, df = 1, p<.001, φ = .22; and Provided emotional
     p<.01. Students were more likely to experience verbal harassment
                                                                                 support: χ2 = 634.90, df = 1, p<.001, φ = .36.
     than physical harassment or physical assault; students were more
     likely to experience physical harassment than physical assault.        47   Chi-square tests were performed examining type of school staff
                                                                                 response by whether it was perceived to be effective or ineffective
40   Mean differences in the frequencies of physical assault based on
                                                                                 (dichotomous variable was created for effectiveness: effective =
     sexual orientation, gender, and gender expression were examined
                                                                                 “very effective” or “somewhat effective”; ineffective = “not at all
     using repeated measures multiple analysis of variance (MANOVA):
                                                                                 effective” or “somewhat ineffective”). Responses that were more
     Pillai’s Trace = .00, F(2, 16203) = 23.99, p<.001, ηp2 = .00.
                                                                                 likely to be ineffective: Told reporting student to change their
     Univariate effects were considered at p<.01. Students experienced
                                                                                 behavior: χ2 = 289.72, df = 1, p<.001, φ = -.25; Disciplined
     physical assault based on sexual orientation more commonly than
                                                                                 the reporting student: χ2 = 88.99, df = 1, p<.001, φ = -.14; Did
     gender expression or gender; we did not observe a difference
                                                                                 nothing/Told student to ignore: χ2 = 1151.29, df = 1, p<.001, φ
     between physical assault based on gender expression and based on
                                                                                 = -.49; Talked to the perpetrator/told the perpetrator to stop: χ2 =
     gender. Percentages are shown for illustrative purposes.
                                                                                 395.43, df = 1, p<.001, φ = -.29; Filed a report: χ2 = 161.59,
41   Blakely-McClure, S. J., & Ostrov, J. M. (2016). Relational                  df = 1, p<.001, φ = -.18; Referred the incident to another staff
     aggression, victimization, and self-concept: Testing pathways               member: χ2 = 70.22, df = 1, p<.001, φ = -.12; Contacted the
     from middle childhood to adolescence. Journal of Youth and                  reporting student’s parents: χ2 = 31.26, df = 1, p<.001, φ = -.08;
     Adolescence, 45(2), 376-390.                                                Used peer mediation/conflict resolution approach: χ2 = 46.63, df
                                                                                 = 1, p<.001, φ = -.10; Educated class/school about bullying: χ2
     Prinstein, M. J., Boergers, J., & Vernberg, E. M. (2010). Overt
                                                                                 = 45.12, df = 1, p<.001, φ = -.10; and Separated students: χ2 =
     and relational aggression in adolescents: Social-psychological
                                                                                 190.63, df = 1, p<.001, φ = -.20.
     adjustment of aggressors and victims. Journal of Clinical Child &
     Adolescent Psychology, 4, 479-491.                                     48   stopbullying.gov. (n.d.). Misdirections in bullying prevention
                                                                                 and intervention. https://www.stopbullying.gov/sites/default/
     Young, E. L., Boye, A. E., & Nelson, D. A. (2006). Relational
                                                                                 files/2017-10/misdirections-in-prevention.pdf
     aggression: Understanding, identifying, and responding in schools.
     Psychology in the Schools, 4(43), 297-312.                             49   Human Rights Campaign (n.d.). The lies and dangers of efforts to
                                                                                 change sexual orientation or gender identity. https://www.hrc.org/
42   GLSEN, CiPHR, & CCRC (2013). Out online: The experiences of
                                                                                 resources/the-lies-and-dangers-of-reparative-therapy
     lesbian, gay, bisexual, and transgender youth on the Internet. New
     York: GLSEN. https://www.glsen.org/sites/default/files/2020-01/        50   Greytak, E. A., Kosciw, J. G., Villenas, C., & Giga, N. M. (2016).
     Out_Online_Full_Report_2013.pdf                                             From Teasing to Torment: School Climate Revisited, A Survey
                                                                                 of U.S. Secondary School Students and Teachers. New York:
     Jones, L. M., Mitchell, K. J., & Finkelhor, D. (2013). Online
                                                                                 GLSEN. https://www.glsen.org/sites/default/files/2019-12/From_
     harassment in context: Trends from three youth internet safety
                                                                                 Teasing_to_Tormet_Revised_2016.pdf
     surveys. Psychology of Violence, 3, 53-69.
                                                                            51   The Day of Silence is a national student-led event, coordinated by
     Ybarra, M. L., Mitchell, K. J., Palmer, N. A., & Reisner, S. L.
                                                                                 GLSEN, that is designed to draw attention to anti-LGBTQ name-
     (2015). Online social support as a buffer against online and offline
                                                                                 calling, bullying, and harassment in schools. Visit dayofsilence.org
     peer and sexual victimization among US LGBT and non-LGBT
                                                                                 for more information
     youth. Child Abuse & Neglect, 39, 123-126.
                                                                            52   A series of chi-square tests were conducted to examine the
43   To test differences in frequency of reporting victimization to
                                                                                 relationship between locker room discrimination and: sports
     family members by outness to family members, we conducted
                                                                                 participation (intramural or interscholastic), avoiding gym/
     an independent samples t-test among LGBTQ students who
                                                                                 physical education classes, avoiding sports fields, and avoiding
     had experienced victimization, where frequency of reporting to
                                                                                 locker rooms. The results for all tests were significant. Sports
     family was the dependent variable and being out or not was the
                                                                                 participation: χ2 = 66.40, df = 1, p<.001, φ = -.07; avoiding gym:
     independent variable. Results were significant, t(8543.35) =
                                                                                 χ2 = 905.43, df = 1, p<.001, φ = .24; avoiding sports fields: χ2
     -26.49, p<.001.
                                                                                 = 492.08, df = 1, p<.001, φ = .17; avoiding locker rooms: χ2 =
44   To test differences on severity of experiences with anti-LGBTQ              1191.28, df = 1, p<.001, φ = .27.
     victimization between those who reported that they did not report
                                                                            53   American Medical Association. (2018). Transgender individuals’
     victimization because it was “not that serious” and those who did
                                                                                 access to public facilities. https://www.ama-assn.org/system/
     not cite this reason for not reporting victimization, a multivariate
                                                                                 files/2019-03/transgender-public-facilities-issue-brief.pdf
     analysis of variance (MANOVA) was conducted with three weighted
     victimization variables (based on sexual orientation, gender, and      54   A chi-square test was conducted to compare avoiding bathrooms by




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           experiences of bathroom-based discrimination: χ2 = 1873.89, df =             victimization based on sexual orientation was significant: F(5,
           1, p<.001, φ = .34. Percentages are shown for illustrative purposes.         15748) = 45.81, p<.001, ηp2 = .01. Post hoc comparisons were
                                                                                        considered at p<.01. Those not planning to graduate high school
      55   A small percentage of survey respondents (1.0%) attended
                                                                                        experienced greater levels of victimization than all others. Those
           single-sex schools. Given that single-sex schools are uniquely
                                                                                        planning to only graduate high school, those planning to attend
           gendered spaces, all analyses regarding gender separation in
                                                                                        vocational, trade, or technical school, and those planning to obtain
           schools excluded students who attended single-sex schools.
                                                                                        an associate’s degree all experienced greater levels of victimization
           More information about the experiences of LGBTQ students in
                                                                                        than those planning to obtain a Bachelor’s or graduate degree.
           single-sex schools can be found in the School Climate and School
                                                                                        No other differences were observed. The univariate effect for
           Characteristics section of this report.
                                                                                        victimization based on gender expression was also significant: F(5,
      56   To assess differences in high school graduation plans by grade               15748) = 75.94, p<.001, ηp2 = .02. Post hoc differences were
           level, an analysis of variance (ANOVA) was performed where grade             similar to victimization based on sexual orientation, except: those
           level was the dependent variable and high school graduation                  planning to graduate high school only experienced greater levels of
           plans was the independent variable. Results were significant:                victimization than those planning to obtain an associate’s degree.
           F(2, 16628) = 75.33, p<.001, ηp2 = .01. Post hoc comparisons                 Percentages are shown for illustrative purposes.
           were considered at p<.01. Students who were unsure whether
                                                                                   66   To assess the relationship between anti-LGBTQ discriminatory
           they would graduate high school were in lower grades than those
                                                                                        school policies/practices and educational aspirations, an analysis of
           who planned on graduating high school as well those who did not
                                                                                        variance (ANCOVA) was performed where experiencing discrimination
           plan on graduating high school. We did not observe a significant
                                                                                        was the dependent variable, educational aspirations was the
           difference between those who planned on graduating high school
                                                                                        independent variable, and student grade level was included as a
           and those who did not plan on graduating high school.
                                                                                        covariate. The effect was significant: F(5, 16320) = 30.01, p<.001,
      57   Heckman, J. J., Humphries, J. E., & Mader, N. S. (2010). The                 ηp2 = .01. Post hoc comparisons were considered at p<.01. Those
           GED: NBER working paper no. 16064. Cambridge, MA: National                   planning to obtain a Bachelor’s degree as well as those planning to
           Bureau of Economic Research. https://www.nber.org/papers/                    obtain a graduate degree were less likely to experience discrimination
           w16064.pdf                                                                   than all others. No other differences were observed.
           Tyler, J., & Lofstrom, M. (2008). Is the GED an effective route to      67   The relationship between GPA and severity of victimization was
           postsecondary education for school dropouts? Bonn, Germany:                  examined through Pearson correlations. – victimization based on
           Institute for the Study of Labor (IZA). https://www.nber.org/papers/         sexual orientation: r(16217) = -.19, p<.001; victimization based
           w13816.pdf                                                                   on gender expression: r(16023) = -.22, p<.001.
      58   The full percentage breakdown of educational aspirations for            68   To assess the relationship between educational achievement by
           LGBTQ students planning to obtain a GED are as follows: 40.6%                experiencing anti-LGBTQ discriminatory policies and practices
           planned to obtain a GED only; 10.9% planned to complete                      at school, an analysis of variance (ANOVA) was conducted, with
           Vocational, Trade, or Technical School; 15.6% planned to obtain an           GPA as the dependent variable, and experiencing anti-LGBTQ
           Associate’s degree; 20.6% planned to obtain a Bachelor’s degree;             discrimination as the independent variable. The main effect for
           and, 12.2% planned to obtain a Graduate degree.                              experiencing anti-LGBTQ discrimination was significant: F(1,
                                                                                        16527) = 333.30, p<.001, ηp2 = .02.
      59   Mean differences in the frequencies of reasons for not planning to
           finish high school or being unsure about finishing high school were     69   The relationship between missing school and severity of
           examined using repeated measures analysis of variance (ANOVA):               victimization was examined through Pearson correlations.
           Pillai’s Trace = .84, F(5, 627) = 759.07, p<.001. Univariate effects         Victimization based on sexual orientation: r(16222) = .42, p<.001;
           were considered at p<.01. Significant differences were observed              victimization based on gender expression: r(16026) = .42, p<.001.
           between all reasons for not planning to finish high school, except we        Percentages are shown for illustrative purposes.
           did not observe a difference between academic concerns and hostile
                                                                                   70   To test differences in missing school for safety reasons by
           school climate. Percentages are shown for illustrative purposes.
                                                                                        experiences of anti-LGBTQ discrimination at school, we conducted
      60   Espelage, D. L., Merrin, G. J., & Hatchel, T. (2016). Peer                   an independent samples t-test with missing any school as the
           victimization and dating violence among LGBTQ youth: The impact              dependent variable, and having experienced discrimination as
           of school violence and crime on mental health outcomes. Youth                the independent variable. Results were significant: t(16376.37)
           Violence and Juvenile Justice, 16(2), 156-173.                               = -39.94, p<.001, Cohen’s d = .60. Percentages are shown for
                                                                                        illustrative purposes.
      61   Watson, R.J., & Russell, S.T. (2014). Disengaged or bookworm:
           Academics, mental health, and success for sexual minority youth         71   Kang-Brown, J., Trone, J., Fratello, J., & Daftary-Kapur, T. (2013).
           Journal of Research on Adolescence, 26(1), 159-165.                          Generation later: What we’ve learned about zero tolerance in
                                                                                        schools. New York, NY: Vera Institute of Justice.
      62   Palmer, N. A., & Greytak, E. A. (2017). LGBTQ student
           victimization and its relationship to school discipline and justice          Pigott, C., Stearns, A. E., & Khey, D. N. (2018). School resource
           system involvement. Criminal Justice Review, 42(2), 163-187.                 officers and the school to prison pipeline: discovering trends of
                                                                                        expulsions in public schools. American Journal of Criminal Justice,
      63   To assess differences in high school graduation plans by
                                                                                        43: 120-138.
           absenteeism, an analysis of covariance (ANCOVA) was performed
           where number of school days missed was the dependent variable,               Skiba, R. J., Arredondo, M. I., & Williams, N. T. (2014). More than a
           whether or not a student planned to graduate high school was the             metaphor: The contribution of exclusionary discipline to a school-to-
           independent variable, and student grade level was included as a              prison pipeline. Equity & Excellence in Education, 47(4), 546-564.
           covariate. Results were significant: F(1, 16311) = 344.24, p<.001,
                                                                                        White, R. E., & Young, D. C. (2020). The social injustice of zero-
           ηp2 = .02. Students with higher absenteeism due to feeling unsafe/
                                                                                        tolerance discipline. In R. Papa (Ed), Handbook on Promoting Social
           uncomfortable were less likely to plan to finish high school.
                                                                                        Justice in Education (pp 2471-2485). Switzerland: Springer.
      64   For purposes of analysis, we measured victimization by creating
                                                                                   72   Kang-Brown, J., Trone, J., Fratello, J., Daftary-Kapur, T. (2013).
           composite weighted variables for both types of victimization
                                                                                        Generation later: What we’ve learned about zero tolerance in
           (victimization based on sexual orientation and victimization based
                                                                                        schools. New York, NY: Vera Institute of Justice.
           on gender expression) based on the severity of harassment with
           more weight given to more severe forms of harassment. Physical               White, R. E., & Young, D. C. (2020). The social injustice of zero-
           assault received the most weight, followed by physical harassment,           tolerance discipline. In R. Papa (Ed), Handbook on Promoting Social
           and verbal harassment.                                                       Justice in Education (pp 2471-2485). Switzerland: Springer.
      65   To assess the relationship between anti-LGBTQ victimization and         73   Carr, S. (2014). How strict is too strict? The backlash against
           educational aspirations, a multivariate analysis of covariance               no-excuses discipline in high schools. The Atlantic, December
           (MANCOVA) was performed where severity of victimization based                2014. Retrieved from http://www.theatlantic.com/magazine/
           on sexual orientation and gender expression were the dependent               archive/2014/12/how-strict-is-too-strict/382228/?utm_source
           variables, educational aspirations was the independent variable,             = JFSF+Newsletter&utm_campaign = 78e5068481-
           and student grade level was included as a covariate. The                     Newsletter_December_2014&utm_medium = email&utm_term =
           multivariate effect was significant: Pillai’s Trace = .02, F(10,             0_2ce9971b29-78e5068481-356428881
           31496) = 38.80, p<.001, ηp2 = .01. The univariate effect for




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     Department of Justice (DOJ). (2011). Attorney General Holder,                 significant. Victimization based on sexual orientation: χ2 =
     Secretary Duncan announce effort to respond to school-to-prison               640.28, df = 1, p<.001, φ = .20; Victimization based on gender
     pipeline by supporting good discipline practices. Press release.              expression: χ2 = 573.74, df = 1, p<.001, φ = .19. Students who
     Washington, DC: DOJ. Retrieved from http://www.justice.gov/opa/               had experienced higher levels of victimization for both types were
     pr/2011/July/11-ag-951.html.                                                  more likely to have experienced school discipline than students
                                                                                   who had experienced lower levels of victimization for both types.
     Kang-Brown, J., Trone, J., Fratello, J., & Daftary-Kapur, T. (2013).
     Generation later: What we’ve learned about zero tolerance in             77   To compare disciplinary experiences by missing school due to
     schools. New York, NY: Vera Institute of Justice.                             safety reasons, a chi-square test was conducted with the variable
                                                                                   indicating whether a student had missed any school due to feeling
     Kostyo, S., Cardichon, J., & Darling-Hammond, L. (2018).
                                                                                   unsafe or uncomfortable and a dichotomized variable regarding
     Reducing student suspension rates. Learning Policy Institute.
                                                                                   having experienced any type of school discipline: χ2 = 587.77, df
     https://learningpolicyinstitute.org/sites/default/files/product-files/
                                                                                   = 4, p < .001, Cramer’s V = .19. Students who had had missed
     ESSA_Equity_Promise_Suspension_BRIEF.pdf
                                                                                   school were more likely to have experienced any school discipline
     Mitchell, M. M., & Bradshaw, C. P. (2013). Examining classroom                than students who had not missed school.
     influences on student perceptions of school climate: The role of
                                                                              78   To compare disciplinary experiences by experiences of
     classroom management and exclusionary discipline strategies.
                                                                                   discrimination at school, a chi-square test was conducted using
     Journal of School Psychology, 51(5), 599-61.
                                                                                   a dichotomized variable indicating that students had experienced
74   Christle, C. A., Jolivette, K., & Nelson, C. M. (2005). Breaking the          discriminatory policies or procedures and a dichotomized variable
     school to prison pipeline: Identifying school risk and protective             regarding having experienced any type of school discipline: χ2 =
     factors for youth delinquency. Exceptionality, 13(2), 69-88.                  559.16, df = 1, p<.001, φ = .18. Students who had experienced
                                                                                   discriminatory policies or practices at school reported higher
     Fabelo, T., Thompson, M. D., Plotkin, M., Carmichael, D.,
                                                                                   rates of school disciplinary action than students who had not
     Marchbanks, M. P., & Booth, E. A. (2011). Breaking schools’ rules:
                                                                                   experienced these policies or practices. Note further analyses
     A statewide study of how school discipline relates to students’
                                                                                   demonstrated that these relationships between discriminatory
     success and juvenile justice involvement. New York, NY: The
                                                                                   practices and school discipline held even after controlling for peer
     Council of State Governments Justice Center.
                                                                                   victimization.
     Kang-Brown, J., Trone, J., Fratello, J.,& Daftary-Kapur, T. (2013).
                                                                              79   Goodenow, C., & Grady, K.E. (1993). The relationship of school
     Generation later: What we’ve learned about zero tolerance in
                                                                                   belonging and friends’ values to academic motivation among urban
     schools. New York, NY: Vera Institute of Justice.
                                                                                   adolescent students. Journal of Experimental Education, 62(1),
     Reynolds, C. R., Skiba, R. J., Graham, S., Sheras, P., Conoley,               60–71.
     J. C., & Garcia-Vazquez, E. (2008). Are zero tolerance
                                                                                   Murdock, T. B., & Bolch, M. B. (2005). Risk and protective factors
     policies effective in the schools? An evidentiary review and
                                                                                   for poor school adjustment in lesbian, gay, and bisexual (LGB) high
     recommendations. The American Psychologist, 63(9), 852-862.
                                                                                   school youth: Variable and person-centered analyses. Psychology in
     Sander, J. B., Sharkey, J. D., Groomes, A. N., Krumholz, L., Walker,          the Schools, 42(5), 159–172.
     K., & Hsu, J. Y. (2011). Social justice and juvenile offenders:
                                                                                   Wang, W., Vaillancourt, T., Brittain, H. L., McDougall, P.,
     Examples of fairness, respect, and access in education settings.
                                                                                   Krygsman, A., Smith, D., & Hymel, S. (2014). School climate, peer
     Journal of Educational and Psychological Consultation, 21(4),
                                                                                   victimization, and academic achievement: Results from a multi-
     309-337.
                                                                                   informant study. School Psychology Quarterly, 29(3), 360–377.
     Todis, B., Bullis, M., Waintrup, M., Schultz, R., & D’Ambrosio, R.
                                                                                   Wormington, S. V., Anderson, K. G., Schneider, A., Tomlinson,
     (2001). Overcoming the odds: Qualitative examination of resilience
                                                                                   K. L., & Brown, S. A. (2016). Peer victimization and adolescent
     among formerly incarcerated adolescents. Exceptional Children,
                                                                                   adjustment: Does school belonging matter? Journal of School
     68(1), 119-139.
                                                                                   Violence, 15(1), 1–21.
     White, R. E., & Young, D. C. (2020). The social injustice of zero-
                                                                              80   To assess school belonging in our survey, we used an instrument
     tolerance discipline. In R. Papa (Ed), Handbook on Promoting
                                                                                   designed to measure the psychological sense of school membership
     Social Justice in Education (pp 2471-2485). Switzerland:
                                                                                   among adolescents by Goodenow (1993):
     Springer.
                                                                                   Goodenow, C. (1993). The Psychological sense of school
75   Arredondo, M., Gray, C., Russell, S., Skiba, R., & Snapp, S.
                                                                                   membership among adolescents: Scale development and
     (2016). Documenting disparities for LGBT students: Expanding
                                                                                   educational correlates. Psychology in the Schools, 30(1), 79–90.
     the collection and reporting of data on sexual orientation and
     gender identity. Discipline Disparities: A Research-to Practice               The measure includes 18 4-point Likert-type items, such as “Other
     Collaborative. The Equity Project. Bloomington, IN.                           students in my school take my opinions seriously.”
     GLSEN (2016). Educational exclusion: Drop out, push out, and             81   The relationship between school belonging and severity of anti-
     school-to-prison pipeline among LGBTQ youth. New York: GLSEN.                 LGBTQ victimization was examined through Pearson correlations:
                                                                                   Victimization based on sexual orientation: r(16217) = -.40,
     Himmelstein, K. E., & Brückner, H. (2011). Criminal-justice
                                                                                   p<.001; Victimization based on gender expression: r(16021) =
     and school sanctions against nonheterosexual youth: A national
                                                                                   -.39, p<.001. For illustrative purposes percentages of LGBTQ
     longitudinal study. Pediatrics, 127(1), 49-57. https://www.glsen.
                                                                                   students “Demonstrating Positive School Belonging” are shown;
     org/sites/default/files/2019-11/Educational_Exclusion_2013.pdf
                                                                                   positive and negative school belonging are indicated by a cutoff
     Panfil, V. R. (2018). LGBTQ populations of color, crime, and                  at the score indicating neither positive nor negative attitudes
     justice: an emerging but urgent topic. In R. Martinez Jr., M. E.              about one’s belonging in school: students above this cutoff were
     Hollis, & J. I. Stowell (Eds), The Handbook of Race, Ethnicity,               characterized as “Demonstrating Positive School Belonging.”
     Crime, and Justice (pp. 415-433). Hoboken, NJ: John Wiley &
                                                                              82   To test differences in school belonging by experiencing anti-
     Sons.
                                                                                   LGBTQ discriminatory policies and practices at school, as analysis
     Snapp, S. D., Hoenig, J. M., Fields, A., & Russell, S. T. (2015).             of variance (ANOVA) was conducted, with school belonging as
     Messy, butch, and queer: LGBTQ youth and the school-to-prison                 the dependent variable, and experiencing any form of this type
     pipeline. Journal of Adolescent Research, 30, 57-82.                          of discrimination as the independent variable. The main effect
                                                                                   for experiencing anti-LGBTQ discrimination was significant: F(1,
76   High and low levels of victimization are indicated by a cutoff at
                                                                                   16529) = 3160.18, p<.001, ηp2 = .16. Percentages are shown for
     the mean score of victimization: students above the mean were
                                                                                   illustrative purposes.
     characterized as “Experiencing Higher Levels of Victimization.”
                                                                              83   Gruber, J. E., & Fineran, S. (2008). Comparing the impact of
     To compare disciplinary experiences by severity of victimization
                                                                                   bullying and sexual harassment victimization on the mental and
     based on sexual orientation and gender expression, two separate
                                                                                   physical health of adolescents. Sex Roles, 59(1-2), 1–13.
     chi-square tests were conducted using a dichotomized variable
     indicating that students had experienced higher than average                  Hase, C.N., Goldberg, S.B., & Smith, D. (2015). Impacts of
     victimization, and a dichotomized variable regarding having                   traditional bullying and cyberbullying on the mental health of
     experienced any type of school discipline. Both analyses were                 middle school and high school students. Psychology in Schools,




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           52(6), 607–617.                                                         91   To test differences in depression by experiencing discriminatory
                                                                                        policies and practices at school, as analysis of variance (ANOVA)
           Holt, M. K., Vivolo-Kantor, A. M., Polanin, J. R., Holland, K. M.,
                                                                                        was conducted, with depression as the dependent variable, and
           DeGue, S., Matjasko, J. L., Wolfe, M, & Reid, G. (2015). Bullying
                                                                                        experiencing discrimination as the independent variable. The main
           and suicidal ideation and behaviors: A meta-analyses. Pediatrics,
                                                                                        effect for experiencing discrimination was significant: F(1, 16356)
           135(2), 496-509.
                                                                                        = 1701.16, p<.001, ηp2 = .09. In order to account for experiences
           Hong, J. S., & Espelage, D. L (2012). A review of research on                of victimization on the effect of discrimination on depression,
           bullying and peer victimization in school” An ecological system              an analysis of covariance (ANCOVA) was conducted, controlling
           analysis. Aggression and Violent Behavior, 17(4), 311-322.                   for victimization. Even when accounting for direct experiences of
                                                                                        victimization, the ANCOVAs revealed differences between students
      84   Greytak, E.A., Kosciw, J.G., Villenas, C., & Giga, N.M. (2016).
                                                                                        who had experienced discriminatory policies and practices and
           From Teasing to Torment: School Climate Revisited, A Survey of
                                                                                        those who had not; thus, results of the ANOVAs are reported for the
           U.S. Secondary School Students and Teachers. New York: GLSEN.
                                                                                        sake of simplicity.
           https://www.glsen.org/sites/default/files/2019-12/From_Teasing_to_
           Tormet_Revised_2016.pdf                                                 92   GLSEN (2016). Educational exclusion: Drop out, push out, and
                                                                                        school-to-prison pipeline among LGBTQ youth. New York: GLSEN.
           Kann, L., McManus, T., Harris, W. A., Shanklin, S. L., Flint, K. H.,
                                                                                        https://www.glsen.org/sites/default/files/2019-11/Educational_
           Queen, B., Lowry, R., Chyen, D., Whittle, L., Thornton, J., Lim, C.,
                                                                                        Exclusion_2013.pdf
           Bradford, D., Yamakawa, Y., Leon, M., Brener, N., & Ethier, K. A.
           (2018) Youth Risk Behavior Surveillance – United States, 2017.               Center for American Progress & Movement Advancement Project
           MMWR Surveillance Summary 2018; 67(No. SS-8):1-114. https://                 (2016). Unjust: How the broken criminal justice system fails LGBT
           www.cdc.gov/mmwr/volumes/67/ss/ss6708a1.htm                                  people. Washington, DC: MAP. https://www.lgbtmap.org/file/lgbt-
                                                                                        criminal-justice.pdf
      85   Self-esteem was measured using the 10-item Likert-type Rosenberg
           self-esteem scale (RSE; Rosenberg, 1989), which includes such                Palmer, N. A., & Greytak, E. G. (2017). LGBTQ student
           items as “I am able to do things as well as most people”:                    victimization and its relationship to school discipline and justice
                                                                                        system involvement. Criminal Justice Review, 42(2), 163-187.
           Rosenberg, M. (1989). Society and the adolescent self-image
           (Revised ed.) Middletown, CT: Wesleyan University Press.                     Poteat, P. V., Scheer, J. R., & Chong, E. S. K. (2016). Sexual
                                                                                        orientation-based disparities in school and juvenile justice
      86   Depression was measured using the 20-item Likert-type CES-D
                                                                                        discipline: A multiple group comparison of contributing factors.
           depression scale (Eaton et al., 2004), which includes such items
                                                                                        Journal of Educational Psychology, 108(2), 229-241.
           as “During the past week, I felt hopeful about the future”:
                                                                                   93   Kosciw, J. G., Palmer, N. A., Kull, R. M., & Greytak, E. A. (2013).
           Eaton, W. W., Smith, C., Ybarra, M., Muntaner, C., & Tien, A.
                                                                                        The effect of negative school climate on academic outcomes for
           (2004). Center for Epidemiologic Studies Depression Scale: Review
                                                                                        LGBT youth and the role of in-school supports. Journal of School
           and Revision (CESD and CESD-R). In M. E. Maruish (Ed.), The
                                                                                        Violence, 12(1), 45-63.
           use of psychological testing for treatment planning and outcomes
           assessment: Instruments for adults (pp. 363-377). Mahwah, NJ,                Palmer, N.A., Kosciw, J.G., & Greytak, E.A. (2016). Disrupting
           US: Lawrence Erlbaum Associates Publishers.                                  hetero-gender- normativity: The complex role of LGBT affirmative
                                                                                        supports at school. In S. T. Russell & S. S. Horn (Eds.) Sexual
      87   The relationship between self-esteem and severity of victimization
                                                                                        orientation, gender identity, and schooling: The nexus of research,
           was examined through Pearson correlations: victimization based on
                                                                                        practice, and policy (pp. 68-74). Oxford University Press.
           sexual orientation: r(16055) = -.226, p<.001; victimization based
           on gender expression: r(15866) = -.229, p<.001. For illustrative        94   Denault, A. & Guay, F. (2017). Motivation towards extracurricular
           purposes, percentages of students “Demonstrating Positive Self-              activities and motivation at school: A test of the generalization
           Esteem.” Positive and negative self-esteem are indicated by a                effect hypothesis. Journal of Adolescence, 54, 94–103.
           cutoff at the score indicating neither positive nor negative feelings
                                                                                        Farb, A. F., & Matjasko, J. L. (2012). Recent advances in
           about oneself: students above this cutoff were characterized as
                                                                                        research on school-based extracurricular activities and adolescent
           “Demonstrating Positive Self-Esteem.”
                                                                                        development. Developmental Review, 32(1), 1–48.
      88   The relationship between depression and severity of victimization
                                                                                        Fredericks, J. A., & Eccles, J. S. (2006). Is extracurricular
           was examined through Pearson correlations: Victimization based on
                                                                                        participation associated with beneficial outcomes? Concurrent and
           sexual orientation: r(16058) =.348, p<.001; Victimization based
                                                                                        longitudinal relations. Developmental Psychology, 42(4), 698–713.
           on gender expression: r(15863) =.342, p<.001. For illustrative
           purposes percentages of LGBTQ students with “Higher Levels of                Kort-Butler, L. A. & Hagewen, K. J. (2011). School-based
           Depression” are shown; higher levels were determined by a cutoff             extracurricular activity involvement and adolescent self-esteem: A
           at the mean score of depression: students above the mean were                growth-curve analysis. Journal of Youth and Adolescence, 40(5),
           characterized as “Demonstrating Higher Levels of Depression.”                568–581.
      89   Bockting, W. O., Miner, M. H., Swinburne Romine, R. E., Hamilton,            Toomey, R. B., & Russell, S. T. (2013). An initial investigation of
           A., & Coleman, E. (2013). Stigma, mental health, and resilience              sexual minority youth involvement in school-based extracurricular
           in an online sample of the US transgender population. American               activities. Journal of Research on Adolescence, 23(2), 304-318.
           Journal of Public Health, 103(5), 943–951.
                                                                                   95   Greytak, E. A., Kosciw, J. G., Villenas, C. & Giga, N. M. (2016).
           Burton, C. M., Marshal, M. P., Chisolm, D. J., Sucato, G. S., &              From teasing to torment: School climate revisited, A survey of
           Friedman, M. S. (2013). Sexual minority-related victimization as             U.S. secondary school students and teachers. New York: GLSEN.
           a mediator of mental health disparities in sexual minority youth:            https://www.glsen.org/sites/default/files/2019-12/From_Teasing_to_
           A longitudinal analysis. Journal of Youth and Adolescence, 42,               Tormet_Revised_2016.pdf
           394-402.
                                                                                   96   Griffin, P., Lee, C., Waugh, J., & Beyer, C. (2004). Describing roles
           Lee, J. H., Gamarel, K. E., Bryant, K. J., Zaller, N. D., & Operario,        that gay-straight alliances play in schools: From individual support
           D. (2016). Discrimination, mental health, and substance use                  to school change. Journal of Gay & Lesbian Issues in Education,
           disorders among sexual minority populations. LGBT Health, 3(4),              1(3), 7-22.
           258-265.
                                                                                        Porta, C. M., Singer, E., Mehus, C. J., Gower, A. M., Saewyc, E.,
           Meyer, I. H. (2003). Prejudice, social stress, and mental health             Fredkove, W., & Eisenberg, M. E. (2017). LGBTQ youth’s view of
           in lesbian, gay, and bisexual populations: Conceptual issues and             Gay-Straight Alliances: building community, providing gateways,
           research evidence. Psychological Bulletin, 129(5), 674.                      and representing safety and support. Journal of School Health,
                                                                                        87(7), 489-497.
      90   To test differences in self-esteem by experiencing ant-LGBTQ
           discriminatory policies and practices at school, as analysis                 St. John, A., Travers, R., Munro, L., Liboro, R. M., Schneider,
           of variance (ANOVA) was conducted, with self-esteem as the                   M., & Greig, C. L. (2014). The success of Gay–Straight Alliances
           dependent variable, and experiencing ant-LGBTQ discrimination                in Waterloo region, Ontario: A confluence of political and social
           as the independent variable. The main effect for experiencing                factors. Journal of LGBT Youth, 11(2), 150-170.
           ant-LGBTQ discrimination was significant: F(1, 16355) = 873.33,
                                                                                   97   Miceli, M. (2005). Standing out, standing together: The social and
           p<.001, ηp2 =.05.
                                                                                        political impact of gay-straight alliances. New York: Routledge.




156   EXHIBIT D                                                                                                        186
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     Poteat, V. P. (2017). Gay-Straight Alliances: promoting student             gender expression, and also students who said they were unsure if
     resilience and safer school climates. American Educator, 40(4),             their school policy included those protections.
     10-14.
                                                                            108 Kosciw, J. G., Greytak, E. A., Zongrone, A. D., Clark, C. M., &
     Sweat, J. W. (2004). Crossing boundaries: Identity and activism in         Truong, N. L. (2018). The 2017 National School Climate Survey:
     Gay-Straight Alliances. University of California, Davis.                   The experiences of lesbian, gay, bisexual, transgender, and queer
                                                                                youth in our nation’s schools. New York: GLSEN. http://live-glsen-
98   Ocampo, A. C. & Soodjinda, D. (2016). Invisible Asian Americans:
                                                                                website.pantheonsite.io/sites/default/files/2019-10/GLSEN-2017-
     The intersection of sexuality, race, and education among gay Asian
                                                                                National-School-Climate-Survey-NSCS-Full-Report.pdf
     Americans. Race Ethnicity and Education, 19(3), 480–499.
                                                                                 GLSEN (2016). Educational exclusion: Drop out, push out, and
     Toomey, R. B., Huynh, V. W., Jones, S. K., Lee, S. & Revels-
                                                                                 the school-to-prison pipeline among LGBTQ youth. New York,
     Macalinao, M. (2016). Sexual minority youth of color: A content
                                                                                 NY: GLSEN. https://www.glsen.org/sites/default/files/2019-11/
     analysis and critical review of the literature. Journal of Gay and
                                                                                 Educational_Exclusion_2013.pdf
     Lesbian Mental Health, 21(1), 3–31.
                                                                                 Movement Advancement Project (MAP) and GLSEN. (April 2017).
99   Truong, N. L., Zongrone, A. D., & Kosciw, J. G. (2020). Erasure
                                                                                 Separation and stigma: Transgender youth and school facilities.
     and resilience: The experiences of LGBTQ students of color, Black
                                                                                 https://www.lgbtmap.org/file/transgender-youth-school.pdf
     LGBTQ youth in U.S. schools. New York: GLSEN. https://www.
     glsen.org/sites/default/files/2020-06/Erasure-and-Resilience-          109 U.S. Department of Education, Office of Elementary and Secondary
     Black-2020.pdf                                                             Education, Office of Safe and Healthy Students. (May 2016).
                                                                                Examples of policies and emerging practices for supporting
     Truong, N. L., Zongrone, A. D., & Kosciw, J. G. (2020). Erasure
                                                                                transgender students. https://www2.ed.gov/about/offices/list/oese/
     and resilience: The experiences of LGBTQ students of color, Asian
                                                                                oshs/emergingpractices.pdf
     American and Pacific Islander LGBTQ youth in U.S. schools. New
     York: GLSEN. https://www.glsen.org/sites/default/files/2020-06/        110 To compare LGBTQ students’ reports of having a transgender and
     Erasure-and-Resilience-AAPI-2020.pdf                                       nonbinary policy in their school by cisgender status (cisgender vs
                                                                                transgender and nonbinary vs questioning), a chi-square test was
     Zongrone, A. D., Truong, N. L., & Kosciw, J. G. (2020). Erasure
                                                                                conducted. The test was significant: c2 = 197.38, df = 4, p<.001,
     and resilience: The experiences of LGBTQ students of color, Latinx
                                                                                Cramer’s V = .08. Cisgender students and questioning students
     LGBTQ youth in U.S. schools. New York: GLSEN. https://www.
                                                                                were more likely to indicate that they were “not sure” if their school
     glsen.org/sites/default/files/2020-06/Erasure-and-Resilience-
                                                                                had such a policy, and less likely to indicate that they had a such a
     Latinx-2020.pdf
                                                                                policy, than compared to transgender and nonbinary students. No
     Zongrone, A. D., Truong, N. L., & Kosciw, J. G. (2020). Erasure            other differences were found.
     and resilience: The experiences of LGBTQ students of color, Native
                                                                            111 The table below shows student reports of areas addressed in
     American, American Indian, and Alaska Native LGBTQ youth
                                                                                transgender and nonbinary student school policies and official
     in U.S. schools. New York: GLSEN. https://www.glsen.org/sites/
                                                                                guidelines for the full LGBTQ sample (includes cisgender,
     default/files/2020-06/Erasure-and-Resilience-Native-2020.pdf
                                                                                questioning, and transgender and nonbinary students). The
100 Mean differences in the frequencies of positive and negative                percentages for the full LGBTQ sample were similar to the
    LGBTQ inclusion were compared using repeated measures analysis              transgender and nonbinary student sample (see Table 2.4 in the
    of variance (ANOVA): Pillai’s Trace = .00, F(1, 16635) = 32.41,             report).
    p = .001, ηp2 = .00. Positive inclusion was higher than negative
    inclusion.                                                                                                             % of LGBTQ      % of All
101 71.7% of students reported that LGBTQ-related topics were not                                                           Students       LGBTQ
    included in any textbooks or other assigned readings and 8.7%                                                             with        Students
    reported that they did not know if these topics were included.                                                           Policy       in Survey
102 24.1% of students reported that they could not find LGBTQ-related              Use pronoun/name of choice                87.8%          9.4%
    books or information in their school library, and 27.0% reported
    that they did not know if their library had these resources.                   Which bathroom to use                     65.3%          7.0%
                                                                                   (boys or girls)
103 To test differences between inclusion of LGB topics and inclusion
    of transgender and nonbinary topics, a McNemar Chi-Square test                 Access gender neutral bathroom            61.8%          6.6%
    was conducted among students who had received sex education.
    The test included two dichotomous variables, indicating whether                Change official school records after      59.9%          6.4%
    LGB and whether transgender and nonbinary topics were included                 name or gender change
    in their sex education. The results were significant: χ2=706.64,
    df = 1, p<.001, φ = .62. LGB topics were more common in sex                    Participate in extracurricular            53.2%          5.7%
    education classes than transgender and nonbinary topics.                       activities that matches their gender
                                                                                   (non-sports)
104 To test differences between quality of LGB topics and quality
    of transgender and nonbinary topics included in sex education,                 Dress codes/school uniforms match         49.2%          5.2%
    a paired samples t-test was conducted on the LGB quality and                   gender identity
    transgender and nonbinary quality variables, each measuring the
    quality of content, from “Very Negative” to “Very Positive.” The               Locker rooms that match gender            42.7%          4.6%
    results were significant: t(2000) = 12.59, p<.001, Cohen’s d =                 identity
    .23.
                                                                                   Participate in school sports that         39.9%          4.2%
105 Mean differences in comfort level talking to school staff across               match their gender identity
    type of school staff member were examined using repeated
    measures multivariate analysis of variance (repeated measures                  Stay in housing during field trips or     28.3%          3.0%
    MANOVA), with type of school staff as the independent variable                 in dorms that match gender identity
    and comfort level for each of the seven school staff categories as
    the dependent variables. The multivariate effect was significant:              Another topic not listed (e.g.,            1.3%          0.1%
    Pillai’s Trace = .52, F(6, 16294) = 2983.89, p<.001, ηp2 = .52.                confidentiality policies, education
    Univariate effects were considered at p<.01. All mean differences              for school community)
    were significant except between Principal/Vice Principal and
    School Safety/Resource/Security Officer. Percentages are shown for      112 Mean differences in prevalence of policy components among
    illustrative purposes.                                                      transgender and other nonbinary students were examined using
                                                                                a repeated measures multivariate analysis of variance (repeated
106 Visit https://glsen.org/safespace for more information or to obtain a       measures MANOVA). The multivariate effect was significant: Pillai’s
    Safe Space Kit for an educator or school.                                   Trace = .62, F(8, 872) = 178.06, p<.001, ηp2 = .62. Univariate
107 Note: The generic policy category includes students who explicitly          effects were considered at p<.01. All mean differences were
    said that their school policy included neither sexual orientation or        significant except between: official records and use of bathroom




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           (boys or girls); official records and gender neutral bathrooms;              shown for illustrative purposes.
           school sports participation and locker rooms; extracurricular
                                                                                   121 To test differences in missing school because of feeling unsafe or
           participation (non-sports) and dress codes/uniforms; use of
                                                                                       uncomfortable by presence of a GSA, this variable was included in
           bathroom (boys or girls) and gender neutral bathrooms; locker
                                                                                       the MANOVA described in previous endnotes. The univariate effect
           rooms and dress codes/uniforms.
                                                                                       of GSA presence on days missing school in the past month was
      113 Palmer, N.A., Kosciw, J.G., & Greytak, E.A. (2017). Disrupting               significant: F(1, 15799) = 236.30, p<.001, ηp2 = .02. Percentages
          hetero-gender-normativity: The complex role of LGBT affirmative              are shown for illustrative purposes.
          supports at school. In S. T. Russell & S. S. Horn (Eds.) Sexual
                                                                                   122 To test differences in number of supportive school staff by presence
          orientation, gender identity, and schooling: The nexus of research,
                                                                                       of a GSA, an independent-samples t-test was conducted, with GSA
          practice, and policy (pp. 68-74). New York, NY: Oxford University
                                                                                       presence as the independent variable, and number of supportive
          Press.
                                                                                       staff as the dependent variable. The effect of GSA presence on
      114 Kosciw, J. G., Palmer, N. A., Kull, R. M., & Greytak, E. A. (2013).          number of supportive staff was significant: t(11004.62) = -56.38,
          The effect of negative school climate on academic outcomes for               p<.001, Cohen’s d = .93. Percentages are shown for illustrative
          LGBT youth and the role of in-school supports. Journal of School             purposes.
          Violence, 12(1), 45-63.
                                                                                        In addition, a chi-square test was conducted to compare the
      115 Porta, C. M., Singer, E., Mehus, C. J., Gower, A. L., Saewyc, E.,             likelihood of having any supportive staff at all (having at least 1
          Fredkove, W., & Eisenberg, M. E. (2017). LGBTQ youth’s views on               supportive staff vs having no supportive staff) by presence of a
          Gay-Straight Alliances: Building community, providing gateways,               GSA. The test was significant: c2 = 459.08, df = 1, p<.001, φ =
          and representing safety and support. Journal of School Health,                .17. Students who had a GSA at their school were more likely to
          87(7), 489-497.                                                               have at least 1 supportive educator compared to students who did
                                                                                        not have a GSA at their school.
           Toomey, R. B., & Russell, S. T. (2013). Gay-Straight Alliances,
           social justice involvement, and school victimization of lesbian, gay,   123 To test differences in staff intervention regarding anti-LGBTQ
           bisexual, and queer youth: Implications for school well-being and           remarks by presence of a GSA, a multivariate analysis of variance
           plans to vote. Youth & Society, 45(4), 500-522.                             (MANOVA) was conducted, with GSA presence as the independent
                                                                                       variable, and frequency of staff intervention in homophobic remarks
      116 Griffin, P., Lee, C., Waugh, J., & Beyer, C. (2004). Describing roles
                                                                                       and negative remarks about gender expression as the dependent
          that Gay-Straight Alliances play in schools: From individual support
                                                                                       variables. The multivariate effect was significant: Pillai’s trace =
          to school change. Journal of Gay & Lesbian Issues in Education,
                                                                                       .02, F(2, 10702) = 117.58, p<.001. The univariate effects of
          1(3), 7-22.
                                                                                       GSA presence on staff intervention in both homophobic remarks
      117 Poteat, V. P. (2017). Gay-Straight Alliances: Promoting student              and negative remarks about gender expression were significant –
          resilience and safer school climates. American Educator, 40(4),              Homophobic remarks: F(1, 10703) = 204.89, p<.001, ηp2 = .02;
          10.                                                                          Negative remarks about gender expression: F(1, 10703) = 155.74,
                                                                                       p<.001, ηp2 = .01. Percentages are shown for illustrative purposes.
           Toomey, R. B., Ryan, C., Diaz, R. M., & Russell, S. T. (2011). High
           school Gay–Straight Alliances (GSAs) and young adult well-being:        124 GLSEN Days of Action (including Ally Week, No Name-Calling
           An examination of GSA presence, participation, and perceived                Week, and Day of Silence) are national student-led events of
           effectiveness. Applied developmental science, 15(4), 175-185.               school-based LGBTQ advocacy, coordinated by GLSEN. The Day
                                                                                       of Silence occurs each year in the spring, and is designed to draw
      118 To test differences in hearing biased remarks by presence of a
                                                                                       attention to anti-LGBTQ name-calling, bullying and harassment in
          GSA, a multivariate analysis of variance (MANOVA) was conducted,
                                                                                       schools. Visit https://www.dayofsilence.org for more information.
          with GSA presence as the independent variable, and frequency
          of hearing anti-LGBTQ remarks as the dependent variables. The            125 To test differences in GLSEN Days of Action participation by
          multivariate effect was significant: Pillai’s trace = .03, F(5, 16615)       presence of a GSA, a chi-square test was conducted. The test was
          = 118.53, p<.001, ηp2 = .03. The univariate effects of GSA                   significant: c2 = 1114.38, df = 1, p<.001, φ = .26. Students with
          presence on anti-LGBTQ remarks were all significant – “Gay” used             a GSA at their school were more likely to participate in GLSEN
          in a negative way: F(1, 16619) = 490.41, p<.001, ηp2 = .03; The              Days of Action than student without a GSA at their school.
          phrase “no homo”: F(1, 16619) = 155.94, p<.001, ηp2 = .01;
                                                                                   126 The full breakdown of student responses to the question, “In
          Other homophobic remarks: F(1, 16619) = 513.24, p<.001, ηp2
                                                                                       general, how accepting do you think students at your school are
          = .02; Negative remarks regarding gender expression: F(1, 16619)
                                                                                       of LGBTQ people?” was as follows: not at all accepting: 4.4%,
          = 183.82, p<.001, ηp2 = .01; Negative remarks about transgender
                                                                                       not very accepting: 26.9%, neutral: 25.2%, somewhat accepting:
          people: F(1, 16619) = 161.20, p<.001, ηp2 = .01. Percentages
                                                                                       32.9%, very accepting: 10.6%.
          are shown for illustrative purposes.
                                                                                   127 To test differences in peer acceptance and peer intervention
      119 To test differences in feeling unsafe regarding their sexual
                                                                                       regarding anti-LGBTQ remarks by presence of a GSA, a multivariate
          orientation and gender expression, experiences of anti-LGBTQ
                                                                                       analysis of variance (MANOVA) was conducted, with GSA
          victimization, and missing school because of safety concerns by
                                                                                       presence as the independent variable, and peer acceptance, peer
          presence of a GSA, a multivariate analysis of variance (MANOVA)
                                                                                       intervention regarding homophobic remarks, and peer intervention
          was conducted, with GSA presence as the independent variable,
                                                                                       regarding negative remarks about gender expression as the
          and feeling unsafe regarding their sexual orientation and gender
                                                                                       dependent variables. The multivariate effect was significant: Pillai’s
          expression, experiences of anti-LGBTQ victimization, and missing
                                                                                       trace = .08, F(3, 15210) = 408.18, p<.001. The univariate
          school because of safety concerns as the dependent variables.
                                                                                       effect of GSA presence on peer acceptance was significant: F(1,
          The multivariate effect was significant: Pillai’s trace = .04, F(5,
                                                                                       15212) = 1224.10, p<.001, ηp2 = .07. Percentages are shown for
          15795) = 121.85, p<.001. The univariate effects of GSA presence
                                                                                       illustrative purposes.
          on feeling unsafe regarding their sexual orientation and gender
          expression were significant – Feeling unsafe regarding their sexual      128 To test differences in peer intervention regarding anti-LGBTQ
          orientation: F(1, 15799) = 309.63, p<.001, ηp2 = .02; Feeling                remarks by presence of a GSA, we conducted the MANOVA
          unsafe regarding their gender expression: F(1, 15799) = 52.74,               described in the previous endnote. The univariate effects of GSA
          p<.001, ηp2 = .00. Percentages are shown for illustrative purposes.          presence on student intervention were significant – Homophobic
                                                                                       remarks, F(1, 15212) = 42.91, p<.001, ηp2 = .00; Negative
      120 To test differences in victimization based on sexual orientation
                                                                                       remarks about gender expression, F(1, 15212) = 45.03, p<.001,
          and gender expression by presence of a GSA, these variables were
                                                                                       ηp2 = .00. Percentages are shown for illustrative purposes.
          included in the MANOVA described in the previous endnote. The
          univariate effects of GSA presence on victimization based on sexual      129 To test differences in school belonging and presence of a GSA, an
          orientation and based on gender expression were significant –                independent-samples t-test was conducted, with presence of a GSA
          Victimization based on sexual orientation: F(1, 15799) = 425.30,             as the independent variable and school belonging as the dependent
          p<.001, ηp2 = .03; Victimization based on gender expression: F(1,            variable. The effect was significant: t(13347.26) = -31.25,
          15799) = 221.94, p<.001, ηp2 = .01. For illustrative purposes,               p<.001, Cohen’s d = .50.
          figures depicting differences in victimization based on sexual
                                                                                   130 To test differences in well-being and presence of a GSA a
          orientation or gender expression rely on a cutoff at the mean score
                                                                                       multivariate analysis of variance (MANOVA) was conducted, with
          of victimization: students above the mean score were characterized
                                                                                       the presence of a GSA as the independent variable, and depression
          as “Experiencing Higher Levels of Victimization.” Percentages are




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     and self-esteem as the dependent variables. The multivariate          138 To test differences in academic achievement, an independent-
     effect was significant: Pillai’s trace = .02, F(2, 16370) = 138.49,       samples t-test was conducted with presence of an inclusive
     p<.001. The univariate effects of GSA presence on depression and          curriculum as the independent variable, and GPA as the dependent
     self-esteem were both significant – Depression: F(1, 16371) =             variable. The effect was significant: t(5213.04) = -5.45, p<.001,
     269.71, p<.001, ηp2 = .02; Self-esteem: F(1, 16371) = 193.05,             Cohen’s d = .10.
     p<.001, ηp2 = .01.
                                                                           139 To test differences in educational aspirations, an independent-
131 Gay, G. (2018). Culturally responsive teaching: Theory, research,          samples t-test was conducted with presence of an inclusive
    and practice, third edition. New York, NY: Teachers College Press.         curriculum as the independent variable and educational aspirations
                                                                               as the dependent variable. The effect was significant: t(5342.13) =
     National Association for Multicultural Education (NAME). (2020).
                                                                               -8.21, p<.001, Cohen’s d = .14.
     Definitions of multicultural education. https://www.nameorg.org/
     definitions_of_multicultural_e.php                                         To test differences in plans to graduate high school and plans
                                                                                to pursue secondary education by presence of an inclusive
132 Greytak, E. & Kosciw, J. (2013). Responsive classroom curricula for
                                                                                curriculum, two separate chi-square tests were conducted. The
    lesbian, gay, bisexual, transgender, and questioning students. In E.
                                                                                effect of inclusive curriculum on plans to pursue secondary
    Fisher, & K. Komosa-Hawkins (Eds.) Creating School Environments
                                                                                education was significant: c2 = 23.88, df = 1, p<.001, φ = .04.
    to Support Lesbian, Gay, Bisexual, Transgender, and Questioning
                                                                                The effect of inclusive curriculum on plans to graduate high school
    Students and Families: A Handbook for School Professionals (pp.
                                                                                was significant: c2 = 8.30, df = 1, p<.01, φ = .02.
    156-174). New York, NY: Routledge.
                                                                           140 To test differences in peer acceptance about LGBTQ people and
     Palmer, N. A., Kosciw, J. G., Greytak, E. A., & Boesen, M. J.
                                                                               student intervention regarding anti-LGBTQ remarks by presence
     (2016). Disrupting hetero-gender-normativity: The complex role
                                                                               of an inclusive curriculum, a multivariate analysis of variance
     of LGBT affirmative supports at school. In S. T. Russell & S Horn
                                                                               (MANOVA) was conducted, with inclusive curriculum as the
     (Eds) Sexual Orientation, Gender Identity, and Schooling: The
                                                                               independent variable, and peer acceptance about LGBTQ people
     Nexus of Research, Practice, and Policy (pp. 58-74). New York,
                                                                               and peer intervention regarding homophobic remarks and negative
     NY: Oxford University Press.
                                                                               remarks about gender expression as the dependent variables. The
     Snapp, S. D., Sinclair, K. O., Russell, S. T., McGuire, J. K., &          multivariate effect was significant: Pillai’s trace = .08, F(3, 15204)
     Gabrion, K. (2015). LGBTQ-inclusive curricula: Why supportive             = 464.80, p<.001. The univariate effect for peer acceptance
     curricula matter. Sex Education, 15(6), 580-596.                          was significant: F(1, 15206) = 1235.44, p<.001, ηp2 = .08.
                                                                               Percentages are shown for illustrative purposes.
133 To test differences in hearing homophobic remarks by presence
    of an inclusive curriculum, a multivariate analysis of variance        141 To test differences in student intervention regarding anti-LGBTQ
    (MANOVA) was conducted, with inclusive curriculum presence as              remarks by presence of an inclusive curriculum, these variables
    the independent variable, and frequency of hearing anti-LGBTQ              were included in the MANOVA described in previous endnote.
    remarks as the dependent variables. The multivariate effect was            The univariate effects were significant – Peer intervention when
    significant: Pillai’s trace = .06, F(5, 16606) = 192.06, p<.001.           hearing homophobic remarks: F(1, 15206) = 283.99, p<.001,
    The univariate effects for inclusive curriculum presence was               ηp2 = .02; Peer intervention when hearing negative remarks about
    significant for hearing all types of anti-LGBTQ language – “Gay”           gender expression: F(1, 15206) = 310.34, p<.001, ηp2 = .02.
    used in a negative way: F(1, 16612) = 724.53, p<.001, ηp2 = .04;           Percentages are shown for illustrative purposes.
    The phrase “no homo”: F(1, 16612) = 139.59, p<.001, ηp2 = .01;
                                                                           142 To test differences in school belonging and presence of an inclusive
    Other homophobic remarks: F(1, 16612) = 609.42, p<.001, ηp2
                                                                               curriculum, an analysis of variance (ANOVA) was conducted with
    = .04; Negative remarks about gender expression: F(1, 16612) =
                                                                               presence of an inclusive curriculum as the independent variable
    271.43, p<.001, ηp2 = .02; Negative remarks about transgender
                                                                               and school belonging as the dependent variable. The main effect
    people: F(1, 16612) = 443.62, p<.001, ηp2 = .03. Percentages
                                                                               was significant: F(1, 16627) = 1568.36, p<.001, ηp2 = .09.
    are shown for illustrative purposes.
                                                                           143 To test differences in well-being and presence of an inclusive
134 To test differences in victimization by presence of an inclusive
                                                                               curriculum, two separate one-way analyses of variance (ANOVAs)
    curriculum, a multivariate analysis of variance (MANOVA)
                                                                               were conducted with the presence of an inclusive curriculum
    was conducted, with inclusive curriculum as the independent
                                                                               as the independent variable and depression and self-esteem as
    variable, and victimization based on sexual orientation and gender
                                                                               the dependent variables. The main effect for self-esteem was
    expression, feeling unsafe because of their sexual orientation and
                                                                               significant: F(1, 16455) = 416.42, p<.001, ηp2 = .03. The main
    gender expression, and missing school because of feeling unsafe
                                                                               effect for depression was significant: F(1, 16456) = 404.50,
    or uncomfortable as the dependent variables. The multivariate
                                                                               p<.001, ηp2 = .02.
    effect was significant: Pillai’s trace = .76, F(5, 15789) = 105.16,
    p<.001. The univariate effects for victimization were significant –    144 Klem, A. M., & Connell, J. P. (2004). Relationships matter: Linking
    Victimization based on sexual orientation: F(1, 15795) = 254.06,           teacher support to student engagement and achievement. Journal
    p<.001, ηp2 = .02; Victimization based on gender expression was            of School Health, 74(7), 262–273.
    significant: F(1, 15795) = 174.83, p<.001, ηp2 = .01. Percentages
                                                                                Konishi, C., Hymel, S., Zumbo, B. D., & Li, Z. (2010). Do school
    are shown for illustrative purposes.
                                                                                bullying and student—teacher relationships matter for academic
135 To test differences in feelings of safety because of sexual                 achievement? A multilevel analysis. Canadian Journal of School
    orientation and gender expression by the presence of a school               Psychology, 25(1), 19-39.
    curriculum, this variable was included in the MANOVA described
                                                                                Shepard, J., Salina, C, Girtz, S, Cox, J., Davenport, N., & Hillard,
    in the previous endnote above. The univariate effects for feeling
                                                                                T. L. (2012). Student success: Stories that inform high school
    unsafe were significant – Feeling unsafe regarding their sexual
                                                                                change. Reclaiming Children and Youth, 21(2), 48-53.
    orientation: F(1, 15795) = 354.86, p<.001, ηp2 = .02; Feeling
    unsafe regarding their gender expression: F(1, 15795) = 133.12,             Vollet, J. W., Kindermann, T. A., Skinner, E. A. (2017) In peer
    p<.001, ηp2 = .01. Percentages are shown for illustrative purposes.         matters, teachers matter: Peer group influences on students’
                                                                                engagement depend on teacher involvement. Journal of Educational
136 To test differences in days missed school because of feeling unsafe
                                                                                Psychology, 109(5), 635-652.
    or uncomfortable by the presence of an inclusive curriculum,
    this variable was included in the MANOVA described in previous         145 Joyce, H. D. (2015). School connectedness and student-teacher
    endnotes. The univariate effect for missing school was significant:        relationships: A comparison of sexual minority youths and their
    F(1, 15795) = 191.89, p<.001, ηp2 = .01. Percentages are shown             peers. Children & Schools, 35(3), 185-192.
    for illustrative purposes.
                                                                                Kosciw, J. G., Palmer, N. A., Kull, R. M., & Greytak, E. A. (2013).
137 To test differences in feeling comfortable talking to teachers about        The effect of negative school climate on academic outcomes for
    LGBTQ issues by presence of an inclusive curriculum, an analysis            LGBT youth and the role of in-school supports. Journal of School
    of variance (ANOVA) was conducted, with presence of an inclusive            Violence, 12(1), 45-63.
    curriculum as the independent variable and feeling comfortable
                                                                                Marshall, A., Yarber, W. L., Sherwood-Laughlin, C. M., Gray, M. L.,
    talking to teachers about LGBTQ issues as the dependent variable.
                                                                                & Estell, D. B. (2015). Coping and survival skills: The role school
    The main effect was significant: F(1, 16601) = 1162.04, p<.001,
                                                                                personnel play regarding support for bullied sexual minority-
    ηp2 = .07. Percentages are provided for illustrative purposes.
                                                                                oriented youth. Journal of School Health, 85(5), 334-340.




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           Watson, R. J., Grossman, A. H., & Russell, S. T. (2016). Sources           was conducted with Safe Space sticker/poster presence as the
           of social support and mental health among LGB youth. Youth and             independent variable, and number of supportive staff as the
           Society, 1-19.                                                             dependent variable. The effect was significant: t(10403.76) =
                                                                                      60.10, p<.001, Cohen’s d = .14. Percentages are shown for
      146 The relationships between number of supportive staff, and feeling
                                                                                      illustrative purposes.
          unsafe at school and missing school due to feeling unsafe were
          examined through Pearson correlations – Feeling unsafe regarding       158 To test differences in anti-LGBTQ language by type of school policy,
          their sexual orientation: r(16428) = -.26, p<.001; Feeling unsafe          a multivariate analysis of variance (MANOVA) was conducted, with
          because of their gender expression: r(16428) = -.15, p<.001;               policy type as the independent variable and frequency of hearing
          Number of school days missed because of feeling unsafe: r(16529)           each type of anti-LGBTQ remarks as the dependent variables.
          = -.24, p<.001. Percentages are shown for illustrative purposes.           The multivariate effect was significant: Pillai’s trace = .02, F(15,
                                                                                     49869) = 24.50, p<.001. All univariate effects were significant
      147 To assess the relationship between number of supportive staff and
                                                                                     – “Gay” used in a negative way: F(3, 16625) = 87.90, p<.001,
          educational aspirations, an analysis of covariance (ANCOVA) was
                                                                                     ηp2 = .02; The phrase “no homo”: F(3, 16625) = 21.89, p<.001,
          performed where number of supportive staff was the dependent
                                                                                     ηp2 = .00; Other homophobic remarks: F(3, 16625) = 66.04,
          variable, educational aspirations was the independent variable,
                                                                                     p<.001, ηp2 = .01; Negative remarks about gender expression:
          and student grade level was included as a covariate. The main
                                                                                     F(3, 16625) = 57.47, p<.001, ηp2 = .01; Negative remarks about
          effect was significant: F(5, 16331) = 57.64, p<.001, ηp2 =
                                                                                     transgender people: F(3, 16625) = 40.97, p<.001, ηp2 = .01.
          .02. Post hoc comparisons were considered at p<.01. Those not
                                                                                     Post-hoc Bonferroni comparisons were considered at p<.01. All
          planning to graduate high school had fewer supportive educators
                                                                                     types of anti-LGBTQ remarks were least frequently heard in schools
          than those planning on any postsecondary education (vocational/
                                                                                     with comprehensive policies, followed by those with partially
          trade school, Associate’s degree, Bachelor’s degree, graduate
                                                                                     enumerated polices, those with generic policies, and lastly, those
          degree); those planning to graduate high school only had fewer
                                                                                     with no policy, except for the following: “Gay” used in a negative
          supportive educators than those planning on an Associate’s degree,
                                                                                     way – the differences between schools with no policy and schools
          a Bachelor’s degree, or a graduate degree but did not differ from
                                                                                     with a generic policy were not significant; The phrase “no homo”
          those planning on vocational school; those planning on vocational
                                                                                     - the differences between schools with no policy and schools with
          school and those planning on an Associate’s degree both had fewer
                                                                                     a generic policy, between schools with no policy and schools with
          supportive educators than those planning on a Bachelor’s degree or
                                                                                     a partially enumerated policy, between schools with a generic
          a graduate degree. No other significant differences were observed.
                                                                                     policy and schools with a partially enumerated policy, between
          Percentages are shown for illustrative purposes.
                                                                                     schools with a partially enumerated policy and schools with a
      148 The relationship between number of supportive staff and GPA was            comprehensive policy, were not significant; Other homophobic
          examined through Pearson correlations: r(16538) = .10, p<.001.             remarks – the differences between schools with a generic policy
                                                                                     and schools with a partially enumerated policy were not significant;
      149 The relationship between number of supportive staff and school
                                                                                     Negative remarks about gender expression – the differences
          belonging was examined through Pearson correlations: r(16531)
                                                                                     between schools with no policy and schools with a generic policy,
          =.48, p<.001.
                                                                                     and between schools with a generic policy and schools with a
      150 The relationship between number of supportive staff and                    partially enumerated policy, were not significant; Negative remarks
          student well-being was examined through Pearson correlations –             about transgender people – the differences between schools with
          Depression: r(16362) = -.26, p<.001; Self-esteem: r(16362) =               a generic policy and schools with partially enumerated policy
          .22, p<.001.                                                               were not statistically significant. Percentages of students hearing
                                                                                     remarks “frequently” or “often” are shown for illustrative purposes.
      151 The relationship between feeling unsafe because of sexual
          orientation or gender expression and frequency of school staff         159 To test differences in victimization by type of school policy, a
          intervention was examined through Pearson correlations –                   multivariate analysis of variance (MANOVA) was conducted, with
          Intervention regarding homophobic language: r(13488) = -.16,               policy type as the independent variable and experiences of anti-
          p<.001; Intervention regarding negative remarks about gender               LGBTQ victimization (victimization based on sexual orientation
          expression: r(11810) = -.12, p<.001. Percentages are shown for             and victimization based on gender expression) as the dependent
          illustrative purposes.                                                     variables. The multivariate effect was significant: Pillai’s trace
                                                                                     = .01, F(6, 31892) = 19.98, p<.001.The univariate effect
      152 The relationship between missing school due to feeling unsafe
                                                                                     of policy type was significant for both types of victimization –
          and frequency of school staff intervention was examined through
                                                                                     Victimization based on sexual orientation: F(3, 15946) = 38.17
          Pearson correlations – Intervention regarding homophobic language:
                                                                                     p<.001, ηp2 = .01; Victimization based on gender expression:
          r(13557) = -.10, p<.001; Intervention regarding negative remarks
                                                                                     F(3, 15946)=22.51, p<.001, ηp2 = .00. Post-hoc Bonferroni
          about gender expression: r(11863) = -.08, p<.001. Percentages
                                                                                     comparisons were considered at p<.01.Both types of victimization
          are shown for illustrative purposes.
                                                                                     students in schools with comprehensive policies experienced the
      153 In the NSCS we asked students about the last time they reported            least victimization, followed by students with partially enumerated
          victimization experiences to staff, how staff responded, and how           policies, followed by those with generic policies, and lastly followed
          effective that response was. Although we only asked students               by schools with no policies, except for the following: Victimization
          about how effective staff were the last time they responded to             based on sexual orientation – the differences between schools with
          victimization, we used this as a proxy measure in this section for         a partially enumerated policy and schools with a generic policy, and
          how effective staff are, in general, when responding to LGBTQ              between schools with a partially enumerated policy and schools
          students’ reports of victimization.                                        with a comprehensive policy, were not significant; Victimization
                                                                                     based on gender expression – the differences between schools with
      154 The relationship between feeling unsafe regarding their sexual
                                                                                     a partially enumerated policy and schools with a generic policy, and
          orientation or gender expression and effectiveness of staff
                                                                                     between schools with a partially enumerated policy and schools
          intervention was examined through a Pearson correlation: r(4830)
                                                                                     with a comprehensive policy, were not significant. Percentages of
          = -.20, p<.001. Percentages are shown for illustrative purposes.
                                                                                     students experiencing “higher levels” (i.e., higher than the average
      155 The relationship between missing school due to feeling unsafe              of the survey sample) of victimization are shown for illustrative
          or uncomfortable and effectiveness of staff intervention was               purposes.
          examined through a Pearson correlation: r(4843) = -.24, p<.001.
                                                                                 160 To test differences in rates of staff intervention regarding anti-
          Percentages are shown for illustrative purposes.
                                                                                     LGBTQ language by type of school policy, a multivariate analysis
      156 To test differences in victimization by effectiveness of staff             of variance (MANOVA) was conducted, with policy type as the
          intervention, two Pearson correlations were conducted, with                independent variable and frequency of intervention regarding
          effectiveness of staff intervention as the independent variable, and       homophobic remarks and intervention regarding negative
          victimization based on sexual orientation and gender expression            remarks about gender expression as the dependent variables.
          as the dependent variables. Both relationships were significant –          The multivariate effect was significant: Pillai’s trace = .04, F(6,
          Victimization based on sexual orientation: r(4712) = -.26, p<.001;         21410) = 65.42, p<.001.The univariate effects of policy type
          Victimization based on gender expression: r(4683) = -.23, p<.001.          on rates of intervention regarding homophobic language and on
          Percentages are shown for illustrative purposes.                           rates of intervention regarding negative remarks about gender
                                                                                     expression were significant – Intervention regarding homophobic
      157 To test differences in number of supportive educators by presence
                                                                                     language: F(3, 10705) = 117.93, p<.001, ηp2 = .03; Intervention
          of Safe Space stickers/posters, an independent-samples t-test




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     regarding negative remarks about gender expression: F(3, 10705)        166 To compare differences between specific policy protections for use
     = 83.83, p<.001, ηp2 = .02. Post-hoc Bonferroni comparisons were           of chosen names/pronouns and corresponding experiences with
     considered at p<.01. For both interventions regarding homophobic           name/pronoun discrimination among transgender and nonbinary
     language and negative remarks about gender expression, teachers            students, a chi-square test was conducted. The analysis was
     intervened most frequently in schools with comprehensive policies,         significant: c2 = 14.55, df = 1, p<.001, φ = -.13. Transgender and
     followed by schools with partially enumerated policies, followed by        nonbinary students in schools with policy protections with regard
     schools with a generic policy, and lastly followed by schools with         to using their chosen names/pronouns were less likely to have been
     no policy. Percentages of staff intervention “most of the time” or         prevented from using their chosen names/pronouns, than compared
     “always” are shown for illustrative purposes.                              to those who did not have such policy.
161 To test differences in rates of student reporting of victimization      167 To compare differences between specific policy protections related
    incidents to staff by type of school policy, an analysis of variance        to gendered dress codes and corresponding experiences with
    (ANOVA) was conducted, with policy type as the independent                  clothing discrimination among transgender and nonbinary students,
    variable and frequency of student reporting of victimization to staff       a chi-square test was conducted. The analysis was not significant.
    as the dependent variable. The main effect of policy type on rates
                                                                            168 Wernick, L. J., Kulick, A., & Chin, M. (2017). Gender identity
    of reporting was significant: F(3, 11142) = 26.82, p<.001, ηp2 =
                                                                                disparities in bathroom safety and wellbeing among high school
    .01. Post-hoc Bonferroni comparisons were considered at p<.01.
                                                                                students. Journal of Youth and Adolescence, 46(5), 917-930.
    Students reported most frequently in schools with a comprehensive
    policy than students in schools with no policy, students with a         169 Russell, S. T., Pollitt, A. M., Li, G., & Grossman, A. H. (2018).
    generic policy, and students with a partially enumerated policy.            Chosen name use is linked to reduced depressive symptoms,
    No other policy differences were found. Percentages of students             suicidal ideation, and suicidal behavior among transgender youth.
    reporting victimization incidents to school staff “most of the time”        Journal of Adolescent Health, 63(4), 503-505.
    or “always” are shown for illustrative purposes.
                                                                            170 To compare number of days having missed school in past month
162 To test differences in effectiveness of staff intervention regarding        due to feeling unsafe or uncomfortable by presence of supportive
    victimization incidents by type of school policy, an analysis               transgender and nonbinary policies among transgender and
    of variance (ANOVA) was conducted, with policy type as the                  nonbinary students, a chi square test was conducted. The analysis
    independent variable and effectiveness staff of intervention as the         was significant: c2 = 19.71 df = 4, p<.001 Cramer’s V = .05.
    dependent variable. The main effect of policy type on effectiveness         Transgender and nonbinary students in schools with supportive
    of intervention was significant: F(3, 4839)=38.13, p<.001, ηp2 =            transgender and nonbinary policies were less likely to miss school
    .02. Post-hoc Bonferroni comparisons were considered at p<.01.              due to safety concerns than those in schools without such policies.
    Students in schools with a comprehensive policy and students                Percentages are shown for illustrative purposes.
    in schools with a partially enumerated policy were more likely to
                                                                            171 To compare levels of school belonging by presence of a transgender
    report effective staff intervention than students in schools with
                                                                                and nonbinary policy among transgender and nonbinary students,
    a generic policy and students in schools with no policy. No other
                                                                                an independent-samples t-test was conducted with presence of
    significant policy type differences were found. Percentages of
                                                                                supportive a transgender and nonbinary policy as the independent
    students reporting that staff intervention regarding victimization
                                                                                variable, and school belonging as the dependent variable. The
    incidents was “somewhat” or “very” effective are shown for
                                                                                effect was significant: t(1122.24) = 18.09, p<.001, Cohen’s d =
    illustrative purposes.
                                                                                .67.
163 To test differences between whether schools that have transgender
                                                                            172 The relationship between number of protections included in
    and nonbinary student policies/guidelines and experiences with
                                                                                transgender and nonbinary policy, and school belonging and
    gender-related discrimination among transgender and nonbinary
                                                                                missing school due to feeling unsafe among transgender and
    students, a multivariate analysis of variance (MANOVA) was
                                                                                nonbinary students were assessed through Pearson correlations
    conducted with transgender and nonbinary student policies as the
                                                                                – School belonging: r(878) = .18, p<.001. Missing school due
    independent variable, and the four variables related to gender-
                                                                                to feeling unsafe was not significantly associated with number of
    related discrimination as the dependent variables (required to
                                                                                protections included in transgender and nonbinary policy at p<.01.
    use bathrooms of legal sex, required to use locker rooms of legal
    sex, prevented from using chosen name/pronouns, prevented               173 GLSEN (2016). Educational exclusion: Drop out, push out, and
    from wearing clothes thought inappropriate based on gender).                the school-to-prison pipeline among LGBTQ youth. New York,
    Multivariate results were significant: Pillai’s Trace = .05, F(4,           NY: GLSEN. https://www.glsen.org/sites/default/files/2019-11/
    7105) = 89.63, p<.001. Univariate effects were significant for              Educational_Exclusion_2013.pdf
    all gender-related discrimination – Required to use bathrooms of
                                                                                 James, S. E., Herman, J. L., Rankin, S., Keisling, M., Mottet, L., &
    legal sex: F(1, 7108) = 230.65, p<.001, ηp2 = .03; required to
                                                                                 Anafi, M. (2016). The report of the 2015 U.S. Transgender Survey.
    use locker rooms of legal sex: F(1, 7108) = 201.01, p<.001, ηp2
                                                                                 Washington, DC: National Center for Transgender Equality. https://
    = .03; Prevented from using chosen name/pronouns: F(1, 7108)
                                                                                 transequality.org/sites/default/files/docs/usts/USTS-Full-Report-
    = 224.46, p<.001, ηp2 = .03; Prevented from wearing clothes
                                                                                 Dec17.pdf
    deemed inappropriate based on gender: F(1, 7108) = 134.19,
    p<.001, ηp2 = .02. Percentages are shown for illustrative purposes.          Movement Advancement Project (MAP) and GLSEN. (April 2017).
                                                                                 Separation and stigma: Transgender youth and school facilities.
164 To compare differences between specific policy protections for
                                                                                 https://www.lgbtmap.org/file/transgender-youth-school.pdf
    use of locker room that align with their gender and corresponding
    experiences of locker room discrimination among transgender and         174 Kroger, J. (2007). Identity development: Adolescence through
    nonbinary students, a chi-square test was conducted. The analysis           adulthood. Sage Publications.
    was significant: c2 = 56.36, df = 1, p<.001, φ = -.25. Transgender
                                                                                 McClean, K. C. & Syed, M. (2015). The Oxford Handbook of
    and nonbinary students in schools with policy protections for use
                                                                                 Identity Development. Oxford University Press.
    of locker room that align with their gender were less likely to have
    been prevented from using the locker room of their gender than          175 To examine differences in age by sexual orientation, an analysis
    compared to those who did not have such policy.                             of variance (ANOVA) was conducted. The effect was significant,
                                                                                F(4, 16089) = 22.70, p<.001, ηp2 = .01. Pairwise comparisons
165 To compare differences between specific policy protections for
                                                                                were considered at p<.01: queer (M=15.86) was different from
    use of bathrooms that align with their gender and use of gender-
                                                                                all other sexual orientations; gay/lesbian (M=15.60) was different
    neutral bathrooms, and corresponding experiences of bathroom
                                                                                from pansexual (M=15.36) and questioning (M=15.37); bisexual
    discrimination among transgender and nonbinary students, two
                                                                                (M=15.54) was different from pansexual. There were no other
    separate chi-square tests were conducted. All analyses were
                                                                                group differences.
    significant – Policy protections for use of bathrooms that align with
    gender: c2 = 63.28, df = 1, p<.001, φ = -.27; Policy protections        176 Cass, V. (1979). Homosexual identity formation: A theoretical
    for use of gender-neutral bathrooms: c2 = 4.55, df = 1, p<.05, φ            model. Journal of Homosexuality, 4(3), 219-235.
    = -.07. Transgender and nonbinary students in schools with policy
                                                                                 Glover, J. A., Galliher, R. V., Lamere, T. G. (2009). Identity
    protections for use of bathroom that align with their gender and
                                                                                 development and exploration among sexual minority adolescents:
    for use of gender neutral bathrooms were less likely to have been
                                                                                 Examination of a multidimensional model. Journal of
    prevented from using bathrooms that aligned with their gender,
                                                                                 Homosexuality, 56, 1-25.
    than compared to those who did not have such policies.




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           Institute of Medicine of the National Academies. (2011). The              183 Mitchell, K. J., Ybarra, M. L., & Korchmaros, J. D. (2014). Sexual
           health of lesbian, gay, bisexual, and transgender people: Building            harassment among adolescents of different sexual orientations and
           a foundation for better understanding. The National Academies                 gender identities. Child Abuse & Neglect, 38(2), 280-295.
           Press.
                                                                                          O’Malley Olsen, E., Vivolo-Kantor, A., & Kann, L. (2017). Physical
           Kenneady, D. A., & Oswalt, S. B. (2014). Is Cass’s model of                    and sexual teen dating violence victimization and sexual identity
           homosexual identity formation relevant to today’s society?                     among U.S. high school students, 2015. Journal of Interpersonal
           American Journal of Sexuality Education, 9(2), 229-246.                        Violence. Published online. doi: 10.1177/0886260517708757
      177 Kosciw, J. G., Palmer, N. A., & Kull, R. M. (2015). Reflecting             184 To compare experiences of anti-LGBTQ victimization by sexual
          resiliency: Openness about sexual orientation and/or gender identity           orientation, a multivariate analysis of covariance (MANCOVA) was
          and its relationships to well-being and educational outcomes for               conducted with two victimization variables (weighted victimization
          LGBT students. American Journal of Community Psychology, 55(1),                based on sexual orientation and weighted victimization based on
          167-178.                                                                       gender expression) as dependent variables, sexual orientation as
                                                                                         the independent variable, and age, outness (to peers and to staff),
           Watson, R. J., Wheldon, C. W., & Russell, S. T. (2015). How does
                                                                                         and gender as controls. The multivariate effect was significant:
           sexual identity disclosure impact school experiences? Journal of
                                                                                         Pillai’s Trace = .02, F(8, 30588) = 22.86, p<.001. The univariate
           LGBTQ Youth, 12(4), 385-386.
                                                                                         effect for victimization based on sexual orientation was significant:
      178 To examine differences in outness to peers and outness to staff by             F(4, 15294) = 35.11, p<.001, ηp2 = .01. Pairwise comparisons
          sexual orientation, a multivariate analysis of covariance (MANCOVA)            were considered at p<.01: pansexual and gay/lesbian were higher
          was conducted with degree of outness to peers and degree of                    than all other groups, but were not different from each other.
          outness to staff as the dependent variables, sexual orientation as             Bisexual was different from questioning. There were no other
          the independent variable, and age as a control. The multivariate               group differences. The univariate effect for victimization based on
          effect was significant: Pillai’s Trace = .03, F(8, 32108) = 50.94,             gender expression was significant: F(4, 15296) = 10.28, ηp2 = .00.
          p<.001. The univariate effect for outness to peers was significant:            Pairwise comparisons were considered at p<.01: pansexual was
          F(4, 16054) = 79.26, p<.001, ηp2 = .02. Pairwise comparisons                   different from all other sexual orientations. There were no other
          were considered at p<.01: gay and lesbian was different from all;              group differences. Percentages are shown for illustrative purposes.
          bisexual was different from pansexual and questioning; pansexual
                                                                                     185 To examine differences in experiences of sexual harassment
          was different from queer; questioning was different from all. There
                                                                                         by sexual orientation, an analysis of covariance (ANCOVA) was
          were no other group differences. The univariate effect for outness
                                                                                         conducted with sexual harassment as the dependent variable,
          to staff was significant F(4, 16054) = 70.64, p<.001, ηp2 = .02.
                                                                                         sexual orientation as the independent variable, and age, outness
          Pairwise comparisons were considered at p<.01: Gay and lesbian
                                                                                         (to peers and to staff), and gender as controls. The effect was
          was higher than bisexual, pansexual, and questioning; bisexual
                                                                                         significant: F(4, 15924) = 20.78, p<.001, ηp2 = .01. Pairwise
          was lower than pansexual and queer; questioning was lower than
                                                                                         comparisons were considered at p<.01: pansexual was different
          pansexual and queer. There were no other group differences.
                                                                                         from all sexual orientations; gay/lesbian was different from
          Percentages are shown for illustrative purposes.
                                                                                         bisexual. There were no other group differences. Percentages are
      179 Kosciw, J. G., Greytak, E. A., Zongrone, A. D., Clark, C. M., &                shown for illustrative purposes.
          Truong, N. L. (2018). The 2017 National School Climate Survey:
                                                                                     186 To examine differences in experiencing anti-LGBTQ discrimination
          The experiences of lesbian, gay, bisexual, transgender, and queer
                                                                                         by sexual orientation, an analysis of covariance (ANCOVA) was
          youth in our nation’s schools. New York: GLSEN.
                                                                                         conducted with the composite anti-LGBTQ discrimination variable
      180 To examine differences in identifying as cisgender or not cisgender            (experienced any anti-LGBTQ victimization) as the dependent
          by sexual orientation, a chi square test was conducted. The test               variable, sexual orientation as the independent variable, and age,
          was significant: χ2 = 1007.25, df = 8, p<.001, Cramer’s V = .18.               outness (to peers and to staff), and gender as controls. The effect
          Pairwise comparisons were considered at p<.05. Pansexual and                   was significant: F(4, 15834) = 10.63, p<.001, ηp2 = .00. Pairwise
          queer were not different from each other, but were different from              comparisons were considered at p<.01: pansexual was different
          all other sexual orientations. Gay and lesbian and bisexual were not           from gay/lesbian, bisexual, and questioning. There were no other
          different from each other, but were different from all other sexual            group differences. Percentages are shown for illustrative purposes.
          orientations. Questioning was different from all others.
                                                                                     187 Greytak, E. A., Kosciw, J. G., Villenas, C, & Giga, N. M. (2016).
      181 See endnote above.                                                             From teasing to torment: School climate revisited, a survey of
                                                                                         U.S. secondary school students and teachers. New York: GLSEN.
      182 Sexual orientation was assessed with a multi-check item (i.e.,
                                                                                         https://www.glsen.org/sites/default/files/2019-12/From_Teasing_to_
          gay, lesbian, straight/heterosexual, bisexual, pansexual, queer,
                                                                                         Tormet_Revised_2016.pdf
          and questioning) with an optional write-in item for sexual
          orientations not listed. Youth were allowed to endorse multiple                 Mittleman, J. (2018). Sexual orientation and school discipline:
          options. Mutually exclusive categories were created at the data                 New evidence from a population-based sample. Educational
          cleaning stage so that analyses could compare youth across sexual               Researcher, 47(3), 181-190.
          orientation categories using the following hierarchy: gay/lesbian,
                                                                                          Palmer, N. A. & Greytak, E. A. (2017). LGBTQ student
          bisexual, pansexual, queer, questioning, and straight/heterosexual.
                                                                                          victimization and its relationship to school discipline and justice
          Thus, as an example, if an individual identified as “gay” and
                                                                                          system involvement. Criminal Justice Review, 42(2), 163-187.
          “queer” they were categorized as “gay/lesbian”; if an individual
          identified as “bisexual” and “questioning,” they were categorized               Poteat, V. P., Scheer, J. R., & Chong, E. S. K. (2016). Sexual
          as “bisexual.”                                                                  orientation-based disparities in school and juvenile justice
                                                                                          discipline: A multiple group comparison of contributing factors.
           In addition to the list of sexual orientation options students could
                                                                                          Journal of Educational Psychology, 108(2), 229-241.
           choose, students were also provided with the opportunity to write
           in a sexual orientation that was not included in the list of options.     188 To examine differences in experiencing in-school and out-of-
           Most write-in responses were able to be coded into one of the                 school discipline by sexual orientation, a multivariate analysis of
           listed sexual orientations. A small portion of the total sample               covariance (MANCOVA) was conducted with a composite variable
           indicated that they identified with a sexual orientation other than           for any in-school discipline (referred to principal, detention, in-
           the ones listed (0.4%). Of these, some defined themselves as                  school suspension) and a composite variable for any out-of-school
           some form as “flexible,” (e.g., “homo-flexible”) and others refused           discipline (out-of-school suspension, expelled) as the dependent
           to label themselves altogether (e.g., “I love who I love”). Another           variables, sexual orientation as the independent variable, and
           group, made up predominantly of students with nonbinary gender                age, outness (to peers and to staff), and gender as controls.
           identities, defined their sexual identity in terms of solely the gender       The multivariate effect was significant: Pillai’s Trace = .00, F(8,
           identity or expressions of others, without reference to their own             31714) = 5.35, p<.001. The univariate effect was significant
           gender (i.e., ‘androsexual’ or ‘gynosexual’ individuals - those who           for in-school discipline: F(4, 15857) = 7.81, p<.001, ηp2 =
           have sexual feelings towards men or women, respectively). Given               .00. Pairwise comparisons were considered at p<.01: pansexual
           that these categories do not comprise a meaningful group and that             was different from queer and was marginally different from gay/
           they account for such a small portion of the sample, we did not               lesbian p<.05; queer was different from gay and lesbian and
           include these students in this analysis examining differences based           bisexual. There were no other group differences. The univariate
           on sexual orientation.                                                        effect for out-of-school discipline was significant F(4, 15895) =




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     5.46, p<.001, ηp2 = .00. Pairwise comparisons were considered                for victimization based on sexual orientation was significant:
     at p<.01: queer was different from gay and lesbian and pansexual             F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons
     and was marginally different from bisexual p<.05—. There were                were considered at p<.01: cisgender was different from all other
     no other group differences. Percentages are shown for illustrative           identities. There were no other group differences. The univariate
     purposes.                                                                    effect for victimization based on gender expression was significant:
                                                                                  F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
189 To examine differences in missing school by sexual orientation, an
                                                                                  were considered at p<.01: all gender identities were different
    analysis of covariance (ANCOVA) was conducted with days of school
                                                                                  from each other. The univariate effect for victimization based on
    missed in the last month due to feeling unsafe as the dependent
                                                                                  gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =
    variable, sexual orientation as the independent variable, and age,
                                                                                  .11. Pairwise comparisons were considered at p<.01: all gender
    outness (to peers and to staff), and gender as controls. The effect
                                                                                  identities were different from each other. Percentages are shown for
    was significant: F(4, 15940) = 9.65, p<.001, ηp2 = .00. Pairwise
                                                                                  illustrative purposes.
    comparisons were considered at p<.01: pansexual was different
    from gay/lesbian, bisexual, and queer. There were no other group         195 To compare feelings of safety by gender identity, a multivariate
    differences. Percentages are shown for illustrative purposes.                analysis of covariance (MANCOVA) was conducted with three safety
                                                                                 variables (safety regarding their sexual orientation, safety regarding
190 O’Malley Olsen, E., Vivolo-Kantor, A., & Kann, L. (2017). Physical
                                                                                 their gender expression, and safety regarding their gender) as
    and sexual teen dating violence victimization and sexual identity
                                                                                 dependent variables, gender identity (cisgender, transgender,
    among U.S. high school students, 2015. Journal of Interpersonal
                                                                                 nonbinary [NB], and questioning) as the independent variable,
    Violence. Published online. doi: 10.1177/0886260517708757
                                                                                 and age, outness (to peers and to staff), and sexual orientation
     Rasberry, C. N., Lowry, R., John, M., Robin, L., Dunville, R.,              as controls. The multivariate effect was significant: Pillai’s Trace
     Pampati, S., Dittus, P. J., & Balaji, A. B. (2018, September                = .47, F(9, 48969) = 1020.73, p<.001. The univariate effect
     14). Morbidity and mortality weekly report: Sexual Risk Behavior            for safety regarding their sexual orientation was significant: F(3,
     Differences Among Sexual Minority High School Students —                    16331) = 363.70, p<.001 ηp2 = .00. Pairwise comparisons
     United States, 2015 and 2017. MMWR Morb Mortal Wkly Rep,                    were considered at p<.01: cisgender was different from all other
     67, 1007–1011.                                                              identities; transgender and NB were different from each other.
                                                                                 There were no other group differences. The univariate effect for
     Saewyc, E. M., Skay, C. L., Pettingell, S., Bearinger, L. H.,
                                                                                 safety regarding their gender expression was significant: F(3,
     Resnick, M. D., & Reis, E. (2007). Suicidal ideation and attempts
                                                                                 16331) = 115.82, p<.001, ηp2 = .01. Pairwise comparisons were
     in North American school-based surveys: Are bisexual youth at
                                                                                 considered at p<.01: all gender identities were different from each
     increasing risk? Journal of LGBT Health Research, 3(1), 25-36.
                                                                                 other. The univariate effect for safety regarding their gender was
191 Gender was assessed via two items: an item assessing sex assigned            significant: F(3, 16331) = 284.66, p<.001, ηp2 = .02. Pairwise
    at birth (i.e., male or female) and an item assessing gender identity        comparisons were considered at p<.01: all gender identities were
    (i.e., cisgender, transgender, nonbinary, genderqueer, male,                 different from each other. Percentages are shown for illustrative
    female, questioning, and an additional write-in option). Based on            purposes.
    responses to these two items, students’ gender was categorized for
                                                                             196 To compare experiences of anti-LGBTQ victimization by gender
    these analyses as: Cisgender (including cisgender male, cisgender
                                                                                 identity, a multivariate analysis of covariance (MANCOVA) was
    female, cisgender nonbinary/genderqueer, or unspecified male or
                                                                                 conducted with three victimization variables (weighted victimization
    female), Transgender (including transgender male, transgender
                                                                                 based on sexual orientation, weighted victimization based on
    female, transgender nonbinary/genderqueer, and transgender
                                                                                 gender expression, and weighted victimization based on gender)
    only), Nonbinary (including nonbinary, genderqueer, nonbinary/
                                                                                 as dependent variables, gender identity (cisgender, transgender,
    genderqueer male, nonbinary/genderqueer female, or another
                                                                                 nonbinary [NB], and questioning) as the independent variable,
    nonbinary identity [i.e., those who wrote in identities such as
                                                                                 and age, outness (to peers and to staff), and sexual orientation
    “genderfluid,” “agender” or “demigender”]), and Questioning.
                                                                                 as controls. The multivariate effect was significant: Pillai’s Trace
192 GLSEN (2016). Educational exclusion: Drop out, push out, and the             = .17, F(9, 47076) = 319.41, p<.001. The univariate effect
    school-to-prison pipeline among LGBTQ youth. New York: GLSEN.                for victimization based on sexual orientation was significant:
    https://www.glsen.org/sites/default/files/2019-11/Educational_               F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons
    Exclusion_2013.pdf                                                           were considered at p<.01: cisgender was different from all other
                                                                                 identities. There were no other group differences. The univariate
193 To compare feelings of safety by gender identity, a multivariate
                                                                                 effect for victimization based on gender expression was significant:
    analysis of covariance (MANCOVA) was conducted with three safety
                                                                                 F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
    variables (safety regarding their sexual orientation, safety regarding
                                                                                 were considered at p<.01: all gender identities were different
    their gender expression, and safety regarding their gender) as
                                                                                 from each other. The univariate effect for victimization based on
    dependent variables, gender identity (cisgender, transgender,
                                                                                 gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =
    nonbinary [NB], and questioning) as the independent variable,
                                                                                 .11. Pairwise comparisons were considered at p<.01: all gender
    and age, outness (to peers and to staff), and sexual orientation
                                                                                 identities were different from each other. Percentages are shown for
    as controls. The multivariate effect was significant: Pillai’s Trace
                                                                                 illustrative purposes.
    = .47, F(9, 48969) = 1020.73, p<.001. The univariate effect
    for safety regarding their sexual orientation was significant: F(3,      197 To compare feelings of safety by gender identity, a multivariate
    16331) = 363.70, p<.001 ηp2 = .00. Pairwise comparisons                      analysis of covariance (MANCOVA) was conducted with three safety
    were considered at p<.01: cisgender was different from all other             variables (safety regarding their sexual orientation, safety regarding
    identities; transgender and NB were different from each other.               their gender expression, and safety regarding their gender) as
    There were no other group differences. The univariate effect for             dependent variables, gender identity (cisgender, transgender,
    safety regarding their gender expression was significant: F(3,               nonbinary [NB], and questioning) as the independent variable,
    16331) = 115.82, p<.001, ηp2 = .01. Pairwise comparisons were                and age, outness (to peers and to staff), and sexual orientation
    considered at p<.01: all gender identities were different from each          as controls. The multivariate effect was significant: Pillai’s Trace
    other. The univariate effect for safety regarding their gender was           = .47, F(9, 48969) = 1020.73, p<.001. The univariate effect
    significant: F(3, 16331) = 284.66, p<.001, ηp2 = .02. Pairwise               for safety regarding their sexual orientation was significant: F(3,
    comparisons were considered at p<.01: all gender identities were             16331) = 363.70, p<.001 ηp2 = .00. Pairwise comparisons
    different from each other. Percentages are shown for illustrative            were considered at p<.01: cisgender was different from all other
    purposes.                                                                    identities; transgender and NB were different from each other.
                                                                                 There were no other group differences. The univariate effect for
194 To compare experiences of anti-LGBTQ victimization by gender
                                                                                 safety regarding their gender expression was significant: F(3,
    identity, a multivariate analysis of covariance (MANCOVA) was
                                                                                 16331) = 115.82, p<.001, ηp2 = .01. Pairwise comparisons were
    conducted with three victimization variables (weighted victimization
                                                                                 considered at p<.01: all gender identities were different from each
    based on sexual orientation, weighted victimization based on
                                                                                 other. The univariate effect for safety regarding their gender was
    gender expression, and weighted victimization based on gender)
                                                                                 significant: F(3, 16331) = 284.66, p<.001, ηp2 = .02. Pairwise
    as dependent variables, gender identity (cisgender, transgender,
                                                                                 comparisons were considered at p<.01: all gender identities were
    nonbinary [NB], and questioning) as the independent variable,
                                                                                 different from each other. Percentages are shown for illustrative
    and age, outness (to peers and to staff), and sexual orientation
                                                                                 purposes.
    as controls. The multivariate effect was significant: Pillai’s Trace
    = .17, F(9, 47076) = 319.41, p<.001. The univariate effect               198 To compare experiences of anti-LGBTQ victimization by gender




EXHIBIT D                                                                                                                                        193      163
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            identity, a multivariate analysis of covariance (MANCOVA) was                (to peers and to staff), and sexual orientation as controls. The
            conducted with three victimization variables (weighted victimization         multivariate effect was significant: Pillai’s Trace = .03, F(6, 32814)
            based on sexual orientation, weighted victimization based on                 = 89.41, p<.001. The univariate effect for missing school was
            gender expression, and weighted victimization based on gender)               significant: F(3, 16407) = 164.70, p<.001 ηp2 = .03. Pairwise
            as dependent variables, gender identity (cisgender, transgender,             comparisons were considered at p<.01: NB and questioning were
            nonbinary [NB], and questioning) as the independent variable,                not different from each other. All other gender identities were
            and age, outness (to peers and to staff), and sexual orientation             different from each other. The univariate effect for changing
            as controls. The multivariate effect was significant: Pillai’s Trace         schools was significant: F(3, 16407) = 51.85, p<.001, ηp2 = .01.
            = .17, F(9, 47076) = 319.41, p<.001. The univariate effect                   Pairwise comparisons were considered at p<.01: transgender was
            for victimization based on sexual orientation was significant:               different from all other gender identities; cisgender and NB were
            F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons                  different from each other. There were no other group differences.
            were considered at p<.01: cisgender was different from all other             Percentages are shown for illustrative purposes.
            identities. There were no other group differences. The univariate
                                                                                    204 See previous endnote.
            effect for victimization based on gender expression was significant:
            F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons           205 To compare not planning to complete high school or being unsure
            were considered at p<.01: all gender identities were different              about graduating by gender identity, an analysis of covariance
            from each other. The univariate effect for victimization based on           (ANCOVA) was conducted with planning to graduate high school
            gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =                 as the dependent variable, gender identity (cisgender, transgender,
            .11. Pairwise comparisons were considered at p<.01: all gender              nonbinary [NB], and questioning) as the independent variable,
            identities were different from each other. Percentages are shown for        and age, outness (to peers and to staff), and sexual orientation as
            illustrative purposes.                                                      controls. The effect was significant. F(3, 16432) = 27.67, p<.001
                                                                                        ηp2 = .01. Pairwise comparisons were considered at p<.01:
      199 To compare avoiding spaces by gender identity, an analysis
                                                                                        transgender was different from all other gender identities. There
          of covariance (ANCOVA) was conducted with having avoided
                                                                                        were no other group differences.
          any space as dependent variable, gender identity (cisgender,
          transgender, nonbinary [NB], and questioning) as the independent          206 To compare having experienced any anti-LGBTQ discrimination at
          variable, and age, outness (to peers and to staff), and sexual                school by gender identity, an analysis of covariance (ANCOVA) was
          orientation as controls. The effect was significant: F(3, 16304) =            conducted with any anti-LGBTQ discrimination as the dependent
          492.34, p<.001 ηp2 = .08. Pairwise comparisons were considered                variable, gender identity (cisgender, transgender, nonbinary [NB],
          at p<.01. Cisgender avoided spaces less than all other gender                 and questioning) as the independent variable, and age, outness
          identities; transgender avoided spaces more than all other gender             (to peers and to staff), and sexual orientation as controls. The
          identities. There were no other group differences.                            effect was significant. F(3, 16312) = 430.79, p<.001, ηp2 =
                                                                                        .07. Pairwise comparisons were considered at p<.01: all gender
      200 Foley, J. T., Pineiro, C., Miller, D., & Foley, M. L. (2016). Including
                                                                                        identities were different from each other. Percentages are shown for
          transgender students in school physical education. Journal of
                                                                                        illustrative purposes.
          Physical Education, Recreation & Dance, 87(3), 5-8.
                                                                                    207 To compare each type of anti-LGBTQ discrimination by gender
            Johnson, J. (2014). Transgender youth in public schools: Why
                                                                                        identity, a series of analysis of covariance (ANCOVA) were
            identity matters in the restroom. William Mitchell Law Rev Sua
                                                                                        conducted with each type of anti-LGBTQ discrimination as the
            Sponte, 40, 63-98.
                                                                                        dependent variables, gender identity (cisgender, transgender,
            Murchison, G. R., Agénor, M., Reisner, S. L., & Watson, R. J.               nonbinary [NB], and questioning) as the independent variable,
            (2019). School restroom and locker room restrictions and sexual             and age, outness (to peers and to staff), and sexual orientation
            assault. Pediatrics, 143(6).                                                as controls. The effect for gendered clothes was significant: F(3,
                                                                                        16120) = 53.69, p<.001, ηp2 = .01. Pairwise comparisons were
            Szczerbinski, K. (2016). Education connection: The importance
                                                                                        considered at p<.01: cisgender was lower from transgender and
            of allowing students to use bathrooms and locker rooms reflecting
                                                                                        NB; NB was higher than questioning. There were no other group
            their gender identity. Child Legal Rights Journal, 36, 153.
                                                                                        differences. The effect for name/pronouns usage was significant:
      201 To compare avoiding gendered spaces at school because they felt               F(3, 16120) = 961.26, p<.001, ηp2 = .15. Pairwise comparisons
          unsafe or uncomfortable by gender identity, a series of analyses              were considered at p<.01: All gender identities were different from
          of covariance (ANCOVA) were conducted with different avoiding                 each other. The effect for bathroom access was significant: F(3,
          gendered spaces variables (school bathrooms, school locker                    16120) = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons
          rooms, gym/P.E. class) as the dependent variables, gender identity            were considered at p<.01: all gender identities were different from
          (cisgender, transgender, nonbinary [NB], and questioning), as                 each other. The effect for locker room access was significant: F(3,
          the independent variable, and age, outness (to peers and to                   16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons
          staff), and sexual orientation as controls. The effect for avoiding           were considered at p<.01: all gender identities were different from
          bathrooms was significant: F(3, 16304) = 1464.80, p<.001 ηp2                  each other. The effect for LGBTQ clothes was significant: F(3,
          = .21. Pairwise comparisons were considered at p<.01: All gender              16120) = 25.58, p<.001, ηp2 = .01. Pairwise comparisons were
          identities were different from each other. The effect for avoiding            considered at p<.01: cisgender was lower than transgender and
          locker rooms was significant: F(3, 16304) = 614.65, p<.001, ηp2               NB. There were no other group differences. The effect for school
          = .10. Pairwise comparisons were considered at p<.01: All gender              dance date was significant: F(3, 16120) = 22.72, p<.001, ηp2 =
          identities were different from each other. The effect for avoiding            .00. Pairwise comparisons were considered at p<.01: cisgender
          gym/P.E. class was significant: F(3, 16304) = 350.43, p<.001,                 was lower than all other gender identities. There were no other
          ηp2 = .06. Pairwise comparisons were considered at p<.01: NB and              group differences. The effect for public display of affection was
          questioning were not different from each other. All other gender              significant: F(3, 16120) = 61.15, p<.001, ηp2 = .01. Pairwise
          identities were different from each other. Percentages are shown for          comparisons were considered at p<.01: cisgender was lower than
          illustrative purposes.                                                        all other gender identities. There were no other gender differences.
                                                                                        The effect for identifying as LGBTQ was significant: F(3, 16120) =
      202 To compare school belonging by gender identity, an analysis of
                                                                                        10.87, p<.001, ηp2 = .00. Pairwise comparisons were considered
          covariance (ANCOVA) was conducted with school belongingas
                                                                                        at p<.01: cisgender was lower than transgender and NB. There
          the dependent variable, gender identity (cisgender, transgender,
                                                                                        were no other group differences. The effect for LGBTQ content in
          nonbinary [NB], and questioning), as the independent variable,
                                                                                        assignments was significant: F(3, 16120) = 40.14, p<.001, ηp2
          and age, outness (to peers and to staff), and sexual orientation
                                                                                        = .01. Pairwise comparisons were considered at p<.01: cisgender
          as controls. The effect was significant. F(3, 16433) = 499.83,
                                                                                        was lower than all other gender identities. There were no other
          p<.001 ηp2 = .08. Pairwise comparisons were considered at
                                                                                        gender differences. The effect for forming a GSA was significant:
          p<.01: cisgender was higher than all other gender identities;
                                                                                        F(3, 16120) = 45.41, p<.001, ηp2 = .01. Pairwise comparisons
          transgender students had lower school belonging that all other
                                                                                        were considered at p<.01: cisgender was lower than transgender
          gender identities. There were no other group differences.
                                                                                        and NB. There were no other group differences. The effect for
      203 To compare missing school and changing schools by gender                      LGBTQ content in extracurriculars was significant: F(3, 16120) =
          identity, a multivariate analysis of covariance (MANCOVA) was                 42.87, p<.001, ηp2 = .01. Pairwise comparisons were considered
          conducted with missing school and changing schools as dependent               at p<.01: cisgender was lower than all other gender identities.
          variables, gender identity (cisgender, transgender, nonbinary [NB],           There were no other gender differences. The effect for sports was
          and questioning) as the independent variable, and age, outness                significant: F(3, 16120) = 175.91, p<.001, ηp2 = .03. Pairwise




164   EXHIBIT D                                                                                                          194
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     comparisons were considered at p<.01: cisgender was lower                    variable, and age, outness (to peers and to staff), and sexual
     than all other gender identities; transgender was higher than all            orientation as controls. The multivariate effect was significant:
     other gender identities. There were no other group differences.              Pillai’s Trace = .05, F(9, 13794) = 7.83, p<.001. The univariate
     Percentages are shown for illustrative purposes.                             effect for safety because gender was significant: F(3, 4598) =
                                                                                  13.67, p<.001, ηp2 = .01. Pairwise comparisons were considered
208 See previous endnote.
                                                                                  at p<.01: trans NB was different from trans male and trans only.
209 To compare each type of anti-LGBTQ discrimination by gender                   There were no other group differences. The univariate effects for
    identity, a series of analysis of covariance (ANCOVA) were                    safety because of sexual orientation and gender expression were not
    conducted with each type of anti-LGBTQ discrimination as the                  significant. Percentages are shown for illustrative purposes.
    dependent variables, gender identity (cisgender, transgender,
                                                                             213 To compare experiences of anti-LGBTQ victimization by gender
    nonbinary [NB], and questioning) as the independent variable,
                                                                                 identity among transgender students, a multivariate analysis of
    and age, outness (to peers and to staff), and sexual orientation
                                                                                 covariance (MANCOVA) was conducted with three anti-LGBTQ
    as controls. The effect for gendered clothes was significant: F(3,
                                                                                 victimization variables (weighted victimization based on sexual
    16120) = 53.69, p<.001, ηp2 = .01. Pairwise comparisons were
                                                                                 orientation, weighted victimization based on gender expression, and
    considered at p<.01: cisgender was lower from transgender and
                                                                                 weighted victimization based on gender) as dependent variables,
    NB; NB was higher than questioning. There were no other group
                                                                                 gender identity (trans male, trans female, trans NB, and trans only)
    differences. The effect for name/pronouns usage was significant:
                                                                                 as the independent variable, and age, outness (to peers and to
    F(3, 16120) = 961.26, p<.001, ηp2 = .15. Pairwise comparisons
                                                                                 staff), and sexual orientation as controls. The multivariate effect
    were considered at p<.01: All gender identities were different from
                                                                                 was significant: Pillai’s Trace = .04, F(9, 13326) = 17.59, p<.001.
    each other. The effect for bathroom access was significant: F(3,
                                                                                 The univariate effect for victimization based on sexual orientation
    16120) = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons
                                                                                 was significant: F(3, 4442) = 13.34, p<.001 ηp2 = .01. Pairwise
    were considered at p<.01: all gender identities were different from
                                                                                 comparisons were considered at p<.01: trans male and trans
    each other. The effect for locker room access was significant: F(3,
                                                                                 NB were different from trans only. There were no other group
    16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons
                                                                                 differences. The univariate effect for victimization based on gender
    were considered at p<.01: all gender identities were different from
                                                                                 expression was significant: F(3, 4442) = 18.05, p<.001, ηp2 =
    each other. The effect for LGBTQ clothes was significant: F(3,
                                                                                 .01. Pairwise comparisons were considered at p<.01: trans male,
    16120) = 25.58, p<.001, ηp2 = .01. Pairwise comparisons were
                                                                                 trans NB, and trans only were different from each other. There were
    considered at p<.01: cisgender was lower than transgender and
                                                                                 no other group differences. The univariate effect for victimization
    NB. There were no other group differences. The effect for school
                                                                                 based on gender was significant: F(3, 4442) = 26.60, p<.001,
    dance date was significant: F(3, 16120) = 22.72, p<.001, ηp2 =
                                                                                 ηp2 = .02. Pairwise comparisons were considered at p<.01: trans
    .00. Pairwise comparisons were considered at p<.01: cisgender
                                                                                 only was different from all other trans identities; trans male and
    was lower than all other gender identities. There were no other
                                                                                 trans NB were different from each other. There were no other group
    group differences. The effect for public display of affection was
                                                                                 differences. Percentages are shown for illustrative purposes.
    significant: F(3, 16120) = 61.15, p<.001, ηp2 = .01. Pairwise
    comparisons were considered at p<.01: cisgender was lower than           214 See previous endnote.
    all other gender identities. There were no other gender differences.
                                                                             215 To compare experiences of anti-LGBTQ victimization by gender
    The effect for identifying as LGBTQ was significant: F(3, 16120) =
                                                                                 identity among transgender students, a multivariate analysis of
    10.87, p<.001, ηp2 = .00. Pairwise comparisons were considered
                                                                                 covariance (MANCOVA) was conducted with three anti-LGBTQ
    at p<.01: cisgender was lower than transgender and NB. There
                                                                                 victimization variables (weighted victimization based on sexual
    were no other group differences. The effect for LGBTQ content in
                                                                                 orientation, weighted victimization based on gender expression, and
    assignments was significant: F(3, 16120) = 40.14, p<.001, ηp2
                                                                                 weighted victimization based on gender) as dependent variables,
    = .01. Pairwise comparisons were considered at p<.01: cisgender
                                                                                 gender identity (trans male, trans female, trans NB, and trans only)
    was lower than all other gender identities. There were no other
                                                                                 as the independent variable, and age, outness (to peers and to
    gender differences. The effect for forming a GSA was significant:
                                                                                 staff), and sexual orientation as controls. The multivariate effect
    F(3, 16120) = 45.41, p<.001, ηp2 = .01. Pairwise comparisons
                                                                                 was significant: Pillai’s Trace = .04, F(9, 13326) = 17.59, p<.001.
    were considered at p<.01: cisgender was lower than transgender
                                                                                 The univariate effect for victimization based on sexual orientation
    and NB. There were no other group differences. The effect for
                                                                                 was significant: F(3, 4442) = 13.34, p<.001 ηp2 = .01. Pairwise
    LGBTQ content in extracurriculars was significant: F(3, 16120) =
                                                                                 comparisons were considered at p<.01: trans male and trans
    42.87, p<.001, ηp2 = .01. Pairwise comparisons were considered
                                                                                 NB were different from trans only. There were no other group
    at p<.01: cisgender was lower than all other gender identities.
                                                                                 differences. The univariate effect for victimization based on gender
    There were no other gender differences. The effect for sports was
                                                                                 expression was significant: F(3, 4442) = 18.05, p<.001, ηp2 =
    significant: F(3, 16120) = 175.91, p<.001, ηp2 = .03. Pairwise
                                                                                 .01. Pairwise comparisons were considered at p<.01: trans male,
    comparisons were considered at p<.01: cisgender was lower
                                                                                 trans NB, and trans only were different from each other. There were
    than all other gender identities; transgender was higher than all
                                                                                 no other group differences. The univariate effect for victimization
    other gender identities. There were no other group differences.
                                                                                 based on gender was significant: F(3, 4442) = 26.60, p<.001,
    Percentages are shown for illustrative purposes.
                                                                                 ηp2 = .02. Pairwise comparisons were considered at p<.01: trans
210 To compare experiences of school discipline by gender identity,              only was different from all other trans identities; trans male and
    a multivariate analysis of covariance (MANCOVA) was conducted                trans NB were different from each other. There were no other group
    with in-school discipline and out-of-school discipline as the                differences. Percentages are shown for illustrative purposes.
    dependent variables, gender identity (cisgender, transgender,
                                                                             216 To compare each type of anti-LGBTQ discrimination by gender
    nonbinary [NB], and questioning) as the independent variable,
                                                                                 identity, a series of analysis of covariance (ANCOVA) were
    and age, outness (to peers and to staff), and sexual orientation as
                                                                                 conducted with each type of anti-LGBTQ discrimination as the
    controls. Multivariate results were significant: Pillai’s Trace = .00,
                                                                                 dependent variables, gender identity (cisgender, transgender,
    F(6, 32672) = 10.90, p<.001. The univariate effect for in-school
                                                                                 nonbinary [NB], and questioning) as the independent variable,
    discipline was significant, F(3, 16336) = 20.58, p<.001 ηp2 =
                                                                                 and age, outness (to peers and to staff), and sexual orientation
    .00. Pairwise comparisons were considered at p<.01: cisgender
                                                                                 as controls. The effect for gendered clothes was significant: F(3,
    was different from all other gender identities. There were no
                                                                                 16120) = 53.69, p<.001, ηp2 = .01. Pairwise comparisons were
    other group differences. The univariate effect for out-of-school
                                                                                 considered at p<.01: cisgender was lower from transgender and
    discipline was significant, F(3, 16336) = 4.17, p<.001 ηp2 = .00.
                                                                                 NB; NB was higher than questioning. There were no other group
    Pairwise comparisons were considered at p<.01: cisgender was
                                                                                 differences. The effect for name/pronouns usage was significant:
    different from transgender. There were no other group differences.
                                                                                 F(3, 16120) = 961.26, p<.001, ηp2 = .15. Pairwise comparisons
    Percentages are shown for illustrative purposes.
                                                                                 were considered at p<.01: All gender identities were different
211 See previous endnote.                                                        from each other. The effect for bathroom access was significant:
                                                                                 F(3, 16120) = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons
212 To compare feelings of safety by gender identity among transgender
                                                                                 were considered at p<.01: all gender identities were different from
    students, a multivariate analysis of covariance (MANCOVA) was
                                                                                 each other. The effect for locker room access was significant: F(3,
    conducted with three safety variables (safety because of sexual
                                                                                 16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons were
    orientation, safety because of gender expression, and safety
                                                                                 considered at p<.01: all gender identities were different from each
    because of gender) as dependent variables, gender identity (trans
                                                                                 other.
    male, trans female, trans NB, and trans only) as the independent




EXHIBIT D                                                                                                                                      195      165
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      217 To compare gender-specific anti-LGBTQ discrimination by gender                   and age, outness (to peers and to staff), and sexual orientation as
          identity among cisgender students, a multivariate analysis                       controls. The multivariate effect was significant: Pillai’s Trace =
          of covariance (MANCOVA) was conducted with each type of                          .01, F(6, 9206) = 6.74, p<.001, ηp2 = .00. The univariate effect
          discrimination as the dependent variables, gender identity (cis                  for missing school was significant: F(3,4603) = 47.96, p<.01
          male, cis female) as the independent variable, and age, outness (to              ηp2 = .01. Pairwise comparisons were considered at p<.01: trans
          peers and to staff), and sexual orientation as controls. Multivariate            only was different from all other trans identities; trans male and
          results were not significant. Percentages are shown for illustrative             trans NB were different from each other. There were no other
          purposes.                                                                        group differences. The univariate effect for changing schools was
                                                                                           marginally significant: F(3,4603) = 2.51, p=.011, ηp2 = .00.
      218 To compare gender-specific anti-LGBTQ discrimination by gender
                                                                                           Pairwise comparisons were considered at p<.01: trans male and
          identity among transgender students, a multivariate analysis
                                                                                           trans NB were different from each other. There were no other group
          of covariance (MANCOVA) was conducted with each type of
                                                                                           differences. Percentages are shown for illustrative purposes.
          discrimination as the dependent variables, gender identity (trans
          male, trans female, trans NB, trans only) as the independent               222 See previous endnote.
          variable, and age, outness (to peers and to staff), and sexual
                                                                                     223 To compare educational aspirations by gender identity among
          orientation as controls. Multivariate results were significant: Pillai’s
                                                                                         transgender students, an analysis of covariance (ANCOVA) was
          Trace = .02, F(12, 13716) = 6.24, p<.001. The univariate effect
                                                                                         conducted with expecting to graduate high school as the dependent
          for bathroom access was significant, F(3, 4573) = 14.36, p<.001,
                                                                                         variable, gender identity (trans male, trans female, trans NB, and
          ηp2 = .01. Pairwise comparisons were considered at p<.01: trans
                                                                                         trans only) as the independent variable, and age, outness (to peers
          only was different from all other transgender identities; trans male
                                                                                         and to staff), and sexual orientation as controls. The effect was not
          and trans NB were different. There were no other group differences.
                                                                                         significant.
          The univariate effect for locker room access was significant, F(3,
          4573) = 16.47, p<.001 ηp2 = .01. Pairwise comparisons were                 224 To compare overall discrimination by gender identity among
          considered at p<.01: trans male and trans only were different from             transgender students, an analysis of covariance (ANCOVA) was
          trans NB. There were no other group differences. The univariate                conducted with total discrimination as dependent variable, gender
          effect for gendered clothes was significant: F(3, 4573) = 3.75,                identity (trans male, trans female, trans NB, trans only) as the
          p<.001, ηp2 = .00. Pairwise comparisons were considered at                     independent variable, and age, outness (to peers and to staff),
          p<.01: trans NB and trans only were different from each other.                 and sexual orientation as controls. The effect was significant,
          There were no other group differences. The univariate effect for               F(3, 4601) = 3.95, p<.01, ηp2 = .00. Pairwise comparisons were
          names/pronouns was not significant. Percentages are shown for                  considered at p<.01: trans NB and trans male were marginally
          illustrative purposes.                                                         different at p<.05. Percentages are shown for illustrative purposes.
      219 To compare gender-specific anti-LGBTQ discrimination among                 225 To compare each type of gender-specific anti-LGBTQ discrimination
          nonbinary students, a multivariate analysis of covariance                      by gender identity among transgender students, a multivariate
          (MANCOVA) was conducted with each kind of discrimination as                    analysis of covariance (MANCOVA) was conducted with each type
          the dependent variables, gender identity (nonbinary/genderqueer                of discrimination as the dependent variables, gender identity (trans
          (NB/GQ), other nonbinary, and nonbinary male or female) as the                 male, trans female, trans NB, and trans only) as the independent
          independent variable, and age, outness (to peers and to staff),                variable, and age, outness (to peers and to staff), and sexual
          and sexual orientation as controls. The multivariate effect was                orientation as controls. Multivariate results were significant: Pillai’s
          significant: Pillai’s Trace = .02, F(8, 4840) = 6.07, p<.001. The              Trace = .02, F(12, 13716) = 6.24, p<.001. The univariate effect
          univariate effect for bathrooms was significant, F(2, 2422) =                  for gendered clothes was significant, F(3, 4573) = 3.75, p<.001,
          12.48, p<.001, ηp2 = .01. Pairwise comparisons were considered                 ηp2 = .00. Pairwise comparisons were considered at p<.01: trans
          at p<.01: NB/GQ and other nonbinary were different from                        NB and trans only were marginally different from each other,
          nonbinary male or female. There were no other group differences.               p<.05. There were no other group differences. The univariate effect
          The univariate effect for locker rooms was significant, F(2, 2422) =           for bathroom access was significant, F(3, 4573) = 14.36, p<.001,
          10.41, p<.001, ηp2 = .02. Pairwise comparisons were considered                 ηp2 = .01. Pairwise comparisons were considered at p<.01: trans
          at p<.01: NB/GQ and other nonbinary were different from                        only was different from all other transgender identities; trans male
          nonbinary male or female. There were no other group differences.               and trans NB were different. There were no other group differences.
          The univariate effect for names/pronouns was significant, F(2,                 The univariate effect for locker room access was significant, F(3,
          2422) = 20.84, p<.001, ηp2 = .02. Pairwise comparisons were                    4573) = 16.47, p<.001 ηp2 = .01. Pairwise comparisons were
          considered at p<.01: NB/GQ and other nonbinary were different                  considered at p<.01: trans male and trans only were different
          from nonbinary male or female. There were no other group                       from trans NB. There were no other group differences. The
          differences. The univariate effect for gendered clothing was not               univariate effect for pronouns was significant F(3, 4573 )= 3.97,
          significant. Percentages are shown for illustrative purposes.                  p<.01. However, there were no significant pairwise comparisons.
                                                                                         Percentages are shown for illustrative purposes.
      220 To compare experiences of avoiding gendered school spaces by
          gender identity among transgender students, a multivariate analysis        226 See previous endnote.
          of covariance (MANCOVA) was conducted with three avoiding
                                                                                     227 To compare each type of gender-specific anti-LGBTQ discrimination
          gendered spaces variables (avoiding bathrooms, avoiding locker
                                                                                         by gender identity among transgender students, a multivariate
          rooms, and avoiding gym/P.E. class) as dependent variables, gender
                                                                                         analysis of covariance (MANCOVA) was conducted with each type
          identity (trans male, trans female, trans NB, and trans only) as
                                                                                         of discrimination as the dependent variables, gender identity (trans
          the independent variable, and age, outness (to peers and to staff),
                                                                                         male, trans female, trans NB, and trans only) as the independent
          and sexual orientation as controls. The multivariate effect was
                                                                                         variable, and age, outness (to peers and to staff), and sexual
          significant: Pillai’s Trace = .03, F(9, 13808) = 17.25, p<.001.
                                                                                         orientation as controls. Multivariate results were significant: Pillai’s
          The univariate effect for avoiding bathrooms was significant:
                                                                                         Trace = .02, F(12, 13716) = 6.24, p<.001. The univariate effect
          F(3,4606) = 44.59, p<.001 ηp2 = .02. Pairwise comparisons
                                                                                         for gendered clothes was significant, F(3, 4573) = 3.75, p<.001,
          were considered at p<.01: trans NB was different from trans
                                                                                         ηp2 = .00. Pairwise comparisons were considered at p<.01: trans
          males and trans only. There were no other group differences. The
                                                                                         NB and trans only were marginally different from each other,
          univariate effect for avoiding locker rooms was significant: F(3,
                                                                                         p<.05. There were no other group differences. The univariate effect
          4606) = 16.13, p<.001, ηp2 = .01. Pairwise comparisons were
                                                                                         for bathroom access was significant, F(3, 4573) = 14.36, p<.001,
          considered at p<.01: trans NB was different from trans males and
                                                                                         ηp2 = .01. Pairwise comparisons were considered at p<.01: trans
          trans only. There were no other group differences. The univariate
                                                                                         only was different from all other transgender identities; trans male
          effect for avoiding gym/P.E. class was significant: F(3, 4606) =
                                                                                         and trans NB were different. There were no other group differences.
          14.16, p<.001, ηp2 = .01. Pairwise comparisons were considered
                                                                                         The univariate effect for locker room access was significant, F(3,
          at p<.01: trans NB was different from trans male and trans only.
                                                                                         4573) = 16.47, p<.001 ηp2 = .01. Pairwise comparisons were
          There were no other group differences. Percentages are shown for
                                                                                         considered at p<.01: trans male and trans only were different
          illustrative purposes.
                                                                                         from trans NB. There were no other group differences. The
      221 To compare missing school and changing schools by gender identity              univariate effect for pronouns was significant F(3, 4573 )= 3.97,
          among transgender students, a multivariate analysis of covariance              p<.01. However, there were no significant pairwise comparisons.
          (MANCOVA) was conducted with missing school and changing                       Percentages are shown for illustrative purposes.
          schools as dependent variables, gender identity (trans male, trans
                                                                                     228 Reisner, S. L., Vetters, R., Leclerc, M., Zaslow, S., Wolfrum,
          female, trans NB, and trans only) as the independent variable,




166   EXHIBIT D                                                                                                           196
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     S., Shumer, D., & Mimiaga, M. J. (2015). Mental health of                  nonbinary [NB], and questioning) as the independent variable,
     transgender youth in care at an adolescent urban community health          and age, outness (to peers and to staff), and sexual orientation
     center: A matched retrospective cohort study. Journal of Adolescent        as controls. The multivariate effect was significant: Pillai’s Trace
     Health, 56(3), 274-279.                                                    = .173, F(9, 47076) = 319.41, p<.001. The univariate effect
                                                                                for victimization based on sexual orientation was significant:
     Veale, J. F., Watson, R. J., Peter, T., & Saewyc, E. M. (2017).
                                                                                F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons
     Mental health disparities among Canadian transgender youth.
                                                                                were considered at p<.01: cisgender was different from all other
     Journal of Adolescent Health, 60(1), 44-49.
                                                                                identities. There were no other group differences. The univariate
229 Bauer, G. R., Scheim, A. I., Deutsch, M. B., & Massarella, C.               effect for victimization based on gender expression was significant:
    (2014). Reported emergency department avoidance, use, and                   F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
    experiences of transgender persons in Ontario, Canada: results              were considered at p<.01: all gender identities were different
    from a respondent-driven sampling survey. Annals of Emergency               from each other. The univariate effect for victimization based on
    Medicine, 63(6), 713-720.                                                   gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =
                                                                                .11. Pairwise comparisons were considered at p<.01: all gender
     Bradford, J., Reisner, S. L., Honnold, J. A., & Xavier, J. (2013).
                                                                                identities were different from each other. Percentages are shown for
     Experiences of transgender-related discrimination and implications
                                                                                illustrative purposes
     for health: results from the Virginia Transgender Health Initiative
     Study. American Journal of Public Health, 103(10), 1820-1829.         234 To compare avoiding gender segregated spaces at school by
                                                                               gender identity, a series of analysis of covariance (ANCOVA)
     Cruz, T. M. (2014). Assessing access to care for transgender and
                                                                               were conducted with different avoiding gender segregated
     gender nonconforming people: A consideration of diversity in
                                                                               spaces variables (bathrooms, locker rooms, gym/PE class) as the
     combating discrimination. Social Science & Medicine, 110, 65-73.
                                                                               dependent variables, gender identity (cisgender, transgender,
     Kenagy, G. P., & Bostwick, W. B. (2005). Health and social service        nonbinary [NB], and questioning), as the independent variable,
     needs of transgender people in Chicago. International Journal of          and age, outness (to peers and to staff), and sexual orientation as
     Transgenderism, 8(2-3), 57-66.                                            controls. The effect for avoiding bathrooms was significant: F(3,
                                                                               16304) = 1464.80, p<.001 ηp2 = .21. Pairwise comparisons were
     Riggs, D. W., Coleman, K., & Due, C. (2014). Healthcare
                                                                               considered at p<.01: All gender identities were different from each
     experiences of gender diverse Australians: A mixed-methods, self-
                                                                               other. The effect for avoiding locker rooms was significant: F(3,
     report survey. BMC Public Health, 14(1), 230.
                                                                               16304) = 614.65, p<.001, ηp2 = .10. Pairwise comparisons were
     Xavier, J., Honnold, J. A., & Bradford, J. B. (2007). The health,         considered at p<.01: All gender identities were different from each
     health-related needs and life course experiences of transgender           other. The effect for avoiding gym/PE class was significant: F(3,
     Virginians. Virginia Department of Health.                                16304) = 350.43, p<.001, ηp2 = .06. Pairwise comparisons were
                                                                               considered at p<.01: NB and questioning were not different from
230 Bradford, J., Reisner, S. L., Honnold, J. A., & Xavier, J. (2013).
                                                                               each other. All other gender identities were different from each
    Experiences of transgender-related discrimination and implications
                                                                               other. Percentages are shown for illustrative purposes.
    for health: results from the Virginia Transgender Health Initiative
    Study. American Journal of Public Health, 103(10), 1820-1829.          235 To compare avoiding school spaces by gender identity, a series of
                                                                               analysis of covariance (ANCOVA) were conducted with different
     Factor, R. & Rothblum, E. (2008). Exploring gender identity and
                                                                               avoiding spaces variables as the dependent variables, gender
     community among three groups of transgender individuals in the
                                                                               identity (cisgender, transgender, nonbinary [NB], and questioning)
     United States: MTFs, FTMs, and genderqueers. Health Sociology
                                                                               as the independent variable, and age, outness (to peers and to
     Review, 17(3), 235-253.
                                                                               staff), and sexual orientation as controls. The effect for avoiding
     Kenagy, G. P. (2005). The health and social service needs of              bathrooms was significant: F(3, 16304) = 1464.80, p<.001 ηp2
     transgender people in Philadelphia. International Journal of              = .21. Pairwise comparisons were considered at p<.01: All gender
     Transgenderism, 8(2-3), 49-56.                                            identities were different from each other. The effect for avoiding
                                                                               locker rooms was significant: F(3, 16304) = 614.65, p<.001, ηp2
     Simon, L., Zsolt, U., Fogd, D., & Czobor, P. (2011). Dysfunctional
                                                                               = .10. Pairwise comparisons were considered at p<.01: All gender
     core beliefs, perceived parenting behavior and psychopathology in
                                                                               identities were different from each other. The effect for avoiding
     gender identity disorder: A comparison of male-to-female, female-
                                                                               gym/PE class was significant: F(3, 16304) = 350.43, p<.001, ηp2
     to-male transsexual and nontranssexual control subjects. Journal of
                                                                               = .06. Pairwise comparisons were considered at p<.01: NB and
     Behavior Therapy and Experimental Psychiatry, 42(1), 38-45.
                                                                               questioning were not different from each other. All other gender
231 For one example, see Price-Feeny, M., Green, A., & Dorison, S.             identities were different from each other. The effect for avoiding
    (2020). Understanding the mental health of transgender and                 cafeterias/lunchrooms was significant: F(3, 16304) = 46.92,
    nonbinary youth. Journal of Adolescent Health, 66(6), 641-642.             p<.001 ηp2 = .01. Pairwise comparisons were considered at
                                                                               p<.01: Cisgender was different from all gender identities. There
232 To compare feelings of safety by gender identity, a multivariate
                                                                               were no other group differences. The effect for avoiding hallways/
    analysis of covariance (MANCOVA) was conducted with three
                                                                               stairwells was significant: F(3, 16304) = 18.92, p<.001, ηp2 =
    safety variables (safety based on sexual orientation, safety based
                                                                               .00. Pairwise comparisons were considered at p<.01: Cisgender
    on gender expression, and safety based on gender) as dependent
                                                                               was different from all gender identities. There were no other group
    variables, gender identity (cisgender, transgender, nonbinary [NB],
                                                                               differences. The effect for avoiding athletic fields/facilities was
    and questioning) as the independent variable, and age, outness
                                                                               significant: F(3, 16304) = 125.03, p<.001, ηp2 = .02. Pairwise
    (to peers and to staff), and sexual orientation as controls. The
                                                                               comparisons were considered at p<.01: transgender was different
    multivariate effect was significant: Pillai’s Trace = .474, F(9,
                                                                               from all gender identities; cisgender was different from all gender
    48969) = 1020.73, p<.001. The univariate effect for safety
                                                                               identities. There were no other group differences. The effect for
    based on sexual orientation was significant: F(3, 16331) =
                                                                               avoiding school buses was significant: F(3, 16304) = 42.01,
    363.70, p<.001 ηp2 = .00. Pairwise comparisons were considered
                                                                               p<.001, ηp2 = .01. Pairwise comparisons were considered at
    at p<.01: cisgender was different from all other identities;
                                                                               p<.01: cisgender was different from transgender and cisgender.
    transgender and NB were different from each other. There were no
                                                                               There were no other group differences. The effect for avoiding
    other group differences. The univariate effect for safety based on
                                                                               classrooms was significant: F(3, 16304) = 75.44, p<.001, ηp2 =
    gender expression was significant: F(3, 16331) = 115.82, p<.001,
                                                                               .01. Pairwise comparisons were considered at p<.01: cisgender
    ηp2 = .01. Pairwise comparisons were considered at p<.01: all
                                                                               was different from all gender identities. There were no other group
    gender identities were different from each other. The univariate
                                                                               differences. The effect for avoiding school grounds was significant:
    effect for safety based on gender was significant: F(3, 16331) =
                                                                               F(3, 16304) = 42.33, p<.001, ηp2 = .01. Pairwise comparisons
    284.66, p<.001, ηp2 = .02. Pairwise comparisons were considered
                                                                               were considered at p<.01: cisgender was different from all gender
    at p<.01: all gender identities were different from each other.
                                                                               identities. There were no other group differences.
    Percentages are shown for illustrative purposes.
                                                                           236 To compare school belonging by gender identity, an analysis of
233 To compare experiences of anti-LGBTQ victimization by gender
                                                                               covariance (ANCOVA) was conducted with school belonging as
    identity, a multivariate analysis of covariance (MANCOVA) was
                                                                               the dependent variable, gender identity (cisgender, transgender,
    conducted with three victimization variables (weighted victimization
                                                                               nonbinary (NB), and questioning), as the independent variable,
    based on sexual orientation, weighted victimization based on
                                                                               and age, outness (to peers and to staff), and sexual orientation
    gender expression, and weighted victimization based on gender)
                                                                               as controls. The effect was significant. F(3, 16433) = 499.83,
    as dependent variables, gender identity (cisgender, transgender,




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           p<.001, ηp2 = .08. Pairwise comparisons were considered at                   16120) = 53.69, p<.001, ηp2 = .01. Pairwise comparisons were
           p<.01: cisgender was higher than all other gender identities;                considered at p<.01: cisgender was lower from transgender and
           transgender was lower than all other gender identities. There were           NB; NB was higher than questioning. There were no other group
           no other group differences.                                                  differences. The effect for name/pronouns usage was significant:
                                                                                        F(3, 16120) = 961.26, p<.001, ηp2 = .15. Pairwise comparisons
      237 To compare each type of anti-LGBTQ discrimination by gender
                                                                                        were considered at p<.01: All gender identities were different from
          identity, a series of analysis of covariance (ANCOVA) were
                                                                                        each other. The effect for bathroom access was significant: F(3,
          conducted with each type of anti-LGBTQ discrimination as the
                                                                                        16120) = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons
          dependent variables, gender identity (cisgender, transgender,
                                                                                        were considered at p<.01: all gender identities were different from
          nonbinary [NB], and questioning) as the independent variable,
                                                                                        each other. The effect for locker room access was significant: F(3,
          and age, outness (to peers and to staff), and sexual orientation
                                                                                        16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons
          as controls. The effect for gendered clothes was significant: F(3,
                                                                                        were considered at p<.01: all gender identities were different from
          16120) = 53.69, p<.001, ηp2 = .01. Pairwise comparisons were
                                                                                        each other. The effect for LGBTQ clothes was significant: F(3,
          considered at p<.01: cisgender was lower from transgender and
                                                                                        16120) = 25.58, p<.001, ηp2 = .01. Pairwise comparisons were
          NB; NB was higher than questioning. There were no other group
                                                                                        considered at p<.01: cisgender was lower than transgender and
          differences. The effect for name/pronouns usage was significant:
                                                                                        NB. There were no other group differences. The effect for school
          F(3, 16120) = 961.26, p<.001, ηp2 = .15. Pairwise comparisons
                                                                                        dance date was significant: F(3, 16120) = 22.72, p<.001, ηp2 =
          were considered at p<.01: All gender identities were different from
                                                                                        .00. Pairwise comparisons were considered at p<.01: cisgender
          each other. The effect for bathroom access was significant: F(3,
                                                                                        was lower than all other gender identities. There were no other
          16120) = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons
                                                                                        group differences. The effect for public display of affection was
          were considered at p<.01: all gender identities were different from
                                                                                        significant: F(3, 16120) = 61.15, p<.001, ηp2 = .01. Pairwise
          each other. The effect for locker room access was significant: F(3,
                                                                                        comparisons were considered at p<.01: cisgender was lower than
          16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons
                                                                                        all other gender identities. There were no other gender differences.
          were considered at p<.01: all gender identities were different from
                                                                                        The effect for identifying as LGBTQ was significant: F(3, 16120) =
          each other. The effect for LGBTQ clothes was significant: F(3,
                                                                                        10.87, p<.001, ηp2 = .00. Pairwise comparisons were considered
          16120) = 25.58, p<.001, ηp2 = .01. Pairwise comparisons were
                                                                                        at p<.01: cisgender was lower than transgender and NB. There
          considered at p<.01: cisgender was lower than transgender and
                                                                                        were no other group differences. The effect for LGBTQ content in
          NB. There were no other group differences. The effect for school
                                                                                        assignments was significant: F(3, 16120) = 40.14, p<.001, ηp2
          dance date was significant: F(3, 16120) = 22.72, p<.001, ηp2 =
                                                                                        = .01. Pairwise comparisons were considered at p<.01: cisgender
          .00. Pairwise comparisons were considered at p<.01: cisgender
                                                                                        was lower than all other gender identities. There were no other
          was lower than all other gender identities. There were no other
                                                                                        gender differences. The effect for forming a GSA was significant:
          group differences. The effect for public display of affection was
                                                                                        F(3, 16120) = 45.41, p<.001, ηp2 = .01. Pairwise comparisons
          significant: F(3, 16120) = 61.15, p<.001, ηp2 = .01. Pairwise
                                                                                        were considered at p<.01: cisgender was lower than transgender
          comparisons were considered at p<.01: cisgender was lower than
                                                                                        and NB. There were no other group differences. The effect for
          all other gender identities. There were no other gender differences.
                                                                                        LGBTQ content in extracurriculars was significant: F(3, 16120) =
          The effect for identifying as LGBTQ was significant: F(3, 16120) =
                                                                                        42.87, p<.001, ηp2 = .01. Pairwise comparisons were considered
          10.87, p<.001, ηp2 = .00. Pairwise comparisons were considered
                                                                                        at p<.01: cisgender was lower than all other gender identities.
          at p<.01: cisgender was lower than transgender and NB. There
                                                                                        There were no other gender differences. The effect for sports was
          were no other group differences. The effect for LGBTQ content in
                                                                                        significant: F(3, 16120) = 175.91, p<.001, ηp2 = .03. Pairwise
          assignments was significant: F(3, 16120) = 40.14, p<.001, ηp2
                                                                                        comparisons were considered at p<.01: cisgender was lower
          = .01. Pairwise comparisons were considered at p<.01: cisgender
                                                                                        than all other gender identities; transgender was higher than all
          was lower than all other gender identities. There were no other
                                                                                        other gender identities. There were no other group differences.
          gender differences. The effect for forming a GSA was significant:
                                                                                        Percentages are shown for illustrative purposes.
          F(3, 16120) = 45.41, p<.001, ηp2 = .01. Pairwise comparisons
          were considered at p<.01: cisgender was lower than transgender           240 To compare feelings of safety by gender identity, a multivariate
          and NB. There were no other group differences. The effect for                analysis of covariance (MANCOVA) was conducted with three
          LGBTQ content in extracurriculars was significant: F(3, 16120) =             safety variables (safety based on sexual orientation, safety based
          42.87, p<.001, ηp2 = .01. Pairwise comparisons were considered               on gender expression, and safety based on gender) as dependent
          at p<.01: cisgender was lower than all other gender identities.              variables, gender identity (cisgender, transgender, nonbinary [NB]
          There were no other gender differences. The effect for sports was            as the independent variable, and age, outness (to peers and to
          significant: F(3, 16120) = 175.91, p<.001, ηp2 = .03. Pairwise               staff), and sexual orientation as controls. The multivariate effect
          comparisons were considered at p<.01: cisgender was lower                    was significant: Pillai’s Trace = .47, F(9, 48969) = 1020.73,
          than all other gender identities; transgender was higher than all            p<.001. The univariate effect for safety based on sexual orientation
          other gender identities. There were no other group differences.              was significant: F(3, 16331) = 363.70, p<.001 ηp2 = .00.
          Percentages are shown for illustrative purposes. Percentages are             Pairwise comparisons were considered at p<.01: cisgender was
          shown for illustrative purposes.                                             different from all other identities; transgender and NB were
                                                                                       different from each other. There were no other group differences.
      238 To compare missing school and changing schools by gender
                                                                                       The univariate effect for safety based on gender expression was
          identity, a multivariate analysis of covariance (MANCOVA) was
                                                                                       significant: F(3, 16331) = 115.82, p<.001, ηp2 = .01. Pairwise
          conducted with missing school and changing schools as dependent
                                                                                       comparisons were considered at p<.01: all gender identities were
          variables, gender identity (cisgender, transgender, nonbinary [NB],
                                                                                       different from each other. The univariate effect for safety based
          and questioning), as the independent variable, and age, outness
                                                                                       on gender was significant: F(3, 16331) = 284.66, p<.001, ηp2 =
          (to peers and to staff), and sexual orientation as controls. The
                                                                                       .02. Pairwise comparisons were considered at p<.01: all gender
          multivariate effect was significant: Pillai’s Trace = .03, F(6, 32814)
                                                                                       identities were different from each other. Percentages are shown for
          = 89.41, p<.001. The univariate effect for missing school was
                                                                                       illustrative purposes.
          significant: F(3, 16407) = 164.70, p<.001 ηp2 = .03. Pairwise
          comparisons were considered at p<.01: NB and questioning were            241 To compare experiences of anti-LGBTQ victimization by gender
          not different from each other. All other gender identities were              identity, a multivariate analysis of covariance (MANCOVA) was
          different from each other. The univariate effect for changing                conducted with three anti-LGBTQ victimization variables (weighted
          schools was significant: F(3, 16407) = 51.85, p<.001, ηp2 = .01.             victimization based on sexual orientation, weighted victimization
          Pairwise comparisons were considered at p<.01: transgender was               based on gender expression, and weighted victimization based
          different from all other gender identities; cisgender and NB were            on gender) as dependent variables, gender identity (cisgender,
          different from each other. There were no other group differences.            transgender, nonbinary [NB], and questioning) as the independent
          Percentages are shown for illustrative purposes.                             variable, and age, outness (to peers and to staff), and sexual
                                                                                       orientation as controls. The multivariate effect was significant:
      239 To compare each type of anti-LGBTQ discrimination by gender
                                                                                       Pillai’s Trace = .17, F(9, 47076) = 319.41, p<.001. The univariate
          identity, a series of analysis of covariance (ANCOVA) were
                                                                                       effect for victimization based on sexual orientation was significant:
          conducted with each type of anti-LGBTQ discrimination as the
                                                                                       F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons
          dependent variables, gender identity (cisgender, transgender,
                                                                                       were considered at p<.01: cisgender was different from all other
          nonbinary [NB], and questioning) as the independent variable,
                                                                                       identities. There were no other group differences. The univariate
          and age, outness (to peers and to staff), and sexual orientation
                                                                                       effect for victimization based on gender expression was significant:
          as controls. The effect for gendered clothes was significant: F(3,
                                                                                       F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons




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     were considered at p<.01: all gender identities were different                16304) = 350.43, p<.001, ηp2 = .06. Pairwise comparisons were
     from each other. The univariate effect for victimization based on             considered at p<.01: NB and questioning were not different from
     gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =                   each other. All other gender identities were different from each
     .11. Pairwise comparisons were considered at p<.01: all gender                other. Percentages are shown for illustrative purposes.
     identities were different from each other. Percentages are shown for
                                                                             246 To compare missing school and changing schools by gender
     illustrative purposes.
                                                                                 identity, a multivariate analysis of covariance (MANCOVA) was
242 To compare experiences of school discipline by gender identity,              conducted with missing school and changing schools as dependent
    a multivariate analysis of covariance (MANCOVA) was conducted                variables, gender identity (cisgender, transgender, nonbinary
    with any in-school discipline and any out-of-school discipline as            [NB], and questioning), as the independent variable, and age,
    the dependent variables, gender identity (cisgender, transgender,            outness (to peers and to staff), and sexual orientation as controls.
    nonbinary [NB], and questioning), as the independent variable,               The multivariate effect was significant: Pillai’s Trace = .03, F(6,
    and age, outness (to peers and to staff), and sexual orientation as          32814) = 89.41, p<.001. The univariate effect missing school was
    controls. Multivariate results were significant: Pillai’s Trace = .00,       significant: F(3, 16407) = 164.70, p<.001, ηp2 = .03. Pairwise
    F(6, 32672) = 10.90, p<.001. The univariate effect for in-school             comparisons were considered at p<.01: NB and questioning were
    discipline was significant: F(3, 16336) = 20.58, p<.001, ηp2 =               not different from each other. All other gender identities were
    .00. Pairwise comparisons were considered at p<.01: cisgender                different from each other. The univariate effect for changing
    was different from all other gender identities. There were no                schools was significant: F(3, 16407) = 51.85, p<.001, ηp2 = .01.
    other group differences. The univariate effect for out-of-school             Pairwise comparisons were considered at p<.01: transgender was
    discipline was significant: F(3, 16336) = 4.17, p<.001, ηp2 = .00.           different from all other gender identities; cisgender and NB were
    Pairwise comparisons were considered at p<.01: cisgender was                 different from each other. There were no other group differences.
    different from transgender. There were no other group differences.           Percentages are shown for illustrative purposes.
    Percentages are shown for illustrative purposes.
                                                                             247 To compare each type of anti-LGBTQ discrimination by gender
243 To compare feelings of safety by gender identity, a multivariate             identity, a series of analysis of covariance (ANCOVA) were
    analysis of covariance (MANCOVA) was conducted with three                    conducted with each type of anti-LGBTQ discrimination as the
    safety variables (safety based on sexual orientation, safety based           dependent variables, gender identity (cisgender, transgender,
    on gender expression, and safety based on gender) as dependent               nonbinary [NB], and questioning) as the independent variable,
    variables, gender identity (cisgender, transgender, nonbinary [NB]           and age, outness (to peers and to staff), and sexual orientation
    as the independent variable, and age, outness (to peers and to               as controls. The effect for gendered clothes was significant: F(3,
    staff), and sexual orientation as controls. The multivariate effect          16120) = 53.69, p<.001, ηp2 = .01. Pairwise comparisons were
    was significant: Pillai’s Trace = .47, F(9, 48969) = 1020.73,                considered at p<.01: cisgender was lower from transgender and
    p<.001. The univariate effect for safety based on sexual orientation         NB; NB was higher than questioning. There were no other group
    was significant: F(3, 16331) = 363.70, p<.001, ηp2 = .00.                    differences. The effect for name/pronouns usage was significant:
    Pairwise comparisons were considered at p<.01: cisgender was                 F(3, 16120) = 961.26, p<.001, ηp2 = .15. Pairwise comparisons
    different from all other identities; transgender and NB were                 were considered at p<.01: All gender identities were different from
    different from each other. There were no other group differences.            each other. The effect for bathroom access was significant: F(3,
    The univariate effect for safety based on gender expression was              16120) = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons
    significant: F(3, 16331) = 115.82, p<.001, ηp2 = .01. Pairwise               were considered at p<.01: all gender identities were different from
    comparisons were considered at p<.01: all gender identities were             each other. The effect for locker room access was significant: F(3,
    different from each other. The univariate effect for safety based on         16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons
    gender was significant: F(3, 16331) = 284.66, ηp2 = .02. Pairwise            were considered at p<.01: all gender identities were different from
    comparisons were considered at p<.01: all gender identities were             each other. The effect for LGBTQ clothes was significant: F(3,
    different from each other. Percentages are shown for illustrative            16120) = 25.58, p<.001, ηp2 = .01. Pairwise comparisons were
    purposes.                                                                    considered at p<.01: cisgender was lower than transgender and
                                                                                 NB. There were no other group differences. The effect for school
244 To compare experiences of anti-LGBTQ victimization by gender
                                                                                 dance date was significant: F(3, 16120) = 22.72, p<.001, ηp2 =
    identity, a multivariate analysis of covariance (MANCOVA) was
                                                                                 .00. Pairwise comparisons were considered at p<.01: cisgender
    conducted with three anti-LGBTQ victimization variables (weighted
                                                                                 was lower than all other gender identities. There were no other
    victimization based on sexual orientation, weighted victimization
                                                                                 group differences. The effect for public display of affection was
    based on gender expression, and weighted victimization based
                                                                                 significant: F(3, 16120) = 61.15, p<.001, ηp2 = .01. Pairwise
    on gender) as dependent variables, gender identity (cisgender,
                                                                                 comparisons were considered at p<.01: cisgender was lower than
    transgender, nonbinary [NB], and questioning) as the independent
                                                                                 all other gender identities. There were no other gender differences.
    variable, and age, outness (to peers and to staff), and sexual
                                                                                 The effect for identifying as LGBTQ was significant: F(3, 16120) =
    orientation as controls. The multivariate effect was significant:
                                                                                 10.87, p<.001, ηp2 = .00. Pairwise comparisons were considered
    Pillai’s Trace = .17, F(9, 47076) = 319.41, p<.001. The univariate
                                                                                 at p<.01: cisgender was lower than transgender and NB. There
    effect for victimization based on sexual orientation was significant:
                                                                                 were no other group differences. The effect for LGBTQ content in
    F(3, 15699) = 61.58, p<.001, ηp2 = .01. Pairwise comparisons
                                                                                 assignments was significant: F(3, 16120) = 40.14, p<.001, ηp2
    were considered at p<.01: cisgender was different from all other
                                                                                 = .01. Pairwise comparisons were considered at p<.01: cisgender
    identities. There were no other group differences. The univariate
                                                                                 was lower than all other gender identities. There were no other
    effect for victimization based on gender expression was significant:
                                                                                 gender differences. The effect for forming a GSA was significant:
    F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
                                                                                 F(3, 16120) = 45.41, p<.001, ηp2 = .01. Pairwise comparisons
    were considered at p<.01: all gender identities were different
                                                                                 were considered at p<.01: cisgender was lower than transgender
    from each other. The univariate effect for victimization based on
                                                                                 and NB. There were no other group differences. The effect for
    gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =
                                                                                 LGBTQ content in extracurriculars was significant: F(3, 16120) =
    .11. Pairwise comparisons were considered at p<.01: all gender
                                                                                 42.87, p<.001, ηp2 = .01. Pairwise comparisons were considered
    identities were different from each other. Percentages are shown for
                                                                                 at p<.01: cisgender was lower than all other gender identities.
    illustrative purposes.
                                                                                 There were no other gender differences. The effect for sports was
245 To compare avoiding gender segregated spaces at school by                    significant: F(3, 16120) = 175.91, p<.001, ηp2 = .03. Pairwise
    gender identity, a series of analyses of covariance (ANCOVA)                 comparisons were considered at p<.01: cisgender was lower
    were conducted with different avoiding gender segregated                     than all other gender identities; transgender was higher than all
    spaces variables (bathrooms, locker rooms, gym/PE class) as the              other gender identities. There were no other group differences.
    dependent variables, gender identity (cisgender, transgender,                Percentages are shown for illustrative purposes.
    nonbinary [NB], and questioning), as the independent variable,
                                                                             248 To compare experiences of school discipline by gender identity,
    and age, outness (to peers and to staff), and sexual orientation as
                                                                                 a multivariate analysis of covariance (MANCOVA) was conducted
    controls. The effect for avoiding bathrooms was significant: F(3,
                                                                                 with any in-school discipline and any out-of-school discipline as
    16304) = 1464.80, p<.001, ηp2 = .21. Pairwise comparisons were
                                                                                 the dependent variables, gender identity (cisgender, transgender,
    considered at p<.01: all gender identities were different from each
                                                                                 nonbinary [NB], and questioning), as the independent variable,
    other. The effect for avoiding locker rooms was significant: F(3,
                                                                                 and age, outness (to peers and to staff), and sexual orientation as
    16304) = 614.65, p<.001, ηp2 = .10. Pairwise comparisons were
                                                                                 controls. Multivariate results were significant: Pillai’s Trace = .00,
    considered at p<.01: All gender identities were different from each
                                                                                 F(6, 32672) = 10.90, p<.001. The univariate effect for in-school
    other. The effect for avoiding gym/PE class was significant: F(3,




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           discipline was significant: F(3, 16336) = 20.58, p<.001, ηp2 =              bathrooms was significant: F(2, 2422) = 12.48, p<.001, ηp2 = .01.
           .00. Pairwise comparisons were considered at p<.01: cisgender               Pairwise comparisons were considered at p<.01: NB/GQ and other
           was different from all other gender identities. There were no               nonbinary were different from nonbinary male or female. There
           other group differences. The univariate effect for out-of-school            were no other group differences. The univariate effect for locker
           discipline was significant: F(3, 16336) = 4.17, p<.001, ηp2 = .00.          rooms was significant: F(2, 2422) = 10.41, p<.001, ηp2 = .01.
           Pairwise comparisons were considered at p<.01: cisgender was                Pairwise comparisons were considered at p<.01: NB/GQ and other
           different from transgender. There were no other group differences.          nonbinary were different from nonbinary male or female. There
           Percentages are shown for illustrative purposes.                            were no other group differences. The univariate effect for gendered
                                                                                       clothing was not significant. Percentages are shown for illustrative
      249 To compare feelings of safety by gender identity among nonbinary
                                                                                       purposes.
          students, a multivariate analysis of covariance (MANCOVA) was
          conducted with three safety variables (safety because of sexual         253 To compare feelings of safety by gender identity, a multivariate
          orientation, safety because of gender expression, and safety                analysis of covariance (MANCOVA) was conducted with three
          because of gender) as the dependent variables, gender identity              safety variables (safety based on sexual orientation, safety based
          (nonbinary/genderqueer [NB/GQ], other nonbinary, and nonbinary              on gender expression, and safety based on gender) as dependent
          male or female) as the independent variable, and age, outness               variables, gender identity (cisgender, transgender, nonbinary
          (to peers and to staff), and sexual orientation as controls. The            [NB], and questioning) as the independent variable, and age,
          multivariate effect was significant: Pillai’s Trace = .05, F(6, 4884)       outness (to peers and to staff), and sexual orientation as controls.
          = 20.69, p<.001. The univariate effect for safety because of                The multivariate effect was significant: Pillai’s Trace = .47, F(9,
          gender expression was significant: F(2, 2443) = 4.84, p<.01,                48969) = 1020.73, p<.001. The univariate effect for safety
          ηp2 = .00. Pairwise comparisons were considered at p<.01: NB/               based on sexual orientation was significant: F(3, 16331) =
          GQ and other nonbinary were different from nonbinary male or                363.70, p<.001, ηp2 = .00. Pairwise comparisons were considered
          female. There were no other group differences. The univariate               at p<.01: cisgender was different from all other identities;
          effect for safety because of gender was significant: F(2, 2349) =           transgender and NB were different from each other. There were no
          14.78, p<.001, ηp2 = .01. Pairwise comparisons were considered              other group differences. The univariate effect for safety based on
          at p<.01: all gender identities were different from each other. The         gender expression was significant: F(3, 16331) = 115.82, p<.001,
          univariate effect for safety because of sexual orientation was not          ηp2 = .01. Pairwise comparisons were considered at p<.01: all
          significant. Percentages are shown for illustrative purposes.               gender identities were different from each other. The univariate
                                                                                      effect for safety based on gender was significant: F(3, 16331)
      250 To compare experiences of anti-LGBTQ victimization by gender
                                                                                      = 284.66, ηp2 = .02. Pairwise comparisons were considered
          identity among nonbinary students, a multivariate analysis of
                                                                                      at p<.01: all gender identities were different from each other.
          covariance (MANCOVA) was conducted with three anti-LGBTQ
                                                                                      Percentages are shown for illustrative purposes.
          victimization variables (weighted victimization based on sexual
          orientation, weighted victimization based on gender expression,         254 To compare experiences of anti-LGBTQ victimization by gender
          and weighted victimization based on gender) as the dependent                identity, a multivariate analysis of covariance (MANCOVA) was
          variables, gender identity (nonbinary/genderqueer [NB/GQ], other            conducted with three anti-LGBTQ victimization variables (weighted
          nonbinary, and nonbinary male or female) as the independent                 victimization based on sexual orientation, weighted victimization
          variable, and age, outness (to peers and to staff), and sexual              based on gender expression, and weighted victimization based
          orientation as controls. The multivariate effect was significant:           on gender) as dependent variables, gender identity (cisgender,
          Pillai’s Trace = .06, F(6, 4696) = 6.20, p<.001, ηp2 = .01. The             transgender, nonbinary [NB], and questioning) as the independent
          univariate effect for victimization because of gender expression was        variable, and age, outness (to peers and to staff), and sexual
          significant: F(2, 2349) = 8.21, p<.001, ηp2 = .01. However, there           orientation as controls. The multivariate effect was significant:
          were no significant pairwise comparisons for gender expression.             Pillai’s Trace = .17, F(9, 47076) = 319.41, p<.001. The univariate
          There were no other group differences. The univariate effect for            effect for victimization based on sexual orientation was significant:
          victimization because of gender was significant: F(2, 2443) =               F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons
          46.03, p<.001, ηp2 = .04. Pairwise comparisons were considered              were considered at p<.01: cisgender was different from all other
          at p<.01: NB/GQ and other nonbinary were higher than nonbinary              identities. There were no other group differences. The univariate
          male or female. There were no other group differences. The                  effect for victimization based on gender expression was significant:
          univariate effect for victimization because of sexual orientation was       F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
          not significant. Percentages are shown for illustrative purposes.           were considered at p<.01: all gender identities were different
                                                                                      from each other. The univariate effect for victimization based on
      251 To compare avoiding gender segregated spaces by gender identity
                                                                                      gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =
          among nonbinary students, a multivariate analysis of covariance
                                                                                      .11. Pairwise comparisons were considered at p<.01: all gender
          (MANCOVA) was conducted with three avoiding gender segregated
                                                                                      identities were different from each other. Percentages are shown for
          spaces variables (avoid bathrooms, avoid locker rooms, avoid gym/
                                                                                      illustrative purposes.
          PE class) as the dependent variables, gender identity (nonbinary/
          genderqueer [NB/GQ], other nonbinary, and nonbinary male or             255 To compare avoiding school spaces by gender identity, a series of
          female) as the independent variable, and age, outness (to peers             analysis of covariance (ANCOVA) were conducted with different
          and to staff), and sexual orientation as controls. The multivariate         avoiding spaces variables as the dependent variables, gender
          effect was significant: Pillai’s Trace = .01, F(6, 4872) = 3.62,            identity (cisgender, transgender, nonbinary [NB], and questioning)
          p<.001. The univariate effect for avoiding bathrooms was                    as the independent variable, and age, outness (to peers and to
          significant: F(2, 2437) = 7.86, p<.001, ηp2 = .01. Pairwise                 staff), and sexual orientation as controls. The effect for avoiding
          comparisons were considered at p<.01: NB/GQ and other nonbinary             bathrooms was significant: F(3, 16304) = 1464.80, p<.001 ηp2
          were different from nonbinary male or female. There were no other           = .21. Pairwise comparisons were considered at p<.01: All gender
          group differences. Univariate effects for locker rooms and gym/PE           identities were different from each other. The effect for avoiding
          class were not significant. Percentages are shown for illustrative          locker rooms was significant: F(3, 16304) = 614.65, p<.001, ηp2
          purposes.                                                                   = .10. Pairwise comparisons were considered at p<.01: All gender
                                                                                      identities were different from each other. The effect for avoiding
      252 To compare gender-specific anti-LGBTQ discrimination among
                                                                                      gym/PE class was significant: F(3, 16304) = 350.43, p<.001, ηp2
          nonbinary students, a multivariate analysis of covariance
                                                                                      = .06. Pairwise comparisons were considered at p<.01: NB and
          (MANCOVA) was conducted with four gender-specific discrimination
                                                                                      questioning were not different from each other. All other gender
          variables (prevented from wearing gendered clothes, prevented
                                                                                      identities were different from each other. The effect for avoiding
          from using name and pronoun, prevented from using bathroom, and
                                                                                      cafeterias/lunchrooms was significant: F(3, 16304) = 46.92,
          prevented from using locker rooms) as the dependent variables,
                                                                                      p<.001 ηp2 = .01. Pairwise comparisons were considered at
          gender identity (nonbinary/genderqueer [NB/GQ], other nonbinary,
                                                                                      p<.01: Cisgender was different from all gender identities. There
          and nonbinary male or female) as the independent variable, and
                                                                                      were no other group differences. The effect for avoiding hallways/
          age, outness (to peers and to staff), and sexual orientation as
                                                                                      stairwells was significant: F(3, 16304) = 18.92, p<.001, ηp2 =
          controls. The multivariate effect was significant: Pillai’s Trace =
                                                                                      .00. Pairwise comparisons were considered at p<.01: Cisgender
          .02, F(8, 4840) = 6.07, p<.001. The univariate effect for names/
                                                                                      was different from all gender identities. There were no other group
          pronouns usage was significant: F(2, 2422) = 20.84, p<.001, ηp2
                                                                                      differences. The effect for avoiding athletic fields/facilities was
          = .02. Pairwise comparisons were considered at p<.01: NB/GQ
                                                                                      significant: F(3, 16304) = 125.03, p<.001, ηp2 = .02. Pairwise
          and other nonbinary were different from nonbinary male or female.
                                                                                      comparisons were considered at p<.01: transgender was different
          There were no other group differences. The univariate effect for




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     from all gender identities; cisgender was different from all gender           univariate effect for unsafety because of gender was significant:
     identities. There were no other group differences. The effect for             F(1, 8373) = 118.04, p<.001, ηp2 = .01. The univariate effect for
     avoiding school buses was significant: F(3, 16304) = 42.01,                   unsafety due to sexual orientation was not significant. Percentages
     p<.001, ηp2 = .01. Pairwise comparisons were considered at                    are shown for illustrative purposes.
     p<.01: cisgender was different from transgender and cisgender.
                                                                             261 To compare experiences of anti-LGBTQ victimization among
     There were no other group differences. The effect for avoiding
                                                                                 cisgender male and female students, a multivariate analysis of
     classrooms was significant: F(3, 16304) = 75.44, p<.001, ηp2 =
                                                                                 covariance (MANCOVA) was conducted with three anti-LGBTQ
     .01. Pairwise comparisons were considered at p<.01: cisgender
                                                                                 victimization variables (weighted victimization based on sexual
     was different from all gender identities. There were no other group
                                                                                 orientation, weighted victimization based on gender expression,
     differences. The effect for avoiding school grounds was significant:
                                                                                 and weighted victimization based on gender) as the dependent
     F(3, 16304) = 42.33, p<.001, ηp2 = .01. Pairwise comparisons
                                                                                 variables, gender identity (cis male or cis female) as the
     were considered at p<.01: cisgender was different from all gender
                                                                                 independent variable, and age, outness (to peers and to staff),
     identities. There were no other group differences.
                                                                                 and sexual orientation as controls. The multivariate effect was
256 To compare missing school and changing schools by gender                     significant: Pillai’s Trace = .05, F(3, 8023) = 146.36, p<.001. The
    identity, a multivariate analysis of covariance (MANCOVA) was                univariate effect for sexual orientation victimization was significant:
    conducted with missing school and changing schools as dependent              F(1, 8373) = 85.99, p<.001, ηp2 = .01. The univariate effect
    variables, gender identity (cisgender, transgender, nonbinary                for gender expression victimization was significant: F(1, 8373)
    [NB], and questioning), as the independent variable, and age,                = 133.98, p<.001, ηp2 = .02. The univariate effect for gender
    outness (to peers and to staff), and sexual orientation as controls.         victimization was significant: F(1, 8373) = 34.73, p<.001, ηp2 =
    The multivariate effect was significant: Pillai’s Trace = .03, F(6,          .00. Percentages are shown for illustrative purposes.
    32814) = 89.41, p<.001. The univariate effect missing school was
                                                                             262 See previous endnote.
    significant: F(3, 16407) = 164.70, p<.001, ηp2 = .03. Pairwise
    comparisons were considered at p<.01: NB and questioning were            263 To compare avoiding gender segregated spaces among cisgender
    not different from each other. All other gender identities were              male and female students, a multivariate analysis of covariance
    different from each other. The univariate effect for changing                (MANCOVA) was conducted with three avoiding gender segregated
    schools was significant: F(3, 16407) = 51.85, p<.001, ηp2 = .01.             spaces variables (avoiding bathrooms, avoiding locker rooms,
    Pairwise comparisons were considered at p<.01: transgender was               and avoiding gym/PE class) as the dependent variables, gender
    different from all other gender identities; cisgender and NB were            identity (cis male or cis female) as the independent variable,
    different from each other. There were no other group differences.            and age, outness (to peers and to staff), and sexual orientation
    Percentages are shown for illustrative purposes.                             as controls. The multivariate effect was significant: Pillai’s Trace
                                                                                 = .06, F(3, 8345) = 178.80, p<.001. The univariate effect for
257 To compare having experienced any anti-LGBTQ discrimination at
                                                                                 bathrooms was significant: F(1, 8347) = 459.48, p<.001, ηp2 =
    school by gender identity, an analysis of covariance (ANCOVA) was
                                                                                 .05. The univariate effect for locker rooms was significant: F(1,
    conducted with experiencing any anti-LGBTQ discrimination as
                                                                                 8347) = 184.05, p<.01, ηp2 = .02. The univariate effect for gym/
    the dependent variable, gender identity (cisgender, transgender,
                                                                                 PE class was significant: F(1, 8347) = 11.23, p<.001, ηp2 = .00.
    nonbinary [NB], and questioning) as the independent variable,
                                                                                 Percentages are shown for illustrative purposes.
    and age, outness (to peers and to staff), and sexual orientation
    as controls. The effects were significant: F(3, 16312) = 430.79,         264 To compare in-school discipline and out-of-school discipline among
    p<.001, ηp2 = .07. Pairwise comparisons were considered at                   cisgender male and female students, a multivariate analysis of
    p<.01: all gender identities were different from each other.                 covariance (MANCOVA) was conducted with any in-school and any
    Percentages are shown for illustrative purposes.                             out-of-school discipline as the dependent variables, gender identity
                                                                                 (cis male or cis female) as the independent variable, and age,
258 To compare experiences of school discipline by gender identity,
                                                                                 outness (to peers and to staff), and sexual orientation as controls.
    a multivariate analysis of covariance (MANCOVA) was conducted
                                                                                 The multivariate effect was significant: Pillai’s Trace = .00, F(2,
    with any in-school discipline and any out-of-school discipline as
                                                                                 8404) = 17.42, p<.001. The univariate effect for in-school
    the dependent variables, gender identity (cisgender, transgender,
                                                                                 discipline was significant: F(1, 8405) = 26.52, p<.001, ηp2 = .00.
    nonbinary [NB], and questioning) as the independent variable,
                                                                                 The univariate effect for out-of-school discipline was significant:
    and age, outness (to peers and to staff), and sexual orientation as
                                                                                 F(1, 8405) = 17.14, p<.01, ηp2 = .00. Percentages are shown for
    controls. Multivariate results were significant: Pillai’s Trace = .00,
                                                                                 illustrative purposes.
    F(6, 32672) = 10.90, p<.001. The univariate effect for in-school
    discipline was significant: F(3, 16336) = 20.58, p<.001, ηp2 =           265 To compare feelings of safety among cisgender male and female
    .00. Pairwise comparisons were considered at p<.01: cisgender                students, a multivariate analysis of covariance (MANCOVA) was
    was different from all other gender identities. There were no                conducted with three safety variables (feeling unsafe because of
    other group differences. The univariate effect for out-of-school             sexual orientation, feeling unsafe because of gender expression,
    discipline was significant: F(3, 16336) = 4.17, p<.001, ηp2 = .00.           and feeling unsafe because of gender) as the dependent variables,
    Pairwise comparisons were considered at p<.01: cisgender was                 gender identity (cis male or cis female) as the independent
    different from transgender. There were no other group differences.           variable, and age, outness (to peers and to staff), and sexual
    Percentages are shown for illustrative purposes.                             orientation as controls. The multivariate effect was significant:
                                                                                 Pillai’s Trace = .05, F(3, 8371) = 151.45, p<.001. The univariate
259 To compare planning not to continue school after high school
                                                                                 effect for safety because of gender expression was significant:
    by gender identity, an analysis of covariance (ANCOVA) was
                                                                                 F(1, 8373) = 292.94, p<.001, ηp2 = .03. The univariate effect for
    conducted with planning to graduate high school as the dependent
                                                                                 safety because of gender was significant: F(1, 8373) = 118.04,
    variable, gender identity (cisgender, transgender, nonbinary [NB],
                                                                                 p<.001, ηp2 = .01. The univariate effect for safety because of
    and questioning) as the independent variable, and age, outness
                                                                                 sexual orientation was not significant. Percentages are shown for
    (to peers and to staff), and sexual orientation as controls. The
                                                                                 illustrative purposes.
    effects were significant: F(3, 16432) = 47.78, p<.001, ηp2 = .01.
    Pairwise comparisons were considered at p<.01: transgender was           266 To compare experiences of anti-LGBTQ victimization among
    lower than all other gender identities. Cisgender was higher than            cisgender male and female students, a multivariate analysis of
    nonbinary. There were no other group differences. Percentages are            covariance (MANCOVA) was conducted with three anti-LGBTQ
    shown for illustrative purposes.                                             victimization variables (weighted victimization based on sexual
                                                                                 orientation, weighted victimization based on gender expression,
260 To compare feelings of safety among cisgender male and female
                                                                                 and weighted victimization based on gender) as the dependent
    students, a multivariate analysis of covariance (MANCOVA) was
                                                                                 variables, gender identity (cis male or cis female) as the
    conducted with three safety variables (feeling unsafe because of
                                                                                 independent variable, and age, outness (to peers and to staff),
    sexual orientation, feeling unsafe because of gender expression,
                                                                                 and sexual orientation as controls. The multivariate effect was
    and feeling unsafe because of gender) as the dependent variables,
                                                                                 significant: Pillai’s Trace = .05, F(3, 8023) = 146.36, p<.001. The
    gender identity (cis male or cis female) as the independent
                                                                                 univariate effect for victimization based on sexual orientation was
    variable, and age, outness (to peers and to staff), and sexual
                                                                                 significant: F(1, 8373) = 85.99, p<.001, ηp2 = .01. The univariate
    orientation as controls. The multivariate effect was significant:
                                                                                 effect for victimization based on gender expression was significant:
    Pillai’s Trace = .05, F(3, 8371) = 151.45, p<.001. The
                                                                                 F(1, 8373) = 133.98, p<.001, ηp2 = .02. The univariate effect for
    univariate effect for feeling unsafe because of gender expression
                                                                                 victimization based on gender was significant: F(1, 8373) = 34.73,
    was significant: F(1, 8373) = 292.94, p<.001, ηp2 = .03. The
                                                                                 p<.001, ηp2 = .00. Percentages are shown for illustrative purposes.




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      267 To compare missing school and changing schools among cisgender                p<.01: all gender identities were different from each other. The
          male and female students, a multivariate analysis of covariance               univariate effect for avoiding locker rooms was significant: F(3,
          (MANCOVA) was conducted with missing school and changing                      16312) = 614.65, p<.001, ηp2 = .10. Pairwise comparisons were
          schools as the dependent variables, gender identity (cis male or              considered at p<.01: all gender identities were different from
          cis female) as the independent variable, and age, outness (to peers           each other. The univariate effect for avoiding gym/PE class was
          and to staff), and sexual orientation as controls. The multivariate           significant: F(3, 16312) = 350.43, p<.001, ηp2 = .06. Pairwise
          effect was significant: Pillai’s Trace = .00, F(2, 8440) = 13.45,             comparisons were considered at p<.01: NB and questioning were
          p<.001. The univariate effect for missing school was significant:             not different from each other. All other gender identities were
          F(1, 8441) = 20.69, p<.001, ηp2 = .00. The univariate effect for              different from each other. Percentages are shown for illustrative
          changing schools was significant: F(1, 8441) = 1.35, p<.01, ηp2 =             purposes.
          .00. Percentages are shown for illustrative purposes.
                                                                                   274 To compare missing school and changing schools by gender
      268 To compare having experienced any anti-LGBTQ discrimination                  identity, a multivariate analysis of covariance (MANCOVA) was
          among cisgender male and female students, an analysis of                     conducted with missing school and changing schools as dependent
          covariance (ANCOVA) was conducted with experiencing any anti-                variables, gender identity (cisgender, transgender, nonbinary [NB],
          LGBTQ discrimination as the independent variable, gender identity            and questioning) as the independent variable, and age, outness
          (cis male or cis female) as the independent variable, and age,               (to peers and to staff), and sexual orientation as controls. The
          outness (to peers and to staff), and sexual orientation as controls.         multivariate effect was significant: Pillai’s Trace = .03, F(6, 32814)
          The effect was significant: F(3, 8363) = 14.65, p<.001, ηp2 = .00.           = 89.41, p<.001. The univariate effect for missing school was
          Percentages shown for illustrative purposes.                                 significant: F(3, 16407) = 164.70, p<.001 ηp2 = .03. Pairwise
                                                                                       comparisons were considered at p<.01: NB and questioning were
      269 Kimmel, M. (2004). Masculinity as homophobia: Fear, shame, and
                                                                                       not different from each other. All other gender identities were
          silence in the construction of gender identity. In P. F. Murphy (Ed.),
                                                                                       different from each other. The univariate effect for changing
          Feminism and Masculinities (pp. 182–199). New York: Oxford
                                                                                       schools was significant: F(3, 16407) = 51.85, p<.001, ηp2 = .01.
          University Press.
                                                                                       Pairwise comparisons were considered at p<.01: transgender was
      270 To compare feelings of safety by gender identity, a multivariate             different from all other gender identities; cisgender and NB were
          analysis of covariance (MANCOVA) was conducted with three                    different from each other. There were no other group differences.
          safety variables (safety based on sexual orientation, safety based           Percentages are shown for illustrative purposes.
          on gender expression, and safety based on gender) as dependent
                                                                                   275 To compare school belonging by gender identity, an analysis of
          variables, gender identity (cisgender, transgender, nonbinary
                                                                                       covariance (ANCOVA) was conducted with school belongingas
          [NB], and questioning) as the independent variable, and age,
                                                                                       the dependent variable, gender identity (cisgender, transgender,
          outness (to peers and to staff), and sexual orientation as controls.
                                                                                       nonbinary [NB], and questioning), as the independent variable,
          The multivariate effect was significant: Pillai’s Trace = .47, F(9,
                                                                                       and age, outness (to peers and to staff), and sexual orientation
          48969) = 1020.73, p<.001. The univariate effect for safety
                                                                                       as controls. The effect was significant. F(3, 16433) = 499.83,
          based on sexual orientation was significant: F(3, 16331) =
                                                                                       p<.001 ηp2 = .08. Pairwise comparisons were considered at
          363.70, p<.001, ηp2 = .00. Pairwise comparisons were considered
                                                                                       p<.01: cisgender was higher than all other gender identities;
          at p<.01: cisgender was different from all other identities;
                                                                                       transgender students had lower school belonging that all other
          transgender and NB were different from each other. There were no
                                                                                       gender identities. There were no other group differences.
          other group differences. The univariate effect for safety based on
          gender expression was significant: F(3, 16331) = 115.82, p<.001,         276 To compare each type of gender-specific anti-LGBTQ discrimination
          ηp2 = .01. Pairwise comparisons were considered at p<.01: all                by gender identity, a multivariate analysis of covariance
          gender identities were different from each other. The univariate             (MANCOVA) was conducted with each type of gender-specific
          effect for safety based on gender was significant: F(3, 16331)               anti-LGBTQ discrimination (gendered clothes, pronouns/names
          = 284.66, ηp2 = .02. Pairwise comparisons were considered                    usage, bathroom access, locker room access) as the dependent
          at p<.01: all gender identities were different from each other.              variables, gender identity (cisgender, transgender, nonbinary [NB],
          Percentages are shown for illustrative purposes.                             and questioning) as the independent variable, and age, outness (to
                                                                                       peers and to staff), and sexual orientation as controls. Multivariate
      271 To compare experiences of anti-LGBTQ victimization by gender
                                                                                       results were significant: Pillai’s Trace = .24, F(36, 48332) =
          identity, a multivariate analysis of covariance (MANCOVA) was
                                                                                       6.41, p<.001. The univariate effect for gendered clothes was
          conducted with three anti-LGBTQ victimization variables (weighted
                                                                                       significant: F(3, 16120) = 53.69, p<.001, ηp2 = .01. Pairwise
          victimization based on sexual orientation, weighted victimization
                                                                                       comparisons were considered at p<.01: Cisgender was different
          based on gender expression, and weighted victimization based
                                                                                       from transgender and NB; NB was different from questioning.
          on gender) as dependent variables, gender identity (cisgender,
                                                                                       There were no other group differences. The univariate effect for
          transgender, nonbinary [NB], and questioning) as the independent
                                                                                       pronouns/names usage was significant: F(3, 16120) = 961.26,
          variable, and age, outness (to peers and to staff), and sexual
                                                                                       p<.001, ηp2 = .15. Pairwise comparisons were considered at
          orientation as controls. The multivariate effect was significant:
                                                                                       p<.01: all gender identities were different from each other. The
          Pillai’s Trace = .17, F(9, 47076) = 319.41, p<.001. The univariate
                                                                                       univariate effect for bathroom access was significant: F(3, 16120)
          effect for victimization based on sexual orientation was significant:
                                                                                       = 1215.63, p<.001, ηp2 = .18. Pairwise comparisons were
          F(3, 15699) = 61.58, p<.001, ηp2 = .01. Pairwise comparisons
                                                                                       considered at p<.01: all gender identities were different from each
          were considered at p<.01: cisgender was different from all other
                                                                                       other. The univariate effect for locker room access was significant:
          identities. There were no other group differences. The univariate
                                                                                       F(3, 16120) = 1069.60, p<.001, ηp2 = .17. Pairwise comparisons
          effect for victimization based on gender expression was significant:
                                                                                       were considered at p<.01: all gender identities were different from
          F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
                                                                                       each other. Percentages for are shown for illustrative purposes.
          were considered at p<.01: all gender identities were different
          from each other. The univariate effect for victimization based on        277 To compare experiences of school discipline by gender identity,
          gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =                  a multivariate analysis of covariance (MANCOVA) was conducted
          .11. Pairwise comparisons were considered at p<.01: all gender               with any in-school discipline and any out-of-school discipline as
          identities were different from each other. Percentages are shown for         the dependent variables, gender identity (cisgender, transgender,
          illustrative purposes.                                                       nonbinary [NB], and questioning) as the independent variable,
                                                                                       and age, outness (to peers and to staff), and sexual orientation as
      272 See previous endnote.
                                                                                       controls. Multivariate results were significant: Pillai’s Trace = .00,
      273 To compare avoiding gender segregated spaces at school by gender             F(6, 32672) = 10.90, p<.001. The univariate effect for in-school
          identity, a multivariate analysis of covariance (MANCOVA) was                discipline was significant, F(3, 16336) = 20.58, p<.001, ηp2 =
          conducted with three avoiding gender segregated spaces variables             .00. Pairwise comparisons were considered at p<.01: cisgender
          (avoid bathrooms, avoid locker rooms, avoid gym/PE class) as                 was different from all other gender identities. There were no
          dependent variables, gender identity (cisgender, transgender,                other group differences. The univariate effect for out-of-school
          nonbinary [NB], and questioning) as the independent variable,                discipline was significant, F(3, 16336) = 4.17, p<.001, ηp2 = .00.
          and age, outness (to peers and to staff), and sexual orientation             Pairwise comparisons were considered at p<.01: cisgender was
          as controls. The multivariate effect was significant: Pillai’s Trace         different from transgender. There were no other group differences.
          = .24, F(9, 48912) = 464.34, p<.001. The univariate effect for               Percentages are shown for illustrative purposes.
          avoiding bathrooms was significant: F(3, 16312) = 1464.80,
                                                                                   278 See previous endnote.
          p<.001, ηp2 = .21. Pairwise comparisons were considered at




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279 To compare feelings of safety by gender identity, a multivariate             were coded as multiracial, with the exception of participants
    analysis of covariance (MANCOVA) was conducted with three                    who selected either “Hispanic or Latino/Latina/Latinx” or “Arab
    safety variables (safety based on sexual orientation, safety based           American, Middle Eastern, or North African” as their ethnicity.
    on gender expression, and safety based on gender) as dependent               Participants who selected either one ethnicity were coded as
    variables, gender identity (cisgender, transgender, nonbinary [NB]           that ethnicity, regardless of any additional racial identities they
    as the independent variable, and age, outness (to peers and to               selected. Participants who selected both ethnicities were coded
    staff), and sexual orientation as controls. The multivariate effect          as multiracial. The resulting racial/ethnic groupings were: MENA,
    was significant: Pillai’s Trace = .47, F(9, 48969) = 1020.73,                AAPI, Black, Latinx, Native and Indigenous, multiracial, and White.
    p<.001. The univariate effect for safety based on sexual orientation
                                                                            284 Latinx is a variant of the masculine “Latino” and feminine
    was significant: F(3, 16331) = 363.70, p<.001, ηp2 = .00.
                                                                                “Latina” that leaves gender unspecified and, therefore, aims to be
    Pairwise comparisons were considered at p<.01: cisgender was
                                                                                more inclusive of diverse gender identities, including nonbinary
    different from all other identities; transgender and NB were
                                                                                individuals. To learn more: https://www.meriam-webster.com/words-
    different from each other. There were no other group differences.
                                                                                at-play/word-history-latinx
    The univariate effect for safety based on gender expression was
    significant: F(3, 16331) = 115.82, p<.001, ηp2 = .01. Pairwise          285 Anyon, Y, Jenson, J. M., Altschul, I., Farrar, J., McQueen, J., Greer,
    comparisons were considered at p<.01: all gender identities were            E., Downing, B., & Simmons, J. (2014). The persistent effect
    different from each other. The univariate effect for safety based on        of race and the promise of alternatives to suspension in school
    gender was significant: F(3, 16331) = 284.66, ηp2 = .02. Pairwise           discipline outcomes. Children and Youth Services Review, 44, 379-
    comparisons were considered at p<.01: all gender identities were            386.
    different from each other. Percentages are shown for illustrative
                                                                                 GLSEN (2016). Educational exclusion: Drop out, push out, and
    purposes.
                                                                                 school-to-prison pipeline among LGBTQ youth. New York: GLSEN.
280 To compare experiences of anti-LGBTQ victimization by gender                 https://www.glsen.org/sites/default/files/2019-11/Educational_
    identity, a multivariate analysis of covariance (MANCOVA) was                Exclusion_2013.pdf
    conducted with three anti-LGBTQ victimization variables (weighted
                                                                                 Losen, D. J., Hodson, C., Keith II, M. A., Morrison, K., & Belway, S.
    victimization based on sexual orientation, weighted victimization
                                                                                 (2015). Are we closing the school discipline gap? Los Angeles: The
    based on gender expression, and weighted victimization based
                                                                                 Center for Civil Rights Remedies.
    on gender) as dependent variables, gender identity (cisgender,
    transgender, nonbinary [NB], and questioning) as the independent             U.S. Department of Education (2018). 2015-16 Civil Rights Data
    variable, and age, outness (to peers and to staff), and sexual               Collection: School Climate and Safety, Data Highlights on School
    orientation as controls. The multivariate effect was significant:            Climate and Safety in our Nation’s Public Schools. Washington, SC:
    Pillai’s Trace = .17, F(9, 47076) = 319.41, p<.001. The univariate           U.S. Department of Education, Office for Civil Rights. Retrieved
    effect for victimization based on sexual orientation was significant:        from: https://www2.ed.gov/about/offices/list/ocr/docs/school-
    F(3, 15699) = 61.58, p<.001 ηp2 = .01. Pairwise comparisons                  climate-and-safety.pdf
    were considered at p<.01: cisgender was different from all other
                                                                            286 To compare feeling unsafe due to race/ethnicity by race/ethnicity,
    identities. There were no other group differences. The univariate
                                                                                an analysis of covariance (ANCOVA) was conducted. The dependent
    effect for victimization based on gender expression was significant:
                                                                                variable was feeling unsafe due to actual or perceived race/
    F(3, 15699) = 529.26, p<.001, ηp2 = .09. Pairwise comparisons
                                                                                ethnicity, and the independent variable was racial/ethnic identity
    were considered at p<.01: all gender identities were different
                                                                                (MENA, AAPI, Black, Latinx, Native and Indigenous, multiracial,
    from each other. The univariate effect for victimization based on
                                                                                and White). As covariates, we included student age, school locale
    gender was significant: F(3, 15699) = 639.98, p<.001, ηp2 =
                                                                                (urban/suburban/rural), percentage of student body that was
    .11. Pairwise comparisons were considered at p<.01: all gender
                                                                                White, and percentage of the student body that was the same race/
    identities were different from each other. Percentages are shown for
                                                                                ethnicity as the student. The main effect for feeling unsafe was
    illustrative purposes.
                                                                                significant: F(6, 16100) = 202.83, p<.001, ηp2 = .07. Post hoc
281 Bowleg, L. (2012). The problem with the phrase women and                    comparisons were considered at p<.01. Black students were more
    minorities: Intersectionality—an important theoretical framework            likely to feel unsafe than AAPI, Latinx, multiracial, Native and
    for public health. American Journal of Public Health, 102(7),               Indigenous, and White students; AAPI and Latinx students were
    1267-1273.                                                                  more likely to feel unsafe than multiracial and White students;
                                                                                MENA, Native and Indigenous, and multiracial students were more
     Crenshaw, K. (1990). Mapping the margins: Intersectionality,
                                                                                likely to feel unsafe than White students; White students were less
     identity politics, and violence against women of color. Stanford Law
                                                                                likely to feel unsafe based on race/ethnicity than all other racial/
     Review, 43(6), 1241-1299.
                                                                                ethnic groups; no other significant differences were observed.
282 Truong, N. L., Zongrone, A. D., & Kosciw, J. G. (2020). Erasure             Percentages are shown for illustrative purposes.
    and resilience: The experiences of LGBTQ students of color, Asian
                                                                            287 To compare victimization based on race/ethnicity by race/
    American and Pacific Islander LGBTQ youth in U.S. Schools. New
                                                                                ethnicity, an analysis of covariance (ANCOVA) was conducted.
    York: GLSEN. https://www.glsen.org/sites/default/files/2020-06/
                                                                                The dependent variable was rate of experiencing victimization
    Erasure-and-Resilience-AAPI-2020.pdf
                                                                                based on actual or perceived race/ethnicity, and the independent
     Truong, N. L., Zongrone, A. D., & Kosciw, J. G. (2020). Erasure            variable was racial/ethnic identity (MENA, AAPI, Black, Latinx,
     and resilience: The experiences of LGBTQ students of color, Black          Native and Indigenous, multiracial, and White). As covariates,
     LGBTQ youth in U.S. Schools. New York: GLSEN. https://www.                 we included student age, school locale (urban/suburban/rural),
     glsen.org/sites/default/files/2020-06/Erasure-and-Resilience-              percentage of student body that was White, and percentage of
     Black-2020.pdf                                                             the student body that was the same race/ethnicity as the student.
                                                                                The main effect for victimization based on race/ethnicity was
     Zongrone, A. D., Truong, N. L., & Kosciw, J. G. (2020). Erasure
                                                                                significant: F(6, 16190) = 179.07, p<.001, ηp2 = .06. Post hoc
     and resilience: The experiences of LGBTQ students of color, Latinx
                                                                                comparisons were considered at p<.01. White students experienced
     LGBTQ youth in U.S. Schools. New York: GLSEN. https://www.
                                                                                less frequent victimization than all other racial/ethnic groups;
     glsen.org/sites/default/files/2020-06/Erasure-and-Resilience-
                                                                                multiracial students experienced less frequent victimization than
     Latinx-2020.pdf
                                                                                Latinx students; no other significant differences were observed.
     Zongrone, A. D., Truong, N. L., & Kosciw, J. G. (2020). Erasure            Percentages are shown for illustrative purposes.
     and resilience: The experiences of LGBTQ students of color, Native
                                                                            288 To compare feelings of safety regarding sexual orientation and
     and Indigenous LGBTQ youth in U.S. Schools. New York: GLSEN.
                                                                                gender expression by race/ethnicity, a multivariate analysis
     https://www.glsen.org/sites/default/files/2020-06/Erasure-and-
                                                                                of covariance (MANCOVA) was conducted. Two dichotomous
     Resilience-Native-2020.pdf
                                                                                dependent variables were included: feeling unsafe regarding
283 Race/ethnicity was assessed with a single multi-check question              sexual orientation, and feeling unsafe regarding gender expression.
    item (i.e., African American or Black; Asian or South Asian; Native         The independent variable was race/ethnicity (MENA, AAPI,
    Hawaiian or other Pacific Islander; Native American, American               Black, Latinx, Native and Indigenous, multiracial, and White). As
    Indian, or Alaska Native; White or Caucasian; Hispanic or Latino/           covariates, we included student age, school locale (urban/suburban/
    Latina/Latinx; and Arab American, Middle Eastern, or North                  rural), how out the student was about their LGBTQ identity to
    African) with an optional write-in item for race/ethnicities not            students, how out the student was about their LGBTQ identity
    listed. Participants who selected more than one race category               to school staff, percentage of student body that was White, and




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           percentage of the student body that was the same race/ethnicity as          discipline and out-of-school discipline were significant – In-
           the student. The multivariate effect was significant: Pillai’s trace        school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;
           = .00, F(12, 32134) = 5.57, p<.001. The univariate effects for              Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =
           feeling unsafe were significant – Sexual orientation: F(6, 16067)           .00. Post hoc comparisons were considered at p<.01. In-school
           = 7.31, p<.001, ηp2 = .00; Gender expression: F(6, 16067) =                 discipline: Latinx and multiracial students were both more likely
           6.83, p<.001, ηp2 = .00. Post hoc comparisons were considered               to experience in-school discipline than White and AAPI students;
           at p<.01. For both dependent variables, Native and Indigenous,              Black and White students were more likely to experience in-school
           Latinx, White, and multiracial students were all more likely to feel        discipline than AAPI students; no other significant differences
           unsafe than Black and AAPI students; multiracial students were              were observed. Out-of-school discipline: Black students were more
           also more likely to feel unsafe about gender expression than Black          likely to experience out-of-school discipline than White and AAPI
           and AAPI students; no other significant differences were observed.          students and multiracial students were more likely to experience
           Percentages are shown for illustrative purposes.                            out-of-school discipline than White students; no other significant
                                                                                       differences were observed. The univariate effect for contact with
      289 To compare victimization based on sexual orientation and gender
                                                                                       law enforcement was not significant. Percentages are shown for
          expression by race/ethnicity, a multivariate analysis of covariance
                                                                                       illustrative purposes.
          (MANCOVA) was conducted. The two dependent variables were
          weighted victimization variables measuring harassment and assault       293 To compare feeling unsafe because of race/ethnicity by race/
          based on sexual orientation and based on gender expression.                 ethnicity, an analysis of covariance (ANCOVA) was conducted. The
          The independent variable was race/ethnicity (MENA, AAPI,                    dependent variable was feeling unsafe because of their actual or
          Black, Latinx, Native and Indigenous, multiracial, and White).              perceived race/ethnicity, and the independent variable was racial/
          As covariates, we included student age, school locale (urban/               ethnic identity (AAPI, MENA, Black, Latinx, Native and Indigenous,
          suburban/rural), how out the student was about their LGBTQ                  multiracial, and White). As covariates, we included student age,
          identity to students, percentage of student body that was White,            school locale (urban/suburban/rural), percentage of student body
          and percentage of the student body that was the same race/                  that was White, and percentage of the student body that was the
          ethnicity as the student. The multivariate effect was significant:          same race/ethnicity as the student. The main effect for feeling
          Pillai’s trace = .01, F(12, 31050) = 9.06, p<.001. The univariate           unsafe was significant: F(6, 16100) = 202.83, p<.001, ηp2 = .07.
          effects for victimization were significant – Sexual orientation: F(6,       Post hoc comparisons were considered at p<.01. Black students
          15525) = 16.13, p<.001, ηp2 = .01; Gender expression, F(6,                  were more likely to feel unsafe than AAPI, Latinx, multiracial,
          15525) = 14.60, p<.001, ηp2 = .01. Post hoc comparisons were                Native and Indigenous, and White students; AAPI and Latinx
          considered at p<.01. Sexual orientation: Native and Indigenous              students were more likely to feel unsafe than multiracial and White
          students experienced higher levels of victimization than all                students; MENA, Native and Indigenous, and multiracial students
          other racial/ethnic groups except MENA students; multiracial,               were more likely to feel unsafe than White students; White students
          Latinx, White, and MENA students all experienced higher levels              were less likely to feel unsafe based on race/ethnicity than all other
          of victimization than AAPI and Black; Black and AAPI students               racial/ethnic groups; no other significant differences were observed.
          experienced lower levels of victimization than all others but were          Percentages are shown for illustrative purposes.
          not significantly different from each other. Gender expression:
                                                                                  294 To compare victimization based on race/ethnicity by race/ethnicity,
          Native and Indigenous students experienced higher levels of
                                                                                      a univariate analysis of covariance (ANCOVA) was conducted. The
          victimization than White, Black, and AAPI students; multiracial,
                                                                                      dependent variable was rate of experiencing victimization based
          Latinx, White, and MENA students all experienced higher levels
                                                                                      on actual or perceived race/ethnicity, and the independent variable
          of victimization than Black and AAPI students; Black and AAPI
                                                                                      was racial/ethnic identity (AAPI, MENA, Black, Latinx, Native and
          students experienced lower levels of victimization than all others
                                                                                      Indigenous, multiracial, and White). As covariates, we included
          but were not significantly different from each other. No other
                                                                                      student age, school locale (urban/suburban/rural), percentage of
          significant differences were observed. Percentages are shown for
                                                                                      student body that was White, and percentage of the student body
          illustrative purposes.
                                                                                      that was the same race/ethnicity as the student. The main effect
      290 In order to assess experiences of both anti-LGBTQ and racist                for victimization was significant: F(6, 16190) = 179.07, p<.001,
          harassment, a new variable was calculated that included                     ηp2 = .06. Post hoc comparisons were considered at p<.01. White
          students who experienced any harassment based on race and also              students were experienced less frequent victimization than all other
          experienced any harassment or assault based on sexual orientation           racial/ethnic groups; multiracial students experienced less frequent
          or gender expression.                                                       victimization than Latinx students; no other significant differences
                                                                                      were observed. Percentages are shown for illustrative purposes.
      291 To compare experiences of anti-LGBTQ discriminatory school
          policies and practices by race/ethnicity, an analysis of covariance     295 To compare feelings of safety regarding sexual orientation and
          (ANCOVA) was conducted. The dependent variable was                          gender expression by race/ethnicity, a multivariate analysis
          experiencing any of the anti-LGBTQ discriminatory school policies           of covariance (MANCOVA) was conducted. Two dichotomous
          and practices. The independent variable was racial/ethnic identity          dependent variables were included: feeling unsafe regarding
          (MENA, AAPI, Black, Latinx, Native and Indigenous, multiracial,             sexual orientation, and feeling unsafe regarding gender expression.
          and White). As covariates, we included student age, school locale           The independent variable was race/ethnicity (AAPI, MENA,
          (urban/suburban/rural), how out the student was about their                 Black, Latinx, Native and Indigenous, multiracial, and White). As
          LGBTQ identity to school staff, percentage of student body that             covariates, we included student age, school locale (urban/suburban/
          was White, and percentage of the student body that was the same             rural), how out the student was about their LGBTQ identity to
          race/ethnicity as the student. The main effect for experiencing             students, how out the student was about their LGBTQ identity
          anti-LGBTQ discrimination was significant: F(6, 16075) = 22.63,             to school staff, percentage of student body that was White, and
          p<.001, ηp2 = .01. Post hoc comparisons were considered at                  percentage of the student body that was the same race/ethnicity as
          p<.01. Native and Indigenous, multiracial, White, and Latinx                the student. The multivariate effect was significant: Pillai’s trace
          students were all more likely to experience discrimination than             = .00, F(12, 32134) = 5.57, p<.001. The univariate effects for
          Black and AAPI students; MENA and Black students were more                  feeling unsafe were significant – Sexual orientation, F(6, 16067)
          likely to experience discrimination than AAPI students; AAPI                = 7.31, p<.001, ηp2 = .00; Gender expression, F(6, 16067) =
          students were less likely to experience discrimination than all             6.83, p<.001, ηp2 = .00. Post hoc comparisons were considered
          others; no other significant differences were observed. Percentages         at p<.01. For both feeling unsafe regarding sexual orientation
          are shown for illustrative purposes.                                        and gender expression, Native and Indigenous, Latinx, White, and
                                                                                      multiracial students were all more likely to feel unsafe than Black
      292 To compare experiences of school discipline by race/ethnicity, a
                                                                                      and AAPI students; multiracial students were also more likely to
          multivariate analysis of variance (MANCOVA) was conducted. The
                                                                                      feel unsafe about gender expression than Black and AAPI students;
          three dichotomous dependent variables were: experiencing any
                                                                                      no other significant differences were observed. Percentages are
          in-school discipline, experiencing any out-of-school discipline,
                                                                                      shown for illustrative purposes.
          and having contact with law enforcement as a result of school
          discipline. The independent variable was racial/ethnic identity         296 To compare victimization based on sexual orientation and
          (MENA, AAPI, Black, Latinx, Native and Indigenous, multiracial,             victimization based on gender expression by race/ethnicity, a
          and White). As covariates, we included how out the student was              multivariate analysis of covariance (MANCOVA) was conducted.
          about their LGBTQ identity to staff and their grade level. The              The two dependent variables were weighted victimization variables
          multivariate effect was significant: Pillai’s trace = .01, F(18,            measuring harassment and assault based on sexual orientation and
          49158) = 5.37, p<.001. The univariate effects for in-school                 based on gender expression. The independent variable was race/




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     ethnicity (AAPI, MENA, Black, Latinx, Native and Indigenous,                 same race/ethnicity as the student. The main effect for feeling
     multiracial, and White). As covariates, we included student age,             unsafe regarding their race/ethnicity was significant: F(6, 16100) =
     school locale (urban/suburban/rural), how out the student was                202.83, p<.001, ηp2 = .07. Post hoc comparisons were considered
     about their LGBTQ identity to students, percentage of student body           at p<.01. Black students were more likely to feel unsafe than AAPI,
     that was White, and percentage of the student body that was the              Latinx, multiracial, Native and Indigenous, and White students;
     same race/ethnicity as the student. The multivariate effect was              AAPI and Latinx students were more likely to feel unsafe than
     significant: Pillai’s trace = .01, F(12, 31050) = 9.06, p<.001.              multiracial and White students; MENA, Native and Indigenous,
     The univariate effects for victimization were significant – Sexual           and multiracial students were more likely to feel unsafe than White
     orientation: F(6, 15525) = 16.13, p<.001, ηp2 = .01; Gender                  students; White students were less likely to feel unsafe based
     expression: F(6, 15525) = 14.60, p<.001, ηp2 = .01. Post hoc                 on race/ethnicity than all other racial/ethnic groups; no other
     comparisons were considered at p<.01. Sexual orientation: Native             significant differences were observed. Percentages are shown for
     and Indigenous students experienced higher levels of victimization           illustrative purposes.
     than all other racial/ethnic groups except MENA students;
                                                                             300 To compare victimization based on race/ethnicity by race/ethnicity,
     multiracial, Latinx White, and MENA students all experienced
                                                                                 a univariate analysis of covariance (ANCOVA) was conducted. The
     higher levels of victimization than AAPI and Black; Black and
                                                                                 dependent variable was rate of experiencing victimization based
     AAPI students experienced lower levels of victimization than all
                                                                                 on actual or perceived race/ethnicity, and the independent variable
     others but were not significantly different from each other. Gender
                                                                                 was racial/ethnic identity (Black, MENA, AAPI, Latinx, Native and
     expression: Native and Indigenous students experienced higher
                                                                                 Indigenous, multiracial, and White). As covariates, we included
     levels of victimization than White, Black, and AAPI students;
                                                                                 student age, school locale (urban/suburban/rural), percentage
     multiracial, Latinx, White, and MENA students all experienced
                                                                                 of student body that was White, and percentage of the student
     higher levels of victimization than Black and AAPI students; Black
                                                                                 body that was the same race/ethnicity as the student. The main
     and AAPI students experienced lower levels of victimization than all
                                                                                 effect for victimization based on race/ethnicity was significant:
     others but were not significantly different from each other. No other
                                                                                 F(6, 16190) = 179.07, p<.001, ηp2 = .06. Post hoc comparisons
     significant differences were observed. Percentages are shown for
                                                                                 were considered at p<.01. White students were experienced
     illustrative purposes.
                                                                                 less frequent victimization than all other racial/ethnic groups;
297 To compare experiences of anti-LGBTQ discriminatory school                   multiracial students experienced less frequent victimization than
    policies and practices by race/ethnicity, an analysis of covariance          Latinx students; no other significant differences were observed.
    (ANCOVA) was conducted. The dependent variable was                           Percentages are shown for illustrative purposes.
    experiencing any of the anti-LGBTQ discriminatory school policies
                                                                             301 To compare feelings of safety regarding sexual orientation and
    and practices. The independent variable was racial/ethnic identity
                                                                                 gender expression by race/ethnicity, a multivariate analysis
    (AAPI, MENA, Black, Latinx, Native and Indigenous, multiracial,
                                                                                 of covariance (MANCOVA) was conducted. Two dichotomous
    and White). As covariates, we included student age, school locale
                                                                                 dependent variables were included: feeling unsafe regarding
    (urban/suburban/rural), how out the student was about their
                                                                                 sexual orientation, and feeling unsafe regarding gender expression.
    LGBTQ identity to school staff, percentage of student body that
                                                                                 The independent variable was race/ethnicity (Black, MENA,
    was White, and percentage of the student body that was the same
                                                                                 AAPI, Latinx, Native and Indigenous, multiracial, and White). As
    race/ethnicity as the student. The main effect for experiencing
                                                                                 covariates, we included student age, school locale (urban/suburban/
    anti-LGBTQ discrimination was significant: F(6, 16075) = 22.63,
                                                                                 rural), how out the student was about their LGBTQ identity to
    p<.001, ηp2 = .01. Post hoc comparisons were considered at
                                                                                 students, how out the student was about their LGBTQ identity
    p<.01. Native and Indigenous, multiracial, White, and Latinx
                                                                                 to school staff, percentage of student body that was White, and
    students were all more likely to experience discrimination than
                                                                                 percentage of the student body that was the same race/ethnicity as
    Black and AAPI students; MENA and Black students were more
                                                                                 the student. The multivariate effect was significant: Pillai’s trace
    likely to experience discrimination than AAPI students; AAPI
                                                                                 = .00, F(12, 32134) = 5.57, p<.001. The univariate effects for
    students were less likely to experience discrimination than all
                                                                                 feeling unsafe were significant – Sexual orientation, F(6, 16067)
    others; no other significant differences were observed. Percentages
                                                                                 = 7.31, p<.001, ηp2 = .00; Gender expression: F(6, 16067) =
    are shown for illustrative purposes.
                                                                                 6.83, p<.001, ηp2 = .00. Post hoc comparisons were considered
298 To compare experiences of school discipline by race/ethnicity, a             at p<.01. For both dependent variables, Native and Indigenous,
    multivariate analysis of variance (MANCOVA) was conducted. The               Latinx, White, and multiracial students were all more likely to feel
    three dichotomous dependent variables were: experiencing any                 unsafe than Black and AAPI students; multiracial students were
    in-school discipline, experiencing any out-of-school discipline,             also more likely to feel unsafe about gender expression than Black
    and having contact with law enforcement as a result of school                and AAPI students; no other significant differences were observed.
    discipline. The independent variable was racial/ethnic identity              Percentages are shown for illustrative purposes.
    (AAPI, MENA, Black, Latinx, Native and Indigenous, multiracial,
                                                                             302 To compare victimization based on sexual orientation and gender
    and White). As covariates, we included how out the student was
                                                                                 expression by race/ethnicity, a multivariate analysis of covariance
    about their LGBTQ identity to staff and their grade level. The
                                                                                 (MANCOVA) was conducted. The two dependent variables were
    multivariate effect was significant: Pillai’s trace = .01, F(18,
                                                                                 weighted victimization variables measuring harassment and assault
    49158) = 5.37, p<.001. The univariate effects for in-school
                                                                                 based on sexual orientation and based on gender expression.
    discipline and out-of-school discipline were significant – In-
                                                                                 The independent variable was race/ethnicity (Black, MENA,
    school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;
                                                                                 AAPI, Latinx, Native and Indigenous, multiracial, and White).
    Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =
                                                                                 As covariates, we included student age, school locale (urban/
    .00. Post hoc comparisons were considered at p<.01. In-school
                                                                                 suburban/rural), how out the student was about their LGBTQ
    discipline: Latinx and multiracial students were both more likely
                                                                                 identity to students, and percentage of student body that was
    to experience in-school discipline than White and AAPI students;
                                                                                 White, percentage of the student body that was the same race/
    Black and White students were more likely to experience in-school
                                                                                 ethnicity as the student. The multivariate effect was significant:
    discipline than AAPI students; no other significant differences
                                                                                 Pillai’s trace = .01, F(12, 31050) = 9.06, p<.001. The univariate
    were observed. Out-of-school discipline: Black students were more
                                                                                 effects for victimization were significant – Sexual orientation, F(6,
    likely to experience out-of-school discipline than White and AAPI
                                                                                 15525) = 16.13, p<.001, ηp2 = .01; Gender expression, F(6,
    students and multiracial students were more likely to experience
                                                                                 15525) = 14.60, p<.001, ηp2 = .01. Post hoc comparisons were
    out-of-school discipline than White students; no other significant
                                                                                 considered at p<.01. Sexual orientation: Native and Indigenous
    differences were observed. The univariate effect for contact with
                                                                                 students experienced higher levels of victimization than all
    law enforcement was not significant. Percentages are shown for
                                                                                 other racial/ethnic groups except MENA students; multiracial,
    illustrative purposes.
                                                                                 Latinx, White, and MENA students all experienced higher levels
299 To compare feelings of safety regarding race/ethnicity by race/              of victimization than AAPI and Black; Black and AAPI students
    ethnicity, an analysis of covariance (ANCOVA) was conducted. The             experienced lower levels of victimization than all others but were
    dependent variable was feeling unsafe regarding their actual or              not significantly different from each other. Gender expression:
    perceived race/ethnicity, and the independent variable was racial/           Native and Indigenous students experienced higher levels of
    ethnic identity (Black, MENA, AAPI, Latinx, Native and Indigenous,           victimization than White, Black, and AAPI students; multiracial,
    multiracial, and White). As covariates, we included student age,             Latinx, White, and MENA students all experienced higher levels
    school locale (urban/suburban/rural), percentage of student body             of victimization than Black and AAPI students; Black and AAPI
    that was White, and percentage of the student body that was the              students experienced lower levels of victimization than all others




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           but were not significantly different from each other. No other             F(6, 16190) = 179.07, p<.001, ηp2 = .06. Post hoc comparisons
           significant differences were observed. Percentages are shown for           were considered at p<.01. White students were experienced
           illustrative purposes.                                                     less frequent victimization than all other racial/ethnic groups;
                                                                                      multiracial students experienced less frequent victimization than
      303 To compare experiences of anti-LGBTQ discriminatory school
                                                                                      Latinx students; no other significant differences were observed.
          policies and practices by race/ethnicity, an analysis of covariance
                                                                                      Percentages are shown for illustrative purposes.
          (ANCOVA) was conducted. The dependent variable was
          experiencing any of the anti-LGBTQ discriminatory school policies      307 To compare feelings of safety regarding sexual orientation and
          and practices. The independent variable was racial/ethnic identity         gender expression by race/ethnicity, a multivariate analysis
          (Black, MENA, AAPI, Latinx, Native and Indigenous, multiracial,            of covariance (MANCOVA) was conducted. Two dichotomous
          and White). As covariates, we included student age, school locale          dependent variables were included: feeling unsafe regarding
          (urban/suburban/rural), how out the student was about their                sexual orientation, and feeling unsafe regarding gender expression.
          LGBTQ identity to school staff, percentage of student body that            The independent variable was race/ethnicity (Latinx, MENA,
          was White, and percentage of the student body that was the same            AAPI, Black, Native and Indigenous, multiracial, and White). As
          race/ethnicity as the student. The main effect for experiencing            covariates, we included student age, school locale (urban/suburban/
          anti-LGBTQ discrimination was significant: F(6, 16075) = 22.63,            rural), how out the student was about their LGBTQ identity to
          p<.001, ηp2 = .01. Post hoc comparisons were considered at                 students, how out the student was about their LGBTQ identity
          p<.01. Native and Indigenous, multiracial, White, and Latinx               to school staff, percentage of student body that was White, and
          students were all more likely to experience discrimination than            percentage of the student body that was the same race/ethnicity as
          Black and AAPI students; MENA and Black students were more                 the student. The multivariate effect was significant: Pillai’s trace
          likely to experience discrimination than AAPI students; AAPI               = .00, F(12, 32134) = 5.57, p<.001. The univariate effects for
          students were less likely to experience discrimination than all            feeling unsafe were significant – Sexual orientation: F(6, 16067)
          others; no other significant differences were observed. Percentages        = 7.31, p<.001, ηp2 = .00; Gender expression: F(6, 16067) =
          are shown for illustrative purposes.                                       6.83, p<.001, ηp2 = .00. Post hoc comparisons were considered
                                                                                     at p<.01. For both feeling unsafe regarding their sexual orientation
      304 To compare experiences of school discipline by race/ethnicity, a
                                                                                     and gender expression, Native and Indigenous, Latinx, White, and
          multivariate analysis of variance (MANCOVA) was conducted. The
                                                                                     multiracial students were all more likely to feel unsafe than Black
          three dichotomous dependent variables were: experiencing any
                                                                                     and AAPI students; multiracial students were also more likely to
          in-school discipline, experiencing any out-of-school discipline,
                                                                                     feel unsafe about gender expression than Black and AAPI students;
          and having contact with law enforcement as a result of school
                                                                                     no other significant differences were observed. Percentages are
          discipline. The independent variable was racial/ethnic identity
                                                                                     shown for illustrative purposes.
          (Black, MENA, AAPI, Latinx, Native and Indigenous, multiracial,
          and White). As covariates, we included how out the student was         308 To compare victimization based on sexual orientation and gender
          about their LGBTQ identity to staff and their grade level. The             expression by race/ethnicity, a multivariate analysis of covariance
          multivariate effect was significant: Pillai’s trace = .01, F(18,           (MANCOVA) was conducted. The two dependent variables were
          49158) = 5.37, p<.001. The univariate effects for in-school                weighted victimization variables measuring harassment and assault
          discipline and out-of-school discipline were significant – In-             based on sexual orientation and based on gender expression.
          school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;                 The independent variable was race/ethnicity (Latinx, MENA,
          Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =                AAPI, Black, Native and Indigenous, multiracial, and White).
          .00. Post hoc comparisons were considered at p<.01. In-school              As covariates, we included student age, school locale (urban/
          discipline: Latinx and multiracial students were both more likely          suburban/rural), how out the student was about their LGBTQ
          to experience in-school discipline than White and AAPI students;           identity to students, percentage of student body that was White,
          Black and White students were more likely to experience in-school          and percentage of the student body that was the same race/
          discipline than AAPI students; no other significant differences            ethnicity as the student. The multivariate effect was significant:
          were observed. Out-of-school discipline: Black students were more          Pillai’s trace = .01, F(12, 31050) = 9.06, p<.001. The univariate
          likely to experience out-of-school discipline than White and AAPI          effects for victimization were significant – Sexual orientation: F(6,
          students and multiracial students were more likely to experience           15525) = 16.13, p<.001, ηp2 = .01; Gender expression: F(6,
          out-of-school discipline than White students; no other significant         15525) = 14.60, p<.001, ηp2 = .01. Post hoc comparisons were
          differences were observed. The univariate effect for contact with          considered at p<.01. Sexual orientation: Native and Indigenous
          law enforcement was not significant. Percentages are shown for             students experienced higher levels of victimization than all
          illustrative purposes.                                                     other racial/ethnic groups except MENA students; multiracial,
                                                                                     Latinx, White, and MENA students all experienced higher levels
      305 To compare feelings of safety regarding race/ethnicity by race/
                                                                                     of victimization than AAPI and Black; Black and AAPI students
          ethnicity, an analysis of covariance (ANCOVA) was conducted. The
                                                                                     experienced lower levels of victimization than all others but were
          dependent variable was feeling unsafe regarding their actual or
                                                                                     not significantly different from each other. Gender expression:
          perceived race/ethnicity, and the independent variable was racial/
                                                                                     Native and Indigenous students experienced higher levels of
          ethnic identity (Latinx, MENA, AAPI, Black, Native and Indigenous,
                                                                                     victimization than White, Black, and AAPI students; multiracial,
          multiracial, and White). As covariates, we included student age,
                                                                                     Latinx, White, and MENA students all experienced higher levels
          school locale (urban/suburban/rural), percentage of student body
                                                                                     of victimization than Black and AAPI students; Black and AAPI
          that was White, and percentage of the student body that was the
                                                                                     students experienced lower levels of victimization than all others
          same race/ethnicity as the student. The main effect for feeling
                                                                                     but were not significantly different from each other. No other
          unsafe regarding their race/ethnicity was significant: F(6, 16100) =
                                                                                     significant differences were observed. Percentages are shown for
          202.83, p<.001, ηp2 = .07. Post hoc comparisons were considered
                                                                                     illustrative purposes.
          at p<.01. Black students were more likely to feel unsafe than AAPI,
          Latinx, multiracial, Native and Indigenous, and White students;        309 To compare experiences of anti-LGBTQ discriminatory school
          AAPI and Latinx students were more likely to feel unsafe than              policies and practices by race/ethnicity, an analysis of covariance
          multiracial and White students; MENA, Native and Indigenous,               (ANCOVA) was conducted. The dependent variable was
          and multiracial students were more likely to feel unsafe than White        experiencing any of the anti-LGBTQ discriminatory school policies
          students; White students were less likely to feel unsafe based             and practices. The independent variable was racial/ethnic identity
          on race/ethnicity than all other racial/ethnic groups; no other            (Latinx, MENA, AAPI, Black, Native and Indigenous, multiracial,
          significant differences were observed. Percentages are shown for           and White). As covariates, we included student age, school locale
          illustrative purposes.                                                     (urban/suburban/rural), how out the student was about their
                                                                                     LGBTQ identity to school staff, percentage of student body that
      306 To compare victimization based on race/ethnicity by race/ethnicity,
                                                                                     was White, and percentage of the student body that was the same
          an analysis of covariance (ANCOVA) was conducted. The dependent
                                                                                     race/ethnicity as the student. The main effect for experiencing
          variable was rate of experiencing victimization based on actual
                                                                                     anti-LGBTQ discrimination was significant: F(6, 16075) = 22.63,
          or perceived race/ethnicity, and the independent variable was
                                                                                     p<.001, ηp2 = .01. Post hoc comparisons were considered at
          racial/ethnic identity (Latinx, MENA, AAPI, Black, Native and
                                                                                     p<.01. Native and Indigenous, multiracial, White, and Latinx
          Indigenous, multiracial, and White). As covariates, we included
                                                                                     students were all more likely to experience discrimination than
          student age, school locale (urban/suburban/rural), percentage
                                                                                     Black and AAPI students; MENA and Black students were more
          of student body that was White, and percentage of the student
                                                                                     likely to experience discrimination than AAPI students; AAPI
          body that was the same race/ethnicity as the student. The main
                                                                                     students were less likely to experience discrimination than all
          effect for victimization based on race/ethnicity was significant:




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     others; no other significant differences were observed. Percentages        ηp2 = .00; Gender expression, F(6, 16067) = 6.83, p<.001,
     are shown for illustrative purposes.                                       ηp2 = .00. Post hoc comparisons were considered at p<.01. For
                                                                                both feeling unsafe regarding their sexual orientation and gender
310 To compare experiences of school discipline by race/ethnicity, a
                                                                                expression, Native and Indigenous, Latinx, White, and multiracial
    multivariate analysis of variance (MANCOVA) was conducted. The
                                                                                students were all more likely to feel unsafe than Black and AAPI
    three dichotomous dependent variables were: experiencing any
                                                                                students; multiracial students were also more likely to feel unsafe
    in-school discipline, experiencing any out-of-school discipline,
                                                                                about gender expression than Black and AAPI students; no other
    and having contact with law enforcement as a result of school
                                                                                significant differences were observed. Percentages are shown for
    discipline. The independent variable was racial/ethnic identity
                                                                                illustrative purposes.
    (Latinx, MENA, AAPI, Black, Native and Indigenous, multiracial,
    and White). As covariates, we included how out the student was         314 To compare victimization based on sexual orientation and gender
    about their LGBTQ identity to staff and their grade level. The             expression by race/ethnicity, a multivariate analysis of covariance
    multivariate effect was significant: Pillai’s trace = .01, F(18,           (MANCOVA) was conducted. The two dependent variables were
    49158) = 5.37, p<.001. The univariate effects for in-school                weighted victimization variables measuring harassment and assault
    discipline and out-of-school discipline were significant – In-             based on sexual orientation and based on gender expression. The
    school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;                 independent variable was race/ethnicity (Native and Indigenous,
    Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =                MENA, AAPI, Black, Latinx, multiracial, and White). As covariates,
    .00. Post hoc comparisons were considered at p<.01. In-school              we included student age, school locale (urban/suburban/rural),
    discipline: Latinx and multiracial students were both more likely          how out the student was about their LGBTQ identity to students,
    to experience in-school discipline than White and AAPI students;           percentage of student body that was White, and percentage
    Black and White students were more likely to experience in-school          of the student body that was the same race/ethnicity as the
    discipline than AAPI students; no other significant differences            student. The multivariate effect was significant: Pillai’s trace =
    were observed. Out-of-school discipline: Black students were more          .01, F(12, 31050) = 9.06, p<.001. The univariate effects for
    likely to experience out-of-school discipline than White and AAPI          victimization were significant – Sexual orientation, F(6, 15525)
    students and multiracial students were more likely to experience           = 16.13, p<.001, ηp2 = .01; Gender expression, F(6, 15525) =
    out-of-school discipline than White students; no other significant         14.60, p<.001, ηp2 = .01. Post hoc comparisons were considered
    differences were observed. The univariate effect for contact with          at p<.01. Sexual orientation: Native and Indigenous students
    law enforcement was not significant. Percentages are shown for             experienced higher levels of victimization than all other racial/
    illustrative purposes.                                                     ethnic groups except MENA students; multiracial, Latinx White,
                                                                               and MENA students all experienced higher levels of victimization
311 To compare feelings of safety regarding race/ethnicity by race/
                                                                               than AAPI and Black; Black and AAPI students experienced lower
    ethnicity, an analysis of covariance (ANCOVA) was conducted. The
                                                                               levels of victimization than all others but were not significantly
    dependent variable was feeling unsafe regarding their actual or
                                                                               different from each other. Gender expression: Native and
    perceived race/ethnicity, and the independent variable was racial/
                                                                               Indigenous students experienced higher levels of victimization
    ethnic identity (Native and Indigenous, MENA, AAPI, Black, Latinx,
                                                                               than White, Black, and AAPI students; multiracial, Latinx, White,
    multiracial, and White). As covariates, we included student age,
                                                                               and MENA students all experienced higher levels of victimization
    school locale (urban/suburban/rural), percentage of student body
                                                                               than Black and AAPI students; Black and AAPI students
    that was White, and percentage of the student body that was the
                                                                               experienced lower levels of victimization than all others but were
    same race/ethnicity as the student. The main effect for feeling
                                                                               not significantly different from each other. No other significant
    unsafe regarding their race/ethnicity was significant: F(6, 16100) =
                                                                               differences were observed. Percentages are shown for illustrative
    202.83, p<.001, ηp2 = .07. Post hoc comparisons were considered
                                                                               purposes.
    at p<.01. Black students were more likely to feel unsafe than AAPI,
    Latinx, multiracial, Native and Indigenous, and White students;        315 To compare experiences of anti-LGBTQ discriminatory school
    AAPI and Latinx students were more likely to feel unsafe than              policies and practices by race/ethnicity, an analysis of covariance
    multiracial and White students; MENA, Native and Indigenous,               (ANCOVA) was conducted. The dependent variable was
    and multiracial students were more likely to feel unsafe than White        experiencing any of the anti-LGBTQ discriminatory school policies
    students; White students were less likely to feel unsafe based             and practices. The independent variable was racial/ethnic identity
    on race/ethnicity than all other racial/ethnic groups; no other            (Native and Indigenous, MENA, AAPI, Black, Latinx, multiracial,
    significant differences were observed. Percentages are shown for           and White). As covariates, we included student age, school locale
    illustrative purposes.                                                     (urban/suburban/rural), how out the student was about their
                                                                               LGBTQ identity to school staff, percentage of student body that
312 To compare victimization based on race/ethnicity by race/ethnicity,
                                                                               was White, and percentage of the student body that was the same
    an analysis of covariance (ANCOVA) was conducted. The dependent
                                                                               race/ethnicity as the student. The main effect for experiencing
    variable was rate of experiencing victimization based on actual
                                                                               anti-LGBTQ discrimination was significant: F(6, 16075) = 22.63,
    or perceived race/ethnicity, and the independent variable was
                                                                               p<.001, ηp2 = .01. Post hoc comparisons were considered at
    racial/ethnic identity (Native and Indigenous, MENA, AAPI,
                                                                               p<.01. Native and Indigenous, multiracial, White, and Latinx
    Black, Latinx, multiracial, and White). As covariates, we included
                                                                               students were all more likely to experience discrimination than
    student age, school locale (urban/suburban/rural), percentage
                                                                               Black and AAPI students; MENA and Black students were more
    of student body that was White, and percentage of the student
                                                                               likely to experience discrimination than AAPI students; AAPI
    body that was the same race/ethnicity as the student. The main
                                                                               students were less likely to experience discrimination than all
    effect for victimization based on race/ethnicity was significant:
                                                                               others; no other significant differences were observed. Percentages
    F(6, 16190) = 179.07, p<.001, ηp2 = .06. Post hoc comparisons
                                                                               are shown for illustrative purposes.
    were considered at p<.01. White students were experienced
    less frequent victimization than all other racial/ethnic groups;       316 To compare experiences of school discipline by race/ethnicity, a
    multiracial students experienced less frequent victimization than          multivariate analysis of variance (MANCOVA) was conducted. The
    Latinx students; no other significant differences were observed.           three dichotomous dependent variables were: experiencing any
    Percentages are shown for illustrative purposes.                           in-school discipline, experiencing any out-of-school discipline,
                                                                               and having contact with law enforcement as a result of school
313 To compare feeling unsafe regarding sexual orientation and gender
                                                                               discipline. The independent variable was racial/ethnic identity
    expression by race/ethnicity, a multivariate analysis of covariance
                                                                               (Native and Indigenous, MENA, AAPI, Black, Latinx, multiracial,
    (MANCOVA) was conducted. Two dichotomous dependent variables
                                                                               and White). As covariates, we included how out the student was
    were included: feeling unsafe regarding sexual orientation, and
                                                                               about their LGBTQ identity to staff and their grade level. The
    feeling unsafe regarding gender expression. The independent
                                                                               multivariate effect was significant: Pillai’s trace = .01, F(18,
    variable was race/ethnicity (Native and Indigenous, MENA,
                                                                               49158) = 5.37, p<.001. The univariate effects for in-school
    AAPI, Black, Latinx, multiracial, and White). As covariates, we
                                                                               discipline and out-of-school discipline were significant – In-
    included student age, school locale (urban/suburban/rural), how
                                                                               school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;
    out the student was about their LGBTQ identity to students, how
                                                                               Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =
    out the student was about their LGBTQ identity to school staff,
                                                                               .00. Post hoc comparisons were considered at p<.01. In-school
    percentage of student body that was White, and percentage of
                                                                               discipline: Latinx and multiracial students were both more likely
    the student body that was the same race/ethnicity as the student.
                                                                               to experience in-school discipline than White and AAPI students;
    The multivariate effect was significant: Pillai’s trace = .00, F(12,
                                                                               Black and White students were more likely to experience in-school
    32134) = 5.57, p<.001. The univariate effects for feeling unsafe
                                                                               discipline than AAPI students; no other significant differences
    were significant – Sexual orientation, F(6, 16067) = 7.31, p<.001,




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           were observed. Out-of-school discipline: Black students were more          p<.001. The univariate effects for victimization were significant
           likely to experience out-of-school discipline than White and AAPI          – Sexual orientation, F(6, 15525) = 16.13, p<.001, ηp2 = .01;
           students and multiracial students were more likely to experience           Gender expression, F(6, 15525) = 14.60, p<.001, ηp2 = .01. Post
           out-of-school discipline than White students; no other significant         hoc comparisons were considered at p<.01. Sexual orientation:
           differences were observed. The univariate effect for contact with          Native and Indigenous students experienced higher levels of
           law enforcement was not significant. Percentages are shown for             victimization than all other racial/ethnic groups except MENA
           illustrative purposes.                                                     students; multiracial, Latinx, White, and MENA students all
                                                                                      experienced higher levels of victimization than AAPI and Black;
      317 To compare feelings of safety regarding race/ethnicity by race/
                                                                                      Black and AAPI students experienced lower levels of victimization
          ethnicity, an analysis of covariance (ANCOVA) was conducted. The
                                                                                      than all others but were not significantly different from each other.
          dependent variable was feeling unsafe regarding their actual or
                                                                                      Gender expression: Native and Indigenous students experienced
          perceived race/ethnicity, and the independent variable was racial/
                                                                                      higher levels of victimization than White, Black, and AAPI students;
          ethnic identity (multiracial, MENA, AAPI, Black, Latinx, Native
                                                                                      multiracial, Latinx, White, and MENA students all experienced
          and Indigenous, and White). As covariates, we included student
                                                                                      higher levels of victimization than Black and AAPI students; Black
          age, school locale (urban/suburban/rural), percentage of student
                                                                                      and AAPI students experienced lower levels of victimization than all
          body that was White, and percentage of the student body that was
                                                                                      others but were not significantly different from each other. No other
          the same race/ethnicity as the student. The main effect for feeling
                                                                                      significant differences were observed. Percentages are shown for
          unsafe regarding their race/ethnicity was significant: F(6, 16100) =
                                                                                      illustrative purposes.
          202.83, p<.001, ηp2 = .07. Post hoc comparisons were considered
          at p<.01. Black students were more likely to feel unsafe than AAPI,    321 To compare experiences of anti-LGBTQ discriminatory school
          Latinx, multiracial, Native and Indigenous, and White students;            policies and practices by race/ethnicity, an analysis of covariance
          AAPI and Latinx students were more likely to feel unsafe than              (ANCOVA) was conducted. The dependent variable was
          multiracial and White students; MENA, Native and Indigenous,               experiencing any of the anti-LGBTQ discriminatory school policies
          and multiracial students were more likely to feel unsafe than White        and practices. The independent variable was racial/ethnic identity
          students; White students were less likely to feel unsafe based             (multiracial, MENA, AAPI, Black, Latinx, Native and Indigenous,
          on race/ethnicity than all other racial/ethnic groups; no other            and White). As covariates, we included student age, school locale
          significant differences were observed. Percentages are shown for           (urban/suburban/rural), how out the student was about their
          illustrative purposes.                                                     LGBTQ identity to school staff, percentage of student body that
                                                                                     was White, and percentage of the student body that was the same
      318 To compare victimization based on race/ethnicity by race/ethnicity,
                                                                                     race/ethnicity as the student. The main effect for experiencing
          an analysis of covariance (ANCOVA) was conducted. The dependent
                                                                                     discrimination was significant: F(6, 16075) = 22.63, p<.001, ηp2
          variable was rate of experiencing victimization based on actual
                                                                                     = .01. Post hoc comparisons were considered at p<.01. Native
          or perceived race/ethnicity, and the independent variable was
                                                                                     and Indigenous, multiracial, White, and Latinx students were all
          racial/ethnic identity (multiracial, MENA, AAPI, Black, Latinx,
                                                                                     more likely to experience discrimination than Black and AAPI
          Native and Indigenous, and White). As covariates, we included
                                                                                     students; MENA and Black students were more likely to experience
          student age, school locale (urban/suburban/rural), percentage
                                                                                     discrimination than AAPI students; AAPI students were less likely
          of student body that was White, and percentage of the student
                                                                                     to experience discrimination than all others; no other significant
          body that was the same race/ethnicity as the student. The main
                                                                                     differences were observed. Percentages are shown for illustrative
          effect for victimization based on race/ethnicity was significant:
                                                                                     purposes.
          F(6, 16190) = 179.07, p<.001, ηp2 = .06. Post hoc comparisons
          were considered at p<.01. White students were experienced              322 To compare experiences of school discipline by race/ethnicity, a
          less frequent victimization than all other racial/ethnic groups;           multivariate analysis of variance (MANCOVA) was conducted. The
          multiracial students experienced less frequent victimization than          three dichotomous dependent variables were: experiencing any
          Latinx students; no other significant differences were observed.           in-school discipline, experiencing any out-of-school discipline,
          Percentages are shown for illustrative purposes.                           and having contact with law enforcement as a result of school
                                                                                     discipline. The independent variable was racial/ethnic identity
      319 To compare feelings of safety regarding sexual orientation and
                                                                                     (multiracial, MENA, AAPI, Black, Latinx, Native and Indigenous,
          gender expression by race/ethnicity, a multivariate analysis
                                                                                     and White). As covariates, we included how out the student was
          of covariance (MANCOVA) was conducted. Two dichotomous
                                                                                     about their LGBTQ identity to staff and their grade level. The
          dependent variables were included: feeling unsafe regarding sexual
                                                                                     multivariate effect was significant: Pillai’s trace = .01, F(18,
          orientation, and feeling unsafe regarding gender expression. The
                                                                                     49158) = 5.37, p<.001. The univariate effects for in-school
          independent variable was race/ethnicity (multiracial, MENA, AAPI,
                                                                                     discipline and out-of-school discipline were significant – In-
          Black, Latinx, Native and Indigenous, and White). As covariates,
                                                                                     school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;
          we included student age, school locale (urban/suburban/rural), how
                                                                                     Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =
          out the student was about their LGBTQ identity to students, how
                                                                                     .00. Post hoc comparisons were considered at p<.01. In-school
          out the student was about their LGBTQ identity to school staff,
                                                                                     discipline: Latinx and multiracial students were both more likely
          percentage of student body that was White, and percentage of
                                                                                     to experience in-school discipline than White and AAPI students;
          the student body that was the same race/ethnicity as the student.
                                                                                     Black and White students were more likely to experience in-school
          The multivariate effect was significant: Pillai’s trace = .00, F(12,
                                                                                     discipline than AAPI students; no other significant differences
          32134) = 5.57, p<.001. The univariate effects for feeling unsafe
                                                                                     were observed. Out-of-school discipline: Black students were more
          were significant – Sexual orientation, F(6, 16067) = 7.31, p<.001,
                                                                                     likely to experience out-of-school discipline than White and AAPI
          ηp2 = .00; Gender expression, F(6, 16067) = 6.83, p<.001,
                                                                                     students and multiracial students were more likely to experience
          ηp2 = .00. Post hoc comparisons were considered at p<.01. For
                                                                                     out-of-school discipline than White students; no other significant
          both feeling unsafe regarding their sexual orientation and gender
                                                                                     differences were observed. The univariate effect for contact with
          expression, Native and Indigenous, Latinx, White, and multiracial
                                                                                     law enforcement was not significant. Percentages are shown for
          students were all more likely to feel unsafe than Black and AAPI
                                                                                     illustrative purposes.
          students; multiracial students were also more likely to feel unsafe
          about gender expression than Black and AAPI students; no other         323 To compare feelings of safety regarding race/ethnicity by race/
          significant differences were observed. Percentages are shown for           ethnicity, an analysis of covariance (ANCOVA) was conducted. The
          illustrative purposes.                                                     dependent variable was feeling unsafe regarding their actual or
                                                                                     perceived race/ethnicity, and the independent variable was racial/
      320 To compare victimization based on sexual orientation and gender
                                                                                     ethnic identity (White, MENA, AAPI, Black, Latinx, Native and
          expression by race/ethnicity, a multivariate analysis of covariance
                                                                                     Indigenous, and multiracial). As covariates, we included student
          (MANCOVA) was conducted. The two dependent variables were
                                                                                     age, school locale (urban/suburban/rural), percentage of student
          weighted victimization variables measuring harassment and assault
                                                                                     body that was White, and percentage of the student body that was
          based on sexual orientation and based on gender expression. The
                                                                                     the same race/ethnicity as the student. The main effect for feeling
          independent variable was race/ethnicity (multiracial, MENA, AAPI,
                                                                                     unsafe regarding their race/ethnicity was significant: F(6, 16100) =
          Black, Latinx, Native and Indigenous, and White). As covariates, we
                                                                                     202.83, p<.001, ηp2 = .07. Post hoc comparisons were considered
          included student age, school locale (urban/suburban/rural), how out
                                                                                     at p<.01. Black students were more likely to feel unsafe than AAPI,
          the student was about their LGBTQ identity to students, percentage
                                                                                     Latinx, multiracial, Native and Indigenous, and White students;
          of student body that was White, and percentage of the student body
                                                                                     AAPI and Latinx students were more likely to feel unsafe than
          that was the same race/ethnicity as the student. The multivariate
                                                                                     multiracial and White students; MENA, Native and Indigenous,
          effect was significant: Pillai’s trace = .01, F(12, 31050) = 9.06,




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     and multiracial students were more likely to feel unsafe than White         and practices. The independent variable was racial/ethnic identity
     students; White students were less likely to feel unsafe based              (White, MENA, AAPI, Black, Latinx, Native and Indigenous, and
     on race/ethnicity than all other racial/ethnic groups; no other             multiracial). As covariates, we included student age, school locale
     significant differences were observed. Percentages are shown for            (urban/suburban/rural), how out the student was about their
     illustrative purposes.                                                      LGBTQ identity to school staff, percentage of student body that
                                                                                 was White, and percentage of the student body that was the same
324 To compare victimization based on race/ethnicity by race/ethnicity,
                                                                                 race/ethnicity as the student. The main effect for experiencing
    an analysis of covariance (ANCOVA) was conducted. The dependent
                                                                                 anti-LGBTQ discrimination was significant: F(6, 16075) = 22.63,
    variable was rate of experiencing victimization based on actual or
                                                                                 p<.001, ηp2 = .01. Post hoc comparisons were considered at
    perceived race/ethnicity, and the independent variable was racial/
                                                                                 p<.01. Native and Indigenous, multiracial, White, and Latinx
    ethnic identity (White, MENA, AAPI, Black, Latinx, Native and
                                                                                 students were all more likely to experience discrimination than
    Indigenous, and multiracial). As covariates, we included student
                                                                                 Black and AAPI students; MENA and Black students were more
    age, school locale (urban/suburban/rural), percentage of student
                                                                                 likely to experience discrimination than AAPI students; AAPI
    body that was White, and percentage of the student body that
                                                                                 students were less likely to experience discrimination than all
    was the same race/ethnicity as the student. The main effect for
                                                                                 others; no other significant differences were observed. Percentages
    victimization was significant: F(6, 16190) = 179.07, p<.001,
                                                                                 are shown for illustrative purposes.
    ηp2 = .06. Post hoc comparisons were considered at p<.01. White
    students were experienced less frequent victimization than all other    328 To compare experiences of school discipline by race/ethnicity, a
    racial/ethnic groups; multiracial students experienced less frequent        multivariate analysis of variance (MANCOVA) was conducted. The
    victimization than Latinx students; no other significant differences        three dichotomous dependent variables were: experiencing any
    were observed. Percentages are shown for illustrative purposes.             in-school discipline, experiencing any out-of-school discipline,
                                                                                and having contact with law enforcement as a result of school
325 To compare feelings of safety regarding sexual orientation and
                                                                                discipline. The independent variable was racial/ethnic identity
    gender expression by race/ethnicity, a multivariate analysis
                                                                                (White, MENA, AAPI, Black, Latinx, Native and Indigenous, and
    of covariance (MANCOVA) was conducted. Two dichotomous
                                                                                multiracial). As covariates, we included how out the student was
    dependent variables were included: feeling unsafe regarding
                                                                                about their LGBTQ identity to staff and their grade level. The
    sexual orientation, and feeling unsafe regarding gender expression.
                                                                                multivariate effect was significant: Pillai’s trace = .01, F(18,
    The independent variable was race/ethnicity (White, MENA,
                                                                                49158) = 5.37, p<.001. The univariate effects for in-school
    AAPI, Black, Latinx, Native and Indigenous, and multiracial). As
                                                                                discipline and out-of-school discipline were significant – In-
    covariates, we included student age, school locale (urban/suburban/
                                                                                school discipline: F(6, 16395) = 10.95, p<.001, ηp2 = .00;
    rural), how out the student was about their LGBTQ identity to
                                                                                Out-of-school discipline: F(6, 16395) = 7.53, p<.001, ηp2 =
    students, how out the student was about their LGBTQ identity
                                                                                .00. Post hoc comparisons were considered at p<.01. In-school
    to school staff, percentage of student body that was White, and
                                                                                discipline: Latinx and multiracial students were both more likely
    percentage of the student body that was the same race/ethnicity as
                                                                                to experience in-school discipline than White and AAPI students;
    the student. The multivariate effect was significant: Pillai’s trace
                                                                                Black and White students were more likely to experience in-school
    = .00, F(12, 32134) = 5.57, p<.001. The univariate effects for
                                                                                discipline than AAPI students; no other significant differences
    feeling unsafe were significant – Sexual orientation: F(6, 16067)
                                                                                were observed. Out-of-school discipline: Black students were more
    = 7.31, p<.001, ηp2 = .00; Gender expression, F(6, 16067) =
                                                                                likely to experience out-of-school discipline than White and AAPI
    6.83, p<.001, ηp2 = .00. Post hoc comparisons were considered
                                                                                students and multiracial students were more likely to experience
    at p<.01. For both feeling unsafe regarding their sexual orientation
                                                                                out-of-school discipline than White students; no other significant
    and gender exprression, Native and Indigenous, Latinx, White, and
                                                                                differences were observed. The univariate effect for contact with
    multiracial students were all more likely to feel unsafe than Black
                                                                                law enforcement was not significant. Percentages are shown for
    and AAPI students; multiracial students were also more likely to
                                                                                illustrative purposes.
    feel unsafe about gender expression than Black and AAPI students;
    no other significant differences were observed. Percentages are         329 Causadias, J. M., & Korous, K. M. (2019). Racial discrimination in
    shown for illustrative purposes.                                            the United States: A national health crisis that demands a national
                                                                                health solution. Journal of Adolescent Health, 64(2), 147-148.
326 To compare victimization based on sexual orientation and gender
    expression by race/ethnicity, a multivariate analysis of covariance          Ramsey, S. (2017). The troubled history of American education
    (MANCOVA) was conducted. The two dependent variables were                    after the Brown decision. The Organization of American Historians.
    weighted victimization variables measuring harassment and assault            https://www.oah.org/tah/issues/2017/february/the-troubled-history-
    based on sexual orientation and based on gender expression.                  of-american-education-after-the-brown-decision/
    The independent variable was race/ethnicity (White, MENA,
                                                                                 Tatum, B. D. (2017). Why are all the Black kids sitting together in
    AAPI, Black, Latinx, Native and Indigenous, and multiracial).
                                                                                 the cafeteria?: And other conversations about race. Basic Books.
    As covariates, we included student age, school locale (urban/
    suburban/rural), how out the student was about their LGBTQ              330 To compare experiencing multiple forms of victimization by race/
    identity to students, percentage of student body that was White,            ethnicity, an analysis of covariance (ANCOVA) was conducted
    and percentage of the student body that was the same race/                  with a dichotomous variable, whether a student experienced both
    ethnicity as the student. The multivariate effect was significant:          racist and anti-LGBTQ victimization as the dependent variable,
    Pillai’s trace = .01, F(12, 31050) = 9.06, p<.001. The univariate           racial/ethnic identity (MENA, AAPI, Black, Latinx, Native and
    effects for victimization were significant – Sexual orientation: F(6,       Indigenous, multiracial, and White) as the independent variable,
    15525) = 16.13, p<.001, ηp2 = .01; Gender expression, F(6,                  and both outness to peers and school locale (urban/suburban/
    15525) = 14.60, p<.001, ηp2 = .01. Post hoc comparisons were                rural) as covariates. The main effect was significant: F(6, 16372) =
    considered at p<.01. Sexual orientation: Native and Indigenous              371.21, p<.001, ηp2 = .12. Post hoc comparisons were considered
    students experienced higher levels of victimization than all                at p<.01. White students were less likely to experience both forms
    other racial/ethnic groups except MENA students; multiracial,               of victimization than all other racial/ethnic groups; Latinx students
    Latinx, White, and MENA students all experienced higher levels              were more likely to experience both forms of victimization than
    of victimization than AAPI and Black; Black and AAPI students               multiracial students; no other significant differences were observed.
    experienced lower levels of victimization than all others but were          Percentages are shown for illustrative purposes.
    not significantly different from each other. Gender expression:
                                                                            331 Truong, N. L., Zongrone, A. D., & Kosciw, J. G. (2020). Erasure
    Native and Indigenous students experienced higher levels of
                                                                                and resilience: The experiences of LGBTQ students of color, Asian
    victimization than White, Black, and AAPI students; multiracial,
                                                                                American and Pacific Islander LGBTQ youth in U.S. Schools. New
    Latinx, White, and MENA students all experienced higher levels
                                                                                York: GLSEN. https://www.glsen.org/sites/default/files/2020-06/
    of victimization than Black and AAPI students; Black and AAPI
                                                                                Erasure-and-Resilience-AAPI-2020.pdf
    students experienced lower levels of victimization than all others
    but were not significantly different from each other. No other               Truong, N. L., Zongrone, A. D., & Kosciw, J. G. (2020). Erasure
    significant differences were observed. Percentages are shown for             and resilience: The experiences of LGBTQ students of color, Black
    illustrative purposes.                                                       LGBTQ youth in U.S. Schools. New York: GLSEN. https://www.
                                                                                 glsen.org/sites/default/files/2020-06/Erasure-and-Resilience-
327 To compare experiences of anti-LGBTQ discriminatory school
                                                                                 Black-2020.pdf
    policies and practices by race/ethnicity, an analysis of covariance
    (ANCOVA) was conducted. The dependent variable was                           Zongrone, A. D., Truong, N. L., & Kosciw, J. G. (2020). Erasure
    experiencing any of the anti-LGBTQ discriminatory school policies            and resilience: The experiences of LGBTQ students of color, Latinx




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           LGBTQ youth in U.S. Schools. New York: GLSEN. https://www.             337 To examine differences in access to GSAs, inclusive curriculum,
           glsen.org/sites/default/files/2020-06/Erasure-and-Resilience-              inclusive curricular resources, and comprehensive anti-bullying/
           Latinx-2020.pdf                                                            harassment and supportive trans/nonbinary policies by school level,
                                                                                      a series of chi-square tests were conducted. (For the purposes
           Zongrone, A. D., Truong, N. L., & Kosciw, J. G. (2020). Erasure
                                                                                      of this analysis and similar analyses in this section regarding
           and resilience: The experiences of LGBTQ students of color, Native
                                                                                      school differences in availability of comprehensive policy, we
           and Indigenous LGBTQ youth in U.S. Schools. New York: GLSEN.
                                                                                      examined only whether students reported that their school had a
           https://www.glsen.org/sites/default/files/2020-06/Erasure-and-
                                                                                      comprehensive, i.e., fully enumerated, anti-bullying/harassment
           Resilience-Native-2020.pdf
                                                                                      policy or not. Therefore, students without a comprehensive policy
      332 In this section, for analyses examining the associations                    might have had a partially enumerated policy, a generic policy, or
          between school characteristics and students’ experiences with               no policy at all). All analyses were significant at p<.05 – GSAs: χ2
          anti-LGBTQ victimization, students’ individual demographic                  = 1448.48, df = 1, p<.001, φ = .33; LGBTQ website access: χ2
          characteristics (sexual orientation, gender, and race/ethnicity)            = 155.84, df = 1, p<.001, φ = .11; LGBTQ library resources: χ2
          and their experiences with school discipline are included in                = 52.55, df = 1, p<.001, φ = .06; LGBTQ inclusion in textbooks/
          the model as covariates because in prior sections of this report            other assigned readings: χ2 = 145.04, df = 1, p<.001, φ = .10;
          these demographic characteristics and school discipline were                LGBTQ-inclusive curriculum: χ2 = 29.87, df = 1, p<.001, φ = .05;
          found to be associated with experiences with anti-LGBTQ                     LGBTQ-inclusive sex education: χ2 = 3.98, df = 1, p<.05, φ = .02;
          victimization. For analyses examining the associations between              Safe Space stickers/posters: χ2 = 620.00, df = 1, p<.001, φ = .21,
          school characteristics and students’ experiences with anti-LGBTQ            comprehensive anti-bullying/harassment policy: χ2 = 29.47, df = 1,
          discrimination, students’ individual demographic characteristics            p<.001, φ = .05; transgender/other nonbinary student policy: χ2 =
          (sexual orientation, gender, and race/ethnicity) are included in the        50.60, df = 1, p<.001, φ = .06. Middle school students had less
          model as covariates because in prior sections of this report these          access to GSAs, LGBTQ websites, LGBTQ library resources, LGBTQ
          demographic characteristics were found to be associated with their          inclusion in textbooks/other assigned readings, LGBTQ-inclusive
          experiences of anti-LGBTQ discrimination in school.                         curriculum and sex education, comprehensive bullying/harassment
                                                                                      policy, and transgender/other nonbinary student policy, and less
      333 For comparisons by school level, only students who attended
                                                                                      display of safe space stickers/posters, than high school students.
          middle or high schools were included in this analysis. Students who
                                                                                      Percentages are shown for illustrative purposes.
          attended elementary schools, K-12 schools, lower schools, upper
          schools, or another type of school were excluded.                            To compare differences in supportive school personnel by school
                                                                                       level, two separate independent samples t-tests were conducted,
      334 To test differences in anti-LGBTQ language by school level, a
                                                                                       with supportive educators and supportive administrators as the
          multivariate analysis of variance (MANOVA) was conducted with
                                                                                       dependent variables, and school level (middle school and high
          the anti-LGBTQ remarks variables (”gay” used in a negative way,
                                                                                       school) as the independent variable. Both analyses were significant
          “no homo,” other homophobic remarks, negative remarks about
                                                                                       – Supportive educators: t(3637.35) = 16.55, p<.001, Cohen’s
          gender expression, and negative remarks about transgender people)
                                                                                       d = .38; Supportive administrators: t(3874.66) = 7.34, p<.001,
          as the dependent variables, and school level (middle school and
                                                                                       Cohen’s d = .16. Middle school students had less supportive school
          high school) as the independent variable. Multivariate results were
                                                                                       educators and less supportive administrators than high school
          significant: Pillai’s Trace = .05, F(5, 13693) = 150.79, p<.001.
                                                                                       students. Percentages are shown for illustrative purposes.
          Univariate effects were significant for the following anti-LGBTQ
          language remarks – “Gay” used in a negative way: F(1, 13697) =          338 Travers, M., Murray, L., & Kull, M. (2020). Sexual health and
          334.68, p<.001, ηp2 = .02; “No homo”: F(1, 13697) = 473.97,                 risk-taking behaviors among New York city high school students:
          p<.001, ηp2 = .03; Other homophobic remarks: F(1, 13697) =                  Variation by sexual orientation and gender identity status. Journal
          30.75, p<.001, ηp2 = .00. Middle school students heard “gay”                of LGBT Youth. doi: 10.1080/19361653.2020.1795776
          used in a negative way, “no homo,” and other homophobic remarks
                                                                                  339 To compare differences in GSA participation by school level,
          more than high school students. The univariate effects for negative
                                                                                      two separate independent samples t-tests were conducted, with
          remarks about gender expression and negative remarks about
                                                                                      GSA attendance and GSA participation as a leader/officer as the
          transgender people were not significant. Percentages are shown for
                                                                                      dependent variables, and school level (middle school and high
          illustrative purposes.
                                                                                      school). GSA attendance was significant: t(1097.78) = 10.18,
      335 To examine differences in anti-LGBTQ victimization experiences              p<.001, Cohen’s d = .36. Middle school students had higher GSA
          by school level, a multivariate analysis of covariance (MANCOVA)            attendance than high school students. GSA participation as a
          was conducted with experiences of anti-LGBTQ victimization                  leader/officer was not significant.
          (i.e., the three weighted victimization variables for victimization
                                                                                  340 U.S. Department of Education. (2019). Student reports of bullying:
          based on sexual orientation, gender expression, and gender) as
                                                                                      Results from the 2017 School Crime Supplement to the National
          the dependent variables, school level (middle school and high
                                                                                      Crime Victimization Survey. Retrieved August 2, 2020. https://
          school) as the independent variable, and student demographic
                                                                                      nces.ed.gov/pubs2019/2019054.pdf
          characteristics (sexual orientation, gender expression, and gender)
          and any school discipline (a combined variable of whether the           341 To examine differences in anti-LGBTQ language by school type, a
          student experienced any of the five types of school discipline [see         multivariate analysis of variance (MANOVA) was conducted with the
          School Climate and School Discipline section]) as covariates.               anti-LGBTQ remarks variables (“gay” used in a negative way, “no
          Multivariate results were significant: Pillai’s Trace = .03, F(3,           homo,” other homophobic remarks, negative remarks about gender
          12810) = 119.19, p<.001. Univariate effects were significant                expression, and negative remarks about transgender people) as the
          for anti-LGBTQ victimization – Sexual orientation: F(1, 12812)              dependent variables, and school type (public, religious, and private
          = 348.20, p<.001, ηp2 = .03; Gender expression: F(1, 12812)                 non-religious) as the independent variable. Multivariate results were
          = 117.88, p<.001, ηp2 = .01; Gender: F(1, 12812) = 119.45,                  significant: Pillai’s Trace = .04, F(10, 32936) = 65.53, p<.001.
          p<.001, ηp2 = .01. Middle school students experienced higher                All univariate effects were significant for the anti-LGBTQ language
          levels of anti-LGBTQ victimization on all types than high school            remarks – “Gay” used in a negative way: F(2, 16471) = 197.93,
          students. Percentages are shown for illustrative purposes.                  p<.001, ηp2 = .02; “No homo”: F(2, 16471) = 45.05, p<.001,
                                                                                      ηp2 = .01; Other homophobic remarks: F(2, 16471) = 229.17,
      336 To compare differences in experiences of anti-LGBTQ
                                                                                      p<.001, ηp2 = .03, Negative remarks about gender expression:
          discriminatory policies and practices by school level, an analysis of
                                                                                      F(2, 16471) = 22.11, p<.001, ηp2 = .00; Trans remarks: F(2,
          covariance (ANCOVA) was conducted with experiencing any anti-
                                                                                      16471) = 85.83, p<.001, ηp2 = .01. Post hoc comparisons were
          LGBTQ discrimination (a combined variable of whether the student
                                                                                      considered at p<.01. “Gay” used in a negative way: Private school
          experienced any of the 11 discriminatory actions assessed [see
                                                                                      students heard less than all other school types; no other significant
          Discriminatory Practices and Policies section]) as the dependent
                                                                                      differences were found. “No homo”: Private school students heard
          variable, school level (middle school and high school) as the
                                                                                      less than public school students; Religious school students heard
          independent variable, and student demographic characteristics
                                                                                      less than public school students; no other significant differences
          including sexual orientation, gender expression, and gender as
                                                                                      were found. Other homophobic remarks: Private school students
          covariates. The results of the analysis were significant: F(1, 13402)
                                                                                      heard less than all other school types; Religious school students
          = 161.03, p<.001, ηp2 = .01. Middle school students were more
                                                                                      heard less than public school students. Gender expression
          likely to experience anti-LGBTQ discrimination than high school
                                                                                      remarks: Private school students heard less than all other school
          students. Percentages are shown for illustrative purposes.
                                                                                      types; Religious school students heard more than public school




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     students. Trans remarks: Private school students heard less than              inclusive curricular resources, and comprehensive anti-bullying/
     all other school types; no other significant differences were found.          harassment and supportive trans/nonbinary policies by school type,
     Percentages are shown for illustrative purposes.                              a series of chi-square tests were conducted. (For the purposes
                                                                                   of this analysis and similar analyses in this section regarding
342 To examine differences in anti-LGBTQ language by type of
                                                                                   school differences in availability of comprehensive policy, we
    public school, a multivariate analysis of variance (MANOVA) was
                                                                                   examined only whether students reported that their school had a
    conducted with the anti-LGBTQ remarks variables (“gay” used in
                                                                                   comprehensive, i.e., fully enumerated, anti-bullying/harassment
    a negative way, “no homo,” other homophobic remarks, negative
                                                                                   policy or not. Therefore, students without a comprehensive policy
    remarks about gender expression, and negative remarks about
                                                                                   might have had a partially enumerated policy, a generic policy,
    transgender people) as the dependent variables, and type of
                                                                                   or no policy at all). All analyses were significant – GSAs: χ2 =
    public school (regular public school and charter school) as the
                                                                                   141.94, df = 2, p<.001, Cramer’s V = .09; LGBTQ website access:
    independent variable. The multivariate results were not significant.
                                                                                   χ2 = 113.35, df = 2, p<.001, Cramer’s V = .08; LGBTQ library
343 To examine differences in anti-LGBTQ victimization experiences                 resources: χ2 = 181.00, df = 2, p<.001, Cramer’s V = .11; LGBTQ
    by school type, a multivariate analysis of covariance (MANCOVA)                inclusion in textbooks/other assigned readings: χ2 = 57.15, df =
    was conducted with experiences of anti-LGBTQ victimization                     2, p<.001, Cramer’s V = .06; LGBTQ-inclusive curriculum: χ2 =
    (i.e., the three weighted victimization variables for victimization            141.94, df = 2, p<.001, Cramer’s V = .09; LGBTQ-inclusive sex
    based on sexual orientation, gender expression, and gender)                    education: χ2 = 73.44, df = 2, p<.001, Cramer’s V = .07; Safe
    as the dependent variables, school type (public, religious, and                Space stickers/posters: χ2 = 516.77, df = 2, p<.001, Cramer’s V =
    private non-religious) as the independent variable, and student                .18; Comprehensive anti-bullying/harassment policy: χ2 = 63.56,
    demographic characteristics (sexual orientation, gender expression,            df = 2, p<.001, Cramer’s V = .06; Supportive trans/nonbinary
    and gender) and any school discipline (a combined variable of                  student policy: χ2 = 88.78, df = 2, p<.001, Cramer’s V = .07.
    whether the student experienced any of the five types of school                Post hoc comparisons were considered at p<.05. GSAs: Religious
    discipline [see School Climate and School Discipline section])                 had less than public and private; public had more than private.
    as covariates. Multivariate results were significant: Pillai’s Trace           LGBTQ website access: Religious had less than public and private;
    = .00, F(6, 30768) = 11.40, p<.001. Univariate effects were                    public had less than private. LGBTQ library resources: Religious
    significant for all types of anti-LGBTQ victimization – Sexual                 had less than public and private; public had less than private.
    orientation: F(2, 15385) = 22.59, p<.001, ηp2 = .00; Gender                    LGBTQ inclusive textbooks/other readings: Religious had more than
    expression: F(2, 15385) = 11.89, p<.001, ηp2 = .00; Gender: F(2,               public; public had less than private; no other significant differences
    15385) = 20.61, p<.001, ηp2 = .00. Post hoc comparisons were                   were found. LGBTQ-inclusive curriculum: Religious had less than
    considered at p<.01. Victimization based on sexual orientation:                public and private; public had less than private. LGBTQ library
    Public school students experienced more than private school                    resources: Religious had less than public and private; public had
    students; no other significant differences were found. Victimization           more than private. LGBTQ-inclusive sex education: Religious had
    based on gender expression: Public school students experienced                 less than public and private; public had less than private. Safe
    more than private school students; no other significant differences            Space stickers/posters: Religious had less than public and private;
    were found. Victimization based on gender: Public school students              no other significant differences were found. Comprehensive policy:
    experienced more than private and religious school students; no                Religious school students had less than public and private school
    other significant differences were found. Percentages are shown for            students; public school students had less than private school
    illustrative purposes.                                                         students. Supportive trans/nonbinary policy: Religious school
                                                                                   students had less than public and private school students; public
344 To examine differences in experiences of anti-LGBTQ victimization
                                                                                   school students had less than private school students. Percentages
    by type of public school, a multivariate analysis of covariance
                                                                                   are shown for illustrative purposes.
    (MANCOVA) was conducted, with experiences of anti-LGBTQ
    victimization (i.e., the three weighted victimization variables for            To examine differences in supportive school personnel by school
    victimization based on sexual orientation, gender expression, and              type, two separate analysis of variance (ANOVAs) were conducted
    gender) as the dependent variables, type of public school (regular             with supportive educators and supportive administrators as the
    public school and charter school) as the independent variable,                 dependent variables, and school type (public, religious, and private
    and student demographic characteristics (sexual orientation,                   non-religious) as the independent variable. The results for both
    gender expression, and gender) and any school discipline (a                    analyses were significant: Supportive educators: F(2, 16390)
    combined variable of whether the student experienced any of the                = 332.25, p<.001, ηp2 = .04; Supportive administrators: F(2,
    five types of school discipline [see School Climate and School                 16337) = 351.13, p<.001, ηp2 = .04. Post hoc comparisons
    Discipline section]) as covariates. The multivariate results were not          were considered at p<.05. Supportive educators: Religious school
    significant.                                                                   students had less than public and private school students; public
                                                                                   school students had less than private school students. Supportive
345 To examine differences in experiences of anti-LGBTQ discriminatory
                                                                                   administrators: Religious school students had less than public
    policies and practices by school type, an analysis of covariance
                                                                                   and private school students; public school students had less than
    (ANCOVA) was conducted with experiencing any anti-LGBTQ
                                                                                   private school students. Percentages are shown for illustrative
    discrimination (a combined variable of whether the student
                                                                                   purposes.
    experienced any of the 11 discriminatory actions assessed [see
    Discriminatory Practices and Policies section]) as the dependent          348 To examine differences in access to GSAs, inclusive curriculum,
    variable, school type (public, religious, and private non-religious) as       inclusive curricular resources, and comprehensive anti-bullying/
    the independent variable, and student demographic characteristics             harassment and supportive trans/nonbinary policies by type of
    including sexual orientation, gender expression, and gender                   public school, a series of chi-square tests were conducted. (For
    as covariates. The results of the analysis were significant: F(2,             the purposes of this analysis and similar analyses in this section
    16112) = 97.93, p<.001, ηp2 = .01. Post hoc comparisons were                  regarding school differences in availability of comprehensive policy,
    considered at p<.01. Private school students experienced less anti-           we examined only whether students reported that their school had
    LGBTQ discrimination than public and religious school students.               a comprehensive, i.e., fully enumerated, anti-bullying/harassment
    Public school students experienced less anti-LGBTQ discrimination             policy or not. Therefore, students without a comprehensive policy
    than religious school students. Percentages are shown for                     might have had a partially enumerated policy, a generic policy,
    illustrative purposes.                                                        or no policy at all). The following analyses were significant at
                                                                                  p<.05: LGBTQ library resources: χ2 = 14.14, df = 1, φ = -.03;
346 To examine differences in experiences of anti-LGBTQ discriminatory
                                                                                  LGBTQ-inclusive curriculum: χ2 = 26.04, df = 1, φ = -.04; LGBTQ-
    policies and practices by type of public school, an analysis of
                                                                                  inclusive sex education: χ2 = 7.27, df = 1, φ = .02; Supportive
    covariance (ANCOVA) was conducted with experiencing any anti-
                                                                                  trans/nonbinary policy: χ2 = 5.65, df = 1, φ = -.02. LGBTQ library
    LGBTQ discrimination (a combined variable of whether the student
                                                                                  resources: Regular public schools had more than charter schools.
    experienced any of the 11 discriminatory actions assessed [see
                                                                                  LGBTQ-inclusive curriculum: Regular public schools had less than
    Discriminatory Practices and Policies section]) as the dependent
                                                                                  charter schools. LGBTQ-inclusive sex education: Regular publics
    variable, type of public school (regular public school and charter
                                                                                  schools had less than charter schools. Supportive trans/nonbinary
    school) as the independent variable, and student demographic
                                                                                  policy: Regular public schools had less than charter schools.
    characteristics including sexual orientation, gender expression,
                                                                                  No significant differences were found for GSAs, LGBTQ website
    and gender as covariates. The results of the analysis were not
                                                                                  access, LGBTQ-inclusive textbooks/other assigned readings, Safe
    significant.
                                                                                  Space stickers/poster, and comprehensive policy. Percentages are
347 To examine differences in access to GSAs, inclusive curriculum,               shown for illustrative purposes.




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           To examine differences in supportive school personnel type of             significant differences were found. Negative transgender remarks:
           public school, two separate independent-samples t-tests were              Rural students heard more than urban and suburban students; no
           conducted with supportive educators and supportive administrators         other significant differences were found. Percentages are shown for
           as the dependent variables, and type of public school (regular            illustrative purposes.
           public school and charter school) as the independent variable.
                                                                                355 To examine differences on anti-LGBTQ victimization experiences
           Supportive administrators was significant at p<.05: t(625.61) =
                                                                                    by locale, a multivariate analysis of variance (MANCOVA) was
           -2.41, Cohen’s d = .10. Students in regular public schools had
                                                                                    conducted with experiences of anti-LGBTQ victimization (i.e.,
           less supportive student administrators than students in charter
                                                                                    the three weighted victimization variables for victimization based
           schools. Regular public schools and charter schools did not differ
                                                                                    on sexual orientation, gender expression, and gender) as the
           on supportive educators. Percentages are shown for illustrative
                                                                                    dependent variables, locale (urban, suburban, and rural) as the
           purposes.
                                                                                    independent variable, and student demographic characteristics
      349 To examine differences in having negative LGBTQ representation            (sexual orientation, gender expression, and gender) and any school
          in the curriculum by school type, a chi-square test was conducted.        discipline (a combined variable of whether the student experienced
          The results of the analysis were significant: χ2 = 813.33, df = 2,        any of the five types of school discipline [see School Climate and
          p<.001, Cramer’s V = .22. Post hoc comparisons were considered            School Discipline section]) as covariates. Multivariate results were
          at p<.05. Religious school students had more negative LGBTQ               significant: Pillai’s Trace = .01, F(6, 30712) = 22.67, p<.001.
          curriculum than public and private school students. No other              All univariate effects were significant: Victimization based on
          significant differences were found. Percentages are shown for             sexual orientation: F(2, 15357) = 51.81, p<.001, ηp2 = .01;
          illustrative purposes.                                                    Victimization based on gender expression: F(2, 15357) = 46.62,
                                                                                    p<.001, ηp2 = .01; Victimization based on gender: F(2, 15357) =
      350 To compare differences in gender-segregated schools (whether there
                                                                                    34.30, p<.001, ηp2 = .00. Post hoc comparisons were considered
          was a single-sex school or not) by school type, a chi-square test
                                                                                    at p<.01. Victimization based on sexual orientation: Rural students
          was conducted. The results of the analysis were significant: χ2 =
                                                                                    experienced more than urban and suburban students; urban
          1776.39, df = 2, p<.001, Cramer’s V = .33. Post hoc comparisons
                                                                                    students experienced more than suburban students. Victimization
          were considered at p<.05. Religious schools were more likely to be
                                                                                    based on gender expression: Rural and urban students experienced
          single-sex schools than public and private schools. Private schools
                                                                                    more than suburban students; no other significant differences were
          were more likely to be single-sex schools than public schools.
                                                                                    found. Victimization based on gender: Rural and urban students
          Percentages are shown for illustrative purposes.
                                                                                    experienced more than suburban students; no other significant
      351 To compare differences in having any gender-segregated school             differences were found. Percentages are shown for illustrative
          practices (yearbook photos/senior pictures, homecoming court/             purposes.
          prom royalty, graduation attire, and other types) by school type,
                                                                                356 To examine differences on experiences of anti-LGBTQ
          a chi-square test was conducted. The results of the analysis were
                                                                                    discriminatory policies and practices by locale, an analysis of
          significant: χ2 = 143.80, df = 2, p<.001, Cramer’s V = .10. Post
                                                                                    covariance (ANCOVAs) was conducted with experiences of any
          hoc comparisons were considered at p<.05. Religious schools
                                                                                    anti-LGBTQ discrimination (a combined variable of whether
          were more likely to have gender-segregated school practices than
                                                                                    the student experienced any of the 11 discriminatory actions
          public and private schools. Public schools were more likely to have
                                                                                    assessed [see Discriminatory Practices and Policies section]) as
          gender-segregated school practices than private schools.
                                                                                    the dependent variable, locale (urban, suburban, and rural) as the
      352 To examine differences in frequency of school staff intervention          independent variable, and student demographic characteristics
          on negative remarks about gender expression by school type, an            including sexual orientation, gender expression, and gender
          analysis of variance (ANOVA) was conducted. The results of the            as covariates. The results of the analysis were significant: F(2,
          analysis were significant: F(2, 11766) = 40.59, p<.001, ηp2 =             16081) = 76.77, p<.001, ηp2 = .01. Post hoc comparisons were
          .01. Post hoc comparisons were considered at p<.01. There was             considered at p<.01. Rural students were more likely to experience
          less school staff intervention on negative remarks about gender           anti-LGBTQ discrimination than urban and suburban students. No
          expression in religious schools than in public and private schools.       other significant differences were found. Percentages are shown for
          There was less school staff intervention in public schools than in        illustrative purposes.
          private schools.
                                                                                357 To examine differences on access to GSAs, inclusive curriculum,
      353 Chandler, M. A. (March 10, 2015). Charter schools less likely to          inclusive curricular resources, and comprehensive anti-bullying/
          have libraries. The Washington Post. Retrieved on August 8, 2020.         harassment and supportive trans/nonbinary policies by locale,
          https://www.washingtonpost.com/local/education/charter-schools-           a series of chi-square tests were conducted. (For the purposes
          less-likely-to-have-libraries/2015/03/10/5e5e723a-c739-11e4-              of this analysis and similar analyses in this section regarding
          b2a1-bed1aaea2816_story.html                                              school differences in availability of comprehensive policy, we
                                                                                    examined only whether students reported that their school had a
           Koons, S. (June 20, 2020). Professor, students examine charter
                                                                                    comprehensive, i.e., fully enumerated, anti-bullying/harassment
           school hiring practices. Penn State News. Retrieved on August 2,
                                                                                    policy or not. Therefore, students without a comprehensive policy
           2020. https://news.psu.edu/story/621818/2020/06/02/research/
                                                                                    might have had a partially enumerated policy, a generic policy,
           professor-students-examine-charter-school-hiring-practices
                                                                                    or no policy at all). All analyses were significant – GSAs: χ2 =
      354 To examine differences in anti-LGBTQ language by locale, a                979.53, df = 2, p<.001, Cramer’s V = .24; LGBTQ website access:
          multivariate analysis of variance (MANOVA) was conducted with             χ2 = 76.30, df = 2, p<.001, Cramer’s V = .07; LGBTQ library
          the anti-LGBTQ remarks variables (“gay” used in a negative way,           resources: χ2 = 56.28, df = 2, p<.001, Cramer’s V = .06; LGBTQ
          “no homo,” other homophobic remarks, negative remarks about               inclusion in textbooks/other assigned readings: χ2 = 92.28, df =
          gender expression, and negative remarks about transgender people)         2, p<.001, Cramer’s V = .08; LGBTQ-inclusive curriculum: χ2 =
          as the dependent variables, and locale (urban, suburban, rural)           162.96, df = 2, p<.001, Cramer’s V = .10; LGBTQ-inclusive sex
          as the independent variable. Multivariate results were significant:       education: χ2 = 86.34, df = 2, p<.001, Cramer’s V = .07; Safe
          Pillai’s Trace = .03, F(10, 32860) = 42.87, p<.001. All univariate        Space stickers/posters: χ2 = 718.02, df = 2, p<.001, Cramer’s
          effects were significant – “Gay” used in a negative way: F(2,             V = .21; Comprehensive anti-bullying/harassment policy: χ2 =
          16433) = 104.37, p<.001, ηp2 = .01; “No homo”: F(2, 16433) =              75.39, df = 2, p<.001, Cramer’s V = .07; Trans/nonbinary student
          8.04, p<.001, ηp2 = .00; Other homophobic remarks: F(2, 16433)            policy: χ2 = 89.91, df = 2, p<.001, Cramer’s V = .07. Post hoc
          = 142.31, p<.001, ηp2 = .02; Negative remarks about gender                comparisons were considered at p<.05. GSAs: Rural students had
          expression: F(2,16433) = 27.07, p<.001, ηp2 = .00; Negative               less than urban and suburban students; urban students had less
          transgender remarks: F(2, 16433) = 107.97, p<.001, ηp2 = .01.             than suburban students. LGBTQ website access: Rural students
          Post hoc comparisons were considered at p<.01. “Gay” used in a            had less than urban and suburban students; urban students had
          negative way: Rural students heard less than urban and suburban           less than suburban students. LGBTQ library resources: Rural
          students; no other significant differences were found. “No homo”:         and urban students had less than suburban students; no other
          Rural students heard more than suburban students; urban                   significant differences were found. LGBTQ inclusive textbooks/
          students heard more than suburban students; no other significant          other readings: Rural students had less than urban and suburban
          differences were found. Other homophobic remarks: Rural students          students; no other significant differences were found. LGBTQ-
          heard more than urban and suburban students; no other significant         inclusive curriculum: Rural students had less than urban and
          differences were found. Negative gender expression remarks: Rural         suburban students; urban students had more than suburban
          students heard more than urban and suburban students; no other            students. LGBTQ-inclusive sex education: Rural students had less




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     than urban and suburban students; urban students had more than              characteristics (sexual orientation, gender expression, and gender)
     suburban students. Safe Space stickers/posters: Rural students              and any school discipline (a combined variable of whether the
     had less than urban and suburban students; urban students had               student experienced any of the five types of school discipline [see
     less than suburban students. Comprehensive policy: Rural students           School Climate and School Discipline section]) as covariates.
     had less than urban and suburban students; no other significant             Multivariate results were significant: Pillai’s Trace = .01, F(9,
     differences were found. Supportive trans/nonbinary policy: Rural            46383) = 10.19, p<.001. Univariate effects were significant
     students had less than urban and suburban students; urban                   for all types of anti-LGBTQ victimization – Victimization based
     students had more than suburban students. Percentages are shown             on sexual orientation: F(3, 15461) = 24.78, p<.001, ηp2 = .01;
     for illustrative purposes.                                                  Victimization based on gender expression: F(3, 15461) = 13.33,
                                                                                 p<.001, ηp2 = .00; Victimization based on gender: F(3, 15461) =
     To examine differences in supportive school personnel by locale,
                                                                                 11.42, p<.001, ηp2 = .00. Post hoc comparisons were considered
     two separate analysis of variance (ANOVAs) were conducted
                                                                                 at p<.01. Victimization based on sexual orientation: Students in
     with supportive educators and supportive administrators as the
                                                                                 the South experienced more than all other regions; students in the
     dependent variables, and locale (urban, suburban, and rural) as the
                                                                                 Midwest experienced more than the Northeast; no other significant
     independent variable. The results for both analyses were significant
                                                                                 differences were found. Victimization based on gender expression:
     – Supportive educators: F(2, 16354) = 378.95, p<.001, ηp2 = .04;
                                                                                 Students in the South, Midwest, and West experienced more
     Supportive administrators: F(2, 16312) = 165.09, p<.001, ηp2 =
                                                                                 than the Northeast; no other significant differences were found.
     .02. Post hoc comparisons were considered at p<.05. Supportive
                                                                                 Victimization based on gender: Students in the South, Midwest,
     educators: Rural students had less than urban and suburban
                                                                                 and West experienced more than the Northeast; no other significant
     students; urban students had less than suburban students.
                                                                                 differences were found. Percentages are shown for illustrative
     Supportive administrators: Rural students had less than urban and
                                                                                 purposes.
     suburban students; no other significant differences were found.
     Percentages are shown for illustrative purposes.                       362 To examine differences on experiences of anti-LGBTQ
                                                                                discriminatory policies and practices by region, an analysis of
358 Darling-Hammond, L. (2013). Inequality and school resources:
                                                                                covariance (ANCOVA) was conducted with experiences of any
    what it will take to close the opportunity gap. In P. L. Carter & K.
                                                                                anti-LGBTQ discrimination (a combined variable of whether
    G. Welner (Eds.), Closing the Opportunity Gap: What America Must
                                                                                the student experienced any of the 11 discriminatory actions
    Do to Give Every Child an Even Chance. New York, NY: Oxford
                                                                                assessed [see Discriminatory Practices and Policies section]) as the
    University Press.
                                                                                dependent variable, region (South, Midwest, West, Northeast) as
     Roscigno, V. J., Tomaskovic-Devey, D., & Crowley, M. (2006).               the independent variable, and student demographic characteristics
     Education and the inequalities of place. Social Forces, 84(4),             including sexual orientation, gender expression, and gender
     2121-2145.                                                                 as covariates. The results of the analysis were significant: F(3,
                                                                                16195) = 123.27, p<.001, ηp2 = .02. Post hoc comparisons were
359 Movement Advancement Project. (April, 2019). Where we call
                                                                                considered at p<.01. Students in the South experienced more
    home: LGBT people in rural America. Retrieved from: https://www.
                                                                                discrimination than all other regions; students in the Midwest
    lgbtmap.org/file/lgbt-rural-report.pdf
                                                                                experienced more discrimination than the West and Northeast;
     Pew Research Center. (June 8, 2015). Knowing gays and lesbians,            students in the West experienced more discrimination than the
     religious conflicts, beliefs about homosexuality. Retrieved from:          Northeast. Percentages are shown for illustrative purposes.
     https://www.pewresearch.org/politics/2015/06/08/section-2-
                                                                            363 To examine differences on access to GSAs, inclusive curriculum,
     knowing-gays-and-lesbians-religious-conflicts-beliefs-about-
                                                                                inclusive curricular resources, and comprehensive anti-bullying/
     homosexuality/
                                                                                harassment and supportive trans/nonbinary policies by region, a
360 To examine differences in anti-LGBTQ language by region, a                  series of chi-square tests were conducted. (For the purposes of
    multivariate analysis of variance (MANOVA) was conducted with               this analysis and similar analyses in this section regarding school
    the anti-LGBTQ remarks variables (”gay” used in a negative way,             differences in availability of comprehensive policy, we examined only
    “no homo,” other homophobic remarks, negative remarks about                 whether students reported that their school had a comprehensive,
    gender expression, and negative remarks about transgender people)           i.e., fully enumerated, anti-bullying/harassment policy or not.
    as the dependent variables, and region (South, Midwest, West, and           Therefore, students without a comprehensive policy might have had
    Northeast) as the independent variable. Multivariate results were           a partially enumerated policy, a generic policy, or no policy at all).
    significant: Pillai’s Trace = .03, F(15, 49668) = 30.38, p<.001.            All analyses were significant – GSAs: χ2 = 852.60, df = 3, p<.001,
    All univariate effects were significant – “Gay” used in a negative          Cramer’s V = .23; LGBTQ website access: χ2 = 322.82, df = 3,
    way: F(3, 16558) = 65.63; p<.001, ηp2 = .01; “No homo”: F(3,                p<.001, Cramer’s V = .14; LGBTQ library resources: χ2 = 133.06,
    16558) = 73.63, p<.001, ηp2 = .01; Other homophobic remarks:                df = 3, p<.001, Cramer’s V = .09; LGBTQ inclusion in textbooks/
    F(3, 16558) = 64.87, p<.001, ηp2 = .01; Negative remarks about              other assigned readings: χ2 = 49.39, df = 3, p<.001, Cramer’s V
    gender expression: F(3, 16558) = 28.81, p<.001, ηp2 = .01;                  = .06; LGBTQ-inclusive curriculum: χ2 = 336.83, df = 3, p<.001,
    Trans remarks: F(3, 16558) = 51.51, p<.001, ηp2 = .01. Post hoc             Cramer’s V = .14; LGBTQ-inclusive sex education: χ2 = 536.05,
    comparisons were considered at p<.01. “Gay” used in a negative              df = 3, p<.001, Cramer’s V = .18; Safe Space stickers/posters:
    way: Students in the South heard more than all the other regions;           χ2 = 1151.96, df = 3, p<.001, Cramer’s V = .26; Comprehensive
    students in the Midwest heard more than the West and Northeast;             anti-bullying/harassment policy: χ2 = 527.73, df = 3, p<.001,
    no other significant differences were found. “No homo”: Students            Cramer’s V = .18; Supportive trans/nonbinary student policy: χ2 =
    in the South heard more than the Midwest and Northeast; students            414.97, df = 3, p<.001, Cramer’s V = .16. Post hoc comparisons
    in the Midwest heard less than the West and more than the                   were considered at p<.05. GSAs: Students in the South had less
    Northeast; students in the West heard more than the Northeast;              than all other regions; students in the Midwest had less than the
    no other significant differences were found. Other homophobic               West and Northeast; no other significant differences were found.
    remarks: Students in the South heard more than all the other                LGBTQ website access: Students in the South had less than all
    regions; students in the Midwest heard more than the West and               other regions; students in the Midwest and West had less than the
    Northeast; no other significant differences were found. Negative            Northeast; no other significant differences were found. LGBTQ library
    gender expression remarks: Students in the South heard more than            resources: Students in the South had less than all other regions;
    all the other regions; students in Midwest heard more than the              students in the Midwest and West had less than the Northeast; no
    West and Northeast; no other significant differences were found.            other significant differences were found. LGBTQ inclusive textbooks/
    Negative transgender remarks: Students in the South heard more              other readings: Students in the South had less than all other regions;
    than all the other regions; students in the Midwest heard more              students in the Midwest had less than the Northeast; no other
    than the West and Northeast; no other significant differences were          significant differences were found. LGBTQ-inclusive curriculum:
    found. Percentages are shown for illustrative purposes.                     Students in the South had less than all other regions; students
                                                                                in the Midwest had less than the West and Northeast; no other
361 To examine differences on anti-LGBTQ victimization experiences
                                                                                significant differences were found. LGBTQ-inclusive sex education:
    by region, a multivariate analysis of covariance (MANCOVA)
                                                                                Students in the South had less than all other regions; students in the
    was conducted with experiences of anti-LGBTQ victimization
                                                                                Midwest had less than the West and Northeast; no other significant
    (i.e., the three weighted victimization variables for victimization
                                                                                differences were found. Safe Space stickers/posters: Students in
    based on sexual orientation, gender expression, and gender)
                                                                                the South had less than all other regions; students in the Midwest
    as the dependent variables, region (South, Midwest, West, and
                                                                                had less than the West and Northeast; students in the West had less
    Northeast) as the independent variable, and student demographic
                                                                                than the Northeast. Comprehensive policy: Students in the South




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           had less than all other regions; students in the Midwest had less              differences across years: F(5, 73331) = 654.59, p<.001, ηp2
           than the West and Northeast; students in the West had less than the            = .04. Pairwise differences were considered at p<.001 (non-
           Northeast. Supportive trans/nonbinary policy: Students in the South            significant pairs not listed): 2019>all years; 2017<2011 and
           had less than all other regions; students in the Midwest had less              2013, >2019; 2015<2011 and 2013, >2019; 2013>2009,
           than the West and Northeast; no other significant differences were             2015, and 2017, <2011 and 2019; 2011>2009 to 2017,
           found. Percentages are shown for illustrative purposes.                        <2019; 2009<2009, 2011, and 2019.
           To compare differences in supportive school personnel by region,         370 To examine differences across years in the use of negative remarks
           two separate analysis of variance (ANOVAs) were conducted                    about gender expression, an analysis of covariance (ANCOVA) was
           with supportive educators and supportive administrators as the               performed, controlling for demographic and method differences
           dependent variables, and region (South, Midwest, West, and                   across the survey years, using a composite variable of the means
           Northeast) as the independent variable. The results for both                 of the two variables (negative remarks about not acting “masculine
           analyses were significant – Supportive educators: F(3, 16476)                enough” and about not acting “feminine enough”). The main
           = 237.16, p<.001, ηp2 = .04; Supportive administrators: F(3,                 effect for Survey Year was significant, indicating mean differences
           16419) = 275.17, p<.001, ηp2 = .05. Post hoc comparisons were                across years: F(8, 82127) = 139.87, p<.001, ηp2 = .01. Pairwise
           considered at p<.05. Supportive educators: Students in the South             differences were considered at p<.001 (non-significant pairs
           had less than all other regions; students in the Midwest had less            not listed): 2019<all years; 2017<2003 to 2015, >2019;
           than the West and Northeast; students in the West had less than              2015<2005 to 2011, >2013 to 2019; 2013<2003 to 2017,
           the Northeast. Supportive administrators: Students in the South              >2019; 2011>2013 to 2019; 2009>2013 to 2019; 2007>2013
           had less than all other regions; students in the Midwest had less            to 2019; 2005>2013 to 2019; 2003>2013, 2017, and 2019.
           than the West and Northeast, students in the West had less than
                                                                                    371 To examine differences across years in the use of negative remarks
           Northeast. Percentages are shown for illustrative purposes.
                                                                                        about transgender people, an analysis of covariance (ANCOVA) was
      364 GLAAD. (2016). Accelerating acceptance: A Harris Poll survey                  performed, controlling for demographic and method differences
          of Americans’ acceptance of LGBT people. Retrieved August 30,                 across the survey years. The main effect for Survey Year was
          2018. https://www.glaad.org/files/2016_GLAAD_Accelerating_                    significant, indicating mean differences across years: F(3, 57656)
          Acceptance.pdf                                                                = 53.86, p<.001, ηp2 = .00. Pairwise differences were considered
                                                                                        at p<.001 (non-significant pairs not listed): 2019<2017, >2013
      365 Bostock v. Clayton Cty., Ga., 140 S.Ct. 1731, 1747 (2020).
                                                                                        and 2015; 2017>all years; 2015>2013, <2017; 2013< all years.
          https://www.supremecourt.gov/opinions/19pdf/17-1618_hfci.pdf
                                                                                    372 To examine differences across years in the number of students in
      366 Donheiser, J. (August, 2017). Chalkbeat explains: When can
                                                                                        school who make homophobic remarks, an analysis of covariance
          private schools discriminate against students? https://www.
                                                                                        (ANCOVA) was performed, controlling for demographic and method
          chalkbeat.org/2017/8/10/21107283/chalkbeat-explains-when-can-
                                                                                        differences across the survey years. The main effect for Survey
          private-schools-discriminate-against-students
                                                                                        Year was significant: F(9, 82637) = 499.05, p<.001, ηp2 = .05.
      367 To examine differences across years in use of anti-LGBTQ                      In examining post-hoc group comparisons, the mean for 2019 was
          language, a series of one-way analyses of covariance (ANCOVAs)                statistically higher than 2017 at p<.001, but was not different than
          were performed. Given certain demographic differences among                   2015, and there were no differences between 2015 and 2017.
          the samples across the years, we controlled for participation in a            Given the effect size of these differences is so small, we considered
          community group or program for LGBTQ youth, age, racial/ethnic                them as not meaningfully different, as noted in the text. For all pairs,
          group, gender, sexual orientation, and method of taking the survey            differences were considered at p<.001 (non-significant pairs not
          (paper vs. internet version). These individual-level covariates were          listed): 2019<2001 to 2013, >2017; 2017<all years but 2015;
          chosen based on preliminary analysis that examined what school                2015<all years but 2017; 2011<2001 to 2009; >2013 to 2019;
          characteristics and personal demographics were most predictive of             2009 to 2003<2001, >2011 to 2019; 2001>all years.
          survey year membership. Because there were more cases in recent
                                                                                    373 To examine differences across years in the number of students in
          survey years that were missing on demographic information, we also
                                                                                        school who make negative remarks about gender expression, an
          included a dummy variable controlling for missing demographics.
                                                                                        analysis of covariance (ANCOVA) was performed, controlling for
          Because of the large sample size for all years combined, a
                                                                                        demographic and method differences across the survey years as
          more restrictive p-value was used when determining statistical
                                                                                        well as the frequency of hearing these remarks. The main effect
          significance: p<.001.
                                                                                        for Survey Year was significant: F(8, 77444) = 111.40. p<.001,
           To examine differences across years in the use of other homophobic           ηp2 = .01. Pairwise differences were considered at p<.001
           remarks (e.g., “fag,” “dyke”), an analysis of covariance (ANCOVA)            (non-significant pairs not listed): 2019<all years; 2017<2003 to
           was performed, controlling for demographic and method differences            2011, and 2015, >2019; 2015<2003, 2005, 2009, and 2011,
           across the survey years. The main effect for Survey Year was                 >2017 and 2019; 2009<2003, >2013 to 2019; 2007<2003 and
           significant, indicating mean differences across years: F(10, 83530)          2005, >2013, 2017, and 2019; 2005>2007, >2011 to 2019;
           = 153.92, p<.001, ηp2 = .02 . Post-hoc group comparisons among               2003>2007 to 2019.
           years indicated 2019 was significantly different from all prior years.
                                                                                    374 To examine differences across years in the frequency of hearing
           Pairwise differences were considered at p<.001 (non-significant
                                                                                        biased remarks from school staff, analyses of covariance
           pairs not listed): 2019<all years; 2017<all but 2013 and 2019,
                                                                                        (ANCOVAs) were performed controlling for demographic and
           >2013 and 2019; 2015<1999 to 2011, >2019; 2013<1999
                                                                                        method differences with each of the two dependent variables:
           to 2011, >2015 to 2019; 2011<1999,2001, >2013 to 2019;
                                                                                        frequency of hearing homophobic remarks and frequency of
           2009<1999 and 2001, >2013 to 2019; 2007<1999 to 2005,
                                                                                        hearing negative remarks about gender expression from school
           >2013 to 2019; 2005<2013 to 2019, >1999,2001, and 2007;
                                                                                        staff. Regarding homophobic remarks, the main effect for Survey
           2003<1999 and 2001, >2007 and 2013 to 2019; 2001<all but
                                                                                        Year was significant: F(9, 82770) = 72.86, p<.001, ηp2 = .01.
           1999; 1999<all but 2001.
                                                                                        Pairwise differences were considered at p<.001 (non-significant
      368 To examine differences across years in the use of expressions like            pairs not listed): 2019<all years; 2017<2001, 2003, 2007,
          “that’s so gay,” an analysis of covariance (ANCOVA) was performed,            2009, and 2011, >2019; 2015<2001 and 2003, <2007 to
          controlling for demographic and method differences across the                 2011, >2019; 2013<2001 to 2011, >2019; 2011<2001, 2007,
          survey years. The main effect for Survey Year was significant,                and 2009, >2013 to 2019; 2009>2005, 2011 to 2019, <2007;
          indicating mean differences across years: F(9, 82964) = 538.57                2007>2005 to 2019; 2005<2001, 2007, and 2009, >2013 and
          p<.001, ηp2 = .05. Pairwise differences were considered at p<.001             2019; 2003>2013 to 2019; 2001>2005, 2011 to 2019.
          (non-significant pairs not listed): 2019>2015 and 2017, <2001
                                                                                          Regarding remarks about gender expression, the main effect for
          to 2011; 2017>2015, <all others; 2015>all years; 2013<2001
                                                                                          Survey Year was significant: F(8, 79161) = 65.68, p<.001, ηp2
          to 2011, >2015 to 2019; 2011<2001 to 2009, >2013 to 2019;
                                                                                          = .01. Pairwise differences were considered at p<.001 (non-
          2009<2001 and 2003, >2013 to 2019; 2007<2001, >2011 to
                                                                                          significant pairs not listed): 2019>2011 and 2013, <2019;
          2019; 2005>2011 to 2019; 2003>2009 to 2019; 2001>2007
                                                                                          2017>all years but 2003; 2015>2009 to 2017; 2013<all years;
          to 2019.
                                                                                          2011>2013, <2015 to 2019; 2009>2013, <2015 to 2019;
      369 To examine differences across years in the use of “no homo,” an                 2007>2013, <2017; 2005>2013, <2017; 2003>2013.
          analysis of covariance (ANCOVA) was performed, controlling for
                                                                                    375 Mean differences in intervention regarding homophobic remarks
          demographic and method differences across the survey years.
                                                                                        were examined using analysis of covariance (ANCOVA), controlling
          The main effect for Survey Year was significant, indicating mean




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      for demographic and method differences across the survey years,               2009<2001, and 2007, >2011 to 2019; 2007>2009 to 2019;
      as well as the frequency of hearing those remarks. Regarding                  2005>2011 to 2019; 2003>2011 to 2019; 2001>2009 to
      staff intervention, the main effect for Survey Year was significant:          2019. For physical harassment, 2019<all years; 2017<2001 to
      F(9, 67870) = 22.36, p<001, ηp2 = .00. Pairwise differences                   2013, >2019; 2015<2001 to 2013, >2019; 2013<2001 to
      were considered at p<.001 (non-significant pairs not listed):                 2011, >2015 to 2019; 2011<2001, 2007, 2009, >2013 to
      2019, 2017, and 2015<2003 to 2013; 2013 to 2009<2007,                         2019; 2009<2001, and 2007, >2011 to 2019; 2007>2009
      >2015 to 2019; 2007 and 2005>2009 to 2019; 2003>2015                          to 2019; 2005<2001, >2013 to 2019; 2003>2013 to 2019;
      to 2019; 2001 not different from any years. Regarding student                 2001>2005,2009 to 2019. For physical assault, 2019<2001
      intervention, the main effect for Survey Year was significant: F(9,           to 2013, <2017; 2017<2001 to 2013, <2019; 2015<2001
      82416) = 50.55, p<.001, ηp2 = .01 Pairwise differences were                   to 2013; 2013<2001, 2007, and 2009, <2015 to 2019;
      considered at p<.001 (non-significant pairs not listed): 2019<all             2011<2001, and 2007, >2015 to 2019; 2009<2007, >2013 to
      years; 2017<2001 to 2009,and 2015, >2019; 2015>2011 to                        2019; 2007>2009 to 2019; 2005>2015 to 2019; 2003>2015
      2019, <2001 and 2003; 2013<2001 to 2009,and 2015, >2019;                      to 2019; 2001>2011 to 2019.
      2011<2001 to 2007, and 2015, >2019; 2009<2001 to 2007,
                                                                              379 Mean differences in reporting victimization to school personnel
      >2013, 2017 and 2019; 2007<2001 and 2003, >2009 to 2013,
                                                                                  were examined using an analysis of covariance (ANCOVA),
      2017 and 2019; 2005>2009 to 2013, 2017, 2019; 2003 and
                                                                                  controlling for demographic and method differences across the
      2001>2007 to 2019.
                                                                                  survey years. The main effect for Survey Year was significant:
376 Mean differences in intervention regarding negative remarks about             F(8,56076) = 38.98, p<.001, ηp2 = .01. Post-hoc comparisons
    gender expression were examined using a series of analyses of                 were considered at p<.001: 2019<2003, >2005 to 2013;
    covariance (ANCOVA), controlling for demographic and method                   2017<2003, >2005 to 2015; 2015<2003, and 2017, >2007
    differences across the survey years. For staff intervention, the main         to 2011; 2013<2003, 2017, and 2019, >2007 to 2011;
    effect for Survey Year was also significant: F(8, 60285) =49.20,              2011<2003, <2013 to 2019; 2009<2003, and 2005, <2013
    p<.001, ηp2 = .01. Pairwise differences were considered at p<.001             to 2019; 2007<2003, <2013 to 2019; 2005<2003, 2017, and
    (non-significant pairs not listed): 2019<2003 to 2011, >2009;                 2019, >2009; 2003>all years.
    2017>2003 to 2011, <2015; 2015<all years; 2013<2003 to
                                                                              380 Mean differences in the effectiveness of staff intervention regarding
    2011, >2015; 2011<2007, >2013 to 2019; 2009<2007, >2013
                                                                                  victimization were examined using an analysis of covariance
    to 2019; 2007>2009 to 2019; 2005 and 2003>2013 to 2019.
                                                                                  (ANCOVA), controlling for demographic and method differences
    Regarding student intervention, the main effect for Survey Year
                                                                                  across the survey years. The main effect for Survey Year was
    was significant: F(8, 77110) = 59.68, p<.001, ηp2 = .01. Pairwise
                                                                                  significant: F(7, 24086) = 9.64, p<.001, ηp2 = .00. Post-hoc
    differences were considered at p<.001 (non-significant pairs not
                                                                                  comparisons were considered at p<.001: 2019 and 2017<2005,
    listed): 2019<2007 and 2017, >2009 to 2013; 2017>2009 to
                                                                                  2009, and 2011; 2015 and 2013<2005; 2011 and 2009>2017,
    2019; 2015<2007 and 2017, >2011 and 2013; 2013<all years
                                                                                  and 2019; 2007<2005; 2005>2007, 2013 to 2019.
    but 2011; 2011<all years but 2013; 2009<2003, 2007, 2017,
    and 2019, >2013, and 2011; 2007>2009 to 2015, and 2019;                   381 The set of discrimination variables has changed over the years. In
    2005 and 2003>2011 and 2013.                                                  2013, the set included 9 types of discrimination. In 2015, the
                                                                                  list was expanded to 12 items. For the over-time analyses, we only
377 To test differences across years in the experiences of victimization
                                                                                  examined the 9 types of discrimination that occurred in all years
    based on sexual orientation, a multivariate analysis of covariance
                                                                                  of the survey. In 2015, we added questions about sports-related
    was conducted with the three harassment/assault based on sexual
                                                                                  discrimination and about being prevented from raising LGBTQ
    orientation variables as dependent variables. In order to account
                                                                                  issues in extracurricular activities. In 2017, we also split the single
    for differences in sampling methods across years, youth group
                                                                                  question about discrimination regarding bathrooms and locker
    participation, age, race/ethnicity, and survey method were used
                                                                                  rooms into two separate questions. But for analysis over time,
    as covariates. In 1999, frequency of harassment and assault was
                                                                                  we combined the two variables about discrimination regarding
    assessed using a 4-point scale, and in the subsequent year, a
                                                                                  bathrooms and regarding locker rooms so the data from 2017 and
    5-point scale was used. To accommodate these differences for this
                                                                                  2019 would be consistent with the data from 2013 and 2015.
    variable, we examined differences in the frequency of reporting
    “Frequently.” The multivariate results were significant: Pillai’s         382 Mean differences in overall experiences of discrimination were
    Trace=.035, F(30, 247089) = 98.27, p<.001. Univariate effects                 examined using an analysis of covariance (ANCOVA), controlling
    and subsequent post-hoc comparisons were considered at p<.001.                for demographic and method differences across the survey years.
    All three types of victimization were significant (non-significant            The main effect for Survey Year was significant: F(3, 57788) =
    pairs not listed). For verbal harassment, 2019<1999 to 2013;                  16.22, p<.001, ηp2 = .00. Post-hoc comparisons were considered
    2017<1999 to 2013; 2015<1999 to 2013; 2013<1999 to                            at p<.001: 2019<2013, and 2017; 2017<2019; 2015<2013;
    2011, >2015 to 2019; 2011<1999 to 2009, >2013 to 2019;                        2013>all years.
    2009<2001 and 2007; >2011 to 2019; 2007>2009 to 2019;
                                                                              383 To examine differences across years in experiences of the specific
    2005>2011 to 2019; 2003>2011 to 2019; 2001>2009
                                                                                  types of discrimination, a multivariate analysis of covariance
    to 2019; 1999>2011 to 2019. For physical harassment,
                                                                                  (MANCOVA) was conducted with the 9 discrimination variables
    2019<2001 to 2015; 2017<2001 to 2015; 2015<2001,
                                                                                  as dependent variables, controlling for demographic and method
    <2005 to 2013, >2017 and 2019; 2013<2001, 2005 to
                                                                                  differences across the survey years. The multivariate results
    2009,>2015 to 2019; 2011<2001, 2007, and 2009, >2015
                                                                                  were significant: Pillai’s Trace = .030, F(27, 168612) = 63.98,
    to 2019; 2009<2007, >2011 to 2019; 2007>1999, >2003 to
                                                                                  p<.001, ηp2 = .01. Univariate effects and subsequent post-
    2019; 2005<2007, >2013 to 2019; 2003<2001 and 2007,
                                                                                  hoc comparisons were considered at p<.001. Public affection:
    >2017 and 2019; 2001<2003, 2011 to 2019; 1999<2001
                                                                                  2019<2013 and 2017; 2017<2013, >2019; 2013>2017 and
    and 2008, >2017 and 2019. For physical assault, 2019<2001,
                                                                                  2019; Bathroom or locker room use: 2019>2013 and 2015,
    <2005 to 2015; 2017<2001, <2005 to 2015; 2015<2001,
                                                                                  <2017; 2017>all; 2015<all; 2013>2015, <2017 and 2019;
    <2007 to 2013, >2017 and 2019; 2013<2007, >2015 to 2019;
                                                                                  Prevented from wearing clothes deemed “inappropriate” re:
    2011<2007, >2015 to 2019; 2009<2007, >2015 to 2019;
                                                                                  gender: 2019<all; Using preferred names/pronouns: 2019<2017,
    2007>all years; 2005<2007, >2017 and 2019; 2003<2007;
                                                                                  >2013; 2017>all; 2015>2013, <2017, 2013<all; LGBTQ topics
    2001<2007, >2017 and 2019; 1999<2007.
                                                                                  in class assignments/projects: 2013>2017, and 2019; Forming
378 To examine differences across years in the experiences of                     or promoting a GSA, Identifying as LGBTQ: 2013>all; Attending
    victimization based on gender expression, a multivariate analysis of          a school dance: 2019<all; 2017<2013 and 2015, >2019;
    covariance (MANCOVA) was conducted with the three harassment/                 2015<2013, >2017 and 2019; 2013>all; Wearing clothing
    assault based on gender expression variables as dependent                     supporting LGBTQ issues: 2013>all; 2019<all; Unfairly disciplined
    variables, controlling for demographic and method differences                 at school for identifying as LGBTQ: 2013>all.
    across years. The multivariate results were significant: Pillai’s Trace
                                                                              384 To examine differences across years in presence of a GSA, an
    = .039, F(27, 240486) = 118.59, p<.001, ηp2 = .01. Univariate
                                                                                  analysis of covariance (ANCOVA) was conducted with the GSA
    effects and subsequent post-hoc comparisons were considered
                                                                                  variable as the dependent variable, controlling for demographic
    at p<.001. All three types of victimization were significant. For
                                                                                  and method differences across survey years. The univariate effect
    verbal harassment, 2019<all but 2015; 2017<2001 to 2013,
                                                                                  for Survey Year was significant: F(9, 82693) = 287.98, p<.001,
    >2015, and 2019; 2015<2001 to 2017, >2019; 2013<2001 to
                                                                                  ηp2 = .03. Post-hoc group comparisons were considered at p<.001:
    2011, >2015 to 2019; 2011<2001 to 2009, >2013 to 2019;




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           2019>all; 2017>all prior years; 2015>all prior years; 2013>all              comparisons by survey year were considered at p<.001. Any type
           prior years except 2003; 2011 and 2009>all prior years except               of policy: F(8 81969) =484.91, p<.001, ηp2 = .05; 2019>2003
           2003 and 2005; 2007>2001, <all other years; 2005>2001,                      to 2011, <2015; 2017>2003 to 2009, <2015; 2015>2003 to
           2007, and 2009, <2013 to 2019; 2003>2001, <2015 to 2019;                    2019; 2013>2003 to 2011, <2015 to 2019; 2011>2003 to
           2001<all other years.                                                       2009, <2013 to 2019; 2009>2003, <2005, <2011 to 2019;
                                                                                       2007>2003, <2005, <2011 to 2019; 2005>2003, 2007, and
      385 To examine differences across years in curricular resources, a
                                                                                       2009, <2011 to 2019; 2003>all years. Partially enumerated
          multivariate analysis of covariance (MANCOVA) was conducted
                                                                                       policy: F(7, 81095) = 62.11, p<.001, ηp2 = .00; 2019<all
          with four dependent variables (positive curricular representations
                                                                                       years; 2017, 2009, and 2007<2005, <2011 to 2015, >2019;
          of LGBTQ topics, inclusion of LGBTQ-related topics in textbooks,
                                                                                       2015, 2013, 2011, and 2005>2007, 2009, 2017, and 2019.
          internet access to LGBTQ-related information/resources through
                                                                                       Comprehensive policy: F(7, 81095) =92.13, p<.001, ηp2 = .01;
          school computers, LGBTQ-related library materials), controlling
                                                                                       2019 and 2017>2005 to 2015; 2015 and 2013>2005 to 2011,
          for demographic and method differences across survey years.
                                                                                       <2017 and2019; 2011 and 2009<2013 to 2019; 2007 and
          The multivariate results were significant: Pillai’s Trace = .039,
                                                                                       2005<2013 to 2019.
          F(36, 328960) = 90.01 p<.001, ηp2 = .01. Univariate effects
          were significant for all variables at p<.001. Subsequent post-hoc       389 To examine differences across years, an analysis of covariance
          comparisons were considered at p<.001. For textbooks, 2019                  (ANCOVA) was conducted with the student acceptance variable as
          to 2013 were greater than all prior years; 2011 was greater                 the dependent variable, controlling for demographic and method
          than 2007. For library, 2019> all other years; 2017<2009,                   differences across years. The main effect for Survey Year was
          >2001, and 2019; 2015>2001, <2009, and 2019; 2013 and                       significant: F(5, 72592) = 205.04, p<.001, ηp2 = .01. Post-
          2011>2001, <2019; 2009>2001, 2005, 2007, 2015, and                          hoc group comparisons were considered at p<.001: 2019 and
          2017, <2019; 2007>2001, <2009, and 2019; 2005<2009, and                     2017>2009 to 2013, <2015; 2015>all years; 2013>2009 and
          2019; 2003<2019; 2001<2007 to 2019. For internet access,                    2011, >2015 to 2019; 2011 and 2009<2013 to 2019.
          2019>all years; 2017>2001 to 2015, <2019; 2015>2001 to
                                                                                  390 A variety of strategies were used to target LGBTQ adolescents via
          2013, <2017, and 2019; 2013>2001, >2007 to 2011, <2015
                                                                                      Facebook, Instagram, and Snapchat ads: ads were shown to 13- to
          to 2019; 2011>2001, 2007, and 2009, <2013 to 2019;
                                                                                      18- year-olds, who indicated that they were interested in causes,
          2009<2005, <2011 to 2019, >2007; 2007<2003 to 2019;
                                                                                      events, or organizations specifically related to LGBTQ community
          2005>2001, 2007, and 2009, <2015 to 2019; 2003>2001,
                                                                                      or topics, or who were “friends” of those who followed one of
          and 2007, <2015 to 2019; 2001<2003, and 2005, <2011 to
                                                                                      the GLSEN-related Facebook/Instagram pages. Advertising on
          2019. For curriculum, 2019>2001 to 2013, <2015; 2017>2001
                                                                                      Instagram also involved videos of LGBTQ students from GLSEN’s
          to 2013; 2015>2001 to 2013, >2019; 2013>2005 to 2011,
                                                                                      National Student Council promoting the survey study. In order to
          <2015 to 2019; 2011>2005 to 2009, <2015 to 2019; 2007 and
                                                                                      be included in the final sample, respondents had to have identified
          2009<2001 and 2003, <2011 to 2019; 2005<2011 to 2019;
                                                                                      as lesbian, gay, bisexual, transgender, or queer or as a sexual
          2001 and 2013>2007 and 2009, <2015 to 2019.
                                                                                      orientation or gender that would fall under the LGBTQ “umbrella”
      386 To examine differences across years in being taught negative                (e.g., pansexual, questioning, genderqueer).
          LGBTQ-related content, an analysis of covariance (ANCOVA) was
                                                                                  391 Pooled data from the 2015 and 2017 Youth Risk Behavior Survey
          performed, controlling for demographic and method differences
                                                                                      document ways in which high school students who identify as
          across the survey years. The main effect for Survey Year was
                                                                                      LGBQ differ from students who engage in same-sex behavior but do
          significant, indicating mean differences across years: F(3, 57391)
                                                                                      not identify as LGBQ:
          = 8.84, p<.001, ηp2 = .00. Post-hoc group comparisons were
          considered at p<.001. The percentage in 2013 was lower than                  Rasberry, C. N., Lowry, R., Johns, M., Robin, C., Dunville, R.,
          2015 and 2017, and there were no other significant differences               Pampati, S., Dittus, P. J., & Balaji, A. (2018). Sexual risk behavior
          across years. Estimated marginal means were: 2013 - 15.6%;                   differences among sexual minority high school students – United
          2015 - 17.5%; 2017 - 18.3%; 2019 – 17.3%.                                    States, 2015 and 2017. MMWR, 67(36), 1007-1011.
      387 In 2001, students were asked a question about whether there             392 Internal analyses of unweighted population-based data from the
          were any supportive school personnel in their school. In 2003               CDC 2017 Youth Risk Behavior Survey (YRBS) indicated that our
          and beyond, we asked a Likert-type question about the number                sample of Black/African American LGBQ (2.6%) students was lower
          of supportive school personnel. In order to include 2001 in the             than the YRBS sample of Black/African American LGBQ (22.1%),
          analyses, we created a comparable dichotomous variable for                  and our sample of Hispanic/Latinx LGBQ students (14.6%) was
          the other survey years. To examine differences across all years,            lower than the YRBS sample (24.2%). Our sample of White LGBQ
          an analysis of covariance (ANCOVA) was conducted with the                   students (69.4%) was higher than the YRBS sample (41.4%).
          dichotomous variable of having any supportive educators as the              Our sample of AAPI (3.1%) and Native LGBTQ students (0.5%)
          dependent variable, controlling for demographic and method                  were similar to the YRBS sample (4.7% and 1.0%, respectively).
          differences across survey years. The univariate effect for Survey           Although the YRBS data provides the closest estimate for NSCS
          Year was significant: F(9,81355) = 519.68, p<.001, ηp2 = .05.               data (as they are both national samples of secondary school
          Post-hoc group comparisons were considered at p<.001: 2019>                 students), there are key differences between these sample to bear
          all years; 2017 and 2015>2001 to 2013, <2019; 2013>2001                     in mind when considering comparisons— as noted in the text,
          to 2011, <2015 to 2019; 2011>2001 to 2007, <2013 to 2019;                   racial/ethnic identity is captured differently by the NSCS and
          2009>2001, 2005, and 2007, <2011 to 2019; 2007>2001,                        YRBS, and YRBS data is from 2017 whereas NSCS data is from
          <2003 to 2019; 2005>2001 and 2007, <2009 to 2019;                           2019. Furthermore, the NSCS sample consists of both middle
          2003>2001, and 2007, <2011 to 2019; 2001<all years.                         and high school students, whereas the national YRBS sample
                                                                                      consist of only high school students. Finally, the full NSCS sample
           To examine differences in the number of supportive school
                                                                                      includes transgender and other nonbinary students, and there is
           personnel (in 2003 and beyond), we tested the mean difference
                                                                                      no population-based national data of transgender and nonbinary
           on the full variable. The main effect for Survey Year was
                                                                                      students with which to compare the NSCS sample.
           significant: F(8,80524) = 579.39, p<.001, ηp2 = .05. Post-hoc
           group comparisons were considered at p<.001: 2019>all years;                Center for Disease Control and Prevention (CDC). YRBSS Data &
           2017>2003 to 2013, <2019; 2015>2003 to 2013, and 2019;                      Documentation. Available at: https://www.cdc.gov/healthyyouth/
           2013>2003 to 2011, <2015 to 2019; 2011>2003 to 2009,                        data/yrbs/data.htm.
           <2013 to 2019; 2009>2003 to 2007, <2011 to 2019; 2007<all
                                                                                  393 Hispanic/Latinx and Arab American/Middle Eastern/North African
           years; 2005 and 2003>2007, <2009 to 2019.
                                                                                      categories were considered ethnicities as opposed to races, and
      388 To examine differences across years in the percentage of students           thus students selecting either of those categories were coded as
          reporting a school harassment/assault policy, three analyses of             such, regardless of race (e.g., student selecting “African American”
          covariance (ANCOVAs) were performed controlling for demographic             and “Latino/a” were coded as “Latino/a”).
          and method differences with the three dependent variables: any
                                                                                  394 de Brey, C., Musu, L., McFarland, J., Wilkinson-Flicker, S.,
          type of policy, partially enumerated policy (enumerating sexual
                                                                                      Diliberti, M., Zhang, A., Branstetter, C., and Wang, X. (2019).
          orientation or gender identity/expression, but not both), and
                                                                                      Status and Trends in the Education of Racial and Ethnic Groups
          comprehensive policy (enumerating both sexual orientation and
                                                                                      2018 (NCES 2019-038). U.S. Department of Education.
          gender identity/expression). Univariate effects indicated significant
                                                                                      Washington, DC: National Center for Education Statistics. Retrieved
          difference across years for each policy variable, and post-hoc
                                                                                      July 21, 2020 from https://nces.ed.gov/pubs2019/2019038.pdf.




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      Title Page Photo Descriptions

      Cover: Members of GLSEN’s National Student Council march at the 2019 World Pride march in
      New York City, on the 50th anniversary of the 1969 Stonewall Riots.

      p. 15: Student organizers at GLSEN’s 2007 Jump-Start National Student Leadership Summit.

      p. 21: Members of Ilima Intermediate School’s Rainbow Royales hold up a sign for No
      Name Calling Week. The Rainbow Royales were honored as GLSEN’s 2020 GSA of the year.

      p. 27: GLSEN contingent in the 2017 NYC Pride parade.

      p. 31: Members of GLSEN’s 2016–2017 National Student Council.

      p. 39: Demonstrators marching with GLSEN and SMYAL in the 2018 March For Our Lives protest
      against gun violence.

      p. 45: Students participating in a workshop at GLSEN’s 2008 Jump-Start National Student
      Leadership Summit.

      p. 57: Students marching with GLSEN in the 2014 New York Pride parade.

      p. 69: A student organizer preparing for the 2004 National Day of Silence.

      p. 87: Members of the 2011 cohort of GLSEN student ambassadors.

      p. 93: Students participating in Youth Pride, NYC, in 2019.

      p. 107: GLSEN’s 2003 cohort of student organizers.

      p. 115: GLSEN Southern Maine student leader, 2010.

      p. 129: GLSEN Southern Maine at Portland Pride 2009.




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GLSEN
110 William Street, 30th Floor
New York, NY 10038
www.glsen.org

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